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                        As filed with the U.S. Securities and Exchange Commission on August 31, 2021

                                                                                                               Registration No. 333-256472

                                                        UNITED STATES
                                            SECURITIES AND EXCHANGE COMMISSION
                                                     Washington, D.C. 20549

                                                       AMENDMENT NO. 6
                                                              TO
                                                           FORM S-1
                                                   REGISTRATION STATEMENT
                                                UNDER THE SECURITIES ACT OF 1933

                                               Digital World Acquisition Corp.
                                             (Exact name of registrant as specified in its charter)

                  Delaware                                            6770                                        XX-XXXXXXX
        (State or other jurisdiction of                  (Primary Standard Industrial                          (I.R.S. Employer
        incorporation or organization)                   Classification Code Number)                        Identification Number)

                                                         78 SW 7th Street
                                                       Miami, Florida 33130
                                                     Telephone: ‪(305) 735-1517
         (Address, Including Zip Code, and Telephone Number, Including Area Code, of Registrant’s Principal Executive Offices)

                                                          Patrick Orlando
                                               Chairman and Chief Executive Officer
                                                         78 SW 7th Street
                                                       Miami, Florida 33130
                                                     Telephone: ‪(305) 735-1517
                (Name, Address, Including Zip Code, and Telephone Number, Including Area Code, of Agent For Service)

                                                                   Copies to:

                       Barry I. Grossman, Esq.                                               Mitchell S. Nussbaum, Esq.
                           Wei Wang, Esq.                                                      David J. Levine, Esq.
                  Ellenoff Grossman & Schole LLP                                                 Loeb & Loeb LLP
                     1345 Avenue of the Americas                                                 345 Park Avenue
                      New York, New York 10105                                               New York, New York 10154
                      Telephone: (212) 370-1300                                              Telephone: (212) 407-4000

         Approximate date of commencement of proposed sale to the public: As soon as practicable after the effective date of this
  registration statement.

       If any of the securities being registered on this Form are to be offered on a delayed or continuous basis pursuant to Rule 415
  under the Securities Act of 1933 check the following box. ¨

        If this Form is filed to register additional securities for an offering pursuant to Rule 462(b) under the Securities Act, please check
  the following box and list the Securities Act registration statement number of the earlier effective registration statement for the same
  offering. ¨

         If this Form is a post-effective amendment filed pursuant to Rule 462(c) under the Securities Act, check the following box and
  list the Securities Act registration statement number of the earlier effective registration statement for the same offering. ¨

         If this Form is a post-effective amendment filed pursuant to Rule 462(d) under the Securities Act, check the following box and
  list the Securities Act registration statement number of the earlier effective registration statement for the same offering. ¨


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        Indicate by check mark whether the registrant is a large accelerated filer, an accelerated filer, a non-accelerated filer, a smaller
  reporting company, or an emerging growth company. See the definitions of “large accelerated filer,” “accelerated filer,” “smaller
  reporting company” and “emerging growth company” in Rule 12b-2 of the Exchange Act.

        Large accelerated filer   ¨                           Accelerated filer             ¨

        Non-accelerated filer     x                           Smaller reporting company x

                                                              Emerging growth company x

       If an emerging growth company, indicate by check mark if the registrant has elected not to use the extended transition period for
  complying with any new or revised financial accounting standards provided pursuant to Section 7(a)(2)(B) of the Securities Act. ¨

                                               CALCULATION OF REGISTRATION FEE

                                                                                    Proposed              Proposed
                                                                                    Maximum               Maximum
                                                                Amount               Offering             Aggregate           Amount of
                                                                 Being              Price per             Offering            Registration
  Title of Each Class of Security Being Registered             Registered           Security(1)            Price(1)               Fee
  Units, each consisting of one share of Class A
    common stock, $0.0001 par value and one-half of
    one redeemable warrant (2)                          34,500,000 Units $                   10.00    $    345,000,000    $          37,640
  Shares of Class A common stock included as part of
    the units(3)                                        34,500,000 Shares                       —                     —                   —(4)
  Redeemable warrants included as part of the units(3) 17,250,000 Warrants                      —                   —                    —(4)
  Representative Shares                                  172,500 Shares    $                 10.00           1,725,000                  189
  Total                                                                                               $    346,725,000    $          37,829(5)

  (1)    Estimated solely for the purpose of calculating the registration fee pursuant to Rule 457(a) under the Securities Act of 1933, as
         amended (the “Securities Act”).
  (2)    Includes 4,500,000 units, consisting of 4,500,000 shares of Class A common stock and 2,250,000 redeemable warrants, which
         may be issued upon exercise of a 45-day option granted to the underwriters to cover over-allotments, if any.
  (3)    Pursuant to Rule 416, there are also being registered an indeterminable number of additional securities as may be issued to
         prevent dilution resulting from stock splits, stock dividends or similar transactions.
  (4)    No fee pursuant to Rule 457(g).
  (5)    Previously paid.

        The Registrant hereby amends this Registration Statement on such date or dates as may be necessary to delay its effective
  date until the registrant shall file a further amendment which specifically states that this Registration Statement shall
  thereafter become effective in accordance with Section 8(a) of the Securities Act or until the Registration Statement shall
  become effective on such date as the Securities and Exchange Commission, acting pursuant to said Section 8(a), may
  determine.




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  The information in this preliminary prospectus is not complete and may be changed. We may not sell these securities until the
  registration statement filed with the Securities and Exchange Commission is effective. This preliminary prospectus is not an
  offer to sell these securities and it is not soliciting an offer to buy these securities in any jurisdiction where the offer or sale is
  not permitted.

  PRELIMINARY PROSPECTUS                                                    SUBJECT TO COMPLETION, DATED AUGUST 31, 2021

                                                                $300,000,000
                                                      Digital World Acquisition Corp.
                                                              30,000,000 Units

         Digital World Acquisition Corp. is a newly organized blank check company formed for the purpose of effecting a merger, capital
  stock exchange, asset acquisition, stock purchase, reorganization or similar business combination with one or more businesses, which
  we refer to as our initial business combination throughout this prospectus. We have not selected any specific business combination
  target and we have not, nor has anyone on our behalf, initiated any substantive discussions, directly or indirectly, with any business
  combination target. While we may pursue an initial business combination target in any business or industry, we intend to focus our
  search on middle-market emerging growth technology-focused companies in the Americas, in the SaaS and Technology or Fintech and
  Financial Services sector.

         This is an initial public offering of our securities. Each unit has an offering price of $10.00 and consists of one share of our
  Class A common stock and one-half of one redeemable warrant as described in more detail in this prospectus. Only whole warrants are
  exercisable. Each whole warrant entitles the holder thereof to purchase one share of our Class A common stock at a price of $11.50 per
  share, subject to adjustment as described herein. No fractional warrants will be issued upon separation of the units and only whole
  warrants will trade. The underwriters have a 45-day option from the date of this prospectus to purchase up to an additional 4,500,000
  units to cover over-allotments, if any.

        Eleven qualified institutional buyers or institutional accredited investors, namely (i) accounts or funds managed by Radcliffe
  Capital Management, L.P., (ii) Meteora Capital Partners, LP (an affiliate of Glazer Capital LLC), (iii) Castle Creek Strategies (and sub-
  funds associated with Castle Creek), (iv) The K2 Principal Fund L.P., (v) Context Partners Master Fund LP, (vi) Boothbay Absolute
  Return Strategies, LP (or its affiliate Boothbay Diversified Alpha Master Fund LP, commonly controlled by Boothbay Fund
  Management LLC), (vii) investment funds and accounts managed by Shaolin Capital Management, LLC, (viii) Hudson Bay Master
  Fund Ltd. and/or its affiliates, (ix) Saba Capital Master Fund, Ltd., Saba Capital Master Fund II, Ltd., Saba Capital Master Fund III, LP
  and Saba Capital SPAC Opportunities, Ltd., (x) D. E. Shaw Valence Portfolios, L.L.C. and (xi) Yakira Capital Management, Inc. (none
  of which are affiliated with any member of our management, our sponsor or any other anchor investor), which we refer to as the
  “anchor investors”, have entered into investment agreements with our sponsor and us pursuant to which they each expressed an interest
  to purchase up to 8.3% of the units sold in this offering (excluding any units sold upon exercise of the underwriters’ over-allotment
  option), or 2,490,000 units (which would aggregate to 91.3% of the units subject to this offering if all such indications of interest
  become confirmed orders in full following effectiveness of the registration statement of which this prospectus forms a part). We do not
  expect that all of the anchor investors will be allocated the full 8.3% of the units to be sold, and such allocations will be determined by
  the underwriters, subject to satisfying Nasdaq initial listing requirements, including the minimum number of round lot holders. There
  can be no assurance that the anchor investors will acquire any units in this offering, or as to the amount of such units the anchor
  investors will retain, if any, prior to or upon the consummation of our initial business combination. In addition, none of the anchor
  investors has any obligation to vote any of their public shares in favor of our initial business combination. Subject to each anchor
  investor purchasing 100% of the units allocated to it, in connection with the closing of this offering, our sponsor will sell 150,000
  founder shares to each anchor investor, or an aggregate of 1,650,000 founder shares to all 11 anchor investors, at a purchase price of
  approximately $0.0029 per share. For a discussion of certain additional arrangements with our anchor investors, see “Summary — The
  Offering — Expressions of Interest.”

        We will provide our public stockholders with the opportunity to redeem all or a portion of their shares of our Class A common
  stock upon the completion of our initial business combination, subject to the limitations described herein. If we are unable to complete
  our initial business combination within 12 months from the closing of this offering (or up to 18 months, if we extend the time to
  complete a business combination as described in this prospectus), we will redeem 100% of the public shares for cash, subject to
  applicable law and certain conditions as further described herein.

        Our sponsor, ARC Global Investments II LLC, has agreed to purchase an aggregate of 1,174,109 placement units (or 1,320,359
  placement units if the underwriter’s over-allotment option is exercised in full) at a price of $10.00 per unit, for an aggregate purchase
  price of $11,741,090 ($13,203,590 if the over-allotment option is exercised in full). Each placement unit will be identical to the units
  sold in this offering, except as described in this prospectus. The placement units will be sold in a private placement that will close
  simultaneously with the closing of this offering.
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         Our initial stockholders own an aggregate of 8,625,000 shares of our Class B common stock (up to 1,125,000 shares of which are
  subject to forfeiture depending on the extent to which the underwriters’ over-allotment option is exercised), which will automatically
  convert into shares of Class A common stock at the time of the consummation of our initial business combination, on a one-for-one
  basis, subject to adjustment as described herein.

         Currently, there is no public market for our units, Class A common stock or warrants. We have applied to list our units on The
  Nasdaq Global Market, or Nasdaq, under the symbol “DWACU”. We expect the Class A common stock and warrants comprising the
  units will begin separate trading on the 90th business day following the date of this prospectus unless EF Hutton, division of
  Benchmark Investments, LLC (the “representative”) informs us of its decision to allow earlier separate trading, subject to our
  satisfaction of certain conditions. Once the securities comprising the units begin separate trading, we expect that the Class A common
  stock and warrants will be listed on Nasdaq under the symbols “DWAC” and “DWACW,” respectively.


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        We are an “emerging growth company” under applicable federal securities laws and will be subject to reduced public
  company reporting requirements. Investing in our securities involves a high degree of risk. See “Risk Factors” beginning on
  page 33 for a discussion of information that should be considered in connection with an investment in our securities. Investors
  will not be entitled to protections normally afforded to investors in Rule 419 blank check offerings.

        Neither the U.S. Securities and Exchange Commission nor any state securities commission has approved or disapproved
  of these securities or determined if this prospectus is truthful or complete. Any representation to the contrary is a criminal
  offense.




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                                                                                                               Per Unit          Total
  Public offering price                                                                                    $        10 00    $ 300,000,000
  Underwriting discounts and commissions(1)                                                                $        0.475    $ 14,250,000
  Proceeds, before expenses, to Digital World Acquisition Corp.                                            $        9.525    $ 285,750,000

      (1)   Includes $0.35 per unit, or $10,500,000 (or $12,075,000 if the over-allotment option is exercised in full) in the aggregate,
            payable to the underwriters for deferred underwriting commissions to be placed in a trust account located in the United
            States as described herein. The deferred commissions will be released to the representative of the underwriters only on
            completion of an initial business combination, as described in this prospectus. Does not include certain fees and expenses
            payable to the underwriters in connection with this offering. In addition, designees of the representative of the underwriters
            will receive a fee equal to 0.5% of the gross proceeds payable in shares of Class B Common Stock at the public offering
            price of $10.00 per share. See the section of this prospectus entitled “Underwriting” beginning on page 154 for a description
            of compensation and other items of value payable to the underwriters.

       Of the proceeds we receive from this offering and the sale of the placement units described in this prospectus, $306,000,000 or
  $351,900,000 if the underwriters’ over-allotment option is exercised in full ($10.20 per unit in either case) will be deposited into a trust
  account in the United States with Continental Stock Transfer & Trust Company acting as trustee.

       The underwriters are offering the units for sale on a firm commitment basis. The underwriters expect to deliver the units to the
  purchasers on or about                  , 2021.

                                                        Sole Book-Running Manager
                                                             EF HUTTON
                                                  division of Benchmark Investments, LLC

                                                                              , 2021




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        We are responsible for the information contained in this prospectus. We have not authorized anyone to provide you with
  different information, and we take no responsibility for any other information others may give to you. We are not, and the
  underwriters are not, making an offer to sell securities in any jurisdiction where the offer or sale is not permitted. You should
  not assume that the information contained in this prospectus is accurate as of any date other than the date on the front of this
  prospectus.

        This prospectus includes estimates regarding market and industry data and forecasts which are based on publicly available
  information, industry reports and publications, reports from government agencies and management’s estimates based on third-party
  data. Third-party industry publications and forecasts generally state that the information contained therein has been obtained from
  sources generally believed to be reliable. The third-party industry sources referenced in this prospectus include, among others, EY
  Global and Deal Logic. We have not independently verified such third-party information, nor have we ascertained the underlying
  economic assumptions relied upon in those sources, and we cannot assure you of the accuracy or completeness of such information
  contained in this prospectus. Such data involve risks and uncertainties and is subject to change based on various factors, see “Risk
  Factors”.

        This prospectus contains trademarks, service marks and trade names of other companies which are the property of their
  respective owners. We do not intend our use or display of such names or marks to imply relationships with, or endorsements of us by,
  any other company.




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                                                                SUMMARY

        This summary only highlights the more detailed information appearing elsewhere in this prospectus. You should read this entire
  prospectus carefully, including the information under the section of this prospectus entitled “Risk Factors” and our financial
  statements and the related notes included elsewhere in this prospectus, before investing.

        Unless otherwise stated in this prospectus, or the context otherwise requires, references to:

        •      “anchor investors” are to (i) accounts or funds managed by Radcliffe Capital Management, L.P., (ii) Meteora Capital
              Partners, LP (an affiliate of Glazer Capital LLC), (iii) Castle Creek Strategies (and sub-funds associated with Castle
              Creek), (iv) The K2 Principal Fund L.P., (v) Context Partners Master Fund LP, (vi) Boothbay Absolute Return Strategies,
              LP (or its affiliate Boothbay Diversified Alpha Master Fund LP, commonly controlled by Boothbay Fund Management
              LLC), (vii) investment funds and accounts managed by Shaolin Capital Management, LLC, (viii) Hudson Bay Master Fund
              Ltd. and/or its affiliates, (ix) Saba Capital Master Fund, Ltd., Saba Capital Master Fund II, Ltd., Saba Capital Master
              Fund III, LP and Saba Capital SPAC Opportunities, Ltd., (x) D. E. Shaw Valence Portfolios, L.L.C. and (xi) Yakira Capital
              Management, Inc. (none of which are affiliated with any member of our management, our sponsor or any other anchor
              investor), each of which has entered into an Investment Agreement pursuant to which it has expressed an interest to
              purchase up to 8.3% of the units sold in this offering as further described herein;

        •     “common stock” are to our Class A common stock and our Class B common stock, collectively;

        •     “founder shares” are to shares of our Class B common stock initially purchased by our sponsor in a private placement
              prior to this offering, and the shares of our Class A common stock issuable upon the conversion thereof as provided herein;

        •     “initial stockholders” are to our sponsor and any other holders of our founder shares (including the holders of the
              representative shares) prior to this offering (or their permitted transferees), not including the anchor investors who
              purchase units in the offering, if any;

        •     “management” or our “management team” are to our officers and directors;

        •     “placement units” are to the units being purchased by our sponsor, with each placement unit consisting of one placement
              share and one-half of one placement warrant;

        •     “placement shares” are to the shares of our common stock included within the placement units being purchased by our
              sponsor in the private placement;

        •     “placement warrants” are to the warrants included within the placement units being purchased by our sponsor in the
              private placement;

        •      “private placement” are to the private placement of 1,174,109 placement units (up to 1,320,359 placement units if the
              underwriters’ over-allotment option is exercised in full) at a price of $10.00 per unit, for an aggregate purchase price of
              $11,741,090 (up to $13,203,590 if the underwriters’ over-allotment option is exercised in full), which will occur
              simultaneously with the completion of this offering;

        •     “public shares” are to shares of our Class A common stock sold as part of the units in this offering (whether they are
              purchased in this offering or thereafter in the open market);

        •     “public stockholders” are to the holders of our public shares, including our initial stockholders and management team to
              the extent our initial stockholders and/or members of our management team purchase public shares, provided that each
              initial stockholder’s and member of our management team’s status as a “public stockholder” shall only exist with respect
              to such public shares;


        •     “public warrants” are to our redeemable warrants sold as part of the units in this offering (whether they are purchased in
              this offering or thereafter in the open market, including warrants that may be acquired by our sponsor or its affiliates in
              this offering or thereafter in the open market);

        •     “representative” are to EF Hutton, division of Benchmark Investments, LLC, who is the representative of the underwriters
              in this offering;
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        •     “representative shares” are the 150,000 shares of our Class A common stock issuable to the representative and/or its
              designees at the closing of this offering (or 172,500 shares if the underwriters’ over-allotment option is exercised in full) ;

        •     “sponsor” are to ARC Global Investments II LLC, a Delaware limited liability company;

        •     “underwriters” are to the underwriters of this offering, for which the representative is acting as representative;

        •     “warrants” are to our redeemable warrants, which includes the public warrants as well as the placement warrants and any
              warrants issued upon conversion of working capital loans; and

        •     “we,” “us,” “company” or “our company” are to Digital World Acquisition Corp.

        Unless we tell you otherwise, the information in this prospectus assumes that the underwriters will not exercise their over-
  allotment option.

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  General

          We are a newly-organized blank check company incorporated in December 2020, whose business purpose is to effect a merger,
  capital stock exchange, asset acquisition, stock purchase, reorganization or similar business combination with one or more businesses,
  which we refer to as our initial business combination. To date, our efforts have been limited to organizational activities as well as
  activities related to this offering. We have not selected any specific business combination target and we have not, nor has anyone on our
  behalf, engaged in any substantive discussions, directly or indirectly, with any business combination target with respect to an initial
  business combination with us.

         While we may pursue an initial business combination opportunity in any business, industry, sector or geographical location, we
  intend to focus on middle market and emerging growth technology-focused companies in the Americas, in SaaS and Technology or
  Fintech and Financial Services

  Our Management Team

                    Our management team is led by Mr. Patrick Orlando, our Chairman and CEO, who has served many executive roles
                    in Finance over a 25-year career. Mr. Orlando’s experience covers all aspects related to special purpose acquisition
                    corporations (“SPACs”) as he has been involved as executive, sponsor and director in several SPACs including
                    Yunhong International (Nasdaq: ZGYH), Benessere Capital Acquisition Corporation (Nasdaq: BENE) and Maquia
                    Capital Acquisition Corporation (Nasdaq: MAQC). Over his career, Mr. Orlando has developed an extensive network
                    and we believe his knowledge and exposure on a global scale will enable us to locate and attract potential targets.

                    Mr. Orlando has been serving as Chief Executive Officer of Yunhong International since January 2020 and as Chief
                    Executive Officer of Benessere Capital Acquisition Corp. since September 2020. Mr. Orlando has also been a
                    director of Maquia Capital Acquisition Corporation since February 2021. Mr. Orlando is also Chief Executive Officer
                    of Benessere Capital, LLC, an investment consulting and investment banking firm he founded in Miami in October
                    2012. At Benessere Capital, LLC, he has advised on fundraising, capital deployment, mergers and acquisitions,
                    private placements, and products marketing. From March 2014 to August 2018, Mr. Orlando also served as the Chief
                    Financial Officer of Sucro Can Sourcing LLC, a sugar trading company he co-founded, where he managed all
                    financial matters including insurance and banking relationships. From March 2011 to March 2014, Mr. Orlando
                    served as the Managing Director and the Head of Structuring and Derivatives of BT Capital Markets, LLC, a
                    boutique investment bank in Miami, Florida, where he was involved in managing global derivatives and structuring
                    activities. From September 2006 to March 2011, Mr. Orlando served in roles including Chief Technical Officer and
                    Director of Pure Biofuels Corporation, a renewable fuel corporation headquartered in Houston, Texas with operations
                    in Peru. From April 1998 to December 2003, Mr. Orlando served as the Director of Emerging Markets Fixed Income
                    Derivatives of Deutsche Bank. Mr. Orlando earned bachelors of science degrees in Mechanical Engineering and
                    Management Science from the Massachusetts Institute of Technology.

                    Our CFO, Mr. Luis Orleans-Braganza is a businessman and currently a member of Brazil’s National Congress,
                    originally elected in 2018, representing the state of São Paulo. He founded Zap Tech in February of 2012 and
                    remained there until 2015, during which time Zap Tech developed a mobile payment platform. As the CEO he was
                    responsible for all aspects of product design, geo localization and payment protocols. In August of 2005 he founded
                    IKAT do Brasil, an automobile and motorcycle company which developed new automotive technology in ignitions.
                    Mr. Braganza was responsible for all aspects of general management including team building, business development,
                    research and development and capital allocation. Prior to his political and entrepreneurial days, his professional
                    trajectory began in the United States, where he harnessed experiences in planning, finance and mergers and
                    acquisitions. Mr. Braganza was part of the sales and operations planning effort of Companie de Saint-Gobain, a
                    French multinational, between January of 1994 and December of 1996. Later he extended his financial experience at
                    JP Morgan investment banking division in London and at Lazard Frères in New York City. From April 2000 to May
                    2005, he acted as a director at Time Warner’s, AOL Latin America division where he was responsible for managing
                    strategic alliances with media and telecom players in multiple countries in the region. Mr. Braganza earned a degree
                    in Business Administration from the Fundação Armando Álvares Penteado.


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                    Our directors and director nominees

                    Lee Jacobson, our director, is an entertainment executive with over 25 years of experience in the video game industry
                    and 16 years of experience managing digital distribution at some of the most well-known publishers in the world. In
                    January 2018, he co-founded and currently serves as the Chief Executive Officer for Robot Cache US, Inc., a PC
                    games digital distribution company. From January 2017 to January 2018, Lee was the Managing Director of
                    Converge Direct, LLC, a digital advertising agency, where he managed all of the analytics and software development
                    operations for its clients. Beginning in September 2012, Lee was the Chief Executive Officer of Apmetrix Analytics
                    Inc. until it liquidated its assets in 2019 in a Chapter 7 bankruptcy proceeding. From September 2009 to September
                    2012, Lee was a Senior Vice President, Licensing and Digital Publishing for Atari, where he was responsible for
                    global licensing activities for all consumer products and interactive categories for the Atari brand and global
                    publishing operations for the console and mobile business units. From August 1998 to August 2009, Lee was a Vice
                    President, Business Development and Licensing, for Midway Games Inc., during which time he managed the
                    worldwide licensing and business development functions. Prior to 1998, Lee was a Director of Business
                    Development for Virgin Interactive Entertainment beginning in January 1997.

                    Bruce J. Garelick is our director nominee. Mr. Garelick is a venture capitalist/entrepreneur/c-level executive and
                    disruptive technology investing enthusiast. Since August 2020, he has served as the chief-strategy-officer at Rocket
                    One Capital. From May 2019 to August 2020, he served as Chief Financial Officer of Leaf Logix Technologies, Inc.,
                    a software company. From 2012 to May 2019, Mr. Garelick was the founder and Managing Partner of Garelick
                    Capital Partners LP, a technology hedge fund. Prior thereto, from January 2005 to 2012, Mr. Garelick was a portfolio
                    manager at Adge Capital LP. Mr. Garelick has dedicated his career to investing, molding, and guiding transformative
                    growth technology companies. He has managed one of the largest technology hedge fund pools of capital in the
                    world for a former Harvard University endowment investment manager to starting his own hedge fund, which grew
                    into one of the top dedicated technology hedge funds in the world. He has since transitioned his investment focus and
                    managerial skills to the private technology world, where he served as a lead investor and CFO of an industry defining
                    software company to his current venture capital focus on early-stage technology companies at Rocket One Capital.
                    Mr. Garelick received his MBA from The Wharton School at University of Pennsylvania and his bachelor’s degree at
                    Vanderbilt University. He is a CFA (Chartered Financial Analyst) holder.

                    Justin Shaner, our director nominee, founded and has been serving as Chief Executive Officer of Shaner Properties
                    LLC, a real estate investment and development company, since February 2011. Mr. Shaner has been Vice President
                    of Development for Shaner Hotels LP, one of the foremost award-winning hospitality owner-operators and
                    management companies in the hospitality industry, since March 2018. Mr. Shaner has been serving as the Chief
                    Executive Officer of Sobe Brooke Studios LLC, an independent film production company, since October 2012. From
                    August 2013 to June 2016, Mr. Shaner served as a Partner and Producer of Radar Pictures in Los Angeles, California.
                    From September 2007 to September 2015, Mr. Shaner served as the President and Chief Creative Officer of The JLS
                    Agency, an award winning digital marketing agency. Since February 2021, Mr. Shaner has also served as a director
                    of Benessere Capital Acquisition Corp. Mr. Shaner also serves as a board member for Shaner Ciocco S.r.l. which
                    developed and manages the Renaissance Tuscany hotel. Mr. Shaner holds a Bachelor’s degree from Pennsylvania
                    State University.

                    Eric Swider, our director nominee, has been serving as the Chief Executive Officer of RUBIDEX, a start-up company
                    focusing on data security, since January 2020. Mr. Swider founded Renatus Advisors and has been serving as the
                    Partner of Renatus LLC since June 2016, where he is responsible for FEMA grant management and government
                    advisory services. From September 2016 to January 2018, Mr. Swider served as the Managing Director of Great Bay
                    Global where he oversaw launch of new business division focused on investing in alternative strategies. From
                    December 2014 to June 2016, Mr. Swider served as the Managing Director of OHorizons Global, where he oversaw
                    expansion of new investment team and was responsible for working on a global basis to expand client base and
                    investment portfolio. From February 2010 to December 2015, Mr. Swider served as the Managing Director of
                    Oceano Beach Resorts, where he was responsible for growing new property and resort management group. Since
                    February 2021, Mr. Swider has also served as a director of Benessere Capital Acquisition Corp. Mr. Swider received
                    his education in Mechanics Engineering and Nuclear Science Studies at US Naval Engineering and Nuclear A
                    Schools, an intensive two-year program studying nuclear physics, heat transfer and fluid flow, advanced
                    mathematical practices and engineering principles.

                    Rodrigo Veloso is our director nominee. Mr. Veloso was the founder and served as Chief Executive Officer of O.N.E.
                    Coconut Water from 2005 to 2012, one of the original three ready-to-drink coconut water beverage companies. Mr.

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                    Veloso built the O.N.E. brand into a multi-million dollar business with distribution in over 25,000 retail stores in the
                    United States and Canada. Mr. Veloso secured strategic and private equity investors for the company – PepsiCo and
                    Catterton Partners, respectively, which led to PepsiCo’s purchase of O.N.E. Coconut Water in 2012. Mr. Veloso has
                    been serving as the principal of Unik Capital since 2013, a boutique investment firm with investments in technology,
                    consumer goods and housing, which currently operates in the United States and Brazil. Mr. Veloso has been serving
                    as the board member of Segurar.com since 2012, Brazil’s first online insurance company. Mr. Veloso has been also
                    serving since 2010 as the Co-Founder of BRIC Chamber, an organization established to encourage people from
                    around the world to meet and talk about the development and advancement of programs and services in the fields of
                    investment, entrepreneurship and innovation in Brazil, Russia, India, China (“BRIC”) and other emerging countries.


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  Business Strategy

         While we may pursue an initial business combination target in any industry or geographic location, we intend to focus our
  search on middle market and emerging growth technology-focused companies in the Americas, in Fintech and Financial Services or
  SaaS and Technology. Most of these companies will ultimately need to consolidate to achieve the scale necessary to attain high revenue
  growth and attractive profitability. We believe that acquiring a leading emerging growth technology company will provide platform to
  fund consolidation and fuel growth for our company. Segments we might explore include, but are not limited to, technology and
  technologically enabled , industrial, supply chain, logistics, vehicles, security, and manufacturing businesses. There is no restriction in
  the geographic location of targets we can pursue, although we intend to initially prioritize the Americas as the geographical focus.

  Competitive Advantages

        We intend to capitalize on the following competitive advantages in our pursuit of a target company:

           •        Established Deal Sourcing Network. We believe the strong track record of our management team and our financial
                    advisor, ARC Group Limited, will enable us to get access to quality deal pipeline. In addition, we believe we,
                    through our management team and financial advisor, have contacts and sources from which to generate acquisition
                    opportunities and possibly seek complementary follow-on business arrangements. These contacts and sources include
                    those in government, private and public companies, private equity and venture capital funds, investment bankers,
                    attorneys and accountants.

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           •        Status as a Publicly Listed Acquisition Company. We believe our structure will make us an attractive business
                    combination partner to prospective target businesses. As a publicly listed company, we will offer a target business an
                    alternative to the traditional initial public offering process. We believe that some target businesses will favor this
                    alternative, which we believe is less expensive, while offering greater certainty of execution, than the traditional
                    initial public offering process. During an initial public offering, there are typically underwriting fees and marketing
                    expenses, which would be costlier than a business combination with us. Furthermore, once a proposed business
                    combination is approved by our shareholders (if applicable) and the transaction is consummated, the target business
                    will have effectively become public, whereas an initial public offering is always subject to the underwriter’s ability to
                    complete the offering, as well as general market conditions that could prevent the offering from occurring. Once
                    public, we believe our target business would have greater access to capital and additional means of creating
                    management incentives that are better aligned with shareholders’ interests than it would as a private company. It can
                    offer further benefits by augmenting a company’s profile among potential new customers and vendors and aid in
                    attracting talented management staffs.

  Industry Opportunity

          While we may acquire a business in any industry, our focus will be middle market and emerging growth technology-focused
  companies in the Americas, in SaaS and Technology or Fintech and Financial Services. We believe that our target industries are
  attractive for a number of reasons:

        SaaS and Technology

         We believe we are currently in the midst of a secular shift in the SaaS sub-segment of the technology industry, which is driving
  rapid growth in both annual spending and the number of actionable acquisition targets requiring a public market solution. This is driven
  in part by large corporations, which are constantly upgrading legacy technology and expanding their SaaS toolkits. We believe another
  major driver are new corporations which heavily rely in SaaS solutions given their cost-efficiency and scalability. Specifically, we see
  great opportunity in companies that are constantly evolving.

         Private technology companies are fundamentally changing the world at an unprecedented pace by establishing new markets,
  creating new experiences and disrupting legacy industries. Key technological advances and practices, such as cloud computing, data
  analytics and intelligence platforms, open-source software development, developer-focused software tools, and software-defined
  networking, storage and computing, are allowing technology companies to rapidly effect change in every major sector of the global
  economy. Agile private technology companies have embraced these advances and practices to create business models and address
  market needs that will enable them to reach significant financial scale and create shareholder value.

        FinTech and Financial Services

         The FinTech landscape has matured from a niche venture market to an expansive global industry comprised of numerous large-
  scale institutionalized businesses that consistently experience strong growth in revenue and profits. FinTech adoption by both
  consumers and businesses continues to benefit from robust secular tailwinds including the growth in digital commerce, the
  proliferation of mobile technology, the ubiquitous acceptance of digital payments, and continuous technological advancement,
  positioning the sector for long-term growth. In 2019, the EY Global FinTech Adoption Index estimated that 64% of digitally active
  consumers globally utilized FinTech products and that consumer awareness of FinTech is even higher.

          The number of technology company initial public offerings has also diminished. An average of 159 technology companies went
  public each year during the 1990s, according to the research firm Deal Logic. Since 2010, however, that yearly average plummeted to
  only 38, a 76% drop. That smaller initial public offering market has also been predominantly focused on so-called “unicorn” companies
  (meaning start-up, typically VC-backed companies, often focused on technology, with valuations of over $1 billion). The median
  market capitalization of a venture-backed initial public offering was about $660 million in 2012; in 2017 it was $1.1 billion, based on
  data from the University of Florida. We believe this means that very promising, but non-unicorn companies (such as we will likely
  target for our initial business combination) are in many instances missing out on the ability to do a traditional initial public offering.

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         Our management team believes that these factors present an intriguing paradox: a growing number of new companies have
  attracted more private capital. Yet once they flourish, they have a narrower exit route. In addition, that exit route is often reserved for
  larger companies, a substantial disadvantage for smaller private technology companies.

       Ultimately, we believe this same paradox creates a long-term opportunity for stockholder return via an initial business
  combination with a smaller, high-performing private technology company or companies. Additionally, it provides a persuasive
  argument for such companies to join with us, as we believe they have fewer exit options than presently exist for unicorns.

  Acquisition Criteria

        Consistent with our strategy, we have identified the following general criteria and guidelines that we believe are important in
  evaluating prospective target businesses. We intend to use these criteria and guidelines in evaluating acquisition opportunities, but we
  may decide to enter into our initial business combination with a target business that does not meet these criteria and guidelines.

         •      Target Size: Consistent with our investment thesis as described above, we plan to target businesses of total enterprise
                value from $400 million to $2 billion in the Americas, companies in the SaaS and Technology or Fintech and Financial
                Services

         •      Businesses with Revenue and Earnings Growth Potential. We will seek to acquire one or more businesses that have the
                potential for significant revenue and earnings growth through a combination of both existing and new product
                development, increased production capacity, expense reduction and synergistic follow-on acquisitions resulting in
                increased operating leverage.

         •      Businesses with Potential for Strong Free Cash Flow Generation. We will seek to acquire one or more businesses that
                have the potential to generate strong, stable and increasing free cash flow. We may also seek to prudently leverage this
                cash flow in order to enhance shareholder value.

         •      Strong Management. We will seek companies that have strong, experienced management teams in place, or are a
                platform to assemble an effective management team with a track record of driving growth and profitability. We will spend
                significant time assessing a company’s leadership and human fabric, and maximizing its efficiency over time.

         •      Benefit from Being a Public Company. We intend to acquire one or more businesses that will benefit from being
                publicly-traded and can effectively utilize the broader access to capital and the public profile that are associated with
                being a publicly traded company.

         •      Defensible Market Position. We intend to acquire one or more businesses that have a defensible market position, with
                demonstrated advantages when compared to their competitors and which create barriers to entry against new competitors.

        These criteria are not intended to be exhaustive. Any evaluation relating to the merits of a particular initial business combination
  may be based, to the extent relevant, on these general guidelines as well as other considerations, factors and criteria that from time to
  time our management may deem relevant.

         We have not contacted any of the prospective target businesses that Benessere Capital Acquisition Corporation or Maquia
  Capital Acquisition Corporation had considered and rejected. We do not currently intend to contact any of such targets; however, we
  may do so in the future if we become aware that the valuations, operations, profits or prospects of such target business, or the benefits
  of any potential transaction with such target business, would be attractive.

  Initial Business Combination

         Nasdaq rules require that we must complete one or more business combinations having an aggregate fair market value of at least
  80% of the value of the assets held in the trust account (excluding the deferred underwriting commissions and taxes payable on the
  interest earned on the trust account) at the time of our signing a definitive agreement in connection with our initial business
  combination. Our board of directors will make the determination as to the fair market value of our initial business combination. If our
  board of directors is not able to independently determine the fair market value of our initial business combination, we will obtain an
  opinion from an independent investment banking firm or another independent entity that commonly renders valuation opinions with
  respect to the satisfaction of such criteria. While we consider it unlikely that our board of directors will not be able to make an
  independent determination of the fair market value of our initial business combination, it may be unable to do so if it is less familiar or
  experienced with the business of a particular target or if there is a significant amount of uncertainty as to the value of a target’s assets or

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  prospects. Additionally, pursuant to Nasdaq rules, any initial business combination must be approved by a majority of our independent
  directors.

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            We anticipate structuring our initial business combination so that the post-transaction company in which our public
  stockholders own shares will own or acquire 100% of the equity interests or assets of the target business or businesses. We may,
  however, structure our initial business combination such that the post-transaction company owns or acquires less than 100% of such
  interests or assets of the target business in order to meet certain objectives of the prior owners of the target business, the target
  management team or stockholders or for other reasons, but we will only complete such business combination if the post-transaction
  company owns or acquires 50% or more of the outstanding voting securities of the target or otherwise acquires a controlling interest in
  the target sufficient for it not to be required to register as an investment company under the Investment Company Act of 1940, as
  amended (the “Investment Company Act”). Even if the post-transaction company owns or acquires 50% or more of the voting
  securities of the target, our stockholders prior to the business combination may collectively own a minority interest in the post-
  transaction company, depending on valuations ascribed to the target and us in the business combination transaction. For example, we
  could pursue a transaction in which we issue a substantial number of new shares in exchange for all of the outstanding capital stock,
  shares or other equity interests of a target. In this case, we would acquire a 100% controlling interest in the target. However, as a result
  of the issuance of a substantial number of new shares, our stockholders immediately prior to our initial business combination could
  own less than a majority of our issued and outstanding shares subsequent to our initial business combination. If less than 100% of the
  equity interests or assets of a target business or businesses are owned or acquired by the post-transaction company, the portion of such
  business or businesses that is owned or acquired is what will be valued for purposes of the 80% fair market value test. If the business
  combination involves more than one target business, the 80% fair market value test will be based on the aggregate value of all of the
  target businesses and we will treat the target businesses together as our initial business combination for purposes of a tender offer or for
  seeking stockholder approval, as applicable.

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           To the extent we effect our initial business combination with a company or business that may be financially unstable or in its
  early stages of development or growth, we may be affected by numerous risks inherent in such company or business. Although our
  management will endeavor to evaluate the risks inherent in a particular target business, we cannot assure you that we will properly
  ascertain or assess all significant risk factors.

          In evaluating a prospective target business, we expect to conduct a thorough due diligence review which will encompass,
  among other things, meetings with incumbent management and employees, document reviews, inspection of facilities, as well as a
  review of financial, operational, legal and other information which will be made available to us.

            The time required to select and evaluate a target business and to structure and complete our initial business combination, and
  the costs associated with this process, are not currently ascertainable with any degree of certainty. Any costs incurred with respect to
  the identification and evaluation of a prospective target business with which our initial business combination is not ultimately
  completed will result in our incurring losses and will reduce the funds we can use to complete another business combination.

  Sourcing of Potential Initial Business Combination Targets

            Certain members of our management team have spent significant portions of their careers working with businesses in the
  industries referred to above and have developed a wide network of professional services contacts and business relationships in that
  industry. The members of our board of directors also have executive management and public company experience with companies in
  the industries referred to above and bring additional relationships that further broaden our industry network.

           This network has provided our management team with a flow of referrals that have resulted in numerous transactions. We
  believe that the network of contacts and relationships of our management team will provide us with an important source of acquisition
  opportunities. In addition, we anticipate that target business candidates will be brought to our attention from various unaffiliated
  sources, including investment market participants, private equity groups, investment banks, consultants, accounting firms and large
  business enterprises.

            Members of our management team and our independent directors will directly or indirectly own founder shares and/or
  placement units following this offering and, accordingly, may have a conflict of interest in determining whether a particular target
  business is an appropriate business with which to effectuate our initial business combination. Further, each of our officers and directors
  may have a conflict of interest with respect to evaluating a particular business combination if the retention or resignation of any such
  officers and directors was included by a target business as a condition to any agreement with respect to our initial business
  combination.

           In addition, each of our officers and directors presently has, and any of them in the future may have additional, fiduciary or
  contractual obligations to other entities pursuant to which such officer or director is or will be required to present a business
  combination opportunity to such entity. In particular, Patrick Orlando, our Chief Executive Officer and Chairman, serves as Chief
  Executive officer and director of Benessere Capital Acquisition Corp. and Eric Swider and Justin Shaner, our director nominees, both
  serve as directors of Benessere Capital Acquisition Corp. Benessere Capital Acquisition Corp. is a special purpose acquisition
  corporation that focuses its search for a business combination on technology-focused middle market and emerging growth companies
  in North, Central and South America, which overlaps with the industry and geographic scope of our search. Mr. Orlando also serves as
  a director of Maquia Capital Acquisition Corp., a special purpose acquisition corporation that initially focuses its search for a business
  combination with technology-focused middle market and emerging growth companies in North America. As of the date of this
  prospectus, neither Benessere Capital Acquisition Corp., nor Maquia Capital Acquisition Corp. has entered into a business
  combination. Further, each of our officers and directors may have a conflict of interest with respect to evaluating a particular business
  combination if the retention or resignation of any such officers and directors was included by a target business as a condition to any
  agreement with respect to our initial business combination.

            In addition, our sponsor and our officers and directors may sponsor or form other special purpose acquisition companies
  similar to ours or may pursue other business or investment ventures during the period in which we are seeking an initial business
  combination. Any such companies, businesses or investments may present additional conflicts of interest in pursuing an initial business
  combination. However, we do not believe that any such potential conflicts would materially affect our ability to complete our initial
  business combination.

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  Corporate Information

        Our executive offices are located at 78 SW 7th Street, Miami, Florida 33130, and our telephone number is ‪(305) 735-1517.

        We are an “emerging growth company,” as defined in Section 2(a) of the Securities Act of 1933, as amended (the “Securities
  Act”), as modified by the Jumpstart Our Business Startups Act of 2012, or the JOBS Act. As such, we are eligible to take advantage of
  certain exemptions from various reporting requirements that are applicable to other public companies that are not emerging growth
  companies including, but not limited to, not being required to comply with the auditor attestation requirements of Section 404 of the
  Sarbanes-Oxley Act of 2002, or the Sarbanes-Oxley Act, reduced disclosure obligations regarding executive compensation in our
  periodic reports and proxy statements, and exemptions from the requirements of holding a non-binding advisory vote on executive
  compensation and stockholder approval of any golden parachute payments not previously approved. If some investors find our
  securities less attractive as a result, there may be a less active trading market for our securities and the prices of our securities may be
  more volatile.

         In addition, Section 107 of the JOBS Act also provides that an emerging growth company can take advantage of the extended
  transition period provided in Section 7(a)(2)(B) of the Securities Act for complying with new or revised accounting standards. In other
  words, an emerging growth company can delay the adoption of certain accounting standards until those standards would otherwise
  apply to private companies. We intend to take advantage of the benefits of this extended transition period.

         We will remain an emerging growth company until the earlier of (1) the last day of the fiscal year (a) following the fifth
  anniversary of the completion of this offering, (b) in which we have total annual gross revenue of at least $1.07 billion, or (c) in which
  we are deemed to be a large accelerated filer, which means the market value of our Class A common stock that is held by non-affiliates
  exceeds $700 million as of the prior June 30, and (2) the date on which we have issued more than $1.0 billion in non-convertible debt
  securities during the prior three-year period. References herein to emerging growth company will have the meaning associated with it
  in the JOBS Act. Additionally, we are a “smaller reporting company” as defined in Rule 10(f)(1) of Regulation S-K. Smaller reporting
  companies may take advantage of certain reduced disclosure obligations, including, among other things, providing only two years of
  audited financial statements. We will remain a smaller reporting company until the last day of the fiscal year in which (1) the market
  value of our common stock held by non-affiliates exceeds $250 million as of the end of the prior June 30th, or (2) our annual revenues
  exceeded $100 million during such completed fiscal year and the market value of our common stock held by non-affiliates exceeds
  $700 million as of the prior June 30th.

                                                              THE OFFERING

         In deciding whether to invest in our securities, you should take into account not only the backgrounds of the members of our
  management team, but also the special risks we face as a blank check company and the fact that this offering is not being conducted in
  compliance with Rule 419 promulgated under the Securities Act. You will not be entitled to protections normally afforded to investors
  in Rule 419 blank check offerings. You should carefully consider these and the other risks set forth in the section of this prospectus
  entitled “Risk Factors.”

  Securities offered                                     30,000,000 units (or 34,500,000 units if the underwriters’ over-allotment option is
                                                         exercised in full), at $10.00 per unit, each unit consisting of:

                                                             • one share of Class A common stock; and

                                                             • one-half of one redeemable warrant.

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  Proposed Nasdaq symbols                              Units: “DWACU”

                                                       Class A Common Stock: “DWAC”

                                                       Warrants: “DWACW”

  Trading commencement and separation of Class A       The units will begin trading on or promptly after the date of this prospectus. We
    common stock and warrants                          expect the Class A common stock and warrants comprising the units will begin
                                                       separate trading on the 90th business day following the date of this prospectus
                                                       unless the representative informs us of its decision to allow earlier separate
                                                       trading, subject to our having filed the Current Report on Form 8-K described
                                                       below and having issued a press release announcing when such separate trading
                                                       will begin. Once the shares of Class A common stock and warrants commence
                                                       separate trading, holders will have the option to continue to hold units or separate
                                                       their units into the component securities. Holders will need to have their brokers
                                                       contact our transfer agent in order to separate the units into shares of Class A
                                                       common stock and warrants. No fractional warrants will be issued upon
                                                       separation of the units and only whole warrants will trade. Accordingly, unless
                                                       you purchase at least two units, you will not be able to receive or trade a whole
                                                       warrant.

  Separate trading of the Class A common               In no event will the Class A common stock and warrants be traded separately until
    stock and warrants is prohibited until             we have filed a Current Report on Form 8-K with the SEC containing an audited
    we have filed a Current Report on                  balance sheet reflecting our receipt of the gross proceeds at the closing of this
    Form 8-K                                           offering. We will file the Current Report on Form 8-K promptly after the closing
                                                       of this offering, which is anticipated to take place three business days from the
                                                       date of this prospectus. If the underwriters’ over-allotment option is exercised
                                                       following the initial filing of such Current Report on Form 8-K, a second or
                                                       amended Current Report on Form 8-K will be filed to provide updated financial
                                                       information to reflect the exercise of the underwriters’ over-allotment option.

   Units:

      Number outstanding before this offering and      0
        the private placement

      Number or placement units to be sold in a        1,174,109 (1)
        private placement simultaneously with this
        offering

      Number outstanding after this offering and       31,174,109 (1)
        the private placement

   Common stock:

      Number outstanding before this offering and      8,625,000 shares of Class B common stock(2)
        the private placement

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        Number outstanding after this offering and       38,824,109 shares of Class A common stock and Class B common stock(1)(3)
          the private placement

   Warrants:

        Number outstanding before this offering and      0
          the private placement

        Number of warrants to be outstanding after       15,587,055 (1)
          this offering and the private placement

        Exercisability                                   Each whole warrant is exercisable to purchase one share of our Class A common
                                                         stock, subject to adjustment as provided herein. No fractional warrants will be
                                                         issued upon separation of the units and only whole warrants will trade and are
                                                         exercisable.

                                                         We structured each unit to contain one-half of one redeemable warrant, with each
                                                         whole warrant exercisable for one share of Class A common stock, as compared
                                                         to units issued by some other similar special purpose acquisition companies
                                                         which contain whole warrants exercisable for one whole share, in order to reduce
                                                         the dilutive effect of the warrants upon completion of an initial business
                                                         combination as compared to units that each contain a whole warrant to purchase
                                                         one whole share, thus making us, we believe, a more attractive initial business
                                                         combination partner for target businesses.

  (1)     Assumes no exercise of the underwriters’ over-allotment option and the forfeiture by our sponsor of 1,125,000 founder shares.
          Our sponsor has agreed to purchase an aggregate of 1,174,109 placement units (or 1,320,359 placement units if the
          underwriters’ over-allotment option is exercised in full) for an aggregate purchase price of $11,741,090 ($13,203,590 if the
          underwriters’ over-allotment option is exercised in full). Each placement unit will be identical to the units sold in this offering,
          except as described in this prospectus. The placement units are not subject to forfeiture but will be subject to transfer restrictions
          as described in “Principal Stockholders — Transfers of Founder Shares and Placement Units”.
  (2)     Includes 8,625,000 founder shares of which an aggregate of up to 1,125,000 shares are subject to forfeiture by our sponsor
          depending on the extent to which the underwriters’ over-allotment option is exercised.
  (3)     Comprised of 31,174,109 shares of Class A common stock (including 1,174,109 placement shares), 7,500,000 shares of Class B
          common stock (or founder shares) and 150,000 representative shares (172,500 representative shares if the underwriters’ over-
          allotment option is exercised in full). The Class B common stock is convertible into shares of our Class A common stock on a
          one-for-one basis, subject to adjustment as described below adjacent to the caption “Founder shares conversion and anti-dilution
          rights.”

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   Exercise price                                       $11.50 per share, subject to adjustment as described herein. In addition, if
                                                        (x) we issue additional shares of Class A common stock or equity-linked
                                                        securities for capital raising purposes in connection with the closing of our
                                                        initial business combination at an issue price or effective issue price of less than
                                                        $9.20 per share of Class A common stock (with such issue price or effective
                                                        issue price to be determined in good faith by our board of directors and, in the
                                                        case of any such issuance to our sponsor or its affiliates, without taking into
                                                        account any founder shares held by our sponsor or such affiliates, as applicable,
                                                        prior to such issuance) (the “Newly Issued Price”), (y) the aggregate gross
                                                        proceeds from such issuances represent more than 60% of the total equity
                                                        proceeds, and interest thereon, available for the funding of our initial business
                                                        combination on the date of the consummation of our initial business
                                                        combination (net of redemptions), and (z) the volume weighted average trading
                                                        price of our Class A common stock during the 20 trading day period starting on
                                                        the trading day prior to the day on which we consummate our initial business
                                                        combination (such price, the “Market Value”) is below $9.20 per share, then the
                                                        exercise price of the warrants will be adjusted (to the nearest cent) to be equal
                                                        to 115% of the greater of the Market Value and the Newly Issued Price, and the
                                                        $18.00 per share redemption trigger price described below under “Redemption
                                                        of warrants” will be adjusted (to the nearest cent) to be equal to 180% of the
                                                        greater of the Market Value and the Newly Issued Price.

   Exercise period                                      The warrants will become exercisable on the later of:

                                                           • 30 days after the completion of our initial business combination, and

                                                           • 12 months from the closing of this offering;

                                                        provided in each case that we have an effective registration statement under the
                                                        Securities Act covering the shares of Class A common stock issuable upon
                                                        exercise of the warrants and a current prospectus relating to them is available
                                                        (or we permit holders to exercise their warrants on a cashless basis under the
                                                        circumstances specified in the warrant agreement).

                                                        We are not registering the shares of Class A common stock issuable upon
                                                        exercise of the warrants at this time. However, we have agreed that as soon as
                                                        practicable, but in no event later than 15 business days after the closing of our
                                                        initial business combination, we will use our best efforts to file with the SEC a
                                                        registration statement covering the issuance of the shares of Class A common
                                                        stock issuable upon exercise of the warrants, to cause such registration
                                                        statement to become effective within 60 business days following our initial
                                                        business combination and to maintain a current prospectus relating to those
                                                        shares of Class A common stock until the warrants expire or are redeemed, as
                                                        specified in the warrant agreement. If a registration statement covering the
                                                        issuance of the shares of Class A common stock issuable upon exercise of the
                                                        warrants is not effective by the 60th business day after the closing of our initial
                                                        business combination, warrant holders may, until such time as there is an
                                                        effective registration statement and during any period when we will have failed
                                                        to maintain an effective registration statement, exercise warrants on a “cashless
                                                        basis” in accordance with Section 3(a)(9) of the Securities Act or another
                                                        exemption. If that exemption, or another exemption, is not available, holders
                                                        will not be able to exercise their warrants on a cashless basis.

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                                                        The warrants will expire at 5:00 p.m., New York City time, five years after the
                                                        completion of our initial business combination or earlier upon redemption or
                                                        liquidation. On the exercise of any warrant, the warrant exercise price will be
                                                        paid directly to us and not placed in the trust account.

   Redemption of warrants                               Once the warrants become exercisable, we may redeem the outstanding
                                                        warrants:

                                                           • in whole and not in part;

                                                           • at a price of $0.01 per warrant;

                                                           • upon not less than 30 days’ prior written notice of redemption given after
                                                             the warrants become exercisable (the “30-day redemption period”) to
                                                             each warrant holder; and

                                                           •    if, and only if, the reported last sale price of the Class A common stock
                                                               equals or exceeds $18.00 per share (as adjusted for stock splits, stock
                                                               dividends, reorganizations, recapitalizations and the like) for any 20
                                                               trading days within a 30-trading day period commencing after the
                                                               warrants become exercisable and ending on the third trading day before
                                                               we send the notice of redemption to the warrant holders.

                                                        We will not redeem the warrants as described above unless a registration
                                                        statement under the Securities Act covering the issuance of the shares of
                                                        Class A common stock issuable upon exercise of the warrants is then effective
                                                        and a current prospectus relating to those shares of Class A common stock is
                                                        available throughout the 30-day redemption period, except if the warrants may
                                                        be exercised on a cashless basis and such cashless exercise is exempt from
                                                        registration under the Securities Act. If and when the warrants become
                                                        redeemable by us, we may not exercise our redemption right if the issuance of
                                                        shares of Class A common stock upon exercise of the warrants is not exempt
                                                        from registration or qualification under applicable state blue sky laws or we are
                                                        unable to effect such registration or qualification. We will use our best efforts to
                                                        register or qualify such shares of Class A common stock under the blue sky
                                                        laws of the state of residence in those states in which the warrants were offered
                                                        by us in this offering.

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                                                        If we call the warrants for redemption as described above, our management will
                                                        have the option to require all holders that wish to exercise warrants to do so on
                                                        a “cashless basis.” In determining whether to require all holders to exercise
                                                        their warrants on a “cashless basis,” our management will consider, among
                                                        other factors, our cash position, the number of warrants that are outstanding and
                                                        the dilutive effect on our stockholders of issuing the maximum number of
                                                        shares of Class A common stock issuable upon the exercise of our warrants. In
                                                        such event, each holder would pay the exercise price by surrendering the
                                                        warrants for that number of shares of Class A common stock equal to the
                                                        quotient obtained by dividing (x) the product of the number of shares of
                                                        Class A common stock underlying the warrants, multiplied by the difference
                                                        between the exercise price of the warrants and the “fair market value” (defined
                                                        below) by (y) the fair market value. The “fair market value” for this purpose
                                                        shall mean the average reported last sale price of the Class A common stock for
                                                        the 10 trading days ending on the third trading day prior to the date on which
                                                        the notice of redemption is sent to the holders of warrants.

                                                        Please see the section of this prospectus entitled “Description of Securities —
                                                        Redeemable Warrants — Public Stockholders’ Warrants” for additional
                                                        information.

   Founder shares                                       On January 20, 2021, our sponsor purchased 2,875,000 founder shares for an
                                                        aggregate purchase price of $25,000, or approximately $0.003 per share. On
                                                        July 1, 2021, we effected a three-for-one stock split, such that our sponsor held
                                                        8,625,000 founder shares. Effective as of July 2, 2021, our sponsor transferred
                                                        10,000 founder shares to our Chief Financial Officer and 7,500 founder shares
                                                        to each of our independent director and director nominees. On August 18,
                                                        2021, 7,500 founder shares were returned to our sponsor from a former director
                                                        nominee. Prior to the initial investment in the company of $25,000 by our
                                                        sponsor, the company had no assets, tangible or intangible. The per share
                                                        purchase price of the founder shares was determined by dividing the amount of
                                                        cash contributed to the company by the aggregate number of founder shares
                                                        issued. The number of founder shares issued was determined based on the
                                                        expectation that the founder shares would represent 20% of the outstanding
                                                        shares after this offering (excluding the representative shares and the placement
                                                        units and underlying securities). As such, our initial stockholders will
                                                        collectively own approximately 22.3% of our issued and outstanding shares
                                                        after this offering (including the placement shares to be issued to the sponsor
                                                        and assuming they and the anchor investors do not purchase any units in this
                                                        offering). Neither our sponsor nor any of our officers, directors or director
                                                        nominees have expressed an intention to purchase any units in this offering. Up
                                                        to 1,125,000 founder shares held by our sponsor will be subject to forfeiture by
                                                        our sponsor depending on the extent to which the underwriters’ over-allotment
                                                        option is exercised so that our initial stockholders will maintain ownership of
                                                        20% of our common stock after this offering (excluding the representative
                                                        shares and the placement units and underlying securities). We will effect a
                                                        stock dividend or share contribution prior to this offering should the size of the
                                                        offering change, in order to maintain such ownership percentage.

                                                        Subject to each anchor investor purchasing 100% of the units allocated to it, in
                                                        connection with the closing of this offering, our sponsor will sell 150,000
                                                        founder shares to each anchor investor, or an aggregate of 1,650,000 founder
                                                        shares to all 11 anchor investors, at a purchase price of $0.0029 per share.

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                                                        The founder shares are identical to the shares of Class A common stock
                                                        included in the units being sold in this offering, except that:

                                                           •    the founder shares are shares of Class B common stock that
                                                               automatically convert into shares of our Class A common stock at the
                                                               time of the consummation of our initial business combination, on a one-
                                                               for-one basis, subject to adjustment pursuant to certain anti-dilution
                                                               rights, as described herein;

                                                           • the founder shares are subject to certain transfer restrictions, as described
                                                             in more detail below;

                                                           •    our sponsor, officers and directors have entered, and we anticipate our
                                                               director nominees will enter, into a letter agreement with us, pursuant to
                                                               which they have agreed to (i) waive their redemption rights with respect
                                                               to any founder shares, placement shares and public shares held by them
                                                               in connection with the completion of our initial business combination,
                                                               (ii) waive their redemption rights with respect to any founder shares,
                                                               placement shares and public shares held by them in connection with a
                                                               stockholder vote to approve an amendment to our amended and restated
                                                               certificate of incorporation (A) to modify the substance or timing of our
                                                               obligation to allow redemption in connection with our initial business
                                                               combination or certain amendments to our charter prior thereto or to
                                                               redeem 100% of our public shares if we do not complete our initial
                                                               business combination within 12 months (or up to 18 months, if we extend
                                                               the time to complete a business combination as described in this
                                                               prospectus) from the closing of this offering or (B) with respect to any
                                                               other provision relating to stockholders’ rights or pre-initial business
                                                               combination activity and (iii) waive their rights to liquidating
                                                               distributions from the trust account with respect to any founder shares
                                                               and placement shares held by them if we fail to complete our initial
                                                               business combination within 12 months (or up to 18 months, if we extend
                                                               the time to complete a business combination as described in this
                                                               prospectus) from the closing of this offering, although they will be
                                                               entitled to liquidating distributions from the trust account with respect to
                                                               any public shares they hold if we fail to complete our initial business
                                                               combination within the prescribed time frame;

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                                                           •    pursuant to the letter agreement, our sponsor, officers, directors and
                                                               director nominees will agree to vote any founder shares and placement
                                                               shares held by them and any public shares they may acquire during or
                                                               after this offering (including in open market and privately negotiated
                                                               transactions) in favor of our initial business combination. If we submit
                                                               our initial business combination to our public stockholders for a vote, we
                                                               will complete our initial business combination only if a majority of the
                                                               then outstanding shares of common stock present and entitled to vote at
                                                               the meeting to approve the initial business combination are voted in favor
                                                               of the initial business combination. As a result, in the event that only the
                                                               minimum number of shares representing a quorum is present at a
                                                               stockholders’ meeting held to vote on our initial business combination, in
                                                               addition to our initial stockholders’ founder shares and placement shares
                                                               and our anchor investors’ founder shares (if any), we would need only
                                                               844,420, or 2.8%, of the 30,000,000 public shares sold in this offering to
                                                               be voted in favor of an initial business combination in order to have our
                                                               initial business combination approved (assuming the underwriters’ over-
                                                               allotment option is not exercised, that the initial stockholders do not
                                                               purchase any units in this offering or units or shares in the after-market
                                                               and that the 150,000 representative shares are voted in favor of the
                                                               transaction). The anchor investors who purchase public shares in the
                                                               offering and anchor founder shares are not included as founders for such
                                                               purpose, however, if our anchor investors purchase all of the units that
                                                               they have collectively expressed an interest in purchasing in this offering
                                                               and vote their public shares in favor of our initial business combination,
                                                               no affirmative votes from other public stockholders would be required to
                                                               approve our initial business combination; and

                                                           • the anchor investors have entered into investment agreements with us
                                                             and our sponsor, pursuant to which they have agreed to (i) waive their
                                                             redemption rights with respect to any founder shares, held by them in
                                                             connection with the completion of our initial business combination, and
                                                             (ii) waive their rights to liquidating distributions from the trust account
                                                             with respect to any founder shares held by them if we fail to complete our
                                                             initial business combination within 12 months (or up to 18 months, if we
                                                             extend the time to complete a business combination as described in this
                                                             prospectus) from the closing of this offering, although they will be
                                                             entitled to liquidating distributions from the trust account with respect to
                                                             any public shares they hold if we fail to complete our initial business
                                                             combination within the prescribed time frame;

                                                           •   the founder shares are entitled to registration rights.


   Transfer restrictions on founder shares             Our initial stockholders have agreed not to transfer, assign or sell any of their
                                                       founder shares (or shares of common stock issuable upon conversion thereof)
                                                       until the earlier to occur of: (A) six months after the completion of our initial
                                                       business combination and (B) subsequent to our initial business combination, (x)
                                                       if the reported last sale price of our Class A common stock equals or exceeds
                                                       $12.00 per share (as adjusted for stock splits, stock dividends, reorganizations,
                                                       recapitalizations and the like) for any 20 trading days within any 30-trading day
                                                       period commencing at least 150 days after our initial business combination , or
                                                       (y) the date on which we complete a liquidation, merger, capital stock exchange
                                                       or other similar transaction that results in all of our stockholders having the right
                                                       to exchange their shares of common stock for cash, securities or other property
                                                       (except as described herein under the section of this prospectus entitled
                                                       “Principal Stockholders — Restrictions on Transfers of Founder Shares and
                                                       Placement Units”). Any permitted transferees will be subject to the same

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                                                       restrictions and other agreements of our initial stockholders with respect to any
                                                       founder shares. We refer to such transfer restrictions throughout this prospectus
                                                       as the lock-up.

   Founder shares conversion and anti-dilution         The shares of Class B common stock will automatically convert into shares of
     rights                                            our Class A common stock at the time of the consummation of our initial
                                                       business combination on a one-for-one basis, subject to adjustment for stock
                                                       splits, stock dividends, reorganizations, recapitalizations and the like, and subject
                                                       to further adjustment as provided herein. In the case that additional shares of
                                                       Class A common stock, or equity-linked securities, are issued or deemed issued
                                                       in excess of the amounts offered in this prospectus and related to the closing of
                                                       the initial business combination, the ratio at which shares of Class B common
                                                       stock shall convert into shares of Class A common stock will be adjusted (unless
                                                       the holders of a majority of the outstanding shares of Class B common stock
                                                       agree to waive such adjustment with respect to any such issuance or deemed
                                                       issuance) so that the number of shares of Class A common stock issuable upon
                                                       conversion of all shares of Class B common stock will equal, in the aggregate, on
                                                       an as-converted basis, 20% of the sum of the total number of all shares of
                                                       common stock outstanding upon the completion of this offering (excluding the
                                                       representative shares and the placement units and underlying securities) plus all
                                                       shares of Class A common stock and equity-linked securities issued or deemed
                                                       issued in connection with the initial business combination (excluding any shares
                                                       or equity-linked securities issued, or to be issued, to any seller in the initial
                                                       business combination or any private placement-equivalent units and their
                                                       underlying securities issued to our sponsor or its affiliates upon conversion of
                                                       working capital loans made to us). The term “equity-linked securities” refers to
                                                       any debt or equity securities that are convertible, exercisable or exchangeable for
                                                       shares of Class A common stock issued in a financing transaction in connection
                                                       with our initial business combination, including but not limited to a private
                                                       placement of equity or debt. Securities could be “deemed issued” for purposes of
                                                       the conversion rate adjustment if such shares are issuable upon the conversion or
                                                       exercise of convertible securities, warrants or similar securities.

   Expressions of Interest                             Our anchor investors(none of which are affiliated with any member of our
                                                       management, our sponsor or any other anchor investor), have entered into
                                                       investment agreements with our sponsor and us pursuant to which they each have
                                                       expressed an interest to purchase up to 8.3% of the units sold in this offering
                                                       (excluding any units sold upon exercise of the underwriters’ over-allotment
                                                       option), or 2,490,000 units (which would aggregate to 91.3% of the units subject
                                                       to this offering if all such indications of interest become confirmed orders in full
                                                       following effectiveness of the registration statement of which this prospectus
                                                       forms a part). We do not expect that all of the anchor investors will be allocated
                                                       the full 8.3% of the units to be sold, and such allocations will be determined by
                                                       the underwriters subject to satisfying Nasdaq initial listing requirements,
                                                       including the minimum number of round lot holders. There is also no guarantee
                                                       that all anchor investors will participate in the offering. Subject to each anchor
                                                       investor purchasing 100% of the units allocated to it, in connection with the
                                                       closing of this offering our sponsor will sell 150,000 founder shares to each
                                                       anchor investor, or an aggregate of 1,650,000 founder shares to all 11 anchor
                                                       investors, at a purchase price of $0.0029 per share, which we refer to as the
                                                       “anchor founder shares”. The obligation of our sponsor to sell such anchor
                                                       founder shares to each anchor investor is conditioned upon each such anchor
                                                       investor purchasing all of the units in this offering, if any, it may be offered by
                                                       the underwriters (which shall not exceed 8.3% of the units in this offering).
                                                       However, the anchor investors’ interest in the anchor founder shares will not be
                                                       reduced if the underwriters allocate the anchor investors less than 8.3% of the
                                                       units sold in this offering (excluding any units sold upon exercise of the
                                                       underwriters’ over-allotment option). Further, the anchor founder shares shall
                                                       have the right not to be subject to adjustments or cutbacks in the event our
                                                       sponsor agrees to any such adjustments or cutbacks (of its shares) in connection

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                                                       with our initial business combination. The anchor investors have agreed to (a)
                                                       vote any anchor founder shares held by them in favor of our initial business
                                                       combination and (b) subject any anchor founder shares held by them to the same
                                                       lock-up restrictions as the founder shares held by our sponsor and independent
                                                       directors. The negotiations between our sponsor, each anchor investor and us
                                                       were separate and there are no arrangements or understandings among the anchor
                                                       investors with regard to voting, including voting with respect to our initial
                                                       business combination.

                                                       The anchor investors would not be required to (i) hold any units, shares of
                                                       common stock or warrants they may purchase in this offering or thereafter for
                                                       any amount of time, (ii) vote any shares of common stock they may own at the
                                                       applicable time in favor of our initial business combination or (iii) refrain from
                                                       exercising their right to redeem their public shares at the time of our initial
                                                       business combination. However, if the anchor investors purchase units in this
                                                       offering or our securities in the open market (or both) and hold such securities,
                                                       they or any one of them could assert influence over our company, including with
                                                       respect to our initial business combination. See “Risk Factors — Our anchor
                                                       investors have provided indications of interest to purchase up to 91.3% of the
                                                       units sold in this offering. Depending on how many units are purchased by the
                                                       anchor investors, the trading volume, volatility and liquidity for our shares could
                                                       be reduced, the trading price of our shares could be adversely affected and other
                                                       investors could be prevented from influencing significant corporate decisions.”

                                                       There can be no assurance that the anchor investors will acquire any units in this
                                                       offering, or as to the amount of such units the anchor investors will retain, if any,
                                                       prior to or upon the consummation of our initial business combination. In the
                                                       event that the anchor investors purchase such units (either in this offering or
                                                       after), continue to own units or shares at the time of the stockholder vote, and
                                                       vote in favor of our initial business combination, no affirmative votes from other
                                                       public stockholders would be required to approve our initial business
                                                       combination. However, because our anchor investors would not be obligated to
                                                       continue owning any public shares following the closing and would not be
                                                       obligated to vote any public shares in favor of our initial business combination,
                                                       we cannot assure you that any of these anchor investors will be stockholders at
                                                       the time our stockholders vote on our initial business combination, and, if they
                                                       are stockholders, we cannot assure you as to how such anchor investors will vote
                                                       on any business combination.




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   Voting Rights                                       Holders of record of the Class A common stock and holders of record of the
                                                       Class B common stock will vote together as a single class on all matters submitted
                                                       to a vote of our stockholders, with each share of common stock entitling the
                                                       holder to one vote, except as required by law.

   Placement units                                     Our sponsor has agreed to purchase an aggregate of 1,174,109 placement units (or
                                                       1,320,359 placement units if the underwriters’ over-allotment option is exercised
                                                       in full) at a price of $10.00 per unit, for an aggregate purchase price of
                                                       $11,741,090 ($13,203,590) if the underwriters’ over-allotment option is exercised
                                                       in full). Each placement unit is identical to the units offered by this prospectus
                                                       except as described below. There will be no redemption rights or liquidating
                                                       distributions from the trust account with respect to the founder shares, placement
                                                       shares or placement warrants, which will expire worthless if we do not
                                                       consummate a business combination within 12 months (or up to 18 months, if we
                                                       extend the time to complete a business combination as described in this
                                                       prospectus) from the closing of this offering. Our initial stockholders have agreed
                                                       to waive their redemption rights with respect to any founder shares or placement
                                                       shares (i) in connection with the consummation of a business combination, (ii) in
                                                       connection with a stockholder vote to amend our amended and restated certificate
                                                       of incorporation to modify the substance or timing of our obligation to allow
                                                       redemption in connection with our initial business combination or certain
                                                       amendments to our charter prior thereto, to redeem 100% of our public shares if
                                                       we do not complete our initial business combination within 12 months (or up to
                                                       18 months, if we extend the time to complete a business combination as described
                                                       in this prospectus) from the completion of this offering or with respect to any
                                                       other provision relating to stockholders’ rights or pre-initial business combination
                                                       activity and (iii) if we fail to consummate a business combination within 12
                                                       months (or up to 18 months, if we extend the time to complete a business
                                                       combination as described in this prospectus) from the completion of this offering
                                                       or if we liquidate prior to the expiration of the 12-month period (or up to 18
                                                       month period, if we extend the time to complete a business combination as
                                                       described in this prospectus). However, our initial stockholders will be entitled to
                                                       redemption rights with respect to any public shares held by them if we fail to
                                                       consummate a business combination or liquidate within the 12-month period (or
                                                       up to 18-month period, if we extend the time to complete a business combination
                                                       as described in this prospectus).

   Transfer restrictions on placement units            The placement units and their component securities will not be transferable,
                                                       assignable or saleable until 30 days after the consummation of our initial business
                                                       combination except to permitted transferees.


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   Representative shares                               Upon the closing of this offering, we will issue to the representative and/or its
                                                       designee 150,000 shares of Class A common stock (172,500 shares of Class A
                                                       common stock if the underwriters’ over-allotment option is exercised in full). The
                                                       holders of the representative shares have agreed not to transfer, assign or sell any
                                                       such shares without our prior consent until the completion of our initial business
                                                       combination. In addition, the holders of the representative shares have agreed
                                                       (i) to waive their redemption rights (or right to participate in any tender offer) with
                                                       respect to such shares in connection with the completion of our initial business
                                                       combination and (ii) to waive their rights to liquidating distributions from the trust
                                                       account with respect to such shares if we fail to complete our initial business
                                                       combination within 12 months (or up to 18 months, if we extend the time to
                                                       complete a business combination as described in this prospectus) from the closing
                                                       of this offering . The representative shares are deemed to be underwriters’
                                                       compensation by FINRA pursuant to FINRA Rule 5110.

   Proceeds to be held in trust account                Nasdaq rules provide that at least 90% of the gross proceeds from this offering
                                                       and the sale of the placement units be deposited in a trust account. Of the net
                                                       proceeds of this offering and the sale of the placement units, $306,000,000, or
                                                       $10.20 per unit ($351,900,000, or $10.20 per unit, if the underwriters’ over-
                                                       allotment option is exercised in full) will be placed into a trust account in the
                                                       United States with Continental Stock Transfer & Trust Company acting as trustee.

                                                       These proceeds include $10,500,000 (or $12,075,000 if the underwriters’ over-
                                                       allotment option is exercised in full) in deferred underwriting commissions.


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                                                       Except with respect to interest earned on the funds held in the trust account that
                                                       may be released to us to pay our tax obligations and up to $100,000 of interest that
                                                       may be used for our dissolution expenses, the proceeds from this offering and the
                                                       sale of the placement units held in the trust account will not be released from the
                                                       trust account until the earliest to occur of: (a) the completion of our initial
                                                       business combination, (b) the redemption of any public shares properly submitted
                                                       in connection with a stockholder vote to amend our amended and restated
                                                       certificate of incorporation (i) to modify the substance or timing of our obligation
                                                       to allow redemption in connection with our initial business combination or certain
                                                       amendments to our charter prior thereto or to redeem 100% of our public shares if
                                                       we do not complete our initial business combination within 12 months (or up to
                                                       18 months, if we extend the time to complete a business combination as described
                                                       in this prospectus) from the closing of this offering or (ii) with respect to any other
                                                       provision relating to stockholders’ rights or pre-business combination activity, and
                                                       (c) the redemption of our public shares if we are unable to complete our initial
                                                       business combination within 12 months (or up to 18 months, if we extend the time
                                                       to complete a business combination as described in this prospectus) from the
                                                       closing of this offering, subject to applicable law. The proceeds deposited in the
                                                       trust account could become subject to the claims of our creditors, if any, which
                                                       could have priority over the claims of our public stockholders.

   Anticipated expenses and funding sources            Except as described above with respect to the payment of taxes, unless and until
                                                       we complete our initial business combination, no proceeds held in the trust
                                                       account will be available for our use. The proceeds held in the trust account will
                                                       be invested only in U.S. government securities with a maturity of 185 days or less
                                                       or in money market funds meeting certain conditions under Rule 2a-7 under the
                                                       Investment Company Act which invest only in direct U.S. government treasury
                                                       obligations. We will disclose in each quarterly and annual report filed with the
                                                       SEC prior to our initial business combination whether the proceeds deposited in
                                                       the trust account are invested in U.S. government treasury obligations or money
                                                       market funds or a combination thereof. Based upon current interest rates, we
                                                       expect the trust account to generate approximately $448,800 of pre-tax interest
                                                       annually assuming an interest rate of 0.2% per year; however, we can provide no
                                                       assurances regarding this amount.
                                                       Unless and until we complete our initial business combination, we may pay our
                                                       expenses only from:
                                                          • the net proceeds of this offering and the sale of the placement units not held
                                                            in the trust account, which will be approximately $1,435,000 in working
                                                            capital after the payment of approximately $556,090 in expenses relating to
                                                            this offering; and
                                                          • any loans or additional investments from our sponsor, members of our
                                                            management team or their affiliates or other third parties, although they are
                                                            under no obligation to advance funds or invest in us, and provided that any
                                                            such loans will not have any claim on the proceeds held in the trust account
                                                            unless such proceeds are released to us upon completion of an initial
                                                            business combination.


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   Conditions to completing our initial business       Nasdaq rules require that we must complete one or more business combinations
    combination                                        having an aggregate fair market value of at least 80% of the value of the assets
                                                       held in the trust account (excluding the deferred underwriting commissions and
                                                       taxes payable on the interest earned on the trust account) at the time of our signing
                                                       a definitive agreement in connection with our initial business combination. Our
                                                       board of directors will make the determination as to the fair market value of our
                                                       initial business combination. If our board of directors is not able to independently
                                                       determine the fair market value of our initial business combination target, we will
                                                       obtain an opinion from an independent investment banking firm or another
                                                       independent entity that commonly renders valuation opinions with respect to the
                                                       satisfaction of such criteria. While we consider it unlikely that our board of
                                                       directors will not be able to make an independent determination of the fair market
                                                       value of our initial business combination target, it may be unable to do so if it is
                                                       less familiar or experienced with the business of a particular target or if there is a
                                                       significant amount of uncertainty as to the value of a target’s assets or prospects.
                                                       There is no limitation on our ability to raise funds privately, or through loans in
                                                       connection with our initial business combination. Additionally, pursuant to
                                                       Nasdaq rules, any initial business combination must be approved by a majority of
                                                       our independent directors.
                                                       We anticipate structuring our initial business combination either (i) in such a way
                                                       so that the post-transaction company in which our public stockholders own shares
                                                       will own or acquire 100% of the equity interests or assets of the target business or
                                                       businesses, or (ii) in such a way so that the post-transaction company owns or
                                                       acquires less than 100% of such interests or assets of the target business in order
                                                       to meet certain objectives of the target management team or stockholders, or for
                                                       other reasons. However, we will only complete an initial business combination if
                                                       the post-transaction company owns or acquires 50% or more of the outstanding
                                                       voting securities of the target or otherwise acquires a controlling interest in the
                                                       target sufficient for it not to be required to register as an investment company
                                                       under the Investment Company Act.
                                                       Even if the post-transaction company owns or acquires 50% or more of the voting
                                                       securities of the target, our stockholders prior to the initial business combination
                                                       may collectively own a minority interest in the post-transaction company,
                                                       depending on valuations ascribed to the target and us in the initial business
                                                       combination. For example, we could pursue a transaction in which we issue a
                                                       substantial number of new shares in exchange for all of the outstanding capital
                                                       stock of a target.


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    Manner of conducting redemptions                   We will provide our public stockholders with the opportunity to redeem all or a
                                                       portion of their public shares upon the completion of our initial business
                                                       combination either (i) in connection with a stockholder meeting called to approve
                                                       the initial business combination or (ii) by means of a tender offer. The decision as
                                                       to whether we will seek stockholder approval of a proposed initial business
                                                       combination or conduct a tender offer will be made by us, solely in our
                                                       discretion, and will be based on a variety of factors such as the timing of the
                                                       transaction and whether the terms of the transaction would require us to seek
                                                       stockholder approval under applicable law or stock exchange listing
                                                       requirements. Under Nasdaq rules, asset acquisitions and stock purchases would
                                                       not typically require stockholder approval while direct mergers with our
                                                       company where we do not survive and any transactions where we issue more
                                                       than 20% of our outstanding common stock or seek to amend our amended and
                                                       restated certificate of incorporation would typically require stockholder approval.
                                                       We may conduct redemptions without a stockholder vote pursuant to the tender
                                                       offer rules of the SEC unless stockholder approval is required by law or stock
                                                       exchange listing requirements or we choose to seek stockholder approval for
                                                       business or other legal reasons. So long as we obtain and maintain a listing for
                                                       our securities on Nasdaq, we will be required to comply with Nasdaq’s
                                                       stockholder approval rules.
                                                       If stockholder approval of the transaction is required by law or stock exchange
                                                       listing requirements, or we decide to obtain stockholder approval for business or
                                                       other legal reasons, we will:
                                                          • conduct the redemptions in conjunction with a proxy solicitation pursuant
                                                            to Regulation 14A of the Exchange Act, which regulates the solicitation of
                                                            proxies, and not pursuant to the tender offer rules, and
                                                          • file proxy materials with the SEC.
                                                       If we seek stockholder approval, unless otherwise required by applicable law,
                                                       regulation or stock exchange rules, we will complete our initial business
                                                       combination only if a majority of the then outstanding shares of common stock
                                                       present and entitled to vote at the meeting to approve the initial business
                                                       combination are voted in favor of the initial business combination. A quorum for
                                                       such meeting will consist of the holders present in person or by proxy of shares of
                                                       our outstanding shares of common stock representing a majority of the voting
                                                       power of all outstanding shares of our common stock entitled to vote at such
                                                       meeting. Our initial stockholders will count towards this quorum and, pursuant to
                                                       the letter agreement, our sponsor, officers, directors and director nominees will
                                                       agree to vote any founder shares and placement shares held by them and any
                                                       public shares acquired by them during or after this offering (including in open
                                                       market and privately negotiated transactions) in favor of our initial business
                                                       combination. For purposes of seeking approval of the majority of our outstanding
                                                       shares of common stock voted, non-votes will have no effect on the approval of
                                                       our initial business combination once a quorum is obtained. As a result, in
                                                       addition to our initial stockholders’ founder shares and placement shares and our
                                                       anchor investors’ founder shares (if any), we would need only 844,420, or 2.8%,
                                                       of the 30,000,000 public shares sold in this offering to be voted in favor of an
                                                       initial business combination (assuming only the minimum number of shares
                                                       representing a quorum are voted) in order to have our initial business combination
                                                       approved (assuming the underwriters’ over-allotment option is not exercised, and
                                                       that the initial stockholders do not purchase any units in this offering or units or
                                                       shares in the after-market and that the 150,000 representative shares are voted in
                                                       favor of the transaction). In the event that our anchor investors purchase all of the
                                                       units that they have collectively expressed an interest in purchasing in this
                                                       offering and vote their public shares in favor of our initial business combination,
                                                       no affirmative votes from other public stockholders would be required to approve
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  Release of funds in trust account on closing of      On the completion of our initial business combination, the funds held in the trust
    our initial business combination                   account will be used to pay amounts due to any public stockholders who exercise
                                                       their redemption rights as described above under “Redemption rights for public
                                                       stockholders upon completion of our initial business combination.” We will use
                                                       the remaining funds to pay the underwriters their deferred underwriting
                                                       commissions, to pay all or a portion of the consideration payable to the target or
                                                       owners of the target of our initial business combination and to pay other expenses
                                                       associated with our initial business combination. If our initial business
                                                       combination is paid for using equity or debt securities, or not all of the funds
                                                       released from the trust account are used for payment of the consideration in
                                                       connection with our initial business combination, we may apply the balance of
                                                       the cash released to us from the trust account for general corporate purposes,
                                                       including for maintenance or expansion of operations of post-transaction
                                                       businesses, the payment of principal or interest due on indebtedness incurred in
                                                       completing our initial business combination, to fund the purchase of other
                                                       companies or for working capital.

  Redemption of public shares and distribution and     Our amended and restated certificate of incorporation will provide that we will
    liquidation if no initial business combination     have only 12 months (or up to 18 months, if we extend the time to complete a
                                                       business combination as described in this prospectus) from the closing of this
                                                       offering to complete our initial business combination. If we are unable to
                                                       complete our initial business combination within such 12-month period (or up to
                                                       18 months, if we extend the time to complete a business combination as
                                                       described in this prospectus, and our stockholders have not approved an
                                                       amendment to our charter extending this time period), we will: (i) cease all
                                                       operations except for the purpose of winding up, (ii) as promptly as reasonably
                                                       possible but not more than ten business days thereafter, redeem the public shares,
                                                       at a per-share price, payable in cash, equal to the aggregate amount then on
                                                       deposit in the trust account including interest earned on the funds held in the trust
                                                       account and not previously released to us to pay our taxes (less up to $100,000 of
                                                       interest to pay dissolution expenses), divided by the number of then outstanding
                                                       public shares, which redemption will completely extinguish public stockholders’
                                                       rights as stockholders (including the right to receive further liquidating
                                                       distributions, if any), subject to applicable law, and (iii) as promptly as
                                                       reasonably possible following such redemption, subject to the approval of our
                                                       remaining stockholders and our board of directors, dissolve and liquidate, subject
                                                       in the case of clauses (ii) and (iii) above to our obligations under Delaware law to
                                                       provide for claims of creditors and the requirements of other applicable law.
                                                       However, if we anticipate that we may not be able to consummate our initial
                                                       business combination within 12 months, our sponsor may, but is not obligated to,
                                                       extend the period of time to consummate a business combination up to two times
                                                       by an additional three months each time (for a total of up to 18 months to
                                                       complete a business combination). Pursuant to the terms of our amended and
                                                       restated certificate of incorporation and the trust agreement to be entered into
                                                       between us and Continental Stock Transfer & Trust Company on the date of this
                                                       prospectus, in order to extend the time available for us to consummate our initial
                                                       business combination, our sponsor, upon five days advance notice prior to the
                                                       applicable deadline, must deposit into the trust account for each three-month
                                                       extension $3,000,000, or $3,450,000 if the underwriters’ over-allotment option is
                                                       exercised in full ($0.10 per share in either case), on or prior to the date of the
                                                       applicable deadline. The insiders or their affiliates or designees will receive a
                                                       non-interest bearing, unsecured promissory note equal to the amount of any such
                                                       deposit that will not be repaid in the event that we are unable to close a business
                                                       combination unless there are funds available outside the trust account to do so.
                                                       Such notes would either be paid upon consummation of our initial business
                                                       combination, or, at the lender’s discretion, converted upon consummation of our
                                                       business combination into additional private units at a price of $10.00 per unit. In
                                                       the event that we receive notice from our insiders five days prior to the applicable
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   Indemnity                                            Our sponsor has agreed that it will be liable to us if and to the extent any claims
                                                        by a third party for services rendered or products sold to us, or a prospective
                                                        target business with which we have entered into a written letter of intent,
                                                        confidentiality or similar agreement or business combination agreement, reduce
                                                        the amount of funds in the trust account to below the lesser of (i) $10.20 per
                                                        public share and (ii) the actual amount per public share held in the trust account
                                                        as of the date of the liquidation of the trust account, if less than $10.20 per public
                                                        share due to reductions in the value of the trust assets, less taxes payable,
                                                        provided that such liability will not apply to any claims by a third party or
                                                        prospective target business who executed a waiver of any and all rights to the
                                                        monies held in the trust account (whether or not such waiver is enforceable) nor
                                                        will it apply to any claims under our indemnity of the underwriters of this
                                                        offering against certain liabilities, including liabilities under the Securities Act.
                                                        However, we have not asked our sponsor to reserve for such indemnification
                                                        obligations, nor have we independently verified whether our sponsor has
                                                        sufficient funds to satisfy its indemnity obligations and believe that our sponsor’s
                                                        only assets are securities of our company. Therefore, we cannot assure you that
                                                        our sponsor would be able to satisfy those obligations. None of our officers or
                                                        directors will indemnify us for claims by third parties including, without
                                                        limitation, claims by vendors and prospective target businesses.

                                                                   RISKS

        We are a newly formed company that has conducted no operations and has generated no revenues. Until we complete our initial
  business combination, we will have no operations and will generate no operating revenues. In making your decision whether to invest
  in our securities, you should take into account not only the background of our management team, but also the special risks we face as a
  blank check company. This offering is not being conducted in compliance with Rule 419 promulgated under the Securities Act.
  Accordingly, you will not be entitled to protections normally afforded to investors in Rule 419 blank check offerings. For additional
  information concerning how Rule 419 blank check offerings differ from this offering, please see the section of this prospectus entitled
  “Proposed Business — Comparison of This Offering to Those of Blank Check Companies Subject to Rule 419.” You should carefully
  consider these and the other risks set forth in the section of this prospectus entitled “Risk Factors” beginning on page 34 of this
  prospectus.

                                                         Summary of Risk Factors

        Our business is subject to numerous risks and uncertainties, including those highlighted in the section title “Risk Factors,” that
  represent challenges that we face in connection with the successful implementation of our strategy. The occurrence of one or more of
  the events or circumstances described in the section titled “Risk Factors,” alone or in combination with other events or circumstances,
  may adversely affect our ability to effect a business combination, and may have an adverse effect on our business, cash flows, financial
  condition and results of operations. Such risks include, but are not limited to:

        •      our being a newly formed company without an operating history;

        •      our ability to continue as a “going concern;”

        •      lack of opportunity to vote on our proposed business combination;

        •      lack of protections afforded to investors of blank check companies;

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        •     issuance of equity and/or debt securities to complete a business combination;

        •     lack of working capital;

        •     third-party claims reducing the per-share redemption price;

        •     potential negative interest rate for securities in which we invest the funds held in the trust account;

        •     our stockholders being held liable for claims by third parties against us;

        •     failure to enforce our sponsor’s indemnification obligations;

        •     the ability of warrant holders to obtain a favorable judicial forum for disputes with our company;

        •     dependence on key personnel;

        •     conflicts of interest of our sponsor, officers and directors and the representative;

        •     the delisting of our securities by Nasdaq;

        •     dependence on a single target business with a limited number of products or services;

        •     shares being redeemed and warrants becoming worthless;

        •     our competitors with advantages over us in seeking business combinations;

        •     ability to obtain additional financing;

        •     the issuance of shares to investors in connection with our initial business combination at a price that is less than the
              prevailing market price of our shares at that time;

        •     our initial stockholders controlling a substantial interest in us;

        •     warrants’ and founder shares’ adverse effect on the market price of our common stock;

        •     anchor investors’ potential adverse effect on our common stock;

        •     disadvantageous timing for redeeming warrants;

        •     registration rights’ adverse effect on the market price of our common stock;

        •     impact of COVID-19 and related risks;

        •     business combination with a company located in a foreign jurisdiction;

        •     changes in laws or regulations; tax consequences to business combinations; and

        •     exclusive forum provisions in our amended and restated certificate of incorporation.

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                                                              RISK FACTORS

        An investment in our securities involves a high degree of risk. You should consider carefully all of the risks described below,
  together with the other information contained in this prospectus, before making a decision to invest in our units. If any of the following
  events occur, our business, financial condition and operating results may be materially adversely affected. In that event, the trading
  price of our securities could decline, and you could lose all or part of your investment.

   Risks Relating to our Search for, Consummation of, or Inability to Consummate, a Business Combination and Post-Business
                                                      Combination Risks

  Our search for a business combination, and any target business with which we ultimately consummate a business combination,
  may be materially adversely affected by the ongoing coronavirus (COVID-19) pandemic.

         The COVID-19 pandemic has resulted in a widespread health crisis that has adversely affected the economies and financial
  markets worldwide, and the business of any potential target business with which we consummate a business combination could be
  materially and adversely affected. Furthermore, we may be unable to complete a business combination if continued concerns relating to
  COVID-19 restrict travel, limit the ability to have meetings with potential investors or the target company’s personnel, vendors and
  services providers are unavailable to negotiate and consummate a transaction in a timely manner. The extent to which COVID-19
  impacts our search for a business combination will depend on future developments, which are highly uncertain and cannot be
  predicted, including new information which may emerge concerning the severity of COVID-19 and the actions to contain COVID-19
  or treat its impact, among others. If the disruptions posed by COVID-19 or other matters of global concern continue for an extensive
  period of time, our ability to consummate a business combination, or the operations of a target business with which we ultimately
  consummate a business combination, may be materially adversely affected.

  Our public stockholders may not be afforded an opportunity to vote on our proposed initial business combination, which
  means we may complete our initial business combination even though a majority of our public stockholders do not support
  such a combination.

         We may choose not to hold a stockholder vote to approve our initial business combination unless the initial business combination
  would require stockholder approval under applicable law or stock exchange listing requirements or if we decide to hold a stockholder
  vote for business or other legal reasons. Except as required by applicable law or stock exchange requirements, the decision as to
  whether we will seek stockholder approval of a proposed initial business combination or will allow stockholders to sell their shares to
  us in a tender offer will be made by us, solely in our discretion, and will be based on a variety of factors, such as the timing of the
  transaction and whether the terms of the transaction would otherwise require us to seek stockholder approval. Accordingly, we may
  complete our initial business combination even if holders of a majority of our public shares do not approve of the initial business
  combination we complete. Please see the section of this prospectus entitled “Proposed Business — Stockholders May Not Have the
  Ability to Approve Our Initial Business Combination” for additional information.

  If we seek stockholder approval of our initial business combination, our initial stockholders have agreed to vote in favor of such
  initial business combination, regardless of how our public stockholders vote.

         Pursuant to the letter agreement, our sponsor, officers, directors and director nominees will agree to vote any founder shares and
  placement shares held by them, as well as any public shares they may acquire during or after this offering (including in open market
  and privately negotiated transactions), in favor of our initial business combination. As a result, in addition to the founder shares,
  placement shares and our anchor investors’ founder shares (if any), we would need only 844,420, or 2.8% of the 30,000,000 public
  shares sold in this offering to be voted in favor of an initial business combination (assuming only the minimum number of shares
  representing a quorum are voted, that the initial stockholders do not purchase any units in this offering or units or shares in the after-
  market and that the 150,000 representative shares are voted in favor of the transaction) in order to have our initial business combination
  approved (assuming the underwriters’ over-allotment option is not exercised). In the event that our anchor investors purchase all of the
  units that they have collectively expressed an interest in purchasing in this offering and vote their public shares in favor of our initial
  business combination, no affirmative votes from other public stockholders would be required to approve our initial business
  combination. However, because our anchor investors are not obligated to continue owning any public shares following the closing and
  are not obligated to vote any public shares in favor of our initial business combination, we cannot assure you that any of these anchor
  investors will be stockholders at the time our stockholders vote on our initial business combination, and, if they are stockholders, we
  cannot assure you as to how such anchor investors will vote on any business combination. Our initial stockholders will own shares
  representing approximately 22.3% of our outstanding shares of common stock immediately following the completion of this offering
  and the private placement (including the placement shares to be issued to the sponsor and assuming they do not purchase any units in

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  this offering and assuming anchor investors do not purchase any units in this offering). Accordingly, if we seek stockholder approval of
  our initial business combination, the agreement by our initial stockholders to vote in favor of our initial business combination will
  increase the likelihood that we will receive the requisite stockholder approval for such initial business combination.


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  Your only opportunity to affect the investment decision regarding a potential business combination will be limited to the
  exercise of your right to redeem your shares from us for cash, unless we seek stockholder approval of the initial business
  combination.

         At the time of your investment in us, you will not be provided with an opportunity to evaluate the specific merits or risks of our
  initial business combination. Since our board of directors may complete an initial business combination without seeking stockholder
  approval, public stockholders may not have the right or opportunity to vote on the initial business combination, unless we seek such
  stockholder vote. Accordingly, if we do not seek stockholder approval, your only opportunity to affect the investment decision
  regarding a potential business combination may be limited to exercising your redemption rights within the period of time (which will
  be at least 20 business days) set forth in our tender offer documents mailed to our public stockholders in which we describe our initial
  business combination.

  The ability of our public stockholders to redeem their shares for cash may make our financial condition unattractive to
  potential business combination targets, which may make it difficult for us to enter into an initial business combination with a
  target.

         We may seek to enter into an initial business combination agreement with a prospective target that requires as a closing condition
  that we have a minimum net worth or a certain amount of cash. If too many public stockholders exercise their redemption rights, we
  would not be able to meet such closing condition and, as a result, would not be able to proceed with the initial business combination.
  Furthermore, in no event will we redeem our public shares unless our net tangible assets are at least $5,000,001 either immediately
  prior to or upon consummation of our initial business combination and after payment of underwriters’ fees and commissions (so that
  we are not subject to the SEC’s “penny stock” rules) or any greater net tangible asset or cash requirement which may be contained in
  the agreement relating to our initial business combination. Consequently, if accepting all properly submitted redemption requests would
  cause our net tangible assets to be less than $5,000,001 upon consummation of our initial business combination and after payment of
  underwriters’ fees and commissions or such greater amount necessary to satisfy a closing condition, each as described above, we would
  not proceed with such redemption and the related business combination and may instead search for an alternate business combination.
  Prospective targets will be aware of these risks and, thus, may be reluctant to enter into an initial business combination with us.

  The ability of our public stockholders to exercise redemption rights with respect to a large number of our shares may not allow
  us to complete the most desirable business combination or optimize our capital structure.

         At the time we enter into an agreement for our initial business combination, we will not know how many stockholders may
  exercise their redemption rights, and therefore will need to structure the transaction based on our expectations as to the number of
  shares that will be submitted for redemption. If our initial business combination agreement requires us to use a portion of the cash in
  the trust account to pay the purchase price, or requires us to have a minimum amount of cash at closing, we will need to reserve a
  portion of the cash in the trust account to meet such requirements, or arrange for third party financing. In addition, if a larger number of
  shares are submitted for redemption than we initially expected, we may need to restructure the transaction to reserve a greater portion
  of the cash in the trust account or arrange for third party financing. Raising additional third-party financing may involve dilutive equity
  issuances or the incurrence of indebtedness at higher than desirable levels. Furthermore, this dilution would increase to the extent that
  the anti-dilution provision of the Class B common stock result in the issuance of Class A shares on a greater than one-to-one basis upon
  conversion of the Class B common stock at the time of the consummation of our business combination. The above considerations may
  limit our ability to complete the most desirable business combination available to us or optimize our capital structure. The amount of
  the deferred underwriting commissions payable to the underwriters will not be adjusted for any shares that are redeemed in connection
  with an initial business combination. The per-share amount we will distribute to stockholders who properly exercise their redemption
  rights will not be reduced by the deferred underwriting commission and after such redemptions, the per-share value of shares held by
  non-redeeming stockholders will reflect our obligation to pay the deferred underwriting commissions.

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  The ability of our public stockholders to exercise redemption rights with respect to a large number of our shares could increase
  the probability that our initial business combination would be unsuccessful and that you would have to wait for liquidation in
  order to redeem your stock.

         If our initial business combination agreement requires us to use a portion of the cash in the trust account to pay the purchase
  price, or requires us to have a minimum amount of cash at closing, the probability that our initial business combination would be
  unsuccessful is increased. If our initial business combination is unsuccessful, you would not receive your pro rata portion of the trust
  account until we liquidate the trust account. If you are in need of immediate liquidity, you could attempt to sell your stock in the open
  market; however, at such time our stock may trade at a discount to the pro rata amount per share in the trust account. In either situation,
  you may suffer a material loss on your investment or lose the benefit of funds expected in connection with our redemption until we
  liquidate or you are able to sell your stock in the open market.

  The requirement that we complete our initial business combination within the prescribed time frame may give potential target
  businesses leverage over us in negotiating an initial business combination and may decrease our ability to conduct due diligence
  on potential business combination targets as we approach our dissolution deadline, which could undermine our ability to
  complete our initial business combination on terms that would produce value for our stockholders.

         Any potential target business with which we enter into negotiations concerning an initial business combination will be aware that
  we must complete our initial business combination within 12 months from the closing of this offering (or up to 18 months if we have
  extended the period of time as described in this prospectus). Consequently, such target business may obtain leverage over us in
  negotiating an initial business combination, knowing that if we do not complete our initial business combination with that particular
  target business, we may be unable to complete our initial business combination with any target business. This risk will increase as we
  get closer to the timeframe described above. In addition, we may have limited time to conduct due diligence and may enter into our
  initial business combination on terms that we would have rejected upon a more comprehensive investigation.

  We may not be able to complete our initial business combination within the prescribed time frame, in which case we would
  cease all operations except for the purpose of winding up and we would redeem our public shares and liquidate, in which case
  our public stockholders may only receive $10.20 per share, or less than such amount in certain circumstances, and our
  warrants will expire worthless.

        Our amended and restated certificate of incorporation will provide that we must complete our initial business combination within
  12 months (or up to 18 months if we have extended the period of time as described in this prospectus) from the closing of this offering.
  We may not be able to find a suitable target business and complete our initial business combination within such time period. Our ability
  to complete our initial business combination may be negatively impacted by general market conditions, volatility in the capital and
  debt markets and the other risks described herein. For example, if the outbreak of COVID-19 continues to grow both in the U.S. and
  globally and, while the extent of the impact of the outbreak on us will depend on future developments, it could limit our ability to
  complete our initial business combination, including as a result of increased market volatility, decreased market liquidity and third-
  party financing being unavailable on terms acceptable to us or at all. Additionally, the outbreak of COVID-19 may negatively impact
  businesses we may seek to acquire.

         If we have not completed our initial business combination within such time period, we will: (i) cease all operations except for the
  purpose of winding up, (ii) as promptly as reasonably possible but not more than ten business days thereafter, redeem the public shares,
  at a per-share price, payable in cash, equal to the aggregate amount then on deposit in the trust account including interest earned on the
  funds held in the trust account and not previously released to us to pay our taxes (less up to $100,000 of interest to pay dissolution
  expenses), divided by the number of then outstanding public shares, which redemption will completely extinguish public stockholders’
  rights as stockholders (including the right to receive further liquidating distributions, if any), subject to applicable law, and (iii) as
  promptly as reasonably possible following such redemption, subject to the approval of our remaining stockholders and our board of
  directors, dissolve and liquidate, subject in the case of clauses (ii) and (iii) above to our obligations under Delaware law to provide for
  claims of creditors and the requirements of other applicable law. In such case, our public stockholders may only receive $10.20 per
  share, and our warrants will expire worthless. In certain circumstances, our public stockholders may receive less than $10.20 per share
  on the redemption of their shares. See “— If third parties bring claims against us, the proceeds held in the trust account could be
  reduced and the per-share redemption amount received by stockholders may be less than $10.20 per share” and other risk factors
  below.

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  We may issue our shares to investors in connection with our initial business combination at a price that is less than the
  prevailing market price of our shares at that time.

            In connection with our initial business combination, we may issue shares to investors in private placement transactions (so-
  called PIPE transactions) at a price of $10.00 per share or which approximates the per-share amounts in our trust account at such time,
  which is generally approximately $10.20. The purpose of such issuances will be to enable us to provide sufficient liquidity to the post-
  business combination entity. The price of the shares we issue may therefore be less, and potentially significantly less, than the market
  price for our shares at such time.

  If we seek stockholder approval of our initial business combination, our sponsor, directors, officers and their affiliates may
  elect to purchase shares or warrants from public stockholders, which may influence a vote on a proposed initial business
  combination and reduce the public “float” of our Class A common stock.

         If we seek stockholder approval of our initial business combination and we do not conduct redemptions in connection with our
  initial business combination pursuant to the tender offer rules, our sponsor, directors, officers or their affiliates may purchase public
  shares or public warrants or a combination thereof in privately negotiated transactions or in the open market either prior to or following
  the completion of our initial business combination, although they are under no obligation to do so. However, they have no current
  commitments, plans or intentions to engage in such transactions and have not formulated any terms or conditions for any such
  transactions. None of the funds in the trust account will be used to purchase shares or public warrants in such transactions.

         Such a purchase may include a contractual acknowledgement that such stockholder, although still the record holder of our shares
  is no longer the beneficial owner thereof and therefore agrees not to exercise its redemption rights. In the event that our sponsor,
  directors, officers or their affiliates purchase shares in privately negotiated transactions from public stockholders who have already
  elected to exercise their redemption rights or submitted a proxy to vote against our initial business combination, such selling
  stockholders would be required to revoke their prior elections to redeem their shares and any proxy to vote against our initial business
  combination. The price per share paid in any such transaction may be different than the amount per share a public stockholder would
  receive if it elected to redeem its shares in connection with our initial business combination. The purpose of such purchases could be to
  vote such shares in favor of the initial business combination and thereby increase the likelihood of obtaining stockholder approval of
  the initial business combination, or to satisfy a closing condition in an agreement with a target that requires us to have a minimum net
  worth or a certain amount of cash at the closing of our initial business combination, where it appears that such requirement would
  otherwise not be met. The purpose of any such purchases of public warrants could be to reduce the number of public warrants
  outstanding or to vote such warrants on any matters submitted to the warrant holders for approval in connection with our initial
  business combination.

        Any such purchases of our securities may result in the completion of our initial business combination that may not otherwise
  have been possible. We expect that any such purchases will be reported pursuant to Section 13 and Section 16 of the Exchange Act to
  the extent such purchasers are subject to such reporting requirements.

        In addition, if such purchases are made, the public “float” of our Class A common stock or public warrants and the number of
  beneficial holders of our securities may be reduced, possibly making it difficult to obtain or maintain the quotation, listing or trading of
  our securities on a national securities exchange.

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  If a stockholder fails to receive notice of our offer to redeem our public shares in connection with our initial business
  combination, or fails to comply with the procedures for tendering its shares, such shares may not be redeemed.

         We will comply with the tender offer rules or proxy rules, as applicable, when conducting redemptions in connection with our
  initial business combination. Despite our compliance with these rules, if a stockholder fails to receive our tender offer or proxy
  materials, as applicable, such stockholder may not become aware of the opportunity to redeem its shares. In addition, proxy materials
  or tender offer documents, as applicable, that we will furnish to holders of our public shares in connection with our initial business
  combination will describe the various procedures that must be complied with in order to validly tender or redeem public shares. For
  example, we may require our public stockholders seeking to exercise their redemption rights, whether they are record holders or hold
  their shares in “street name,” to either deliver their stock certificates to our transfer agent prior to the date set forth in the tender offer
  documents mailed to such holders, or up to two business days prior to the vote on the proposal to approve the initial business
  combination in the event we distribute proxy materials, or to deliver their shares to the transfer agent electronically. In the event that a
  stockholder fails to comply with these or any other procedures disclosed in the proxy or tender offer materials, as applicable, its shares
  may not be redeemed. See the section of this prospectus entitled “Proposed Business — Redemption Rights for Public Stockholders
  upon Completion of our Initial Business Combination — Tendering Stock Certificates in Connection with a Tender Offer or
  Redemption Rights.”

  You will not have any rights or interests in funds from the trust account, except under certain limited circumstances. To
  liquidate your investment, therefore, you may be forced to sell your public shares or warrants, potentially at a loss.

         Our public stockholders will be entitled to receive funds from the trust account only upon the earliest to occur of: (i) our
  completion of an initial business combination, and then only in connection with those shares of Class A common stock that such
  stockholder properly elected to redeem, subject to the limitations described herein, (ii) the redemption of any public shares properly
  submitted in connection with a stockholder vote to amend our amended and restated certificate of incorporation (A) to modify the
  substance or timing of our obligation to allow redemption in connection with our initial business combination or certain amendments to
  our charter prior thereto or to redeem 100% of our public shares if we do not complete our initial business combination within 12
  months (or up to 18 months, if we extend the time to complete a business combination as described in this prospectus) from the closing
  of this offering or (B) with respect to any other provision relating to stockholders’ rights or pre-initial business combination activity
  and (iii) the redemption of our public shares if we are unable to complete an initial business combination within 12 months (or up to 18
  months if we have extended the period of time as described in this prospectus) from the closing of this offering, subject to applicable
  law and as further described herein. In no other circumstances will a public stockholder have any right or interest of any kind in the
  trust account. Holders of warrants will not have any right to the proceeds held in the trust account with respect to the warrants.
  Accordingly, to liquidate your investment, you may be forced to sell your public shares or warrants, potentially at a loss.

  The representative may have a conflict of interest if they render services to us in connection with our initial business
  combination.

         We may elect to engage EF Hutton, division of Benchmark Investments, LLC (who is the representative of the underwriters of
  this offering) to assist us in connection with our initial business combination. The representative shares held by the representative
  and/or its designees of the representative will also be worthless if we do not consummate an initial business combination. Therefore, if
  the representative provides services to us in connection with our initial business combination, these financial interests may result in the
  representative having a conflict of interest when providing such services to us.

  You will not be entitled to protections normally afforded to investors of many other blank check companies.

        Since the net proceeds of this offering and the sale of the placement units are intended to be used to complete an initial business
  combination with a target business that has not been identified, we may be deemed to be a “blank check” company under the
  United States securities laws. However, because we will have net tangible assets in excess of $5,000,000 upon the successful
  completion of this offering and the sale of the placement units and will file a Current Report on Form 8-K, including an audited balance
  sheet demonstrating this fact, we are exempt from rules promulgated by the SEC to protect investors in blank check companies, such as
  Rule 419. Accordingly, investors will not be afforded the benefits or protections of those rules. Among other things, this means our
  units will be immediately tradable and we will have a longer period of time to complete our business combination than do companies
  subject to Rule 419. Moreover, if this offering were subject to Rule 419, that rule would prohibit the release of any interest earned on
  funds held in the trust account to us unless and until the funds in the trust account were released to us in connection with our
  completion of an initial business combination. For a more detailed comparison of our offering to offerings that comply with Rule 419,
  please see the section of this prospectus entitled “Proposed Business — Comparison of This Offering to Those of Blank Check
  Companies Subject to Rule 419.”


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  Because of our limited resources and the significant competition for business combination opportunities, it may be more
  difficult for us to complete our initial business combination. If we are unable to complete our initial business combination, our
  public stockholders may receive only approximately $10.20 per share on our redemption of our public shares, or less than such
  amount in certain circumstances, and our warrants will expire worthless.

         We expect to encounter intense competition from other entities having a business objective similar to ours, including private
  investors (which may be individuals or investment partnerships), other blank check companies and other entities competing for the
  types of businesses we intend to acquire. Many of these individuals and entities are well-established and have extensive experience in
  identifying and effecting, directly or indirectly, acquisitions of companies operating in or providing services to various industries.
  Many of these competitors possess greater technical, human and other resources or more industry knowledge than we do, and our
  financial resources will be relatively limited when contrasted with those of many of these competitors. While we believe there are
  numerous target businesses we could potentially acquire with the net proceeds of this offering and the sale of the placement units, our
  ability to compete with respect to the acquisition of certain target businesses that are sizable will be limited by our available financial
  resources. This inherent competitive limitation gives others an advantage in pursuing the acquisition of certain target businesses.
  Furthermore, because we are obligated to pay cash for the shares of Class A common stock which our public stockholders redeem in
  connection with our initial business combination, target companies will be aware that this may reduce the resources available to us for
  our initial business combination. This may place us at a competitive disadvantage in successfully negotiating and completing an initial
  business combination. If we are unable to complete our initial business combination, our public stockholders may receive only
  approximately $10.20 per share on the liquidation of our trust account and our warrants will expire worthless. In certain circumstances,
  our public stockholders may receive less than $10.20 per share upon our liquidation. See “— If third parties bring claims against us, the
  proceeds held in the trust account could be reduced and the per-share redemption amount received by stockholders may be less than
  $10.20 per share” and other risk factors herein.

  If the net proceeds of this offering and the sale of the placement units not being held in the trust account are insufficient to
  allow us to operate for at least the 12 months (or up to 18 months if we have extended the period of time as described in this
  prospectus) following the closing of this offering, we may be unable to complete our initial business combination, in which case
  our public stockholders may only receive $10.20 per share, or less than such amount in certain circumstances, and our
  warrants will expire worthless.

         The funds available to us outside of the trust account to fund our working capital requirements may not be sufficient to allow us
  to operate for at least the 12 months (or up to 18 months if we have extended the period of time as described in this prospectus)
  following the closing of this offering, assuming that our initial business combination is not completed during that time. We believe that,
  upon the closing of this offering, the funds available to us outside of the trust account will be sufficient to allow us to operate for at
  least the 12 months (or up to 18 months if we have extended the period of time as described in this prospectus) following such closing;
  however, we cannot assure you that our estimate is accurate. Of the funds available to us, we could use a portion of the funds available
  to us to pay fees to consultants to assist us with our search for a target business. We could also use a portion of the funds as a down
  payment or to fund a “no-shop” provision (a provision in letters of intent or merger agreements designed to keep target businesses from
  “shopping” around for transactions with other companies or investors on terms more favorable to such target businesses) with respect
  to a particular proposed initial business combination, although we do not have any current intention to do so. If we entered into a letter
  of intent or merger agreement where we paid for the right to receive exclusivity from a target business and were subsequently required
  to forfeit such funds (whether as a result of our breach or otherwise), we might not have sufficient funds to continue searching for, or
  conduct due diligence with respect to, a target business. If we are unable to complete our initial business combination, our public
  stockholders may receive only approximately $10.20 per share on the liquidation of our trust account and our warrants will expire
  worthless. In certain circumstances, our public stockholders may receive less than $10.20 per share upon our liquidation. See “— If
  third parties bring claims against us, the proceeds held in the trust account could be reduced and the per-share redemption amount
  received by stockholders may be less than $10.20 per share” and other risk factors herein.

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  If the net proceeds of this offering and the sale of the placement units not being held in the trust account are insufficient, it
  could limit the amount available to fund our search for a target business or businesses and complete our initial business
  combination and we will depend on loans from our sponsor or management team to fund our search for an initial business
  combination, to pay our taxes and to complete our initial business combination. If we are unable to obtain these loans, we may
  be unable to complete our initial business combination.

         Of the net proceeds of this offering and the sale of the placement units, only approximately $1,435,000 will be available to us
  initially outside the trust account to fund our working capital requirements. In the event that our offering expenses exceed our estimate
  of $556,090, we may fund such excess with funds not to be held in the trust account. In such case, the amount of funds we intend to be
  held outside the trust account would decrease by a corresponding amount. The amount held in the trust account will not be impacted as
  a result of such increase or decrease. Conversely, in the event that the offering expenses are less than our estimate of $556,090, the
  amount of funds we intend to be held outside the trust account would increase by a corresponding amount. If we are required to seek
  additional capital, we would need to borrow funds from our sponsor, management team or other third parties to operate or may be
  forced to liquidate. None of our sponsor, members of our management team nor any of their affiliates is under any obligation to
  advance funds to us in such circumstances. Any such advances would be repaid only from funds held outside the trust account or from
  funds released to us upon completion of our initial business combination. Up to $1,500,000 of such loans may be convertible into units,
  at a price of $10.00 per unit at the option of the lender, upon consummation of our initial business combination. The units would be
  identical to the placement units. Prior to the completion of our initial business combination, we do not expect to seek loans from parties
  other than our sponsor or an affiliate of our sponsor as we do not believe third parties will be willing to loan such funds and provide a
  waiver against any and all rights to seek access to funds in our trust account. If we are unable to obtain these loans, we may be unable
  to complete our initial business combination. If we are unable to complete our initial business combination because we do not have
  sufficient funds available to us, we will be forced to cease operations and liquidate the trust account. Consequently, our public
  stockholders may only receive approximately $10.20 per share on our redemption of our public shares, and our warrants will expire
  worthless. In certain circumstances, our public stockholders may receive less than $10.20 per share on the redemption of their shares.
  See “— If third parties bring claims against us, the proceeds held in the trust account could be reduced and the per-share redemption
  amount received by stockholders may be less than $10.20 per share” and other risk factors below.

  Subsequent to the completion of our initial business combination, we may be required to take write-downs or write-offs,
  restructuring and impairment or other charges that could have a significant negative effect on our financial condition, results
  of operations and our stock price, which could cause you to lose some or all of your investment.

         Even if we conduct extensive due diligence on a target business with which we combine, we cannot assure you that this diligence
  will surface all material issues that may be present inside a particular target business, that it would be possible to uncover all material
  issues through a customary amount of due diligence, or that factors outside of the target business and outside of our control will not
  later arise. As a result of these factors, we may be forced to later write-down or write-off assets, restructure our operations, or incur
  impairment or other charges that could result in our reporting losses. Even if our due diligence successfully identifies certain risks,
  unexpected risks may arise and previously known risks may materialize in a manner not consistent with our preliminary risk analysis.
  Even though these charges may be non-cash items and not have an immediate impact on our liquidity, the fact that we report charges of
  this nature could contribute to negative market perceptions about us or our securities. In addition, charges of this nature may cause us
  to violate net worth or other covenants to which we may be subject as a result of assuming pre-existing debt held by a target business
  or by virtue of our obtaining debt financing to partially finance the initial business combination. Accordingly, any stockholders who
  choose to remain stockholders following the initial business combination could suffer a reduction in the value of their shares. Such
  stockholders are unlikely to have a remedy for such reduction in value unless they are able to successfully claim that the reduction was
  due to the breach by our officers or directors of a duty of care or other fiduciary duty owed to them, or if they are able to successfully
  bring a private claim under securities laws that the proxy solicitation or tender offer materials, as applicable, relating to the initial
  business combination constituted an actionable material misstatement or omission.

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  If third parties bring claims against us, the proceeds held in the trust account could be reduced and the per-share redemption
  amount received by stockholders may be less than $10.20 per share.

         Our placing of funds in the trust account may not protect those funds from third-party claims against us. Although we will seek to
  have all vendors, service providers, prospective target businesses and other entities with which we do business execute agreements with
  us waiving any right, title, interest or claim of any kind in or to any monies held in the trust account for the benefit of our public
  stockholders, such parties may not execute such agreements, or even if they execute such agreements they may not be prevented from
  bringing claims against the trust account, including, but not limited to, fraudulent inducement, breach of fiduciary responsibility or
  other similar claims, as well as claims challenging the enforceability of the waiver, in each case in order to gain advantage with respect
  to a claim against our assets, including the funds held in the trust account. If any third party refuses to execute an agreement waiving
  such claims to the monies held in the trust account, our management will perform an analysis of the alternatives available to it and will
  only enter into an agreement with a third party that has not executed a waiver if management believes that such third party’s
  engagement would be significantly more beneficial to us than any alternative. Marcum LLP, our independent registered public
  accounting firm, and the underwriters of this offering, will not execute agreements with us waiving such claims to the monies held in
  the trust account.

         Examples of possible instances where we may engage a third party that refuses to execute a waiver include the engagement of a
  third party consultant whose particular expertise or skills are believed by management to be significantly superior to those of other
  consultants that would agree to execute a waiver or in cases where management is unable to find a service provider willing to execute a
  waiver. In addition, there is no guarantee that such entities will agree to waive any claims they may have in the future as a result of, or
  arising out of, any negotiations, contracts or agreements with us and will not seek recourse against the trust account for any reason.
  Upon redemption of our public shares, if we are unable to complete our initial business combination within the prescribed timeframe,
  or upon the exercise of a redemption right in connection with our initial business combination, we will be required to provide for
  payment of claims of creditors that were not waived that may be brought against us within the 10 years following redemption.
  Accordingly, the per-share redemption amount received by public stockholders could be less than the $10.20 per share initially held in
  the trust account, due to claims of such creditors. Pursuant to the letter agreement, the form of which will be filed as Exhibit 10.1 to the
  registration statement of which this prospectus forms a part, our sponsor has agreed that it will be liable to us if and to the extent any
  claims by a third party for services rendered or products sold to us, or a prospective target business with which we have entered into a
  written letter of intent, confidentiality or similar agreement or business combination agreement, reduce the amount of funds in the trust
  account to below the lesser of (i) $10.20 per public share and (ii) the actual amount per public share held in the trust account as of the
  date of the liquidation of the trust account, if less than $10.20 per share due to reductions in the value of the trust assets, less taxes
  payable, provided that such liability will not apply to any claims by a third party or prospective target business who executed a waiver
  of any and all rights to the monies held in the trust account (whether or not such waiver is enforceable) nor will it apply to any claims
  under our indemnity of the underwriters of this offering against certain liabilities, including liabilities under the Securities Act.
  However, we have not asked our sponsor to reserve for such indemnification obligations, nor have we independently verified whether
  our sponsor has sufficient funds to satisfy its indemnity obligations and believe that our sponsor’s only assets are securities of our
  company. Therefore, we cannot assure you that our sponsor would be able to satisfy those obligations. None of our officers or directors
  will indemnify us for claims by third parties including, without limitation, claims by vendors and prospective target businesses.

  Our directors may decide not to enforce the indemnification obligations of our sponsor, resulting in a reduction in the amount
  of funds in the trust account available for distribution to our public stockholders.

        In the event that the proceeds in the trust account are reduced below the lesser of (i) $10.20 per share and (ii) the actual amount
  per share held in the trust account as of the date of the liquidation of the trust account if less than $10.20 per share due to reductions in
  the value of the trust assets, in each case net of the interest which may be withdrawn to pay taxes, and our sponsor asserts that it is
  unable to satisfy its obligations or that it has no indemnification obligations related to a particular claim, our independent directors
  would determine whether to take legal action against our sponsor to enforce its indemnification obligations.

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         While we currently expect that our independent directors would take legal action on our behalf against our sponsor to enforce its
  indemnification obligations to us, it is possible that our independent directors in exercising their business judgment and subject to their
  fiduciary duties may choose not to do so in any particular instance if, for example, the cost of such legal action is deemed by the
  independent directors to be too high relative to the amount recoverable or if the independent directors determine that a favorable
  outcome is not likely. If our independent directors choose not to enforce these indemnification obligations, the amount of funds in the
  trust account available for distribution to our public stockholders may be reduced below $10.20 per share.

  We may not have sufficient funds to satisfy indemnification claims of our directors and executive officers.

         We have agreed to indemnify our officers and directors to the fullest extent permitted by law. However, our officers and directors
  have agreed to waive any right, title, interest or claim of any kind in or to any monies in the trust account and to not seek recourse
  against the trust account for any reason whatsoever. Accordingly, any indemnification provided will be able to be satisfied by us only if
  (i) we have sufficient funds outside of the trust account or (ii) we consummate an initial business combination. Our obligation to
  indemnify our officers and directors may discourage stockholders from bringing a lawsuit against our officers or directors for breach of
  their fiduciary duty. These provisions also may have the effect of reducing the likelihood of derivative litigation against our officers
  and directors, even though such an action, if successful, might otherwise benefit us and our stockholders. Furthermore, a stockholder’s
  investment may be adversely affected to the extent we pay the costs of settlement and damage awards against our officers and directors
  pursuant to these indemnification provisions.

  If, after we distribute the proceeds in the trust account to our public stockholders, we file a bankruptcy petition or an
  involuntary bankruptcy petition is filed against us that is not dismissed, a bankruptcy court may seek to recover such proceeds,
  and we and our board may be exposed to claims of punitive damages.

        If, after we distribute the proceeds in the trust account to our public stockholders, we file a bankruptcy petition or an involuntary
  bankruptcy petition is filed against us that is not dismissed, any distributions received by stockholders could be viewed under
  applicable debtor/creditor and/or bankruptcy laws as either a “preferential transfer” or a “fraudulent conveyance.” As a result, a
  bankruptcy court could seek to recover some or all amounts received by our stockholders. In addition, our board of directors may be
  viewed as having breached its fiduciary duty to our creditors and/or having acted in bad faith, thereby exposing itself and us to claims
  of punitive damages, by paying public stockholders from the trust account prior to addressing the claims of creditors.

  If, before distributing the proceeds in the trust account to our public stockholders, we file a bankruptcy petition or an
  involuntary bankruptcy petition is filed against us that is not dismissed, the claims of creditors in such proceeding may have
  priority over the claims of our stockholders and the per-share amount that would otherwise be received by our stockholders in
  connection with our liquidation may be reduced.

        If, before distributing the proceeds in the trust account to our public stockholders, we file a bankruptcy petition or an involuntary
  bankruptcy petition is filed against us that is not dismissed, the proceeds held in the trust account could be subject to applicable
  bankruptcy law, and may be included in our bankruptcy estate and subject to the claims of third parties with priority over the claims of
  our stockholders. To the extent any bankruptcy claims deplete the trust account, the per-share amount that would otherwise be received
  by our stockholders in connection with our liquidation may be reduced.

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  If we are deemed to be an investment company under the Investment Company Act, we may be required to institute
  burdensome compliance requirements and our activities may be restricted, which may make it difficult for us to complete our
  initial business combination.

        If we are deemed to be an investment company under the Investment Company Act, our activities may be restricted, including:

        •     restrictions on the nature of our investments; and

        •     restrictions on the issuance of securities, each of which may make it difficult for us to complete our initial business
              combination.

        In addition, we may have imposed upon us burdensome requirements, including:

        •     registration as an investment company with the SEC;

        •     adoption of a specific form of corporate structure; and

        •     reporting, record keeping, voting, proxy and disclosure requirements and other rules and regulations that we are currently
              not subject to.

        In order not to be regulated as an investment company under the Investment Company Act, unless we can qualify for an
  exclusion, we must ensure that we are engaged primarily in a business other than investing, reinvesting or trading in securities and that
  our activities do not include investing, reinvesting, owning, holding or trading “investment securities” constituting more than 40% of
  our total assets (exclusive of U.S. government securities and cash items) on an unconsolidated basis. Our business will be to identify
  and complete an initial business combination and thereafter to operate the post-transaction business or assets for the long term. We do
  not plan to buy businesses or assets with a view to resale or profit from their resale. We do not plan to buy unrelated businesses or
  assets or to be a passive investor.

         We do not believe that our anticipated principal activities will subject us to the Investment Company Act. To this end, the
  proceeds held in the trust account may only be invested in United States “government securities” within the meaning of Section 2(a)
  (16) of the Investment Company Act having a maturity of 185 days or less or in money market funds meeting certain conditions under
  Rule 2a-7 promulgated under the Investment Company Act which invest only in direct U.S. government treasury obligations. Pursuant
  to the trust agreement, the trustee is not permitted to invest in other securities or assets. By restricting the investment of the proceeds to
  these instruments, and by having a business plan targeted at acquiring and growing businesses for the long term (rather than on buying
  and selling businesses in the manner of a merchant bank or private equity fund), we intend to avoid being deemed an “investment
  company” within the meaning of the Investment Company Act. This offering is not intended for persons who are seeking a return on
  investments in government securities or investment securities. The trust account is intended as a holding place for funds pending the
  earliest to occur of: (i) the completion of our initial business combination; (ii) the redemption of any public shares properly submitted
  in connection with a stockholder vote to amend our amended and restated certificate of incorporation (A) to modify the substance or
  timing of our obligation to allow redemption in connection with our initial business combination or certain amendments to our charter
  prior thereto or to redeem 100% of our public shares if we do not complete our initial business combination within 12 months (or up to
  18 months, if we extend the time to complete a business combination as described in this prospectus)from the closing of this offering or
  (B) with respect to any other provision relating to stockholders’ rights or pre-initial business combination activity; or (iii) absent an
  initial business combination within 12 months (or up to 18 months, if we extend the time to complete a business combination as
  described in this prospectus)from the closing of this offering, our return of the funds held in the trust account to our public stockholders
  as part of our redemption of the public shares. If we do not invest the proceeds as discussed above, we may be deemed to be subject to
  the Investment Company Act. If we were deemed to be subject to the Investment Company Act, compliance with these additional
  regulatory burdens would require additional expenses for which we have not allotted funds and may hinder our ability to complete an
  initial business combination or may result in our liquidation. If we are unable to complete our initial business combination, our public
  stockholders may receive only approximately $10.20 per share on the liquidation of our trust account and our warrants will expire
  worthless.

  Our stockholders may be held liable for claims by third parties against us to the extent of distributions received by them upon
  redemption of their shares.

        Under the DGCL, stockholders may be held liable for claims by third parties against a corporation to the extent of distributions
  received by them in a dissolution. The pro rata portion of our trust account distributed to our public stockholders upon the redemption
  of our public shares in the event we do not complete our initial business combination within 12 months (or up to 18 months, if we

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  extend the time to complete a business combination as described in this prospectus) from the closing of this offering may be considered
  a liquidating distribution under Delaware law. If a corporation complies with certain procedures set forth in Section 280 of the DGCL
  intended to ensure that it makes reasonable provision for all claims against it, including a 60-day notice period during which any third-
  party claims can be brought against the corporation, a 90-day period during which the corporation may reject any claims brought, and
  an additional 150-day waiting period before any liquidating distributions are made to stockholders, any liability of stockholders with
  respect to a liquidating distribution is limited to the lesser of such stockholder’s pro rata share of the claim or the amount distributed to
  the stockholder, and any liability of the stockholder would be barred after the third anniversary of the dissolution. However, it is our
  intention to redeem our public shares as soon as reasonably possible following the 18th month from the closing of this offering in the
  event we do not complete our initial business combination and, therefore, we do not intend to comply with the foregoing procedures.

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         Because we will not be complying with Section 280, Section 281(b) of the DGCL requires us to adopt a plan, based on facts
  known to us at such time that will provide for our payment of all existing and pending claims or claims that may be potentially brought
  against us within the 10 years following our dissolution. However, because we are a blank check company, rather than an operating
  company, and our operations will be limited to searching for prospective target businesses to acquire, the only likely claims to arise
  would be from our vendors (such as lawyers, investment bankers, etc.) or prospective target businesses. If our plan of distribution
  complies with Section 281(b) of the DGCL, any liability of stockholders with respect to a liquidating distribution is limited to the
  lesser of such stockholder’s pro rata share of the claim or the amount distributed to the stockholder, and any liability of the stockholder
  would likely be barred after the third anniversary of the dissolution. We cannot assure you that we will properly assess all claims that
  may be potentially brought against us. As such, our stockholders could potentially be liable for any claims to the extent of distributions
  received by them (but no more) and any liability of our stockholders may extend beyond the third anniversary of such date.
  Furthermore, if the pro rata portion of our trust account distributed to our public stockholders upon the redemption of our public shares
  in the event we do not complete our initial business combination within 12 months (or up to 18 months, if we extend the time to
  complete a business combination as described in this prospectus)from the closing of this offering is not considered a liquidating
  distribution under Delaware law and such redemption distribution is deemed to be unlawful (potentially due to the imposition of legal
  proceedings that a party may bring or due to other circumstances that are currently unknown), then pursuant to Section 174 of the
  DGCL, the statute of limitations for claims of creditors could then be six years after the unlawful redemption distribution, instead of
  three years, as in the case of a liquidating distribution.

  We may not hold an annual meeting of stockholders until after the consummation of our initial business combination, which
  could delay the opportunity for our stockholders to elect directors.

        In accordance with Nasdaq corporate governance requirements, we are not required to hold an annual meeting until no later than
  one year after our first fiscal year end following our listing on Nasdaq. Under Section 211(b) of the DGCL, we are, however, required
  to hold an annual meeting of stockholders for the purposes of electing directors in accordance with our bylaws unless such election is
  made by written consent in lieu of such a meeting. We may not hold an annual meeting of stockholders to elect new directors prior to
  the consummation of our initial business combination, and thus we may not be in compliance with Section 211(b) of the DGCL, which
  requires an annual meeting. Therefore, if our stockholders want us to hold an annual meeting prior to the consummation of our initial
  business combination, they may attempt to force us to hold one by submitting an application to the Delaware Court of Chancery in
  accordance with Section 211(c) of the DGCL.

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  The grant of registration rights to our initial stockholders (including the holders of representative shares) may make it more
  difficult to complete our initial business combination, and the future exercise of such rights may adversely affect the market
  price of our Class A common stock.

         Pursuant to an agreement to be entered into concurrently with the issuance and sale of the securities in this offering, our initial
  stockholders, their permitted transferees and the holders of representative shares can demand that we register the resale of the
  placement units, the placement shares, the representative shares, the placement warrants, the shares of Class A common stock issuable
  upon exercise of the placement warrants, the shares of Class A common stock issuable upon conversion of the founder shares, the
  shares of Class A common stock included in the placement units and holders of units that may be issued upon conversion of working
  capital loans may demand that we register the resale of such units and the underlying securities. We will bear the cost of registering
  these securities. The registration and availability of such a significant number of securities for trading in the public market may have an
  adverse effect on the market price of our Class A common stock. In addition, the existence of the registration rights may make our
  initial business combination more costly or difficult to complete. This is because the stockholders of the target business may increase
  the equity stake they seek in the combined entity or ask for more cash consideration to offset the negative impact on the market price of
  our Class A common stock that is expected when the securities owned by our initial stockholders or holders of working capital loans or
  their respective permitted transferees are registered.

  Because we are neither limited to evaluating a target business in a particular industry sector nor have we selected any specific
  target businesses with which to pursue our initial business combination, you will be unable to ascertain the merits or risks of
  any particular target business’s operations.

        We will seek to complete an initial business combination with middle market and emerging growth technology-focused
  companies in the Americas, in SaaS and Technology or Fintech and Financial Services but may also pursue other business combination
  opportunities, except that we will not, under our amended and restated certificate of incorporation, be permitted to effectuate our initial
  business combination with another blank check company or similar company with nominal operations. Because we have not yet
  selected or approached any specific target business with respect to a business combination, there is no basis to evaluate the possible
  merits or risks of any particular target business’s operations, results of operations, cash flows, liquidity, financial condition or
  prospects. To the extent we complete our initial business combination, we may be affected by numerous risks inherent in the business
  operations with which we combine. For example, if we combine with a financially unstable business or an entity lacking an established
  record of sales or earnings, we may be affected by the risks inherent in the business and operations of a financially unstable or a
  development stage entity. Although our officers and directors will endeavor to evaluate the risks inherent in a particular target business,
  we cannot assure you that we will properly ascertain or assess all of the significant risk factors or that we will have adequate time to
  complete due diligence. Furthermore, some of these risks may be outside of our control and leave us with no ability to control or
  reduce the chances that those risks will adversely impact a target business. We also cannot assure you that an investment in our units
  will ultimately prove to be more favorable to investors than a direct investment, if such opportunity were available, in a business
  combination target. Accordingly, any stockholders who choose to remain stockholders following our initial business combination could
  suffer a reduction in the value of their securities. Such stockholders are unlikely to have a remedy for such reduction in value unless
  they are able to successfully claim that the reduction was due to the breach by our officers or directors of a duty of care or other
  fiduciary duty owed to them, or if they are able to successfully bring a private claim under securities laws that the proxy solicitation or
  tender offer materials, as applicable, relating to the business combination contained an actionable material misstatement or material
  omission.

  We may seek business combination opportunities in industries or sectors which may or may not be outside of our
  management’s area of expertise.

         Although we intend to focus on identifying technology companies, we will consider an initial business combination outside of
  our management’s area of expertise if an initial business combination candidate is presented to us and we determine that such candidate
  offers an attractive business combination opportunity for our company or we are unable to identify a suitable candidate in this sector
  after having expanded a reasonable amount of time and effort in an attempt to do so. Although our management will endeavor to
  evaluate the risks inherent in any particular business combination candidate, we cannot assure you that we will adequately ascertain or
  assess all of the significant risk factors. We also cannot assure you that an investment in our units will not ultimately prove to be less
  favorable to investors in this offering than a direct investment, if an opportunity were available, in an initial business combination
  candidate. In the event we elect to pursue a business combination outside of the areas of our management’s expertise, our
  management’s expertise may not be directly applicable to its evaluation or operation, and the information contained in this prospectus
  regarding the areas of our management’s expertise would not be relevant to an understanding of the business that we elect to acquire.
  As a result, our management may not be able to adequately ascertain or assess all of the significant risk factors. Accordingly, any
  stockholders who choose to remain stockholders following our initial business combination could suffer a reduction in the value of
  their shares. Such stockholders are unlikely to have a remedy for such reduction in value.

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  Although we have identified general criteria and guidelines that we believe are important in evaluating prospective target
  businesses, we may enter into our initial business combination with a target that does not meet such criteria and guidelines, and
  as a result, the target business with which we enter into our initial business combination may not have attributes entirely
  consistent with our general criteria and guidelines.

         Although we have identified general criteria and guidelines for evaluating prospective target businesses, it is possible that a target
  business with which we enter into our initial business combination will not have all of these positive attributes. If we complete our
  initial business combination with a target that does not meet some or all of these guidelines, such combination may not be as successful
  as a combination with a business that does meet all of our general criteria and guidelines. In addition, if we announce a prospective
  business combination with a target that does not meet our general criteria and guidelines, a greater number of stockholders may
  exercise their redemption rights, which may make it difficult for us to meet any closing condition with a target business that requires us
  to have a minimum net worth or a certain amount of cash. In addition, if stockholder approval of the transaction is required by
  applicable law or stock exchange requirements, or we decide to obtain stockholder approval for business or other legal reasons, it may
  be more difficult for us to attain stockholder approval of our initial business combination if the target business does not meet our
  general criteria and guidelines. If we are unable to complete our initial business combination, our public stockholders may receive only
  approximately $10.20 per share on the liquidation of our trust account and our warrants will expire worthless. In certain circumstances,
  our public stockholders may receive less than $10.20 per share on the redemption of their shares. See “— If third parties bring claims
  against us, the proceeds held in the trust account could be reduced and the per-share redemption amount received by stockholders may
  be less than $10.20 per share” and other risk factors herein.

  We may seek business combination opportunities with a financially unstable business or an entity lacking an established record
  of revenue, cash flow or earnings, which could subject us to volatile revenues, cash flows or earnings or difficulty in retaining
  key personnel.

        To the extent we complete our initial business combination with a financially unstable business or an entity lacking an
  established record of revenues or earnings, we may be affected by numerous risks inherent in the operations of the business with which
  we combine. These risks include volatile revenues or earnings and difficulties in obtaining and retaining key personnel. Although our
  officers and directors will endeavor to evaluate the risks inherent in a particular target business, we may not be able to properly
  ascertain or assess all of the significant risk factors and we may not have adequate time to complete due diligence. Furthermore, some
  of these risks may be outside of our control and leave us with no ability to control or reduce the chances that those risks will adversely
  impact a target business.

  We are not required to obtain a fairness opinion and consequently, you may have no assurance from an independent source
  that the price we are paying for the business is fair to our company from a financial point of view.

        Unless we complete our initial business combination with an affiliated entity or our board cannot independently determine the
  fair market value of the target business or businesses, we are not required to obtain an opinion from an independent investment banking
  firm or another independent entity that commonly renders valuation opinions that the price we are paying is fair to our company from a
  financial point of view. If no opinion is obtained, our stockholders will be relying on the judgment of our board of directors, who will
  determine fair market value based on standards generally accepted by the financial community. Such standards used will be disclosed
  in our proxy materials or tender offer documents, as applicable, related to our initial business combination.

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  Resources could be wasted in researching business combinations that are not completed, which could materially adversely
  affect subsequent attempts to locate and acquire or merge with another business. If we are unable to complete our initial
  business combination, our public stockholders may receive only approximately $10.20 per share, or less than such amount in
  certain circumstances, on the liquidation of our trust account and our warrants will expire worthless.

         We anticipate that the investigation of each specific target business and the negotiation, drafting and execution of relevant
  agreements, disclosure documents and other instruments will require substantial management time and attention and substantial costs
  for accountants, attorneys, consultants and others. If we decide not to complete a specific initial business combination, the costs
  incurred up to that point for the proposed transaction likely would not be recoverable. Furthermore, if we reach an agreement relating
  to a specific target business, we may fail to complete our initial business combination for any number of reasons including those
  beyond our control. Any such event will result in a loss to us of the related costs incurred which could materially adversely affect
  subsequent attempts to locate and acquire or merge with another business. If we are unable to complete our initial business
  combination, our public stockholders may receive only approximately $10.20 per share on the liquidation of our trust account and our
  warrants will expire worthless. In certain circumstances, our public stockholders may receive less than $10.20 per share on the
  redemption of their shares. See “— If third parties bring claims against us, the proceeds held in the trust account could be reduced and
  the per-share redemption amount received by stockholders may be less than $10.20 per share” and other risk factors herein.

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  We may issue notes or other debt securities, or otherwise incur substantial debt, to complete an initial business combination,
  which may adversely affect our leverage and financial condition and thus negatively impact the value of our stockholders’
  investment in us.

        Although we have no commitments as of the date of this prospectus to issue any notes or other debt securities, or to otherwise
  incur outstanding debt following this offering, we may choose to incur substantial debt to complete our initial business combination.
  We have agreed that we will not incur any indebtedness unless we have obtained from the lender a waiver of any right, title, interest or
  claim of any kind in or to the monies held in the trust account. As such, no issuance of debt will affect the per-share amount available
  for redemption from the trust account. Nevertheless, the incurrence of debt could have a variety of negative effects, including:

        •     default and foreclosure on our assets if our operating revenues after an initial business combination are insufficient to repay
              our debt obligations;

        •     acceleration of our obligations to repay the indebtedness even if we make all principal and interest payments when due if
              we breach certain covenants that require the maintenance of certain financial ratios or reserves without a waiver or
              renegotiation of that covenant;

        •     our immediate payment of all principal and accrued interest, if any, if the debt security is payable on demand;

        •     our inability to obtain necessary additional financing if the debt security contains covenants restricting our ability to obtain
              such financing while the debt security is outstanding;

        •     our inability to pay dividends on our common stock;

        •     using a substantial portion of our cash flow to pay principal and interest on our debt, which will reduce the funds available
              for dividends on our common stock if declared, our ability to pay expenses, make capital expenditures and acquisitions,
              and fund other general corporate purposes;

        •     limitations on our flexibility in planning for and reacting to changes in our business and in the industry in which we
              operate;

        •     increased vulnerability to adverse changes in general economic, industry and competitive conditions and adverse changes
              in government regulation;

        •     limitations on our ability to borrow additional amounts for expenses, capital expenditures, acquisitions, debt service
              requirements, and execution of our strategy; and

        •     other disadvantages compared to our competitors who have less debt.

  We may only be able to complete one business combination with the proceeds of this offering, the sale of the placement units,
  which will cause us to be solely dependent on a single business which may have a limited number of services and limited
  operating activities. This lack of diversification may negatively impact our operating results and profitability.

        Of the net proceeds from this offering and the sale of the placement units, $307,435,000 (or $353,335,000 if the underwriters’
  over-allotment option is exercised in full) will be available to complete our initial business combination and pay related fees and
  expenses (which includes up to $10,500,000 (or $12,075,000 if the underwriters’ over-allotment option is exercised in full, for the
  payment of deferred underwriting commissions).


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        We may effectuate our initial business combination with a single target business or multiple target businesses simultaneously or
  within a short period of time. However, we may not be able to effectuate our initial business combination with more than one target
  business because of various factors, including the existence of complex accounting issues and the requirement that we prepare and file
  pro forma financial statements with the SEC that present operating results and the financial condition of several target businesses as if
  they had been operated on a combined basis. By completing our initial business combination with only a single entity, our lack of
  diversification may subject us to numerous economic, competitive and regulatory developments. Further, we would not be able to
  diversify our operations or benefit from the possible spreading of risks or offsetting of losses, unlike other entities which may have the
  resources to complete several business combinations in different industries or different areas of a single industry. In addition, we intend
  to focus our search for an initial business combination in a single industry. Accordingly, the prospects for our success may be:

        •     solely dependent upon the performance of a single business, property or asset, or

        •     dependent upon the development or market acceptance of a single or limited number of products, processes or services.

        This lack of diversification may subject us to numerous economic, competitive and regulatory risks, any or all of which may
  have a substantial adverse impact upon the particular industry in which we may operate subsequent to our initial business combination.

  We may attempt to simultaneously complete business combinations with multiple prospective targets, which may hinder our
  ability to complete our initial business combination and give rise to increased costs and risks that could negatively impact our
  operations and profitability.

         If we determine to simultaneously acquire several businesses that are owned by different sellers, we will need for each of such
  sellers to agree that our purchase of its business is contingent on the simultaneous closings of the other business combinations, which
  may make it more difficult for us, and delay our ability, to complete our initial business combination. We do not, however, intend to
  purchase multiple businesses in unrelated industries in conjunction with our initial business combination. With multiple business
  combinations, we could also face additional risks, including additional burdens and costs with respect to possible multiple negotiations
  and due diligence investigations (if there are multiple sellers) and the additional risks associated with the subsequent assimilation of the
  operations and services or products of the acquired companies in a single operating business. If we are unable to adequately address
  these risks, it could negatively impact our profitability and results of operations.

  We may attempt to complete our initial business combination with a private company about which little information is
  available, which may result in an initial business combination with a company that is not as profitable as we suspected, if at all.

        In pursuing our initial business combination strategy, we may seek to effectuate our initial business combination with a privately
  held company. Very little public information generally exists about private companies, and we could be required to make our decision
  on whether to pursue a potential initial business combination on the basis of limited information, which may result in an initial business
  combination with a company that is not as profitable as we suspected, if at all.

  Our management may not be able to maintain control of a target business after our initial business combination.

         We may structure an initial business combination so that the post-transaction company in which our public stockholders own
  shares will own less than 100% of the equity interests or assets of a target business, but we will only complete such business
  combination if the post-transaction company owns or acquires 50% or more of the outstanding voting securities of the target or
  otherwise acquires a controlling interest in the target sufficient for us not to be required to register as an investment company under the
  Investment Company Act. We will not consider any transaction that does not meet such criteria. Even if the post-transaction company
  owns 50% or more of the voting securities of the target, our stockholders prior to the initial business combination may collectively own
  a minority interest in the post business combination company, depending on valuations ascribed to the target and us in the initial
  business combination. For example, we could pursue a transaction in which we issue a substantial number of new shares of Class A
  common stock in exchange for all of the outstanding capital stock of a target. In this case, we would acquire a 100% interest in the
  target. However, as a result of the issuance of a substantial number of new shares of common stock, our stockholders immediately prior
  to such transaction could own less than a majority of our outstanding shares of common stock subsequent to such transaction. In
  addition, other minority stockholders may subsequently combine their holdings resulting in a single person or group obtaining a larger
  share of the company’s stock than we initially acquired. Accordingly, this may make it more likely that our management will not be
  able to maintain our control of the target business. We cannot provide assurance that, upon loss of control of a target business, new
  management will possess the skills, qualifications or abilities necessary to profitably operate such business.

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  We do not have a specified maximum redemption threshold. The absence of such a redemption threshold may make it possible
  for us to complete an initial business combination with which a substantial majority of our stockholders do not agree.

        Our amended and restated certificate of incorporation does not provide a specified maximum redemption threshold, except that in
  no event will we redeem our public shares unless our net tangible assets are at least $5,000,001 either immediately prior to or upon
  consummation of our initial business combination and after payment of underwriters’ fees and commissions (such that we are not
  subject to the SEC’s “penny stock” rules) or any greater net tangible asset or cash requirement which may be contained in the
  agreement relating to our initial business combination. As a result, we may be able to complete our initial business combination even
  though a substantial majority of our public stockholders do not agree with the transaction and have redeemed their shares or, if we seek
  stockholder approval of our initial business combination and do not conduct redemptions in connection with our initial business
  combination pursuant to the tender offer rules, have entered into privately negotiated agreements to sell their shares to our sponsor,
  officers, directors or their affiliates. In the event the aggregate cash consideration we would be required to pay for all shares of Class A
  common stock that are validly submitted for redemption plus any amount required to satisfy cash conditions pursuant to the terms of
  the proposed initial business combination exceed the aggregate amount of cash available to us, we will not complete the initial business
  combination or redeem any shares, all shares of Class A common stock submitted for redemption will be returned to the holders
  thereof, and we instead may search for an alternate business combination.

  In order to effectuate an initial business combination, blank check companies have, in the recent past, amended various
  provisions of their charters and other governing instruments, including their warrant agreements. We cannot assure you that
  we will not seek to amend our amended and restated certificate of incorporation or governing instruments in a manner that
  will make it easier for us to complete our initial business combination that our stockholders may not support.

        In order to effectuate an initial business combination, blank check companies have, in the recent past, amended various
  provisions of their charters and modified governing instruments, including their warrant agreements. For example, blank check
  companies have amended the definition of business combination, increased redemption thresholds and extended the time to
  consummate an initial business combination and, with respect to their warrants, amended their warrant agreements to require the
  warrants to be exchanged for cash and/or other securities. Amending our amended and restated certificate of incorporation with respect
  to any provisions related to pre-initial business combination activity (including the requirement to deposit proceeds of this offering and
  the private placement of units into the trust account and not release such amounts except in specified circumstances, and to provide
  redemption rights to public stockholders as described herein) will require the approval of holders of 65% of our common stock entitled
  to vote thereon, amending other provisions of our amended and restated certificate of incorporation will require the approval of holders
  of a majority of our common stock and amending our warrant agreement will require a vote of holders of at least a majority of the
  public warrants (which may include public warrants acquired by our sponsor or its affiliates in this offering or thereafter in the open
  market). In addition, our amended and restated certificate of incorporation will require us to provide our public stockholders with the
  opportunity to redeem their public shares for cash if we propose an amendment to our amended and restated certificate of incorporation
  (A) to modify the substance or timing of our obligation to allow redemption in connection with our initial business combination or
  certain amendments to our charter prior thereto or to redeem 100% of our public shares if we do not complete our initial business
  combination within 12 months (or up to 18 months, if we extend the time to complete a business combination as described in this
  prospectus)from the closing of this offering or (B) with respect to any other provision relating to stockholders’ rights or pre-initial
  business combination activity.

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         To the extent any such amendments would be deemed to fundamentally change the nature of any securities offered through this
  registration statement, we would register, or seek an exemption from registration for, the affected securities. We cannot assure you that
  we will not seek to amend our charter or governing instruments or extend the time to consummate an initial business combination in
  order to effectuate our initial business combination.

  The provisions of our amended and restated certificate of incorporation that relate to our pre-business combination activity
  (and corresponding provisions of the agreement governing the release of funds from our trust account), including an
  amendment to permit us to withdraw funds from the trust account such that the per share amount investors will receive upon
  any redemption or liquidation is substantially reduced or eliminated, may be amended with the approval of holders of at least
  65% of our common stock, which is a lower amendment threshold than that of some other blank check companies. It may be
  easier for us, therefore, to amend our amended and restated certificate of incorporation and the trust agreement to facilitate
  the completion of an initial business combination that some of our stockholders may not support.

         Our amended and restated certificate of incorporation will provide that any of its provisions related to pre-initial business
  combination activity (including the requirement to deposit proceeds of this offering and the sale of the placement units into the trust
  account and not release such amounts except in specified circumstances, and to provide redemption rights to public stockholders as
  described herein and including to permit us to withdraw funds from the trust account such that the per share amount investors will
  receive upon any redemption or liquidation is substantially reduced or eliminated) may be amended if approved by holders of at least
  65% of our common stock entitled to vote thereon, and corresponding provisions of the trust agreement governing the release of funds
  from our trust account may be amended if approved by holders of at least 65% of our common stock entitled to vote thereon. In all
  other instances, our amended and restated certificate of incorporation may be amended by holders of a majority of our outstanding
  common stock entitled to vote thereon, subject to applicable provisions of the DGCL or applicable stock exchange rules. We may not
  issue additional securities that can vote on amendments to our amended and restated certificate of incorporation. Our initial
  stockholders, who will collectively beneficially own approximately 22.3% of our common stock upon the closing of this offering
  (including the placement shares to be issued to the sponsor and assuming they and anchor investors do not purchase any units in this
  offering), will participate in any vote to amend our amended and restated certificate of incorporation and/or trust agreement and will
  have the discretion to vote in any manner they choose. As a result, we may be able to amend the provisions of our amended and
  restated certificate of incorporation which govern our pre-initial business combination behavior more easily than some other blank
  check companies, and this may increase our ability to complete an initial business combination with which you do not agree. Our
  stockholders may pursue remedies against us for any breach of our amended and restated certificate of incorporation.

         Our sponsor, officers, directors and director nominees will agree, pursuant to a written agreement with us, that they will not
  propose any amendment to our amended and restated certificate of incorporation (i) to modify the substance or timing of our obligation
  to allow redemption in connection with our initial business combination or certain amendments to our charter prior thereto or to
  redeem 100% of our public shares if we do not complete our initial business combination within 12 months (or up to 18 months, if we
  extend the time to complete a business combination as described in this prospectus) from the closing of this offering or (ii) with respect
  to any other provision relating to stockholders’ rights or pre-initial business combination activity, unless we provide our public
  stockholders with the opportunity to redeem their shares of Class A common stock upon approval of any such amendment at a per-
  share price, payable in cash, equal to the aggregate amount then on deposit in the trust account, divided by the number of then
  outstanding public shares. These agreements are contained in a letter agreement that we will enter into with our sponsor , officers,
  directors and director nominees. Our stockholders are not parties to, or third-party beneficiaries of, these agreements and, as a result,
  will not have the ability to pursue remedies against our sponsor, officers or directors for any breach of these agreements. As a result, in
  the event of a breach, our stockholders would need to pursue a stockholder derivative action, subject to applicable law.


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  We may be unable to obtain additional financing to complete our initial business combination or to fund the operations and
  growth of a target business, which could compel us to restructure or abandon a particular business combination.

         We have not selected any specific business combination target, but intend to target businesses larger than we could acquire with
  the net proceeds of this offering and the sale of the placement units. As a result, we may be required to seek additional financing to
  complete such proposed initial business combination. We cannot assure you that such financing will be available on acceptable terms,
  if at all. To the extent that additional financing proves to be unavailable when needed to complete our initial business combination, we
  would be compelled to either restructure the transaction or abandon that particular business combination and seek an alternative target
  business candidate. Further, the amount of additional financing we may be required to obtain could increase as a result of future growth
  capital needs for any particular transaction, the depletion of the available net proceeds in search of a target business, the obligation to
  repurchase for cash a significant number of shares from stockholders who elect redemption in connection with our initial business
  combination and/or the terms of negotiated transactions to purchase shares in connection with our initial business combination. If we
  are unable to complete our initial business combination, our public stockholders may receive only approximately $10.20 per share plus
  any pro rata interest earned on the funds held in the trust account and not previously released to us to pay our taxes on the liquidation
  of our trust account and our warrants will expire worthless. In addition, even if we do not need additional financing to complete our
  initial business combination, we may require such financing to fund the operations or growth of the target business. The failure to
  secure additional financing could have a material adverse effect on the continued development or growth of the target business. None
  of our officers, directors or stockholders is required to provide any financing to us in connection with or after our initial business
  combination. If we are unable to complete our initial business combination, our public stockholders may only receive approximately
  $10.20 per share on the liquidation of our trust account, and our warrants will expire worthless. Furthermore, as described in the risk
  factor entitled “If third parties bring claims against us, the proceeds held in the trust account could be reduced and the per-share
  redemption amount received by stockholders may be less than $10.20 per share,” under certain circumstances our public stockholders
  may receive less than $10.20 per share upon the liquidation of the trust account.

  Our initial stockholders may exert a substantial influence on actions requiring a stockholder vote, potentially in a manner that
  you do not support.

         Upon the closing of this offering, our initial stockholders will own shares representing approximately 22.3% of our issued and
  outstanding shares of common stock (including the placement shares to be issued to the sponsor and assuming they and the anchor
  investors do not purchase any units in this offering). Accordingly, they may exert a substantial influence on actions requiring a
  stockholder vote, potentially in a manner that you do not support, including amendments to our amended and restated certificate of
  incorporation and approval of major corporate transactions. If our initial stockholders purchase any units in this offering or if our initial
  stockholders purchase any additional shares of common stock in the aftermarket or in privately negotiated transactions, this would
  increase their control. Factors that would be considered in making such additional purchases would include consideration of the current
  trading price of our Class A common stock. In addition, our board of directors, whose members were or will be elected by our initial
  stockholders, is and will be divided into three classes, each of which will generally serve for a term of three years with only one class
  of directors being elected in each year. We may not hold an annual meeting of stockholders to elect new directors prior to the
  completion of our initial business combination, in which case all of the current directors and director nominees will continue in office
  until at least the completion of the initial business combination. If there is an annual meeting, as a consequence of our “staggered”
  board of directors, only a minority of the board of directors will be considered for election and our initial stockholders, because of their
  ownership position, will have considerable influence regarding the outcome. Accordingly, our initial stockholders will continue to exert
  control at least until the completion of our initial business combination.

  Our sponsor paid an aggregate of $25,000 for the founder shares, or approximately $0.003 per founder share. As a result of this
  low initial price, our sponsor, its affiliates and our management team stand to make a substantial profit even if an initial
  business combination subsequently declines in value or is unprofitable for our public stockholders.

         As a result of the low acquisition cost of our founder shares, our sponsor, its affiliates and our management team could make a
  substantial profit even if we select and consummate an initial business combination with an acquisition target that subsequently
  declines in value or is unprofitable for our public stockholders. Thus, such parties may have more of an economic incentive for us to
  enter into an initial business combination with a riskier, weaker-performing or financially unstable business, or an entity lacking an
  established record of revenues or earnings, than would be the case if such parties had paid the full offering price for their founder
  shares.

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  Because we must furnish our stockholders with target business financial statements, we may lose the ability to complete an
  otherwise advantageous initial business combination with some prospective target businesses.

         The federal proxy rules require that a proxy statement with respect to a vote on an initial business combination meeting certain
  financial significance tests include historical and/or pro forma financial statement disclosure in periodic reports. We will include the
  same financial statement disclosure in connection with our tender offer documents, whether or not they are required under the tender
  offer rules. These financial statements may be required to be prepared in accordance with, or be reconciled to, accounting principles
  generally accepted in the United States of America, or GAAP, or international financial reporting standards as issued by the
  International Accounting Standards Board, or IFRS, depending on the circumstances and the historical financial statements may be
  required to be audited in accordance with the standards of the Public Company Accounting Oversight Board (United States), or
  PCAOB. These financial statement requirements may limit the pool of potential target businesses we may acquire because some targets
  may be unable to provide such financial statements in time for us to disclose such statements in accordance with federal proxy rules
  and complete our initial business combination within the prescribed time frame.

  Compliance obligations under the Sarbanes-Oxley Act may make it more difficult for us to effectuate our initial business
  combination, require substantial financial and management resources, and increase the time and costs of completing an initial
  business combination.

         Section 404 of the Sarbanes-Oxley Act requires that we evaluate and report on our system of internal controls beginning with our
  Annual Report on Form 10-K for the year ending December 31, 2022. Only in the event we are deemed to be a large accelerated filer
  or an accelerated filer, and no longer qualify as an emerging growth company, will we be required to comply with the independent
  registered public accounting firm attestation requirement on our internal control over financial reporting. Further, for as long as we
  remain an emerging growth company, we will not be required to comply with the independent registered public accounting firm
  attestation requirement on our internal control over financial reporting. The fact that we are a blank check company makes compliance
  with the requirements of the Sarbanes-Oxley Act particularly burdensome on us as compared to other public companies because a
  target company with which we seek to complete our initial business combination may not be in compliance with the provisions of the
  Sarbanes-Oxley Act regarding adequacy of its internal controls. The development of the internal control of any such entity to achieve
  compliance with the Sarbanes-Oxley Act may increase the time and costs necessary to complete any such business combination.

        Your only opportunity to affect the investment decision regarding a potential business combination will be limited to the
  exercise of your right to redeem your shares from us for cash, unless we seek stockholder approval of the initial business
  combination.

         At the time of your investment in us, you will not be provided with an opportunity to evaluate the specific merits or risks of our
  initial business combination. Since our board of directors may complete an initial business combination without seeking stockholder
  approval, public stockholders may not have the right or opportunity to vote on the initial business combination, unless we seek such
  stockholder vote. Accordingly, if we do not seek stockholder approval, your only opportunity to affect the investment decision
  regarding a potential business combination may be limited to exercising your redemption rights within the period of time (which will
  be at least 20 business days) set forth in our tender offer documents mailed to our public stockholders in which we describe our initial
  business combination.

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        You will not have any rights or interests in funds from the trust account, except under certain limited circumstances. To
  liquidate your investment, therefore, you may be forced to sell your public shares or warrants, potentially at a loss.

        Our public stockholders will be entitled to receive funds from the trust account only upon the earliest to occur of: (i) our
  completion of an initial business combination, and then only in connection with those shares of Class A common stock that such
  stockholder properly elected to redeem, subject to the limitations described herein, (ii) the redemption of any public shares properly
  submitted in connection with a stockholder vote to amend our amended and restated certificate of incorporation (A) to modify the
  substance or timing of our obligation to allow redemption in connection with our initial business combination or certain amendments to
  our charter prior thereto or to redeem 100% of our public shares if we do not complete our initial business combination within 12
  months (or up to 18 months if we have extended the period of time as described in this prospectus) from the closing of this offering or
  (B) with respect to any other provision relating to stockholders’ rights or pre-initial business combination activity and (iii) the
  redemption of our public shares if we are unable to complete an initial business combination within 12 months (or up to 18 months if
  we have extended the period of time as described in this prospectus) from the closing of this offering, subject to applicable law and as
  further described herein. In no other circumstances will a public stockholder have any right or interest of any kind in the trust account.
  Holders of warrants will not have any right to the proceeds held in the trust account with respect to the warrants. Accordingly, to
  liquidate your investment, you may be forced to sell your public shares or warrants, potentially at a loss.

  If we effect our initial business combination with a company with operations or opportunities outside of the United States, we
  would be subject to a variety of additional risks that may negatively impact our operations.

        If we effect our initial business combination with a company with operations or opportunities outside of the United States, we
  would be subject to any special considerations or risks associated with companies operating in an international setting, including any of
  the following:

        •     higher costs and difficulties inherent in managing cross-border business operations and complying with different
              commercial and legal requirements of overseas markets;

        •     rules and regulations regarding currency redemption;

        •     complex corporate withholding taxes on individuals;

        •     laws governing the manner in which future business combinations may be effected;

        •     tariffs and trade barriers;

        •     regulations related to customs and import/export matters;

        •     longer payment cycles and challenges in collecting accounts receivable;

        •     tax issues, including but not limited to tax law changes and variations in tax laws as compared to the United States;

        •     currency fluctuations and exchange controls;

        •     rates of inflation;

        •     cultural and language differences;

        •     employment regulations;

        •     crime, strikes, riots, civil disturbances, terrorist attacks, natural disasters and wars;

        •     deterioration of political relations with the United States; and

        •     government appropriations of assets.

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                                             Risks Relating to our Sponsor and Management Team

  Our ability to successfully effect our initial business combination and to be successful thereafter will be totally dependent upon
  the efforts of our key personnel, some of whom may join us following our initial business combination. The loss of key
  personnel could negatively impact the operations and profitability of our post-combination business.

         Our ability to successfully effect our initial business combination is dependent upon the efforts of our key personnel. The role of
  our key personnel in the target business, however, cannot presently be ascertained. Although some of our key personnel may remain
  with the target business in senior management or advisory positions following our initial business combination, it is likely that some or
  all of the management of the target business will remain in place. While we intend to closely scrutinize any individuals we employ
  after our initial business combination, we cannot assure you that our assessment of these individuals will prove to be correct. These
  individuals may be unfamiliar with the requirements of operating a company regulated by the SEC, which could cause us to have to
  expend time and resources helping them become familiar with such requirements. In addition, the officers and directors of an initial
  business combination candidate may resign upon completion of our initial business combination. The departure of an initial business
  combination target’s key personnel could negatively impact the operations and profitability of our post-combination business. The role
  of an initial business combination candidate’s key personnel upon the completion of our initial business combination cannot be
  ascertained at this time. Although we contemplate that certain members of an initial business combination candidate’s management
  team will remain associated with the initial business combination candidate following our initial business combination, it is possible
  that members of the management of an initial business combination candidate will not wish to remain in place. The loss of key
  personnel could negatively impact the operations and profitability of our post-combination business.

  We are dependent upon our executive officers, directors and director nominees and their departure could adversely affect our
  ability to operate.

        Our operations are dependent upon a relatively small group of individuals and, in particular, our executive officers, directors and
  director nominees. We believe that our success depends on the continued service of our executive officers and directors, at least until
  we have completed our initial business combination. We do not have an employment agreement with, or key-man insurance on the life
  of, any of our directors or executive officers. The unexpected loss of the services of one or more of our directors or executive officers
  could have a detrimental effect on us.

  Our key personnel may negotiate employment or consulting agreements with a target business in connection with a particular
  business combination. These agreements may provide for them to receive compensation following our initial business
  combination and as a result, may cause them to have conflicts of interest in determining whether a particular business
  combination is the most advantageous.

         Our key personnel may be able to remain with the company after the completion of our initial business combination only if they
  are able to negotiate employment or consulting agreements in connection with the initial business combination. Such negotiations
  would take place simultaneously with the negotiation of the initial business combination and could provide for such individuals to
  receive compensation in the form of cash payments and/or our securities for services they would render to us after the completion of
  the initial business combination. The personal and financial interests of such individuals may influence their motivation in identifying
  and selecting a target business. However, we believe the ability of such individuals to remain with us after the completion of our initial
  business combination will not be the determining factor in our decision as to whether or not we will proceed with any potential
  business combination. There is no certainty, however, that any of our key personnel will remain with us after the completion of our
  initial business combination. We cannot assure you that any of our key personnel will remain in senior management or advisory
  positions with us. The determination as to whether any of our key personnel will remain with us will be made at the time of the
  consummation of our initial business combination.

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  We may have a limited ability to assess the management of a prospective target business and, as a result, may effect our initial
  business combination with a target business whose management may not have the skills, qualifications or abilities to manage a
  public company, which could, in turn, negatively impact the value of our stockholders’ investment in us.

        When evaluating the desirability of effecting our initial business combination with a prospective target business, our ability to
  assess the target business’s management may be limited due to a lack of time, resources or information. Our assessment of the
  capabilities of the target’s management, therefore, may prove to be incorrect and such management may lack the skills, qualifications
  or abilities we suspected. Should the target’s management not possess the skills, qualifications or abilities necessary to manage a public
  company, the operations and profitability of the post-combination business may be negatively impacted. Accordingly, any stockholders
  who choose to remain stockholders following the initial business combination could suffer a reduction in the value of their shares. Such
  stockholders are unlikely to have a remedy for such reduction in value.

  Our officers and directors will allocate their time to other businesses thereby causing conflicts of interest in their determination
  as to how much time to devote to our affairs. This conflict of interest could have a negative impact on our ability to complete
  our initial business combination.

         Our officers and directors are not required to, and will not, commit their full time to our affairs, which may result in a conflict of
  interest in allocating their time between our operations and our search for an initial business combination and their other businesses.
  We do not intend to have any full-time employees prior to the completion of our initial business combination. Each of our officers is
  engaged in other business endeavors for which he may be entitled to substantial compensation and our officers are not obligated to
  contribute any specific number of hours per week to our affairs. Our independent directors may also serve as officers or board members
  for other entities. If our officers’ and directors’ other business affairs require them to devote substantial amounts of time to such affairs
  in excess of their current commitment levels, it could limit their ability to devote time to our affairs which may have a negative impact
  on our ability to complete our initial business combination. For a complete discussion of our officers’ and directors’ other business
  affairs, please see the section of this prospectus entitled “Management — Directors and Officers.”

  The nominal purchase price paid by our sponsor for the founder shares may result in significant dilution to the implied value of
  your public shares upon the consummation of our initial business combination.

           We are offering our units at an offering price of $10.00 per unit and the amount in our trust account is initially anticipated to
  be $10.20 per public share, implying an initial value of $10.20 per public share. However, prior to this offering, our sponsor paid a
  nominal aggregate purchase price of $25,000 for the founder shares, or approximately $0.003 per share. As a result, the value of your
  public shares may be significantly diluted upon the consummation of our initial business combination, when the founder shares are
  converted into public shares. For example, the following table shows the dilutive effect of the founder shares on the implied value of
  the public shares upon the consummation of our initial business combination, assuming that our equity value at that time is
  $295,500,000, which is the amount we would have for our initial business combination in the trust account after payment of
  $10,500,000 of deferred underwriting commissions, assuming the underwriters’ over-allotment option is not exercised, no interest is
  earned on the funds held in the trust account, and no public shares are redeemed in connection with our initial business combination,
  and without taking into account any other potential impacts on our valuation at such time, such as the trading price of our public shares,
  the business combination transaction costs, any equity issued or cash paid to the target’s sellers or other third parties, or the target’s
  business itself, including its assets, liabilities, management and prospects, as well as the value of our public and private warrants. At
  such valuation, each of our shares of common stock would have an implied value of $7.61 per share upon consummation of our initial
  business combination, which would be a 25.4% decrease as compared to the initial implied value per public share of $10.20 (the
  amount per share to be placed in trust at the closing of this offering (and assuming no value to the public warrants).

  Public shares                                                                                                                  30,000,000
  Founder shares                                                                                                                  7,500,000
  Placement shares                                                                                                                1,174,109
  Representative shares                                                                                                             150,000
  Total shares                                                                                                                   38,824,109
  Total funds in trust available for initial business combination (less deferred underwriting commissions)                    $ 295,500,000
  Initial implied value per public share                                                                                      $       10.20
  Implied value per share upon consummation of initial business combination                                                   $        7.61

  The value of the founder shares following completion of our initial business combination is likely to be substantially higher
  than the nominal price paid for them, even if the trading price of our common stock at such time is substantially less than
  $10.00 per share.


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           Upon the closing of this offering, assuming no exercise of the underwriters’ over-allotment option, our sponsor will have
  invested in us an aggregate of $11,766,090, comprised of the $25,000 purchase price for the founder shares and the $11,741,090
  purchase price for the private placement units. Assuming a trading price of $10.00 per share upon consummation of our initial business
  combination, the 7,500,000 founder shares would have an aggregate implied value of $75,000,000. Even if the trading price of our
  common stock was as low as $1.35 per share, and the private warrants were worthless, the value of the founder shares and private
  shares would be equal to the sponsor’s initial investment in us. As a result, our sponsor is likely to be able to recoup its investment in
  us and make a substantial profit on that investment, even if our public shares have lost significant value. Accordingly, our management
  team, which owns interests in our sponsor, may have an economic incentive that differs from that of the public shareholders to pursue
  and consummate an initial business combination rather than to liquidate and to return all of the cash in the trust to the public
  shareholders, even if that business combination were with a riskier or less-established target business. For the foregoing reasons, you
  should consider our management team's financial incentive to complete an initial business combination when evaluating whether to
  redeem your shares prior to or in connection with the initial business combination.

  Our anchor investors have provided indications of interest to purchase up to 91.3% of the units sold in this offering. Depending
  on how many units are purchased by the anchor investors, the trading volume, volatility and liquidity for our shares could be
  reduced, the trading price of our shares could be adversely affected and other investors could be prevented from influencing
  significant corporate decisions.

            Our anchor investors have entered into investment agreements with us and our sponsor pursuant to which they expressed to us
  an interest in purchasing up to an aggregate of approximately 91.3% of the units in this offering (excluding any units sold pursuant to
  the exercise of the underwriters’ over-allotment option) at the offering price, and we expect that the underwriters will offer the anchor
  investors the opportunity to purchase all of those units. However, the allocation of units to anchor investors will be determined by the
  underwriters and will be subject to satisfying Nasdaq initial listing requirements, including the minimum number of round lot holders.
  Because these expressions of interest are not binding agreements or commitments to purchase, each of the anchor investors may
  determine to purchase fewer or no units in this offering or the underwriters may determine to sell fewer or no units to the anchor
  investors. In the event that our units are concentrated in a limited number of anchor investors, we may not be able to meet the public
  distribution requirement, among others, of the Nasdaq continued listing standards. In addition, depending on how many units are
  purchased by the anchor investors, the post-offering trading volume, volatility and liquidity of our securities may be reduced relative to
  what they would have been had the units been more widely offered and sold to other public investors. As a result, we may not be able
  to meet Nasdaq’s continued listing standards. See “ – Nasdaq may delist our securities from trading on its exchange, which could limit
  investors’ ability to make transactions in our securities and subject us to additional trading restrictions.”

           If the anchor investors all elect to purchase the full amount of our units described herein and so long as they hold a substantial
  portion of the units purchased, our sponsor and the anchor investors would collectively have substantial control over us and be able to
  exercise significant influence over all matters requiring stockholder approval (although we have no knowledge of any affiliation or
  other agreement or arrangement, as to voting of our securities or otherwise, among any such persons). For example, in the event that
  the anchor investors purchase the full amount of units described herein, continue to hold the shares included in the units and vote such
  shares in favor of our initial business combination, we would not need any additional public shares sold in this offering to be voted in
  favor of our initial business combination to have our initial business combination approved. Moreover, although the anchor investors
  are not contractually obligated to vote their public shares in favor of our business combination, their interest in our founder shares may
  provide an incentive for them to do so. This potential concentration of influence could be disadvantageous to other public stockholders,
  who may have interests that are different from those of our sponsor and the anchor investors. In addition, this potential significant
  concentration of stock ownership may adversely affect the trading price of our Class A common stock, because investors often perceive
  disadvantages in owning stock in companies with concentrated ownership, and might make it more difficult to complete a business
  combination with targets that would prefer to enter into a transaction with a SPAC with less concentrated ownership.

  Since our anchor investors will acquire certain founder shares from our sponsor in connection with the closing of this offering,
  a conflict of interest may arise in determining whether a particular target business is appropriate for our initial business
  combination.

         We have agreed with the anchor investors that, if they purchase all of the units for which they have provided indications of
  interest, they will be entitled to purchase directly from our sponsor certain founder shares, and will be required to pay only $0.0029 per
  share for those founder shares. Accordingly, the anchor investors will enjoy any appreciation in the value of the founder shares above
  that nominal amount, provided that we successfully complete a business combination. Moreover, assuming that the anchor investors
  acquire all of the units in this offering for which they have expressed an interest for a purchase price of $10.00 per unit and acquire all
  of the 1,650,000 founder shares that they are expected to agree to purchase for a price of $0.001 per share, and assuming each warrant
  has no value and without taking into account any liquidity discount on the founder shares, the anchor investors will be paying an
  effective price of $9.43 per share of Class A common stock acquired, as compared to the $10.00 per share to be paid by the other
  public stockholders in this offering. As a result, the anchor investors may have an incentive to vote any public shares they own in favor
  of a business combination, and, if a business combination is approved, they may make a substantial profit on such interest, even if the
  market price of our public securities declines in value below the price to the public in this offering and the business combination is not
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  profitable for other public stockholders. In addition, as discussed above, if the anchor investors retain a substantial portion of their
  interests in our public shares and if the anchor investors vote those public shares in favor of a business combination, we will receive
  sufficient votes to approve the business combination, regardless of how any other public stockholder votes their shares. You should
  consider the anchor investors’ financial incentive to complete an initial business combination when evaluating whether to invest in this
  offering and/or redeem your shares prior to or in connection with an initial business combination.


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  Certain of our officers, directors and director nominees are now, and all of them may in the future become, affiliated with
  entities engaged in business activities similar to those intended to be conducted by us and, accordingly, may have conflicts of
  interest in allocating their time and determining to which entity a particular business opportunity should be presented.

        Following the completion of this offering and until we consummate our initial business combination, we intend to engage in the
  business of identifying and combining with one or more businesses. Our sponsor and officers and directors are, and may in the future
  become, affiliated with entities (such as operating companies or investment vehicles) that are engaged in a similar business and our
  officers and directors may become officers or directors of another special purpose acquisition company with a class of securities
  intended to be registered under the Exchange Act, even prior to us entering into a definitive agreement for our initial business
  combination. Our officers and directors also may become aware of business opportunities which may be appropriate for presentation to
  us and the other entities to which they owe certain fiduciary or contractual duties (including Benessere Capital Acquisition Corporation
  and Maquia Capital Acquisition Corporation).

         Accordingly, they may have conflicts of interest in determining to which entity a particular business opportunity should be
  presented. These conflicts may not be resolved in our favor and a potential target business may be presented to another entity prior to
  its presentation to us. Our amended and restated certificate of incorporation will provide that we renounce our interest in any corporate
  opportunity offered to any director or officer unless such opportunity is expressly offered to such person solely in his or her capacity as
  a director or officer of our company and such opportunity is one we are legally and contractually permitted to undertake and would
  otherwise be reasonable for us to pursue, and to the extent the director or officer is permitted to refer that opportunity to us without
  violating another legal obligation.

       For a complete discussion of our officers’ and directors’ business affiliations and the potential conflicts of interest that you
  should be aware of, please see the sections of this prospectus entitled “Management — Directors and Officers,” “Management —
  Conflicts of Interest” and “Certain Relationships and Related Party Transactions.”

  Our officers, directors, security holders and their respective affiliates may have competitive pecuniary interests that conflict
  with our interests.

        We have not adopted a policy that expressly prohibits our directors, officers, security holders or affiliates from having a direct or
  indirect pecuniary or financial interest in any investment to be acquired or disposed of by us or in any transaction to which we are a
  party or have an interest. In fact, we may enter into an initial business combination with a target business that is affiliated with our
  sponsor, our directors or officers, although we do not intend to do so. We do not have a policy that expressly prohibits any such persons
  from engaging for their own account in business activities of the types conducted by us. Accordingly, such persons or entities may have
  a conflict between their interests and ours.

  We may engage in an initial business combination with one or more target businesses that have relationships with entities that
  may be affiliated with our sponsor, officers, directors or existing holders which may raise potential conflicts of interest.

         In light of the involvement of our sponsor, officers and directors with other entities, we may decide to acquire one or more
  businesses affiliated with our sponsor, officers or directors. Our directors and officers also serve as officers and board members for
  other entities, including, without limitation, those described under the section of this prospectus entitled “Management — Conflicts of
  Interest.” Such entities may compete with us for business combination opportunities. Our sponsor, officers and directors are not
  currently aware of any specific opportunities for us to complete our initial business combination with any entities with which they are
  affiliated, and there have been no preliminary discussions concerning an initial business combination with any such entity or entities.
  Although we will not be specifically focusing on, or targeting, any transaction with any affiliated entities, we would pursue such a
  transaction if we determined that such affiliated entity met our criteria for an initial business combination as set forth in the section of
  this prospectus entitled “Proposed Business — Selection of a Target Business and Structuring of our Initial Business Combination” and
  such transaction was approved by a majority of our disinterested directors. Despite our agreement to obtain an opinion from an
  independent investment banking firm or another independent entity that commonly renders valuation opinions, regarding the fairness to
  our stockholders from a financial point of view of an initial business combination with one or more businesses affiliated with our
  sponsor, officers, directors or existing holders, potential conflicts of interest still may exist and, as a result, the terms of the initial
  business combination may not be as advantageous to our public stockholders as they would be absent any conflicts of interest.

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  Since our sponsor, officers and directors will lose their entire investment in us if our initial business combination is not
  completed, a conflict of interest may arise in determining whether a particular business combination target is appropriate for
  our initial business combination.

         On January 20, 2021, our sponsor purchased an aggregate of 2,875,000 founder shares (which were subsequently subject to a
  three-for-one stock split, resulting in our sponsor holding 8,625,000 founder shares) for an aggregate purchase price of $25,000, or
  approximately $0.003 per share. As of July 2, 2021, our sponsor transferred 10,000 founder shares to our Chief Financial Officer and
  7,500 founder shares to each of our independent director and director nominees. The number of founder shares issued was determined
  based on the expectation that such founder shares would represent 20% of the outstanding shares after this offering (excluding the
  representative shares and the placement units and underlying securities). The founder shares will be worthless if we do not complete
  an initial business combination. Our sponsor has agreed to purchase an aggregate of 1,174,109 placement units at a price of $10.00 per
  unit for an aggregate purchase price of $11,741,090. If the underwriters’ over-allotment option is exercised in full, the amount of
  placement units sold will be 1,320,359 for an aggregate purchase price of $13,203,590). Each placement unit consists of one share of
  Class A common stock, and one-half of one warrant. Each whole warrant is exercisable to purchase one whole share of common stock
  at $11.50 per share. Holders of founder shares have agreed (A) to vote any shares owned by them in favor of any proposed initial
  business combination and (B) not to redeem any founder shares or placement shares held by them in connection with a stockholder
  vote to approve a proposed initial business combination. In addition, we may obtain loans from our sponsor, affiliates of our sponsor or
  an officer or director. The personal and financial interests of our officers and directors may influence their motivation in identifying and
  selecting a target business combination, completing an initial business combination and influencing the operation of the business
  following the initial business combination.

                                                         Risks Relating to Our Securities

  The securities in which we invest the funds held in the trust account could bear a negative rate of interest, which could reduce
  the value of the assets held in trust such that the per-share redemption amount received by public stockholders may be less
  than $10.20 per share.

         The proceeds held in the trust account will be invested only in U.S. government treasury obligations with a maturity of 185 days
  or less or in money market funds meeting certain conditions under Rule 2a-7 under the Investment Company Act, which invest only in
  direct U.S. government treasury obligations. While short-term U.S. government treasury obligations currently yield a positive rate of
  interest, they have briefly yielded negative interest rates in recent years. Central banks in Europe and Japan pursued interest rates below
  zero in recent years, and the Open Market Committee of the Federal Reserve has not ruled out the possibility that it may in the future
  adopt similar policies in the United States. In the event that we are unable to complete our initial business combination or make certain
  amendments to our amended and restated certificate of incorporation, our public stockholders are entitled to receive their pro-rata share
  of the proceeds held in the trust account, plus any interest income, net of taxes paid or payable (less, in the case we are unable to
  complete our initial business combination, $100,000 of interest). Negative interest rates could reduce the value of the assets held in
  trust such that the per-share redemption amount received by public stockholders may be less than $10.20 per share.

  Nasdaq may delist our securities from trading on its exchange, which could limit investors’ ability to make transactions in our
  securities and subject us to additional trading restrictions.

         We have applied to list our units on Nasdaq. Following the date the shares of our Class A common stock and warrants are eligible
  to trade separately, we anticipate that the shares of our Class A common stock and warrants will be separately listed on Nasdaq.
  Although after giving effect to this offering we expect to meet, on a pro forma basis, the minimum initial listing standards set forth in
  the Nasdaq listing standards, we cannot assure you that our securities will be, or will continue to be, listed on Nasdaq in the future or
  prior to our initial business combination. In order to continue listing our securities on Nasdaq prior to our initial business combination,
  we must maintain certain financial, distribution and stock price levels. Generally, we must maintain a minimum number of holders of
  our securities (generally 400 public holders). Additionally, in connection with our initial business combination, we will be required to
  demonstrate compliance with Nasdaq’s initial listing requirements, which are more rigorous than Nasdaq’s continued listing
  requirements, in order to continue to maintain the listing of our securities on Nasdaq. For instance, our stock price would generally be
  required to be at least $4.00 per share and we would be required to have a minimum of 400 round lot holders (with at least 50% of such
  round lot holders holding securities with a market value of at least $2,500) of our securities. We cannot assure you that we will be able
  to meet those initial listing requirements at that time.

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        If Nasdaq delists our securities from trading on its exchange and we are not able to list our securities on another national
  securities exchange, we expect our securities could be quoted on an over-the-counter market. If this were to occur, we could face
  significant material adverse consequences, including:

        •     a limited availability of market quotations for our securities;

        •     reduced liquidity for our securities;

        •     a determination that our Class A common stock is a “penny stock” which will require brokers trading in our Class A
              common stock to adhere to more stringent rules and possibly result in a reduced level of trading activity in the secondary
              trading market for our securities;

        •     a limited amount of news and analyst coverage; and

        •     a decreased ability to issue additional securities or obtain additional financing in the future.

        The National Securities Markets Improvement Act of 1996, which is a federal statute, prevents or preempts the states from
  regulating the sale of certain securities, which are referred to as “covered securities.” Because we expect that our units and eventually
  our Class A common stock and warrants will be listed on Nasdaq, our units, Class A common stock and warrants will be covered
  securities. Although the states are preempted from regulating the sale of our securities, the federal statute does allow the states to
  investigate companies if there is a suspicion of fraud, and, if there is a finding of fraudulent activity, then the states can regulate or bar
  the sale of covered securities in a particular case. While we are not aware of a state having used these powers to prohibit or restrict the
  sale of securities issued by blank check companies, other than the State of Idaho, certain state securities regulators view blank check
  companies unfavorably and might use these powers, or threaten to use these powers, to hinder the sale of securities of blank check
  companies in their states. Further, if we were no longer listed on Nasdaq, our securities would not be covered securities and we would
  be subject to regulation in each state in which we offer our securities, including in connection with our initial business combination.

  If we seek stockholder approval of our initial business combination and we do not conduct redemptions pursuant to the tender
  offer rules, and if you or a “group” of stockholders are deemed to hold in excess of 15% of our Class A common stock, you will
  lose the ability to redeem all such shares in excess of 15% of our Class A common stock.

         If we seek stockholder approval of our initial business combination and we do not conduct redemptions in connection with our
  initial business combination pursuant to the tender offer rules, our amended and restated certificate of incorporation will provide that a
  public stockholder, together with any affiliate of such stockholder or any other person with whom such stockholder is acting in concert
  or as a “group” (as defined under Section 13 of the Exchange Act), will be restricted from seeking redemption rights with respect to
  more than an aggregate of 15% of the shares sold in this offering without our prior consent, which we refer to as the “Excess Shares.”
  However, we would not be restricting our stockholders’ ability to vote all of their shares (including Excess Shares) for or against our
  initial business combination. Your inability to redeem the Excess Shares will reduce your influence over our ability to complete our
  initial business combination and you could suffer a material loss on your investment in us if you sell Excess Shares in open market
  transactions. Additionally, you will not receive redemption distributions with respect to the Excess Shares if we complete our initial
  business combination. And as a result, you will continue to hold that number of shares exceeding 15% and, in order to dispose of such
  shares, would be required to sell your stock in open market transactions, potentially at a loss.

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  We are not registering the shares of Class A common stock issuable upon exercise of the warrants under the Securities Act or
  any state securities laws at this time, and such registration may not be in place when an investor desires to exercise warrants,
  thus precluding such investor from being able to exercise its warrants except on a cashless basis. If the issuance of the shares
  upon exercise of warrants is not registered, qualified or exempt from registration or qualification, the holder of such warrant
  will not be entitled to exercise such warrant and such warrant may have no value and expire worthless.

         We are not registering the shares of Class A common stock issuable upon exercise of the warrants under the Securities Act or any
  state securities laws at this time. However, under the terms of the warrant agreement, we have agreed that as soon as practicable, but in
  no event later than 15 business days after the closing of our initial business combination, we will use our best efforts to file with the
  SEC a registration statement for the registration under the Securities Act of the issuance of the shares of Class A common stock
  issuable upon exercise of the warrants and thereafter will use our best efforts to cause the same to become effective within 60 business
  days following our initial business combination and to maintain a current prospectus relating to the Class A common stock issuable
  upon exercise of the warrants, until the expiration of the warrants in accordance with the provisions of the warrant agreement. We
  cannot assure you that we will be able to do so if, for example, any facts or events arise which represent a fundamental change in the
  information set forth in the registration statement or prospectus, the financial statements contained or incorporated by reference therein
  are not current, complete or correct or the SEC issues a stop order. If the shares of Class A common stock issuable upon exercise of the
  warrants are not registered under the Securities Act, we will be required to permit holders to exercise their warrants on a cashless basis.
  However, no warrant will be exercisable for cash or on a cashless basis, and we will not be obligated to issue any shares to holders
  seeking to exercise their warrants, unless the issuance of the shares upon such exercise is registered or qualified under the securities
  laws of the state of the exercising holder, or an exemption from registration is available. Notwithstanding the foregoing, if a registration
  statement covering the issuance of the Class A common stock issuable upon exercise of the warrants is not effective within a specified
  period following the consummation of our initial business combination, warrant holders may, until such time as there is an effective
  registration statement and during any period when we shall have failed to maintain an effective registration statement, exercise
  warrants on a cashless basis pursuant to the exemption provided by Section 3(a)(9) of the Securities Act, provided that such exemption
  is available. If that exemption, or another exemption, is not available, holders will not be able to exercise their warrants on a cashless
  basis. We will use our best efforts to register or qualify the shares under applicable blue sky laws to the extent an exemption is not
  available. In no event will we be required to net cash settle any warrant, or issue securities or other compensation in exchange for the
  warrants in the event that we are unable to register or qualify the shares underlying the warrants under applicable state securities laws
  and there is no exemption available. If the issuance of the shares upon exercise of the warrants is not so registered or qualified or
  exempt from registration or qualification, the holder of such warrant will not be entitled to exercise such warrant and such warrant may
  have no value and expire worthless. In such event, holders who acquired their warrants as part of a purchase of units will have paid the
  full unit purchase price solely for the shares of Class A common stock included in the units. If and when the warrants become
  redeemable by us, we may not exercise our redemption right if the issuance of shares of common stock upon exercise of the warrants is
  not exempt from registration or qualification under applicable state blue sky laws or we are unable to effect such registration or
  qualification. We will use our best efforts to register or qualify such shares of common stock under the blue sky laws of the state of
  residence in those states in which the warrants were offered by us in this offering.

  If you exercise your public warrants on a “cashless basis,” you will receive fewer shares of Class A common stock from such
  exercise than if you were to exercise such warrants for cash.

         There are circumstances in which the exercise of the public warrants may be required or permitted to be made on a cashless
  basis. First, if a registration statement covering the issuance of the shares of Class A common stock issuable upon exercise of the
  warrants is not effective by the 60th business day after the closing of our initial business combination, warrant holders may, until such
  time as there is an effective registration statement, exercise warrants on a cashless basis in accordance with Section 3(a)(9) of the
  Securities Act or another exemption. Second, if a registration statement covering the Class A common stock issuable upon exercise of
  the warrants is not effective within a specified period following the consummation of our initial business combination, warrant holders
  may, until such time as there is an effective registration statement and during any period when we shall have failed to maintain an
  effective registration statement, exercise warrants on a cashless basis pursuant to the exemption provided by Section 3(a)(9) of the
  Securities Act, provided that such exemption is available; if that exemption, or another exemption, is not available, holders will not be
  able to exercise their warrants on a cashless basis. Third, if we call the public warrants for redemption, our management will have the
  option to require all holders that wish to exercise warrants to do so on a cashless basis. In the event of an exercise on a cashless basis, a
  holder would pay the warrant exercise price by surrendering the warrants for that number of shares of Class A common stock equal to
  the quotient obtained by dividing (x) the product of the number of shares of Class A common stock underlying the warrants, multiplied
  by the difference between the exercise price of the warrants and the “fair market value” (as defined in the next sentence) by (y) the fair
  market value. The “fair market value” for this purpose shall mean the average reported last sale price of the Class A common stock for
  the 10 trading days ending on the third trading day prior to the date on which the notice of exercise is received by the warrant agent or
  on which the notice of redemption is sent to the holders of warrants, as applicable. As a result, you would receive fewer shares of
  Class A common stock from such exercise than if you were to exercise such warrants for cash.

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  We may issue additional common stock or preferred stock to complete our initial business combination or under an employee
  incentive plan after completion of our initial business combination. We may also issue shares of Class A common stock upon the
  conversion of the Class B common stock at a ratio greater than one-to-one at the time of the consummation of our initial
  business combination as a result of the anti-dilution provisions contained in our amended and restated certificate of
  incorporation. Any such issuances would dilute the interest of our stockholders and likely present other risks.

        Our amended and restated certificate of incorporation authorizes the issuance of up to 200,000,000 shares of Class A common
  stock, par value $0.0001 per share, 10,000,000 shares of Class B common stock, par value $0.0001 per share, and 1,000,000 shares of
  preferred stock, par value $0.0001 per share. Immediately after this offering and the sale of the placement units, there will be
  168,675,891 and 2,500,000 (assuming, in each case, that the underwriters have not exercised their over-allotment option) authorized
  but unissued shares of Class A common stock and Class B common stock, respectively, available for issuance, which amount does not
  take into account the shares of Class A common stock reserved for issuance upon exercise of outstanding warrants or the shares of
  Class A common stock issuable upon conversion of Class B common stock. Immediately after the consummation of this offering, there
  will be no shares of preferred stock issued and outstanding. Shares of Class B common stock are convertible into shares of our Class A
  common stock initially at a one-for-one ratio but subject to adjustment as set forth herein, including in certain circumstances in which
  we issue Class A common stock or equity-linked securities related to our initial business combination.

         We may issue a substantial number of additional shares of common or preferred stock to complete our initial business
  combination or under an employee incentive plan after completion of our initial business combination (although our amended and
  restated certificate of incorporation provides that we may not issue securities that can vote with common stockholders on matters
  related to our pre-initial business combination activity). We may also issue shares of Class A common stock upon conversion of the
  Class B common stock at a ratio greater than one-to-one at the time of the consummation of our initial business combination as a result
  of the anti-dilution provisions contained in our amended and restated certificate of incorporation. However, our amended and restated
  certificate of incorporation will provide, among other things, that prior to our initial business combination, we may not issue additional
  shares of capital stock that would entitle the holders thereof to (i) receive funds from the trust account or (ii) vote on any initial
  business combination. These provisions of our amended and restated certificate of incorporation, like all provisions of our amended
  and restated certificate of incorporation, may be amended with the approval of our stockholders. However, our executive officers and
  directors have agreed, pursuant to a written agreement with us, that they will not propose any amendment to our amended and restated
  certificate of incorporation (A) to modify the substance or timing of our obligation to allow redemption in connection with our initial
  business combination or certain amendments to our charter prior thereto or to redeem 100% of our public shares if we do not complete
  our initial business combination within 12 months (or up to 18 months if we have extended the period of time as described in this
  prospectus) from the closing of this offering or (B) with respect to any other provision relating to stockholders’ rights or pre-initial
  business combination activity, unless we provide our public stockholders with the opportunity to redeem their shares of common stock
  upon approval of any such amendment at a per-share price, payable in cash, equal to the aggregate amount then on deposit in the trust
  account, including interest (which interest shall be net of taxes payable), divided by the number of then outstanding public shares.

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        The issuance of additional shares of common or preferred stock:

        •     may significantly dilute the equity interest of investors in this offering, which dilution would increase if the anti-dilution
              provisions in the Class B common stock resulted in the issuance of Class A common stock on a greater than one-to-one
              basis upon conversion of the Class B common stock;

        •     may subordinate the rights of holders of our common stock if preferred stock is issued with rights senior to those afforded
              our common stock;

        •     could cause a change of control if a substantial number of shares of our common stock are issued, which may affect, among
              other things, our ability to use our net operating loss carry forwards, if any, and could result in the resignation or removal of
              our present officers and directors;

        •     may have the effect of delaying or preventing a change of control of us by diluting the stock ownership or voting rights of a
              person seeking to obtain control of us; and

        •     may adversely affect prevailing market prices for our units, Class A common stock and/or warrants.

  Our initial stockholders (including the holders of the representative shares) paid a nominal price for the founders’ shares and
  representative shares and, accordingly, you will experience immediate and substantial dilution from the purchase of our shares
  of common stock.

         The difference between the public offering price per share (allocating all of the unit purchase price to the Class A common stock
  and none to the warrants included in the unit) and the pro forma net tangible book value per share of our Class A common stock after
  this offering constitutes the dilution to you and the other investors in this offering. Our sponsor and the holders of the representative
  shares acquired the founder shares and the representative shares at a nominal price, significantly contributing to this dilution. Upon the
  closing of this offering, and assuming no value is ascribed to the warrants included in the units, you and the other public stockholders
  will incur an immediate and substantial dilution of approximately 95.1% (or $9.51 per share, assuming no exercise of the underwriters’
  over-allotment option), the difference between the pro forma net tangible book value per share of $0.49 and the initial offering price of
  $10.00 per unit. In addition, because of the anti-dilution rights of the founder shares, any equity or equity-linked securities issued or
  deemed issued in connection with our initial business combination would be disproportionately dilutive to our Class A common stock.

  Unlike many other similarly structured special purpose acquisition companies, our initial stockholders will receive additional
  shares of Class A common stock if we issue shares to consummate an initial business combination.

        The founder shares will automatically convert into Class A common stock at the time of the consummation of our initial business
  combination, on a one-for-one basis, subject to adjustment as provided herein. In the case that additional shares of Class A common
  stock, or equity-linked securities convertible or exercisable for Class A common stock, are issued or deemed issued in excess of the
  amounts offered in this prospectus and related to the closing of the initial business combination, the ratio at which founder shares shall
  convert into Class A common stock will be adjusted so that the number of Class A common stock issuable upon conversion of all
  founder shares will equal, in the aggregate, on an as-converted basis, 20% of the total number of all outstanding shares of common
  stock upon completion of the initial business combination, excluding the representative shares, the placement units and underlying
  securities, and any shares or equity-linked securities issued, or to be issued, to any seller in the business combination and any private
  placement-equivalent units and their underlying securities issued to our sponsor or its affiliates upon conversion of loans made to us.
  This is different from most other similarly structured blank check companies in which the initial stockholder will only be issued an
  aggregate of 20% of the total number of shares to be outstanding prior to the initial business combination. Additionally, the
  aforementioned adjustment will not take into account any shares of Class A common stock redeemed in connection with the business
  combination. Accordingly, the holders of the founder shares could receive additional shares of Class A common stock even if the
  additional shares of Class A common stock, or equity-linked securities convertible or exercisable for Class A common stock, are issued
  or deemed issued solely to replace those shares that were redeemed in connection with the business combination. The foregoing may
  make it more difficult and expensive for us to consummate an initial business combination.

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  We may amend the terms of the warrants in a manner that may be adverse to holders of public warrants with the approval by
  the holders of at least a majority of the then outstanding public warrants. As a result, the exercise price of your warrants could
  be increased, the exercise period could be shortened and the number of shares of our Class A common stock purchasable upon
  exercise of a warrant could be decreased, all without your approval.

         Our warrants will be issued in registered form under a warrant agreement between Continental Stock Transfer & Trust Company,
  as warrant agent, and us. The warrant agreement provides that the terms of the warrants may be amended without the consent of any
  holder to cure any ambiguity or correct any mistake, including to conform the provisions of the warrant agreement to the description of
  the terms of the warrants and the warrant agreement set forth in this prospectus, or defective provision, but requires the approval by the
  holders of at least a majority of the then outstanding public warrants to make any change that adversely affects the interests of the
  registered holders of public warrants (which may include public warrants acquired by our sponsor or its affiliates in this offering or
  thereafter in the open market). Accordingly, we may amend the terms of the public warrants in a manner adverse to a holder if holders
  of at least a majority of the then outstanding public warrants approve of such amendment. Although our ability to amend the terms of
  the public warrants with the consent of at least a majority of the then outstanding public warrants is unlimited, examples of such
  amendments could be amendments to, among other things, increase the exercise price of the warrants, convert the warrants into cash or
  stock, shorten the exercise period or decrease the number of shares of our Class A common stock purchasable upon exercise of a
  warrant.

  Our warrant agreement will designate the courts of the State of New York or the United States District Court for the Southern
  District of New York as the sole and exclusive forum for certain types of actions and proceedings that may be initiated by
  holders of our warrants, which could limit the ability of warrant holders to obtain a favorable judicial forum for disputes with
  our company.

         Our warrant agreement will provide, subject to applicable law, (i) any action, proceeding or claim against us arising out of or
  relating in any way to the warrant agreement, including under the Securities Act, will be brought and enforced in the courts of the State
  of New York or the United States District Court for the Southern District of New York, and (ii) that we irrevocably submit to such
  jurisdiction, which jurisdiction shall be the exclusive forum for any such action, proceeding or claim. We will waive any objection to
  such exclusive jurisdiction and that such courts represent an inconvenient forum.

        Notwithstanding the foregoing, these provisions of the warrant agreement will not apply to suits brought to enforce any liability
  or duty created by the Exchange Act or any other claim for which the federal district courts of the United States of America are the sole
  and exclusive forum. Any person or entity purchasing or otherwise acquiring any interest in any of our warrants shall be deemed to
  have notice of and to have consented to the forum provisions in our warrant agreement. If any action, the subject matter of which is
  within the scope the forum provisions of the warrant agreement, is filed in a court other than a court of the State of New York or the
  United States District Court for the Southern District of New York (a “foreign action”) in the name of any holder of our warrants, such
  holder shall be deemed to have consented to: (x) the personal jurisdiction of the state and federal courts located in the State of New
  York in connection with any action brought in any such court to enforce the forum provisions (an “enforcement action”), and (y)
  having service of process made upon such warrant holder in any such enforcement action by service upon such warrant holder’s
  counsel in the foreign action as agent for such warrant holder.

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        This choice-of-forum provision may limit a warrant holder’s ability to bring a claim in a judicial forum that it finds favorable for
  disputes with our company, which may discourage such lawsuits. Alternatively, if a court were to find this provision of our warrant
  agreement inapplicable or unenforceable with respect to one or more of the specified types of actions or proceedings, we may incur
  additional costs associated with resolving such matters in other jurisdictions, which could materially and adversely affect our business,
  financial condition and results of operations and result in a diversion of the time and resources of our management and board of
  directors.

  We may redeem your unexpired warrants prior to their exercise at a time that is disadvantageous to you, thereby making your
  warrants worthless.

         We have the ability to redeem outstanding warrants at any time after they become exercisable and prior to their expiration, at a
  price of $0.01 per warrant, provided that the reported last sale price of our Class A common stock equals or exceeds $18.00 per share
  (as adjusted for stock splits, stock dividends, reorganizations, recapitalizations and the like) for any 20 trading days within a 30 trading-
  day period commencing once the warrants become exercisable and ending on the third trading day prior to the date on which we give
  proper notice of such redemption and provided certain other conditions are met. If and when the warrants become redeemable by us,
  we may not exercise our redemption right if the issuance of shares of common stock upon exercise of the warrants is not exempt from
  registration or qualification under applicable state blue sky laws or we are unable to effect such registration or qualification. We will
  use our best efforts to register or qualify such shares of common stock under the blue sky laws of the state of residence in those states
  in which the warrants were offered by us in this offering. Redemption of the outstanding warrants could force you (i) to exercise your
  warrants and pay the exercise price therefor at a time when it may be disadvantageous for you to do so, (ii) to sell your warrants at the
  then-current market price when you might otherwise wish to hold your warrants or (iii) to accept the nominal redemption price which,
  at the time the outstanding warrants are called for redemption, is likely to be substantially less than the market value of your warrants.

  Our warrants and founder shares may have an adverse effect on the market price of our Class A common stock and make it
  more difficult to effectuate our initial business combination.

        We will be issuing warrants to purchase 15,000,000 shares of our Class A common stock (or up to 17,250,000 shares of Class A
  common stock if the underwriters’ over-allotment option is exercised in full)as part of the units offered by this prospectus and,
  simultaneously with the closing of this offering, we will be issuing placement units, in a private placement, consisting of an aggregate
  of 587,055 placement warrants (or 660,180 if the underwriters’ over-allotment option is exercised in full). Our initial stockholders
  currently own an aggregate of 8,625,000 founder shares. The founder shares are convertible into shares of Class A common stock on a
  one-for-one basis, subject to adjustment as set forth herein. In addition, if our sponsor makes any working capital loans, up to
  $1,500,000 of such loans may be converted into units, at a price of $10.00 per unit at the option of the lender, upon consummation of
  our initial business combination. The units would be identical to the placement units. To the extent we issue shares of Class A common
  stock to effectuate an initial business combination, the potential for the issuance of a substantial number of additional shares of Class A
  common stock upon exercise of these warrants, conversion of these loan conversion rights could make us a less attractive business
  combination vehicle to a target business. Any such issuance will increase the number of issued and outstanding shares of our Class A
  common stock and reduce the value of the shares of Class A common stock issued to complete the initial business combination.
  Therefore, our warrants and founder shares may make it more difficult to effectuate an initial business combination or increase the cost
  of acquiring the target business.


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       The placement warrants included in the placement units are identical to the warrants sold as part of the units in this offering
  except that, so long as they are held by our sponsor or its permitted transferees, they (including the Class A common stock issuable
  upon exercise of these warrants) may not, subject to certain limited exceptions, be transferred, assigned or sold by the holders until
  30 days after the completion of our initial business combination and will be entitled to registration rights.

  Because each unit contains one-half of one redeemable warrant and only a whole warrant may be exercised, the units may be
  worth less than units of other special purpose acquisition companies.

         Each unit contains one-half of one redeemable warrant. No fractional warrants will be issued upon separation of the units and
  only whole warrants will trade. Accordingly, unless you purchase at least two units, you will not be able to receive or trade a whole
  warrant. This is different from other offerings similar to ours whose units include one share of common stock and one warrant to
  purchase one whole share. We have established the components of the units in this way in order to reduce the dilutive effect of the
  warrants upon completion of an initial business combination since the warrants will be exercisable in the aggregate for one-half of the
  number of shares compared to units that each contain a warrant to purchase one whole share, thus making us, we believe, a more
  attractive partner for target businesses. Nevertheless, this unit structure may cause our units to be worth less than if they included a
  warrant to purchase one whole share.

  A provision of our warrant agreement may make it more difficult for us to consummate an initial business combination.

        Unlike most blank check companies, if

        (i)    we issue additional shares of Class A common stock or equity-linked securities for capital raising purposes in connection
               with the closing of our initial business combination at a Newly Issued Price of less than $9.20 per share;

        (ii)   the aggregate gross proceeds from such issuances represent more than 60% of the total equity proceeds, and interest
               thereon, available for the funding of our initial business combination on the date of the consummation of our initial
               business combination (net of redemptions), and

        (iii) the Market Value is below $9.20 per share,

        then the exercise price of the warrants will be adjusted to be equal to 115% of the greater of the Market Value and the Newly
  Issued Price, and the $18.00 per share redemption trigger price will be adjusted (to the nearest cent) to be equal to 180% of the greater
  of the Market Value and the Newly Issued Price. This may make it more difficult for us to consummate an initial business combination
  with a target business.

  The determination of the offering price of our units, the size of this offering and the terms of the units is more arbitrary than
  the pricing of securities and size of an offering of an operating company in a particular industry. You may have less assurance,
  therefore, that the offering price of our units properly reflects the value of such units than you would have in a typical offering
  of an operating company.

         Prior to this offering there was no public market for any of our securities. The public offering price of the units and the terms of
  the warrants were negotiated between us and the underwriters. In determining the size of this offering, management held customary
  organizational meetings with the representative of the underwriters, both prior to our inception and thereafter, with respect to the state
  of capital markets, generally, and the amount the underwriters believed they reasonably could raise on our behalf. Factors considered in
  determining the size of this offering, prices and terms of the units, including the Class A common stock and warrants underlying the
  units, include:

        •      the history and prospects of companies whose principal business is the acquisition of other companies;

        •      prior offerings of those companies;

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        •     our prospects for acquiring an operating business;

        •     a review of debt to equity ratios in leveraged transactions;

        •     our capital structure;

        •     an assessment of our management and their experience in identifying operating companies;

        •     general conditions of the securities markets at the time of this offering; and

        •     other factors as were deemed relevant.

        Although these factors were considered, the determination of our offering price, size and terms of the units is more arbitrary than
  the pricing of securities of an operating company in a particular industry since we have no historical operations or financial results.

  There is currently no market for our securities and a market for our securities may not develop, which would adversely affect
  the liquidity and price of our securities.

        There is currently no market for our securities. Stockholders therefore have no access to information about prior market history
  on which to base their investment decision. Following this offering, the price of our securities may vary significantly due to one or
  more potential business combinations and general market or economic conditions. Furthermore, an active trading market for our
  securities may never develop or, if developed, it may not be sustained. You may be unable to sell your securities unless a market can be
  established and sustained.

  Provisions in our amended and restated certificate of incorporation and Delaware law may inhibit a takeover of us, which
  could limit the price investors might be willing to pay in the future for our Class A common stock and could entrench
  management.

         Our amended and restated certificate of incorporation will contain provisions that may discourage unsolicited takeover proposals
  that stockholders may consider to be in their best interests. These provisions include a staggered board of directors and the ability of
  the board of directors to designate the terms of and issue new series of preferred shares, which may make the removal of management
  more difficult and may discourage transactions that otherwise could involve payment of a premium over prevailing market prices for
  our securities.

        We are also subject to anti-takeover provisions under Delaware law, which could delay or prevent a change of control. Together
  these provisions may make the removal of management more difficult and may discourage transactions that otherwise could involve
  payment of a premium over prevailing market prices for our securities.

  Our amended and restated certificate of incorporation will require, to the fullest extent permitted by law, that derivative
  actions brought in our name, actions against our directors, officers, other employees or stockholders for breach of fiduciary
  duty and certain other actions may be brought only in the Court of Chancery in the State of Delaware and, if brought outside
  of Delaware, the stockholder bringing the suit will, subject to certain exceptions, be deemed to have consented to service of
  process on such stockholder’s counsel, which may have the effect of discouraging lawsuits against our directors, officers, other
  employees or stockholders.

         Our amended and restated certificate of incorporation will require, to the fullest extent permitted by law, that derivative actions
  brought in our name, actions against our directors, officers, other employees or stockholders for breach of fiduciary duty and certain
  other actions may be brought only in the Court of Chancery in the State of Delaware and, if brought outside of Delaware, the
  stockholder bringing the suit will be deemed to have consented to service of process on such stockholder’s counsel except any action
  (A) as to which the Court of Chancery in the State of Delaware determines that there is an indispensable party not subject to the
  jurisdiction of the Court of Chancery (and the indispensable party does not consent to the personal jurisdiction of the Court of
  Chancery within ten days following such determination), (B) which is vested in the exclusive jurisdiction of a court or forum other than
  the Court of Chancery or (C) for which the Court of Chancery does not have subject matter jurisdiction. Any person or entity
  purchasing or otherwise acquiring any interest in shares of our capital stock shall be deemed to have notice of and consented to the
  forum provisions in our amended and restated certificate of incorporation. This choice of forum provision may limit or make more
  costly a stockholder’s ability to bring a claim in a judicial forum that it finds favorable for disputes with us or any of our directors,
  officers, other employees or stockholders, which may discourage lawsuits with respect to such claims. Alternatively, if a court were to
  find the choice of forum provision contained in our amended and restated certificate of incorporation to be inapplicable or

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  unenforceable in an action, we may incur additional costs associated with resolving such action in other jurisdictions, which could
  harm our business, operating results and financial condition.

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         Our amended and restated certificate of incorporation will provide that the exclusive forum provision will be applicable to the
  fullest extent permitted by applicable law, subject to certain exceptions. Section 27 of the Exchange Act creates exclusive federal
  jurisdiction over all suits brought to enforce any duty or liability created by the Exchange Act or the rules and regulations thereunder.
  As a result, the exclusive forum provision will not apply to suits brought to enforce any duty or liability created by the Exchange Act or
  any other claim for which the federal courts have exclusive jurisdiction. In addition, our amended and restated certificate of
  incorporation will provide that, unless we consent in writing to the selection of an alternative forum, the federal district courts of the
  United States of America shall, to the fullest extent permitted by law, be the exclusive forum for the resolution of any complaint
  asserting a cause of action arising under the Securities Act, or the rules and regulations promulgated thereunder. We note, however, that
  there is uncertainty as to whether a court would enforce this provision and that investors cannot waive compliance with the federal
  securities laws and the rules and regulations thereunder. Section 22 of the Securities Act creates concurrent jurisdiction for state and
  federal courts over all suits brought to enforce any duty or liability created by the Securities Act or the rules and regulations thereunder.

                                                            General Risk Factors

  We are a newly formed company with no operating history and no revenues, and you have no basis on which to evaluate our
  ability to achieve our business objective.

         We are a newly formed company with no operating results, and we will not commence operations until obtaining funding through
  this offering. Because we lack an operating history, you have no basis upon which to evaluate our ability to achieve our business
  objective of completing our initial business combination with one or more target businesses. We have no plans, arrangements or
  understandings with any prospective target business concerning an initial business combination and may be unable to complete our
  initial business combination. If we fail to complete our initial business combination, we will never generate any operating revenues.

  Our independent registered public accounting firm’s report contains an explanatory paragraph that expresses substantial
  doubt about our ability to continue as a “going concern.”

         On June 30, 2021 and March 31, 2021, we had cash of $24,260 and $25,000, respectively, and a working capital deficit of
  $78,200 and $37,985, respectively. Further, we have incurred and expect to continue to incur significant costs in pursuit of our
  financing and acquisition plans. Management’s plans to address this need for capital through this offering are discussed in the section
  of this prospectus titled “Management’s Discussion and Analysis of Financial Condition and Results of Operations.” We cannot assure
  you that our plans to raise capital or to consummate an initial business combination will be successful. These factors, among others,
  raise substantial doubt about our ability to continue as a going concern. The financial statements contained elsewhere in this prospectus
  do not include any adjustments that might result from our inability to consummate this offering or our inability to continue as a going
  concern.

  Changes in laws or regulations, or a failure to comply with any laws and regulations, may adversely affect our business,
  including our ability to negotiate and complete our initial business combination and results of operations.

         We are subject to laws and regulations enacted by national, regional and local governments. In particular, we are required to
  comply with certain SEC and other legal requirements. Compliance with, and monitoring of, applicable laws and regulations may be
  difficult, time consuming and costly.

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        Those laws and regulations and their interpretation and application may also change from time to time and those changes could
  have a material adverse effect on our business, investments and results of operations. In addition, a failure to comply with applicable
  laws or regulations, as interpreted and applied, could have a material adverse effect on our business, including our ability to negotiate
  and complete our initial business combination and results of operations.

  Changes in the market for directors and officers liability insurance could make it more difficult and more expensive for us to
  negotiate and complete an initial business combination.

        In recent months, the market for directors and officers liability insurance for special purpose acquisition companies has changed.
  Fewer insurance companies are offering quotes for directors and officers liability coverage, the premiums charged for such policies
  have generally increased and the terms of such policies have generally become less favorable. There can be no assurance that these
  trends will not continue.

         The increased cost and decreased availability of directors and officers liability insurance could make it more difficult and more
  expensive for us to negotiate an initial business combination. In order to obtain directors and officers liability insurance or modify its
  coverage as a result of becoming a public company, the post-business combination entity might need to incur greater expense, accept
  less favorable terms or both. However, any failure to obtain adequate directors and officers liability insurance could have an adverse
  impact on the post-business combination’s ability to attract and retain qualified officers and directors.

         In addition, even after we were to complete an initial business combination, our directors and officers could still be subject to
  potential liability from claims arising from conduct alleged to have occurred prior to the initial business combination. As a result, in
  order to protect our directors and officers, the post-business combination entity may need to purchase additional insurance with respect
  to any such claims (“run-off insurance”). The need for run-off insurance would be an added expense for the post-business combination
  entity, and could interfere with or frustrate our ability to consummate an initial business combination on terms favorable to our
  investors.

  Past performance by our management team may not be indicative of future performance of an investment in us.

         Past performance by our management team is not a guarantee either (i) that we will be able to locate a suitable candidate for our
  initial business combination or (ii) of success with respect to any business combination we may consummate. You should not rely on
  the historical record of our management team’s performance as indicative of our future performance of an investment in the company
  or the returns the company will, or is likely to, generate going forward. Other than Messrs. Orlando, Shaner and Swider, none of our
  officers and directors has experience with blank check companies or special purpose acquisition companies. Additionally, in the course
  of their respective careers, members of our management team have been involved in businesses and deals that were unsuccessful.

  Cyber incidents or attacks directed at us could result in information theft, data corruption, operational disruption and/or
  financial loss.

        We depend on digital technologies, including information systems, infrastructure and cloud applications and services, including
  those of third parties with which we may deal. Sophisticated and deliberate attacks on, or security breaches in, our systems or
  infrastructure, or the systems or infrastructure of third parties or the cloud, could lead to corruption or misappropriation of our assets,
  proprietary information and sensitive or confidential data. As an early stage company without significant investments in data security
  protection, we may not be sufficiently protected against such occurrences. We may not have sufficient resources to adequately protect
  against, or to investigate and remediate any vulnerability to, cyber incidents. It is possible that any of these occurrences, or a
  combination of them, could have adverse consequences on our ability to consummate a business combination and lead to financial
  loss.

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  We are an emerging growth company and a smaller reporting company within the meaning of the rules adopted by the
  Securities and Exchange Commission, and if we take advantage of certain exemptions from disclosure requirements available
  to emerging growth companies and smaller reporting companies, this could make our securities less attractive to investors and
  may make it more difficult to compare our performance with other public companies.

         We are an “emerging growth company” within the meaning of the rules adopted by the Securities and Exchange Commission, as
  modified by the JOBS Act, and we may take advantage of certain exemptions from various reporting requirements that are applicable
  to other public companies that are not emerging growth companies including, but not limited to, not being required to comply with the
  auditor internal controls attestation requirements of Section 404 of the Sarbanes-Oxley Act, reduced disclosure obligations regarding
  executive compensation in our periodic reports and proxy statements, and exemptions from the requirements of holding a nonbinding
  advisory vote on executive compensation and stockholder approval of any golden parachute payments not previously approved. As a
  result, our stockholders may not have access to certain information they may deem important. We could be an emerging growth
  company for up to five years, although circumstances could cause us to lose that status earlier, including if the market value of our
  Class A common stock held by non-affiliates exceeds $700 million as of any June 30 before that time, in which case we would no
  longer be an emerging growth company as of the following December 31. We cannot predict whether investors will find our securities
  less attractive because we will rely on these exemptions. If some investors find our securities less attractive as a result of our reliance
  on these exemptions, the trading prices of our securities may be lower than they otherwise would be, there may be a less active trading
  market for our securities and the trading prices of our securities may be more volatile.

         Further, Section 102(b)(1) of the JOBS Act exempts emerging growth companies from being required to comply with new or
  revised financial accounting standards until private companies (that is, those that have not had a Securities Act registration statement
  declared effective or do not have a class of securities registered under the Exchange Act) are required to comply with the new or
  revised financial accounting standards. The JOBS Act provides that a company can elect to opt out of the extended transition period
  and comply with the requirements that apply to non-emerging growth companies but any such an election to opt out is irrevocable. We
  have elected not to opt out of such extended transition period, which means that when a standard is issued or revised and it has
  different application dates for public or private companies, we, as an emerging growth company, can adopt the new or revised standard
  at the time private companies adopt the new or revised standard. This may make comparison of our financial statements with another
  public company which is neither an emerging growth company nor an emerging growth company which has opted out of using the
  extended transition period difficult or impossible because of the potential differences in accounting standards used.

        Additionally, we are a “smaller reporting company” as defined in Rule 10(f)(1) of Regulation S-K. Smaller reporting companies
  may take advantage of certain reduced disclosure obligations, including, among other things, providing only two years of audited
  financial statements. We will remain a smaller reporting company until the last day of the fiscal year in which (1) the market value of
  our common stock held by non-affiliates equals or exceeds $250 million as of the end of the prior June 30th, or (2) our annual revenues
  equaled or exceeded $100 million during such completed fiscal year and the market value of our common stock held by non-affiliates
  exceeds $700 million as of the prior June 30th. To the extent we take advantage of such reduced disclosure obligations, it may also
  make comparison of our financial statements with other public companies difficult or impossible.


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                            CAUTIONARY NOTE REGARDING FORWARD-LOOKING STATEMENTS

        Certain statements in this prospectus may constitute “forward-looking statements” for purposes of the federal securities laws. Our
  forward-looking statements include, but are not limited to, statements regarding our or our management team’s expectations, hopes,
  beliefs, intentions or strategies regarding the future. In addition, any statements that refer to projections, forecasts or other
  characterizations of future events or circumstances, including any underlying assumptions, are forward-looking statements. The words
  “anticipate,” “believe,” “continue,” “could,” “estimate,” “expect,” “intend,” “may,” “might,” “plan,” “possible,” “potential,” “predict,”
  “project,” “should,” “would” and similar expressions may identify forward-looking statements, but the absence of these words does not
  mean that a statement is not forward-looking. Forward-looking statements in this prospectus may include, for example, statements
  about:

        •   our ability to select an appropriate target business or businesses in our target industry or otherwise;

        •   our ability to complete our initial business combination in our target industry or otherwise;

        •   our expectations around the performance of the prospective target business or businesses in the technology industry;

        •   our success in retaining or recruiting, or changes required in, our officers, key employees or directors following our initial
            business combination;

        •   our officers and directors allocating their time to other businesses and potentially having conflicts of interest with our
            business or in approving our initial business combination, as a result of which they would then receive expense
            reimbursements;

        •   our potential ability to obtain additional financing to complete our initial business combination;

        •   our pool of prospective target businesses in the technology industry;

        •   our ability to consummate an initial business combination due to the uncertainty resulting from the recent COVID-19
            pandemic;

        •   the ability of our officers and directors to generate a number of potential business combination opportunities;

        •   our public securities’ potential liquidity and trading;

        •   the lack of a market for our securities;

        •   the use of proceeds not held in the trust account or available to us from interest income on the trust account balance;

        •   the trust account not being subject to claims of third parties; or

        •   our financial performance following this offering.

         The forward-looking statements contained in this prospectus are based on our current expectations and beliefs concerning future
  developments and their potential effects on us. There can be no assurance that future developments affecting us will be those that we
  have anticipated. These forward-looking statements involve a number of risks, uncertainties (some of which are beyond our control) or
  other assumptions that may cause actual results or performance to be materially different from those expressed or implied by these
  forward-looking statements. These risks and uncertainties include, but are not limited to, those factors described under the section of
  this prospectus entitled “Risk Factors.” Should one or more of these risks or uncertainties materialize, or should any of our assumptions
  prove incorrect, actual results may vary in material respects from those projected in these forward-looking statements. We undertake no
  obligation to update or revise any forward-looking statements, whether as a result of new information, future events or otherwise,
  except as may be required under applicable securities laws.

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         $12,075,000 if the underwriters’ over-allotment option is exercised in full) will be paid to the underwriters from the funds held
         in the trust account, and the remaining funds, less amounts released to the trustee to pay redeeming stockholders, will be
         released to us and can be used to pay all or a portion of the purchase price of the business or businesses with which our initial
         business combination occurs or for general corporate purposes, including payment of principal or interest on indebtedness
         incurred in connection with our initial business combination, to fund the purchases of other companies or for working capital.
         The underwriters will not be entitled to any interest accrued on the deferred underwriting discounts and commissions.

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  (4)    These expenses are estimates only. Our actual expenditures for some or all of these items may differ from the estimates set forth
         herein. For example, we may incur greater legal and accounting expenses than our current estimates in connection with
         negotiating and structuring our initial business combination based upon the level of complexity of such business combination.
         In the event we identify an initial business combination target in a specific industry subject to specific regulations, we may incur
         additional expenses associated with legal due diligence and the engagement of special legal counsel. In addition, our staffing
         needs may vary and as a result, we may engage a number of consultants to assist with legal and financial due diligence. We do
         not anticipate any change in our intended use of proceeds, other than fluctuations among the current categories of allocated
         expenses, which fluctuations, to the extent they exceed current estimates for any specific category of expenses, would not be
         available for our expenses.

  (5)    Includes estimated amounts that may also be used in connection with our initial business combination to fund a “no shop”
         provision and commitment fees for financing.

         Of the net proceeds of this offering and the sale of the placement units, $306,000,000 (or $351,900,000 if the underwriters’ over-
  allotment option is exercised in full), including $10,500,000 (or $12,075,000 if the underwriters’ over-allotment option is exercised in
  full) of deferred underwriting commissions, will be placed in a trust account in the United States with Continental Stock Transfer &
  Trust Company acting as trustee, and will be invested only in U.S. government treasury bills with a maturity of 185 days or less or in
  money market funds meeting certain conditions under Rule 2a-7 under the Investment Company Act which invest only in direct U.S.
  government treasury obligations. We estimate that the pre-tax interest earned on the trust account will be approximately $200,000 per
  year, assuming an interest rate of 0.2% per year; however, we can provide no assurance regarding this amount. Except with respect to
  interest earned on the funds held in the trust account that may be released to us to pay our tax obligations and up to $100,000 of interest
  that may be used for our dissolution expenses, the proceeds from this offering and the sale of the placement units will not be released
  from the trust account until the earliest to occur of: (a) the completion of our initial business combination, (b) the redemption of any
  public shares properly submitted in connection with a stockholder vote to amend our amended and restated certificate of incorporation
  (A) to modify the substance or timing of our obligation to allow redemption in connection with our initial business combination or
  certain amendments to our charter prior thereto or to redeem 100% of our public shares if we do not complete our initial business
  combination within 12 months (or up to 18 months if we have extended the period of time as described in this prospectus)from the
  closing of this offering or (B) with respect to any other provision relating to stockholders’ rights or pre-initial business combination
  activity, and (c) the redemption of our public shares if we are unable to complete our initial business combination within 12 months (or
  up to 18 months if we have extended the period of time as described in this prospectus) from the closing of this offering, subject to
  applicable law.

         The net proceeds held in the trust account may be used as consideration to pay the sellers of a target business with which we
  ultimately complete our initial business combination. If our initial business combination is paid for using equity or debt securities, or
  not all of the funds released from the trust account are used for payment of the consideration in connection with our initial business
  combination, we may apply the balance of the cash released from the trust account for general corporate purposes, including for
  maintenance or expansion of operations of the post-transaction company, the payment of principal or interest due on indebtedness
  incurred in completing our initial business combination, to fund the purchase of other companies or for working capital. There is no
  limitation on our ability to raise funds privately or through loans in connection with our initial business combination.

         We believe that amounts not held in trust will be sufficient to pay the costs and expenses to which such proceeds are allocated.
  This belief is based on the fact that while we may begin preliminary due diligence of a target business in connection with an indication
  of interest, we intend to undertake in-depth due diligence, depending on the circumstances of the relevant prospective business
  combination, only after we have negotiated and signed a letter of intent or other preliminary agreement that addresses the terms of an
  initial business combination. However, if our estimate of the costs of undertaking in-depth due diligence and negotiating an initial
  business combination is less than the actual amount necessary to do so, we may be required to raise additional capital, the amount,
  availability and cost of which is currently unascertainable. If we are required to seek additional capital, we could seek such additional
  capital through loans or additional investments from our sponsor, members of our management team or their affiliates, but such persons
  are not under any obligation to advance funds to, or invest in, us.

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        Commencing on the date of this prospectus, we have agreed to pay Benessere Enterprises Inc., an affiliate of our sponsor, a total
  of $15,000 per month for office space, utilities and secretarial and administrative support. Upon completion of our initial business
  combination or our liquidation, we will cease paying these monthly fees.

        Prior to the closing of this offering, our sponsor agreed to loan us up to $300,000 to be used for a portion of the expenses of this
  offering. As of June 30, 2021, we had borrowed $82,460 (of up to $300,000 available to us) under the promissory note with our
  sponsor. These loans are non-interest bearing, unsecured and are due at the earlier of September 30, 2021 or the closing of this offering.
  The loan will be repaid upon the closing of this offering out of the offering proceeds not held in the trust account.

         In addition, in order to finance transaction costs in connection with an intended initial business combination, our sponsor or an
  affiliate of our sponsor or certain of our officers and directors may, but are not obligated to, loan us funds on a non-interest bearing
  basis as may be required. If we complete our initial business combination, we would repay such loaned amounts out of the proceeds of
  the trust account released to us. Otherwise, such loans would be repaid only out of funds held outside the trust account. In the event
  that our initial business combination does not close, we may use a portion of the working capital held outside the trust account to repay
  such loaned amounts but no proceeds from our trust account would be used to repay such loaned amounts. Up to $1,500,000 of such
  loans may be convertible into units, at a price of $10.00 per unit at the option of the lender, upon consummation of our initial business
  combination. The units would be identical to the placement units. Other than as described above, the terms of such loans by our officers
  and directors, if any, have not been determined and no written agreements exist with respect to such loans. We do not expect to seek
  loans from parties other than our sponsor or an affiliate of our sponsor as we do not believe third parties will be willing to loan such
  funds and provide a waiver against any and all rights to seek access to funds in our trust account.

         If we seek stockholder approval of our initial business combination and we do not conduct redemptions in connection with our
  initial business combination pursuant to the tender offer rules, our sponsor, initial stockholders, directors, officers, advisors or their
  affiliates may purchase public shares or public warrants in privately negotiated transactions or in the open market either prior to or
  following the completion of our initial business combination. There is no limit on the number of shares our initial stockholders,
  directors, officers or their affiliates may purchase in such transactions, subject to compliance with applicable law and Nasdaq rules.
  However, they have no current commitments, plans or intentions to engage in such transactions and have not formulated any terms or
  conditions for any such transactions. If they engage in such transactions, they will not make any such purchases when they are in
  possession of any material nonpublic information not disclosed to the seller or if such purchases are prohibited by Regulation M under
  the Exchange Act. We do not currently anticipate that such purchases, if any, would constitute a tender offer subject to the tender offer
  rules under the Exchange Act or a going-private transaction subject to the going-private rules under the Exchange Act; however, if the
  purchasers determine at the time of any such purchases that the purchases are subject to such rules, the purchasers will comply with
  such rules. Any such purchases will be reported pursuant to Section 13 and Section 16 of the Exchange Act to the extent such
  purchasers are subject to such reporting requirements. None of the funds held in the trust account will be used to purchase shares or
  public warrants in such transactions prior to completion of our initial business combination. See “Proposed Business — Permitted
  purchases of our securities” for a description of how our sponsor, initial stockholders, directors, officers or any of their affiliates will
  select which stockholders to purchase securities from in any private transaction.

        The purpose of any such purchases of shares could be to vote such shares in favor of the initial business combination and thereby
  increase the likelihood of obtaining stockholder approval of the initial business combination or to satisfy a closing condition in an
  agreement with a target that requires us to have a minimum net worth or a certain amount of cash at the closing of our initial business
  combination, where it appears that such requirement would otherwise not be met. The purpose of any such purchases of public
  warrants could be to reduce the number of public warrants outstanding or to vote such warrants on any matters submitted to the warrant
  holders for approval in connection with our initial business combination. Any such purchases of our securities may result in the
  completion of our initial business combination that may not otherwise have been possible. In addition, if such purchases are made, the
  public “float” of our shares of Class A common stock or warrants may be reduced and the number of beneficial holders of our
  securities may be reduced, which may make it difficult to maintain or obtain the quotation, listing or trading of our securities on a
  national securities exchange.

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        In no event will we redeem our public shares unless our net tangible assets are at least $5,000,001 either immediately prior to or
  upon consummation of our initial business combination and after payment of underwriters’ fees and commissions (so that we are not
  subject to the SEC’s “penny stock” rules) and the agreement for our initial business combination may require as a closing condition
  that we have a minimum net worth or a certain amount of cash. If too many public stockholders exercise their redemption rights so that
  we cannot satisfy the net tangible asset requirement or any net worth or cash requirements, we would not proceed with the redemption
  of our public shares or the initial business combination, and instead may search for an alternate business combination.

        A public stockholder will be entitled to receive funds from the trust account only upon the earliest to occur of: (i) our completion
  of an initial business combination, (ii) the redemption of any public shares properly submitted in connection with a stockholder vote to
  amend our amended and restated certificate of incorporation (A) to modify the substance or timing of our obligation to allow
  redemption in connection with our initial business combination or certain amendments to our charter prior thereto or to redeem 100%
  of our public shares if we do not complete our initial business combination within 12 months (or up to 18 months, if we extend the time
  to complete a business combination as described in this prospectus)from the closing of this offering or (B) with respect to any other
  provision relating to stockholders’ rights or pre-initial business combination activity, and (iii) the redemption of our public shares if we
  are unable to complete our initial business combination within 12 months (or up to 18 months, if we extend the time to complete a
  business combination as described in this prospectus)following the closing of this offering, subject to applicable law and as further
  described herein and any limitations (including but not limited to cash requirements) created by the terms of the proposed initial
  business combination. In no other circumstances will a public stockholder have any right or interest of any kind to or in the trust
  account.

         Our sponsor, officers, directors and director nominees will enter into a letter agreement with us, pursuant to which they will agree
  to waive their redemption rights with respect to any founder shares and placement shares and any public shares held by them in
  connection with the completion of our initial business combination. In addition, our initial stockholders have agreed to waive their
  rights to liquidating distributions from the trust account with respect to any founder shares and placement shares held by them if we fail
  to complete our initial business combination within the prescribed time frame. However, if our sponsor or any of our officers, directors
  or affiliates acquires public shares in or after this offering, they will be entitled to liquidating distributions from the trust account with
  respect to such public shares if we fail to complete our initial business combination within the prescribed time frame.

        Our anchor investors have entered into investment agreements with us, pursuant to which they will agree to waive their
  redemption rights with respect to any founder shares held by them in connection with the completion of our initial business
  combination. In addition, our anchor investors have agreed to waive their rights to liquidating distributions from the trust account with
  respect to any founder shares held by them if we fail to complete our initial business combination within the prescribed time frame.


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                                        MANAGEMENT’S DISCUSSION AND ANALYSIS OF
                                     FINANCIAL CONDITION AND RESULTS OF OPERATIONS

  Overview

        We are a newly-organized blank check company incorporated as a Delaware corporation and formed for the purpose of effecting
  a merger, capital stock exchange, asset acquisition, stock purchase, reorganization or similar business combination with one or more
  businesses. While our efforts to identify a target business may span many industries and regions worldwide, we intend to focus our
  search for prospects within middle market and emerging growth technology-focused companies in the Americas, in SaaS and
  Technology or Fintech and Financial Services. We have not selected any specific business combination target and we have not, nor has
  anyone on our behalf, initiated any substantive discussions, directly or indirectly, with any business combination target. We intend to
  effectuate our initial business combination using cash from the proceeds of this offering and the sale of the placement units, the
  proceeds of the sale of our shares in connection with our initial business combination (including pursuant to backstop agreements we
  may enter into following the consummation of this offering or otherwise), shares issued to the owners of the target, debt issued to bank
  or other lenders or the owners of the target, or a combination of the foregoing.

        The issuance of additional shares in connection with an initial business combination to the owners of the target or other investors:

        •    may significantly dilute the equity interest of investors in this offering, which dilution would increase if the anti-dilution
             provisions in the Class B common stock resulted in the issuance of Class A shares on a greater than one-to-one basis upon
             conversion of the Class B common stock;

        •    may subordinate the rights of holders of our common stock if preferred stock is issued with rights senior to those afforded
             our common stock;

        •    could cause a change in control if a substantial number of shares of our common stock is issued, which may affect, among
             other things, our ability to use our net operating loss carry forwards, if any, and could result in the resignation or removal of
             our present officers and directors;

        •    may have the effect of delaying or preventing a change of control of us by diluting the stock ownership or voting rights of a
             person seeking to obtain control of us; and

        •    may adversely affect prevailing market prices for our Class A common stock and/or warrants.

         Similarly, if we issue debt securities or otherwise incur significant debt to bank or other lenders or the owners of a target, it could
  result in:

        •    default and foreclosure on our assets if our operating revenues after an initial business combination are insufficient to repay
             our debt obligations;

        •    acceleration of our obligations to repay the indebtedness even if we make all principal and interest payments when due if we
             breach certain covenants that require the maintenance of certain financial ratios or reserves without a waiver or renegotiation
             of that covenant;

        •    our immediate payment of all principal and accrued interest, if any, if the debt is payable on demand;

        •    our inability to obtain necessary additional financing if the debt contains covenants restricting our ability to obtain such
             financing while the debt is outstanding;

        •    our inability to pay dividends on our common stock;

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        •    using a substantial portion of our cash flow to pay principal and interest on our debt, which will reduce the funds available
             for dividends on our common stock if declared, our ability to pay expenses, make capital expenditures and acquisitions, and
             fund other general corporate purposes;

        •    limitations on our flexibility in planning for and reacting to changes in our business and in the industry in which we operate;

        •    increased vulnerability to adverse changes in general economic, industry and competitive conditions and adverse changes in
             government regulation;

        •    limitations on our ability to borrow additional amounts for expenses, capital expenditures, acquisitions, debt service
             requirements, and execution of our strategy; and

        •    other purposes and other disadvantages compared to our competitors who have less debt.

         As indicated in the accompanying financial statements, at June 30, 2021 and March 31, 2021, we had $24,260 and $25,000 in
  cash, respectively and deferred offering costs of $101,975 and $62,500, respectively. Further, we expect to continue to incur significant
  costs in the pursuit of our initial business combination plans. We cannot assure you that our plans to raise capital or to complete our
  initial business combination will be successful.

  Results of Operations and Known Trends or Future Events

        We have neither engaged in any operations nor generated any revenues to date. Our only activities since inception have been
  organizational activities and those necessary to prepare for this offering. Following this offering, we will not generate any operating
  revenues until after completion of our initial business combination. We will generate non-operating income in the form of interest
  income on cash and cash equivalents after this offering. There has been no significant change in our financial or trading position and no
  material adverse change has occurred since the date of our audited financial statements. After this offering, we expect to incur
  increased expenses as a result of being a public company (for legal, financial reporting, accounting and auditing compliance), as well
  as expenses as we conduct due diligence on prospective business combination candidates. We expect our expenses to increase
  substantially after the closing of this offering.

  Liquidity and Capital Resources

        As indicated in the accompanying financial statements, at June 30, 2021 and March 31, 2021, we had $24,360 and $25,000 cash,
  respectively, and a working capital deficit of $78,200 and $37,985, respectively. Further, we have incurred and expect to continue to
  incur significant costs in pursuit of our financing and acquisition plans. We cannot assure you that our plans to raise capital or to
  consummate an initial business combination will be successful. These factors, among others, raise substantial doubt about our ability to
  continue as a going concern.

         Our liquidity needs have been satisfied prior to the completion of this offering through a capital contribution from our sponsor of
  $25,000 for the founder shares and up to $300,000 in loans available from our sponsor under an unsecured promissory note. We
  estimate that the net proceeds from (i) the sale of the units in this offering, after deducting offering expenses of approximately
  $556,090, underwriting commissions of $3,750,000 ($4,312,500 if the underwriters’ over-allotment option is exercised in full)
  (excluding deferred underwriting commissions of $10,500,000 (or $12,075,000 if the underwriters’ over-allotment option is exercised
  in full)), and (ii) the sale of the placement units for a purchase price of $11,741,090 (or $13,203,590 if the underwriters’ over-allotment
  option is exercised in full), will be $307,435,000 (or $353,335,000 if the underwriters’ over-allotment option is exercised in full). Of
  this amount, $306,000,000 (or $351,900,000 if the underwriters’ over-allotment option is exercised in full) will be held in the trust
  account, which includes $10,500,000 (or $12,075,000 if the underwriters’ over-allotment option is exercised in full) of deferred
  underwriting commissions. The proceeds held in the trust account will be invested only in U.S. government treasury obligations with a
  maturity of 185 days or less or in money market funds meeting certain conditions under Rule 2a-7 under the Investment Company Act
  which invest only in direct U.S. government treasury obligations. The remaining approximately $1,435,000 will not be held in the trust
  account. In the event that our offering expenses exceed our estimate of $556,090, we may fund such excess with funds not to be held in
  the trust account. In such case, the amount of funds we intend to be held outside the trust account would decrease by a corresponding
  amount. Conversely, in the event that the offering expenses are less than our estimate of $556,090, the amount of funds we intend to be
  held outside the trust account would increase by a corresponding amount.

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         We intend to use substantially all of the funds held in the trust account, including any amounts representing interest earned on the
  trust account (less deferred underwriting commissions), to complete our initial business combination. We may withdraw interest to pay
  taxes. We estimate our annual franchise tax obligations, based on the number of shares of our common stock authorized and
  outstanding after the completion of this offering, to be $200,000, which is the maximum amount of annual franchise taxes payable by
  us as a Delaware corporation per annum, which we may pay from funds from this offering held outside of the trust account or from
  interest earned on the funds held in our trust account and released to us for this purpose. Our annual income tax obligations will depend
  on the amount of interest and other income earned on the amounts held in the trust account. We expect the interest earned on the
  amount in the trust account will be sufficient to pay our income taxes. To the extent that our capital stock or debt is used, in whole or in
  part, as consideration to complete our initial business combination, the remaining proceeds held in the trust account will be used as
  working capital to finance the operations of the target business or businesses, make other acquisitions and pursue our growth strategies.

         Prior to the completion of our initial business combination, we will have available to us the approximately $1,435,000 of
  proceeds held outside the trust account. We will use these funds to identify and evaluate target businesses, perform business due
  diligence on prospective target businesses, travel to and from the offices, plants or similar locations of prospective target businesses or
  their representatives or owners, review corporate documents and material agreements of prospective target businesses, and structure,
  negotiate and complete an initial business combination.

         In order to fund working capital deficiencies or finance transaction costs in connection with an intended initial business
  combination, our sponsor or an affiliate of our sponsor or certain of our officers and directors may, but are not obligated to, loan us
  funds on a non-interest bearing basis as may be required. If we complete our initial business combination, we would repay such loaned
  amounts. In the event that our initial business combination does not close, we may use a portion of the working capital held outside the
  trust account to repay such loaned amounts but no proceeds from our trust account would be used for such repayment. Up to
  $1,500,000 of such loans may be convertible into units, at a price of $10.00 per unit at the option of the lender, upon consummation of
  our initial business combination. The units would be identical to the placement units. Other than as described above, the terms of such
  loans by our officers and directors, if any, have not been determined and no written agreements exist with respect to such loans. We do
  not expect to seek loans from parties other than our sponsor or an affiliate of our sponsor as we do not believe third parties will be
  willing to loan such funds and provide a waiver against any and all rights to seek access to funds in our trust account.

        We expect our primary liquidity requirements during that period to include approximately $750,000 for legal, accounting, due
  diligence, travel and other expenses associated with structuring, negotiating and documenting successful business combinations;
  $50,000 for legal and accounting fees related to regulatory reporting requirements; $180,000 for office space, utilities and secretarial
  and administrative support; $400,000 for directors’ and officers’ insurance expenses and approximately $55,000 for working capital
  that will be used for miscellaneous expenses and reserves.

         These amounts are estimates and may differ materially from our actual expenses. In addition, we could use a portion of the funds
  not being placed in trust to pay commitment fees for financing, fees to consultants to assist us with our search for a target business or as
  a down payment or to fund a “no-shop” provision (a provision designed to keep target businesses from “shopping” around for
  transactions with other companies or investors on terms more favorable to such target businesses) with respect to a particular proposed
  initial business combination, although we do not have any current intention to do so. If we entered into an agreement where we paid for
  the right to receive exclusivity from a target business, the amount that would be used as a down payment or to fund a “no-shop”
  provision would be determined based on the terms of the specific business combination and the amount of our available funds at the
  time. Our forfeiture of such funds (whether as a result of our breach or otherwise) could result in our not having sufficient funds to
  continue searching for, or conducting due diligence with respect to, prospective target businesses.

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         We do not believe we will need to raise additional funds following this offering in order to meet the expenditures required for
  operating our business. However, if our estimates of the costs of identifying a target business, undertaking in-depth due diligence and
  negotiating an initial business combination are less than the actual amount necessary to do so, we may have insufficient funds available
  to operate our business prior to our initial business combination. Moreover, we may need to obtain additional financing either to
  complete our initial business combination or because we become obligated to redeem a significant number of our public shares upon
  completion of our initial business combination, in which case we may issue additional securities or incur debt in connection with such
  business combination. In addition, we intend to target businesses larger than we could acquire with the net proceeds of this offering and
  the sale of the placement units, and may as a result be required to seek additional financing to complete such proposed initial business
  combination. Subject to compliance with applicable securities laws, we would only complete such financing simultaneously with the
  completion of our initial business combination. If we are unable to complete our initial business combination because we do not have
  sufficient funds available to us, we will be forced to cease operations and liquidate the trust account. In addition, following our initial
  business combination, if cash on hand is insufficient, we may need to obtain additional financing in order to meet our obligations.

  Controls and Procedures

         We are not currently required to maintain an effective system of internal controls as defined by Section 404 of the Sarbanes-
  Oxley Act. We will be required to comply with the internal control requirements of the Sarbanes-Oxley Act for the fiscal year ending
  December 31, 2022. Only in the event that we are deemed to be a large accelerated filer or an accelerated filer would we be required to
  comply with the independent registered public accounting firm attestation requirement. Further, for as long as we remain an emerging
  growth company as defined in the JOBS Act, we intend to take advantage of certain exemptions from various reporting requirements
  that are applicable to other public companies that are not emerging growth companies including, but not limited to, not being required
  to comply with the independent registered public accounting firm attestation requirement.

        Prior to the closing of this offering, we have not completed an assessment, nor has our independent registered public accounting
  firm tested our systems, of internal controls. We expect to assess the internal controls of our target business or businesses prior to the
  completion of our initial business combination and, if necessary, to implement and test additional controls as we may determine are
  necessary in order to state that we maintain an effective system of internal controls. A target business may not be in compliance with
  the provisions of the Sarbanes-Oxley Act regarding the adequacy of internal controls. Many small and mid-sized target businesses we
  may consider for our initial business combination may have internal controls that need improvement in areas such as:

        •    staffing for financial, accounting and external reporting areas, including segregation of duties;

        •    reconciliation of accounts;

        •    proper recording of expenses and liabilities in the period to which they relate;

        •    evidence of internal review and approval of accounting transactions;

        •    documentation of processes, assumptions and conclusions underlying significant estimates; and

        •    documentation of accounting policies and procedures.

        Because it will take time, management involvement and perhaps outside resources to determine what internal control
  improvements are necessary for us to meet regulatory requirements and market expectations for our operation of a target business, we
  may incur significant expense in meeting our public reporting responsibilities, particularly in the areas of designing, enhancing, or
  remediating internal and disclosure controls. Doing so effectively may also take longer than we expect, thus increasing our exposure to
  financial fraud or erroneous financing reporting.

        Once our management’s report on internal controls is complete, we will retain our independent registered public accounting firm
  to audit and render an opinion on such report when required by Section 404 of the Sarbanes-Oxley Act. The independent registered
  public accounting firm may identify additional issues concerning a target business’s internal controls while performing their audit of
  internal control over financial reporting.

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  Quantitative and Qualitative Disclosures about Market Risk

        The net proceeds of this offering and the sale of the placement units held in the trust account will be invested in U.S. government
  treasury bills with a maturity of 185 days or less or in money market funds meeting certain conditions under Rule 2a-7 under the
  Investment Company Act which invest only in direct U.S. government treasury obligations. Due to the short-term nature of these
  investments, we believe there will be no associated material exposure to interest rate risk.

  Related Party Transactions

          On January 20, 2021, our sponsor purchased 2,875,000 founder shares (which were subsequently subject to a three-for-one stock
  split, resulting in our sponsor holding 8,625,000 founder shares) for an aggregate purchase price of $25,000, or approximately $0.003
  per share. On May 19, 2021, our sponsor transferred 10,000 founder shares to our Chief Financial Officer and 7,500 founder shares to
  each of our independent director and director nominees. The number of founder shares issued was determined based on the expectation
  that such founder shares would represent 20% of the outstanding shares upon completion of this offering (excluding the representative
  shares and the placement units and underlying securities). The per share purchase price of the founder shares was determined by
  dividing the amount of cash contributed to the company by the aggregate number of founder shares issued. If we increase or decrease
  the size of the offering we will effect a stock dividend or a share contribution back to capital or other appropriate mechanism, as
  applicable, with respect to our Class B common stock immediately prior to the consummation of the offering in such amount as to
  maintain the ownership of our initial stockholders at 20% of the issued and outstanding shares of our common stock (excluding the
  placement units and underlying securities and the representative shares and assuming the initial stockholders do not purchase units in
  this offering) upon the consummation of this offering. Up to 1,125,000 founder shares held by our sponsor are subject to forfeiture by
  our sponsor depending on the extent to which the underwriters’ over-allotment option is exercised. The founder shares (including the
  Class A common stock issuable upon exercise thereof) may not, subject to certain limited exceptions, be transferred, assigned or sold
  by the holder.

        Commencing on the date of this prospectus, we have agreed to pay Benessere Enterprises Inc., an affiliate of our sponsor, a total
  of $15,000 per month for office space, utilities and secretarial and administrative support. Upon completion of our initial business
  combination or our liquidation, we will cease paying these monthly fees.

        Our sponsor, officers and directors, or any of their respective affiliates, will be reimbursed for any out-of-pocket expenses
  incurred in connection with activities on our behalf such as identifying potential target businesses and performing due diligence on
  suitable business combinations. Our audit committee will review on a quarterly basis all payments that were made to our sponsor,
  officers or directors or our or their affiliates and will determine which expenses and the amount of expenses that will be reimbursed.
  There is no cap or ceiling on the reimbursement of out-of-pocket expenses incurred by such persons in connection with activities on
  our behalf.

         Prior to the consummation of this offering, our sponsor agreed to loan us up to $300,000 to be used for a portion of the expenses
  of this offering. These loans are non-interest bearing, unsecured and are due at the earlier of September 30, 2021 or the closing of this
  offering. The loan will be repaid upon the closing of this offering out of the $1,435,000 of offering proceeds that has been allocated to
  the payment of offering expenses (other than underwriting commissions).

         In addition, in order to finance transaction costs in connection with an intended initial business combination, our sponsor or an
  affiliate of our sponsor or certain of our officers and directors may, but are not obligated to, loan us funds as may be required. If we
  complete our initial business combination, we would repay such loaned amounts. In the event that our initial business combination
  does not close, we may use a portion of the working capital held outside the trust account to repay such loaned amounts but no
  proceeds from our trust account would be used for such repayment. Up to $1,500,000 of such loans may be convertible into units, at a
  price of $10.00 per unit at the option of the lender, upon consummation of our initial business combination. The units would be
  identical to the placement units. The terms of such loans by our officers and directors, if any, have not been determined and no written
  agreements exist with respect to such loans. We do not expect to seek loans from parties other than our sponsor or an affiliate of our
  sponsor as we do not believe third parties will be willing to loan such funds and provide a waiver against any and all rights to seek
  access to funds in our trust account.

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        Our sponsor has agreed to purchase an aggregate of 1,174,109 placement units at a price of $10.00 per unit for an aggregate
  purchase price of $11,741,090. If the underwriters’ over-allotment option is exercised in full, the amount of placement units sold will
  be 1,320,359 for an aggregate purchase price of $13,203,590. Each placement unit consists of one share of Class A common stock and
  one-half of one warrant. Each whole warrant is exercisable to purchase one whole share of common stock at $11.50 per share. There
  will be no redemption rights or liquidating distributions from the trust account with respect to the founder shares, the representative
  shares, the placement shares or the placement warrants, which will expire worthless if we do not consummate a business combination
  within 12 months (or up to 18 months, if we extend the time to complete a business combination as described in this prospectus)from
  the closing of this offering. The placement units are identical to the units sold in this offering except that the placement units and their
  component securities will not be transferable, assignable or saleable until 30 days after the consummation of our initial business
  combination except to permitted transferees and (b) the placement warrants, so long as they are held by our sponsor or its permitted
  transferees will be entitled to registration right.

          Our initial stockholders have agreed to waive their redemption rights with respect to their founder shares and placement shares
  (i) in connection with the consummation of a business combination, (ii) in connection with a stockholder vote to amend our amended
  and restated certificate of incorporation to modify the substance or timing of our obligation to allow redemption in connection with our
  initial business combination or certain amendments to our charter prior thereto or to redeem 100% of our public shares if we do not
  complete our initial business combination within 12 months (or up to 18 months if we have extended the period of time as described in
  this prospectus) from the completion of this offering and (iii) if we fail to consummate a business combination within 12 months (or up
  to 18 months, if we extend the time to complete a business combination as described in this prospectus) from the completion of this
  offering or if we liquidate prior to the expiration of the 12-month (or up to 18 months if we have extended the period of time as
  described in this prospectus) period. However, our initial stockholders will be entitled to redemption rights with respect to any public
  shares held by them if we fail to consummate a business combination or liquidate within the 12-month period (or up to 18 months if we
  have extended the period of time as described in this prospectus). In addition, the holders of the representative shares have agreed (i) to
  waive their redemption rights (or right to participate in any tender offer) with respect to such shares in connection with the completion
  of our initial business combination and (ii) to waive their rights to liquidating distributions from the trust account with respect to such
  shares if we fail to complete our initial business combination within 12 months (or up to 18 months, if we extend the time to complete
  a business combination as described in this prospectus) from the closing of this offering.

        Pursuant to a registration rights agreement we will enter into with our initial stockholders on or prior to the closing of this
  offering, we may be required to register certain securities for sale under the Securities Act. These holders (including the holders of
  representative shares), and holders of units issued upon conversion of working capital loans, if any, are entitled under the registration
  rights agreement to make up to three demands that we register certain of our securities held by them for sale under the Securities Act
  and to have the securities covered thereby registered for resale pursuant to Rule 415 under the Securities Act. In addition, these holders
  have the right to include their securities in other registration statements filed by us. We will bear the costs and expenses of filing any
  such registration statements. See the section of this prospectus entitled “Certain Relationships and Related Party Transactions.”

  Off-Balance Sheet Arrangements; Commitments and Contractual Obligations; Quarterly Results

        As of June 30, 2021, we did not have any off-balance sheet arrangements as defined in Item 303(a)(4)(ii) of Regulation S-K and
  did not have any commitments or contractual obligations. No unaudited quarterly operating data is included in this prospectus, as we
  have conducted no operations to date.

  JOBS Act

        On April 5, 2012, the JOBS Act was signed into law. The JOBS Act contains provisions that, among other things, relax certain
  reporting requirements for qualifying public companies. We will qualify as an “emerging growth company” and under the JOBS Act
  will be allowed to comply with new or revised accounting pronouncements based on the effective date for private (not publicly traded)
  companies. We are electing to delay the adoption of new or revised accounting standards, and as a result, we may not comply with new
  or revised accounting standards on the relevant dates on which adoption of such standards is required for non-emerging growth
  companies. As a result, our financial statements may not be comparable to companies that comply with new or revised accounting
  pronouncements as of public company effective dates.

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        Additionally, we are in the process of evaluating the benefits of relying on the other reduced reporting requirements provided by
  the JOBS Act. Subject to certain conditions set forth in the JOBS Act, if, as an “emerging growth company”, we choose to rely on such
  exemptions we may not be required to, among other things, (i) provide an independent registered public accounting firm’s attestation
  report on our system of internal controls over financial reporting pursuant to Section 404, (ii) provide all of the compensation
  disclosure that may be required of non-emerging growth public companies under the Dodd-Frank Wall Street Reform and Consumer
  Protection Act, (iii) comply with any requirement that may be adopted by the PCAOB regarding mandatory audit firm rotation or a
  supplement to the report of independent registered public accounting firm providing additional information about the audit and the
  financial statements (auditor discussion and analysis), and (iv) disclose certain executive compensation related items such as the
  correlation between executive compensation and performance and comparisons of the Chief Executive Officers’ compensation to
  median employee compensation. These exemptions will apply for a period of five years following the completion of this offering or
  until we are no longer an “emerging growth company,” whichever is earlier.

                                                         PROPOSED BUSINESS

  General

          We are a newly-organized blank check company incorporated in December 2020, whose business purpose is to effect a merger,
  capital stock exchange, asset acquisition, stock purchase, reorganization or similar business combination with one or more businesses,
  which we refer to as our initial business combination. To date, our efforts have been limited to organizational activities as well as
  activities related to this offering. We have not selected any specific business combination target and we have not, nor has anyone on our
  behalf, engaged in any substantive discussions, directly or indirectly, with any business combination target with respect to an initial
  business combination with us.

         While we may pursue an initial business combination opportunity in any business, industry, sector or geographical location, we
  intend to focus on middle market and emerging growth technology-focused companies in the Americas, in SaaS and Technology or
  Fintech and Financial Services.

  Our Management Team

                    Our management team is led by Mr. Patrick Orlando, our Chairman and CEO, who has served many executive roles
                    in Finance over a 25-year career. Mr. Orlando’s experience covers all aspects related to special purpose acquisition
                    corporations (“SPACs”) as he has been involved as executive, sponsor and sirector in several SPACs including
                    Yunhong International (Nasdaq: ZGYH), Benessere Capital Acquisition Corporation (Nasdaq: BENE) and Maquia
                    Capital Acquisition Corporation (Nasdaq: MAQC). Over his career, Mr. Orlando has developed an extensive network
                    and we believe his knowledge and exposure on a global scale will enable us to locate and attract potential targets.

                    Mr. Orlando has been serving as Chief Executive Officer of Yunhong International since January 2020 and as Chief
                    Executive Officer of Benessere Capital Acquisition Corp. since September 2020. Mr. Orlando has also been a
                    director of Maquia Capital Acquisition Corporation since February 2021.

                    Mr. Orlando is also Chief Executive Officer of Benessere Capital, LLC, an investment consulting and investment
                    banking firm he founded in Miami in October 2012. At Benessere Capital, LLC, he has advised on fundraising,
                    capital deployment, mergers and acquisitions, private placements, and products marketing. From March 2014 to
                    August 2018, Mr. Orlando also served as the Chief Financial Officer of Sucro Can Sourcing LLC, a sugar trading
                    company he co-founded, where he managed all financial matters including insurance and banking relationships.
                    From March 2011 to March 2014, Mr. Orlando served as the Managing Director and the Head of Structuring and
                    Derivatives of BT Capital Markets, LLC, a boutique investment bank in Miami, Florida, where he was involved in
                    managing global derivatives and structuring activities. From September 2006 to March 2011, Mr. Orlando served in
                    roles including Chief Technical Officer and Director of Pure Biofuels Corporation, a renewable fuel corporation
                    headquartered in Houston, Texas with operations in Peru. From April 1998 to December 2003, Mr. Orlando served as
                    the Director of Emerging Markets Fixed Income Derivatives of Deutsche Bank. Mr. Orlando earned bachelors of
                    science degrees in Mechanical Engineering and Management Science from the Massachusetts Institute of
                    Technology.

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                    Our CFO, Mr. Luis Orleans-Braganza is a businessman and currently a member Brazil’s National Congress,
                    originally elected in 2018 representing the state of São Paulo. He founded Zap Tech in February of 2012 and
                    developed a mobile payment platform. As the CEO he was responsible for all aspects of product design, geo
                    localization and payment protocols. In August of 2005 he founded IKAT do Brasil, an automobile and motorcycle
                    company which developed new automotive technology in ignitions. Mr. Braganza was responsible for all aspects of
                    general management including team building, business development, research and development and capital
                    allocation. Prior to his political and entrepreneurial days, his professional trajectory began in the United States, where
                    he harnessed experiences in planning, finance and mergers and acquisitions. Mr. Braganza was part of the sales and
                    operations planning effort of Companie de Saint-Gobain, a French multinational, between January 1994 and
                    December 1996. Later he extended his financial experience at JP Morgan investment banking division in London and
                    at Lazard Frères in New York City. From April 2000 to May 2005, he acted as a director at Time Warner’s, AOL
                    Latin America division where he was responsible for managing strategic alliances with media and telecom players in
                    multiple countries in the region. Mr. Braganza earned a degree in Business Administration from the Fundação
                    Armando Álvares Penteado.

                    Our directors and director nominees

                    Eric Swider is a nominee for director of our company as of the date hereof. Mr. Swider has been serving as the Chief
                    Executive Officer of RUBIDEX, a start-up company focusing on data security, since January 2020. Mr. Swider
                    founded Renatus Advisors and has been serving as the Partner of Renatus LLC since June 2016, where he is
                    responsible for FEMA grant management and government advisory services. From September 2016 to January 2018,
                    Mr. Swider served as the Managing Director of Great Bay Global where he oversaw launch of new business division
                    focused on investing in alternative strategies. From December 2014 to June 2016, Mr. Swider served as the
                    Managing Director of OHorizons Global, where he oversaw expansion of new investment team and was responsible
                    for working on a global basis to expand client base and investment portfolio. From February 2010 to December 2015,
                    Mr. Swider served as the Managing Director of Oceano Beach Resorts, where he was responsible for growing new
                    property and resort management group. Since February 2021, Mr. Swider has also served as a director of Benessere
                    Capital Acquisition Corp. Mr. Swider received his education in Mechanics Engineering and Nuclear Science Studies
                    at US Naval Engineering and Nuclear A Schools, an intensive two-year program studying nuclear physics, heat
                    transfer and fluid flow, advanced mathematical practices and engineering principles.

                    Justin Shaner is a nominee for director of our company as of the date hereof. Mr. Shaner founded and has been
                    serving as Chief Executive Officer of Shaner Properties LLC, a real estate investment and development company,
                    since February 2011. Mr. Shaner has been Vice President of Development for Shaner Hotels LP, one of the foremost
                    award-winning hospitality owner-operators and management companies in the hospitality industry, since March
                    2018. Mr. Shaner has been serving as the Chief Executive Officer of Sobe Brooke Studios LLC, an independent film
                    production company, since October 2012. From August 2013 to June 2016, Mr. Shaner served as a Partner and
                    Producer of Radar Pictures in Los Angeles, California. From September 2007 to September 2015, Mr. Shaner served
                    as the President and Chief Creative Officer of The JLS Agency, an award winning digital marketing agency. Since
                    February 2021, Mr. Shaner has also served as a director of Benessere Capital Acquisition Corp. Mr. Shaner also
                    serves as a board member for Shaner Ciocco S r.l. which developed and manages the Renaissance Tuscany hotel. Mr.
                    Shaner holds a Bachelor’s degree from Pennsylvania State University.


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                    Lee Jacobson, our director. Lee is an entertainment executive with over 25 years of experience in the video game
                    industry and 16 years of experience managing digital distribution at some of the most well-known publishers in the
                    world. In January 2018, he co-founded and currently serves as the Chief Executive Officer for Robot Cache US, Inc.,
                    a PC games digital distribution company. From January 2017 to January 2018, Lee was the Managing Director of
                    Converge Direct, LLC, a digital advertising agency, where he managed all of the analytics and software development
                    operations for its clients. Beginning in September 2012, Lee was the Chief Executive Officer of Apmetrix Analytics
                    Inc. until it liquidated its assets in 2019 in a Chapter 7 bankruptcy proceeding. From September 2009 to September
                    2012, Lee was a Senior Vice President, Licensing and Digital Publishing for Atari, where he was responsible for
                    global licensing activities for all consumer products and interactive categories for the Atari brand and global
                    publishing operations for the console and mobile business units. From August 1998 to August 2009, Lee was a Vice
                    President, Business Development and Licensing, for Midway Games Inc., during which time he managed the
                    worldwide licensing and business development functions. Prior to 1998, Lee was a Director of Business
                    Development for Virgin Interactive Entertainment beginning in January 1997. Mr. Jacobson majored in computer
                    science and software engineering at Control Data Institute and graduated in 1986.

                    Rodrigo Veloso is our director nominee. Mr. Veloso was the founder and served as Chief Executive Officer of O.N.E.
                    Coconut Water from 2005 to 2012, one of the original three ready-to-drink coconut water beverage companies. Mr.
                    Veloso built the O.N.E. brand into a multi-million dollar business with distribution in over 25,000 retail stores in the
                    United States and Canada. Mr. Veloso secured strategic and private equity investors for the company – PepsiCo and
                    Catterton Partners, respectively, which led to PepsiCo’s purchase of O.N.E. Coconut Water in 2012. Mr. Veloso has
                    been serving as the principal of Unik Capital since 2013, a boutique investment firm with investments in technology,
                    consumer goods and housing, which currently operates in the United States and Brazil. Mr. Veloso has been serving
                    as the board member of Segurar.com since 2012, Brazil’s first online insurance company. Mr. Veloso has been also
                    serving since 2010 as the Co-Founder of BRIC Chamber, an organization established to encourage people from
                    around the world to meet and talk about the development and advancement of programs and services in the fields of
                    investment, entrepreneurship and innovation in Brazil, Russia, India, China (“BRIC”) and other emerging countries.

                    Bruce J. Garelick is our director nominee. Mr. Garelick is a venture capitalist/entrepreneur/c-level executive and
                    disruptive technology investing enthusiast. Since August 2020, he has served as the chief-strategy-officer at Rocket
                    One Capital. From May 2019 to August 2020, he served as Chief Financial Officer of Leaf Logix Technologies, Inc.,
                    a software company. From 2012 to May 2019, Mr. Garelick was the founder and Managing Partner of Garelick
                    Capital Partners LP, a technology hedge fund. Prior thereto, from January 2005 to 2012, Mr. Garelick was a portfolio
                    manager at Adge Capital LP. Mr. Garelick has dedicated his career to investing, molding, and guiding transformative
                    growth technology companies. He has managed one of the largest technology hedge fund pools of capital in the
                    world for a former Harvard University endowment investment manager to starting his own hedge fund, which grew
                    into one of the top dedicated technology hedge funds in the world. He has since transitioned his investment focus and
                    managerial skills to the private technology world, where he served as a lead investor and CFO of an industry defining
                    software company to his current venture capital focus on early-stage technology companies at Rocket One Capital.
                    Mr. Garelick received his MBA from The Wharton School at University of Pennsylvania and his bachelor’s degree at
                    Vanderbilt University. He is a CFA (Chartered Financial Analyst) holder.

  Business Strategy

         While we may pursue an initial business combination target in any industry or geographic location, we intend to focus our
  search on middle market and emerging growth technology-focused companies in the Americas, in SaaS and Technology or Fintech and
  Financial Services. Most of these companies will ultimately need to consolidate to achieve the scale necessary to attain high revenue
  growth and attractive profitability. We believe that acquiring a leading emerging growth technology company will provide a platform to
  fund consolidation and fuel growth for our company. Segments we might explore include, but are not limited to, technology and
  technologically enabled industrial, supply chain, logistics, vehicles, security, and manufacturing businesses. There is no restriction in
  the geographic location of targets we can pursue, although we intend to initially prioritize the Americas as the geographical focus.

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  Competitive Advantages

        We intend to capitalize on the following competitive advantages in our pursuit of a target company:

           •        Established Deal Sourcing Network. We believe the strong track record of our management team and financial
                    advisor will enable us to get access to quality deal pipeline. In addition, we believe we, through our management
                    team and financial advisor, have contacts and sources from which to generate acquisition opportunities and possibly
                    seek complementary follow-on business arrangements. These contacts and sources include those in government,
                    private and public companies, private equity and venture capital funds, investment bankers, attorneys and
                    accountants.
           •        Status as a Publicly Listed Acquisition Company. We believe our structure will make us an attractive business
                    combination partner to prospective target businesses. As a publicly listed company, we will offer a target business an
                    alternative to the traditional initial public offering process. We believe that some target businesses will favor this
                    alternative, which we believe is less expensive, while offering greater certainty of execution, than the traditional
                    initial public offering process. During an initial public offering, there are typically underwriting fees and marketing
                    expenses, which would be costlier than a business combination with us. Furthermore, once a proposed business
                    combination is approved by our shareholders (if applicable) and the transaction is consummated, the target business
                    will have effectively become public, whereas an initial public offering is always subject to the underwriter’s ability to
                    complete the offering, as well as general market conditions that could prevent the offering from occurring. Once
                    public, we believe our target business would have greater access to capital and additional means of creating
                    management incentives that are better aligned with shareholders’ interests than it would as a private company. It can
                    offer further benefits by augmenting a company’s profile among potential new customers and vendors and aid in
                    attracting talented management staffs.

  Industry Opportunity

       While we may acquire a business in any industry, our focus will be in the industries referenced in the General section of this
  document. We believe that our target industries are attractive for a number of reasons:

        SaaS and Technology

         We believe we are currently in the midst of a secular shift in the SaaS sub-segment of the technology industry, which is driving
  rapid growth in both annual spending and the number of actionable acquisition targets requiring a public market solution. This is driven
  in part by large corporations, which are constantly upgrading legacy technology and expanding their SaaS toolkits. We believe another
  major driver are new corporations which heavily rely in SaaS solutions given their cost-efficiency and scalability. Specifically, we see
  great opportunity in companies that are constantly evolving.

         Private technology companies are fundamentally changing the world at an unprecedented pace by establishing new markets,
  creating new experiences and disrupting legacy industries. Key technological advances and practices, such as cloud computing, data
  analytics and intelligence platforms, open-source software development, developer-focused software tools, and software-defined
  networking, storage and computing, are allowing technology companies to rapidly effect change in every major sector of the global
  economy. Agile private technology companies have embraced these advances and practices to create business models and address
  market needs that will enable them to reach significant financial scale and create shareholder value.

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         FinTech and Financial Services

         The FinTech landscape has matured from a niche venture market to an expansive global industry comprised of numerous large-
  scale institutionalized businesses that consistently experience strong growth in revenue and profits. FinTech adoption by both
  consumers and businesses continues to benefit from robust secular tailwinds including the growth in digital commerce, the
  proliferation of mobile technology, the ubiquitous acceptance of digital payments, and continuous technological advancement,
  positioning the sector for long-term growth. In 2019, the EY Global FinTech Adoption Index estimated that 64% of digitally active
  consumers globally utilized FinTech products and that consumer awareness of FinTech is even higher.

          The number of technology company initial public offerings has also diminished. An average of 159 technology companies went
  public each year during the 1990s, according to the research firm Deal Logic. Since 2010, however, that yearly average plummeted to
  only 38, a 76% drop. That smaller initial public offering market has also been predominantly focused on so-called “unicorn” companies
  (meaning start-up, typically VC-backed companies, often focused on technology, with valuations of over $1 billion). The median
  market capitalization of a venture-backed initial public offering was about $660 million in 2012; in 2017 it was $1.1 billion, based on
  data from the University of Florida. We believe this means that very promising, but non-unicorn companies (such as we will likely
  target for our initial business combination) are in many instances missing out on the ability to do a traditional initial public offering.

         Our management team believes that these factors present an intriguing paradox: a growing number of new companies have
  attracted more private capital. Yet once they flourish, they have a narrower exit route. In addition, that exit route is often reserved for
  larger companies, a substantial disadvantage for smaller private technology companies.

       Ultimately, we believe this same paradox creates a long-term opportunity for stockholder return via an initial business
  combination with a smaller, high-performing private technology company or companies. Additionally, it provides a persuasive
  argument for such companies to join with us, as we believe they have fewer exit options than presently exist for unicorns.

  Acquisition Criteria

           Consistent with our strategy, we have identified the following general criteria and guidelines that we believe are important in
  evaluating prospective target businesses. We intend to use these criteria and guidelines in evaluating acquisition opportunities, but we
  may decide to enter into our initial business combination with a target business that does not meet these criteria and guidelines.

           •        Target Size: consistent with our investment thesis as described above, we plan to target businesses of total enterprise
                    value from $400 million to $2 billion in the Americas, companies in the SaaS and Technology or Fintech and
                    Financial Services.

           •        Businesses with Revenue and Earnings Growth Potential. We will seek to acquire one or more businesses that have
                    the potential for significant revenue and earnings growth through a combination of both existing and new product
                    development, increased production capacity, expense reduction and synergistic follow-on acquisitions resulting in
                    increased operating leverage.

           •        Businesses with Potential for Strong Free Cash Flow Generation. We will seek to acquire one or more businesses
                    that have the potential to generate strong, stable and increasing free cash flow. We may also seek to prudently
                    leverage this cash flow in order to enhance shareholder value.

           •        Strong Management. We will seek companies that have strong, experienced management teams in place, or are a
                    platform to assemble an effective management team with a track record of driving growth and profitability. We will
                    spend significant time assessing a company’s leadership and human fabric, and maximizing its efficiency over time.

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           •        Benefit from Being a Public Company. We intend to acquire one or more businesses that will benefit from being
                    publicly-traded and can effectively utilize the broader access to capital and the public profile that are associated with
                    being a publicly traded company.

           •        Defensible Market Position. We intend to acquire one or more businesses that have a defensible market position,
                    with demonstrated advantages when compared to their competitors and which create barriers to entry against new
                    competitors.

          These criteria are not intended to be exhaustive. Any evaluation relating to the merits of a particular initial business
  combination may be based, to the extent relevant, on these general guidelines as well as other considerations, factors and criteria that
  from time to time our management may deem relevant.

           We have not contacted any of the prospective target businesses that Benessere Capital Acquisition Corporation or Maquia
  Capital Acquisition Corporation had considered and rejected. We do not currently intend to contact any of such targets; however, we
  may do so in the future if we become aware that the valuations, operations, profits or prospects of such target business, or the benefits
  of any potential transaction with such target business, would be attractive.


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  Initial Business Combination

            Nasdaq rules require that we must complete one or more business combinations having an aggregate fair market value of at
  least 80% of the value of the assets held in the trust account (excluding the deferred underwriting commissions and taxes payable on
  the interest earned on the trust account) at the time of our signing a definitive agreement in connection with our initial business
  combination. Our board of directors will make the determination as to the fair market value of our initial business combination. If our
  board of directors is not able to independently determine the fair market value of our initial business combination, we will obtain an
  opinion from an independent investment banking firm or another independent entity that commonly renders valuation opinions with
  respect to the satisfaction of such criteria. While we consider it unlikely that our board of directors will not be able to make an
  independent determination of the fair market value of our initial business combination, it may be unable to do so if it is less familiar or
  experienced with the business of a particular target or if there is a significant amount of uncertainty as to the value of a target’s assets or
  prospects. Additionally, pursuant to Nasdaq rules, any initial business combination must be approved by a majority of our independent
  directors.

            We anticipate structuring our initial business combination so that the post-transaction company in which our public
  stockholders own shares will own or acquire 100% of the equity interests or assets of the target business or businesses. We may,
  however, structure our initial business combination such that the post-transaction company owns or acquires less than 100% of such
  interests or assets of the target business in order to meet certain objectives of the prior owners of the target business, the target
  management team or stockholders or for other reasons, but we will only complete such business combination if the post-transaction
  company owns or acquires 50% or more of the outstanding voting securities of the target or otherwise acquires a controlling interest in
  the target sufficient for it not to be required to register as an investment company under the Investment Company Act of 1940, as
  amended (the “Investment Company Act”). Even if the post-transaction company owns or acquires 50% or more of the voting
  securities of the target, our stockholders prior to the business combination may collectively own a minority interest in the post-
  transaction company, depending on valuations ascribed to the target and us in the business combination transaction. For example, we
  could pursue a transaction in which we issue a substantial number of new shares in exchange for all of the outstanding capital stock,
  shares or other equity interests of a target. In this case, we would acquire a 100% controlling interest in the target. However, as a result
  of the issuance of a substantial number of new shares, our stockholders immediately prior to our initial business combination could
  own less than a majority of our issued and outstanding shares subsequent to our initial business combination. If less than 100% of the
  equity interests or assets of a target business or businesses are owned or acquired by the post-transaction company, the portion of such
  business or businesses that is owned or acquired is what will be valued for purposes of the 80% fair market value test. If the business
  combination involves more than one target business, the 80% fair market value test will be based on the aggregate value of all of the
  target businesses and we will treat the target businesses together as our initial business combination for purposes of a tender offer or for
  seeking stockholder approval, as applicable.

           To the extent we effect our initial business combination with a company or business that may be financially unstable or in its
  early stages of development or growth, we may be affected by numerous risks inherent in such company or business. Although our
  management will endeavor to evaluate the risks inherent in a particular target business, we cannot assure you that we will properly
  ascertain or assess all significant risk factors.

          In evaluating a prospective target business, we expect to conduct a thorough due diligence review which will encompass,
  among other things, meetings with incumbent management and employees, document reviews, inspection of facilities, as well as a
  review of financial, operational, legal and other information which will be made available to us.

            The time required to select and evaluate a target business and to structure and complete our initial business combination, and
  the costs associated with this process, are not currently ascertainable with any degree of certainty. Any costs incurred with respect to
  the identification and evaluation of a prospective target business with which our initial business combination is not ultimately
  completed will result in our incurring losses and will reduce the funds we can use to complete another business combination.

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  Sourcing of Potential Initial Business Combination Targets

           Certain members of our management team have developed a wide network of professional services contacts and business
  relationships. The members of our board of directors also have significant executive management and public company experience with
  technology related companies and bring additional relationships that further broaden our network.

           This network has provided our management team with a flow of referrals that have resulted in numerous transactions. We
  believe that the network of contacts and relationships of our management team will provide us with an important source of acquisition
  opportunities. In addition, we anticipate that target business candidates will be brought to our attention from various unaffiliated
  sources, including investment market participants, private equity groups, investment banks, consultants, accounting firms and large
  business enterprises.

            Members of our management team and our independent directors will directly or indirectly own founder shares and/or
  placement units following this offering and, accordingly, may have a conflict of interest in determining whether a particular target
  business is an appropriate business with which to effectuate our initial business combination. Further, each of our officers and directors
  may have a conflict of interest with respect to evaluating a particular business combination if the retention or resignation of any such
  officers and directors was included by a target business as a condition to any agreement with respect to our initial business
  combination.

           In addition, each of our officers and directors presently has, and any of them in the future may have additional, fiduciary or
  contractual obligations to other entities pursuant to which such officer or director is or will be required to present a business
  combination opportunity to such entity. In particular, Patrick Orlando, our Chief Executive Officer and Chairman, serves as Chief
  Executive officer and director of Benessere Capital Acquisition Corp. and Eric Swider and Justin Shaner, our director nominees, both
  serve as directors of Benessere Capital Acquisition Corp. Benessere Capital Acquisition Corp. is a special purpose acquisition
  corporation that focuses its search for a business combination on technology-focused middle market and emerging growth companies
  in North, Central and South America, which overlaps with the industry and geographic scope of our search. Mr. Orlando also serves as
  a director of Maquia Capital Acquisition Corp., a special purpose acquisition corporation that initially focuses its search for a business
  combination with technology-focused middle market and emerging growth companies in North America. As of the date of this
  prospectus, neither Benessere Capital Acquisition Corp., nor Maquia Capital Acquisition Corp. has entered into a business
  combination. Further, each of our officers and directors may have a conflict of interest with respect to evaluating a particular business
  combination if the retention or resignation of any such officers and directors was included by a target business as a condition to any
  agreement with respect to our initial business combination.

            In addition, our sponsor and our officers and directors may sponsor or form other special purpose acquisition companies
  similar to ours or may pursue other business or investment ventures during the period in which we are seeking an initial business
  combination. Any such companies, businesses or investments may present additional conflicts of interest in pursuing an initial business
  combination. However, we do not believe that any such potential conflicts would materially affect our ability to complete our initial
  business combination.

  Status as a Public Company

         We believe our structure will make us an attractive business combination partner to target businesses. As a public company, we
  offer a target business an alternative to the traditional initial public offering through a merger or other business combination with us.
  Following an initial business combination, we believe the target business would have greater access to capital and additional means of
  creating management incentives that are better aligned with stockholders’ interests than it would as a private company. A target
  business can further benefit by augmenting its profile among potential new customers and vendors and aid in attracting talented
  employees. In a business combination transaction with us, the owners of the target business may, for example, exchange their shares of
  stock in the target business for our shares of Class A common stock (or shares of a new holding company) or for a combination of our
  shares of Class A common stock and cash, allowing us to tailor the consideration to the specific needs of the sellers.

        Although there are various costs and obligations associated with being a public company, we believe target businesses will find
  this method a more expeditious and cost effective method to becoming a public company than the typical initial public offering. The
  typical initial public offering process takes a significantly longer period of time than the typical business combination transaction
  process, and there are significant expenses in the initial public offering process, including underwriting discounts and commissions,
  marketing and road show efforts that may not be present to the same extent in connection with an initial business combination with us.

       Furthermore, once a proposed initial business combination is completed, the target business will have effectively become public,
  whereas an initial public offering is always subject to the underwriters’ ability to complete the offering, as well as general market

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  conditions, which could delay or prevent the offering from occurring or could have negative valuation consequences. Following an
  initial business combination, we believe the target business would then have greater access to capital and an additional means of
  providing management incentives consistent with stockholders’ interests and the ability to use its shares as currency for acquisitions.
  Being a public company can offer further benefits by augmenting a company’s profile among potential new customers and vendors and
  aid in attracting talented employees.

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        While we believe that our structure and our management team’s backgrounds will make us an attractive business partner, some
  potential target businesses may view our status as a blank check company, such as our lack of an operating history and our ability to
  seek stockholder approval of any proposed initial business combination, negatively.

        We are an “emerging growth company,” as defined in Section 2(a) of the Securities Act, as modified by the JOBS Act. As such,
  we are eligible to take advantage of certain exemptions from various reporting requirements that are applicable to other public
  companies that are not “emerging growth companies” including, but not limited to, not being required to comply with the independent
  registered public accounting firm attestation requirements of Section 404 of the Sarbanes-Oxley Act, reduced disclosure obligations
  regarding executive compensation in our periodic reports and proxy statements, and exemptions from the requirements of holding a
  non-binding advisory vote on executive compensation and stockholder approval of any golden parachute payments not previously
  approved. If some investors find our securities less attractive as a result, there may be a less active trading market for our securities and
  the prices of our securities may be more volatile.

         In addition, Section 107 of the JOBS Act also provides that an “emerging growth company” can take advantage of the extended
  transition period provided in Section 7(a)(2)(B) of the Securities Act for complying with new or revised accounting standards. In other
  words, an “emerging growth company” can delay the adoption of certain accounting standards until those standards would otherwise
  apply to private companies. We intend to take advantage of the benefits of this extended transition period.

        We will remain an emerging growth company until the earlier of (1) the last day of the fiscal year (a) following the fifth
  anniversary of the completion of this offering, (b) in which we have total annual gross revenue of at least $1.07 billion, or (c) in which
  we are deemed to be a large accelerated filer, which means the market value of our Class A common stock that is held by non-affiliates
  exceeds $700 million as of the prior June 30th, and (2) the date on which we have issued more than $1.0 billion in non-convertible debt
  securities during the prior three-year period.

        Additionally, we are a “smaller reporting company” as defined in Rule 10(f)(1) of Regulation S-K. Smaller reporting companies
  may take advantage of certain reduced disclosure obligations, including, among other things, providing only two years of audited
  financial statements. We will remain a smaller reporting company until the last day of the fiscal year in which (1) the market value of
  our common stock held by non-affiliates equals or exceeds $250 million as of the end of the prior June 30th, or (2) our annual revenues
  equaled or exceeded $100 million during such completed fiscal year and the market value of our common stock held by non-affiliates
  exceeds $700 million as of the prior June 30th.

  Financial Position

         With funds available for an initial business combination initially in the amount of $295,500,000, after payment of $10,500,000 of
  deferred underwriting fees (or $339,825,000 after payment of $12,075,000 of deferred underwriting fees if the underwriters’ over-
  allotment option is exercised in full), in each case before fees and expenses associated with our initial business combination (other than
  deferred underwriting fees), we offer a target business a variety of options such as creating a liquidity event for its owners, providing
  capital for the potential growth and expansion of its operations or strengthening its balance sheet by reducing its debt or leverage ratio.
  Because we are able to complete our initial business combination using our cash, debt or equity securities, or a combination of the
  foregoing, we have the flexibility to use the most efficient combination that will allow us to tailor the consideration to be paid to the
  target business to fit its needs and desires. However, we have not taken any steps to secure third party financing and there can be no
  assurance it will be available to us.

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  Effecting Our Initial Business Combination

        We are not presently engaged in, and we will not engage in, any operations for an indefinite period of time following this
  offering. We intend to effectuate our initial business combination using cash from the proceeds of this offering and the sale of the
  placement units, the proceeds of the sale of our shares in connection with our initial business combination (pursuant to backstop
  agreements we may enter into following the consummation of this offering or otherwise), shares issued to the owners of the target, debt
  issued to bank or other lenders or the owners of the target, or a combination of the foregoing. We may seek to complete our initial
  business combination with a company or business that may be financially unstable or in its early stages of development or growth,
  which would subject us to the numerous risks inherent in such companies and businesses.

        If our initial business combination is paid for using equity or debt securities, or not all of the funds released from the trust
  account are used for payment of the consideration in connection with our initial business combination or used for redemptions of our
  Class A common stock, we may apply the balance of the cash released to us from the trust account for general corporate purposes,
  including for maintenance or expansion of operations of the post-transaction company, the payment of principal or interest due on
  indebtedness incurred in completing our initial business combination, to fund the purchase of other companies or for working capital.

        We may seek to raise additional funds through a private offering of debt or equity securities in connection with the completion of
  our initial business combination, and we may effectuate our initial business combination using the proceeds of such offering rather than
  using the amounts held in the trust account. In addition, we intend to target businesses larger than we could acquire with the net
  proceeds of this offering and the sale of the placement units, and may as a result be required to seek additional financing to complete
  such proposed initial business combination. Subject to compliance with applicable securities laws, we would expect to complete such
  financing only simultaneously with the completion of our initial business combination. In the case of an initial business combination
  funded with assets other than the trust account assets, our proxy materials or tender offer documents disclosing the initial business
  combination would disclose the terms of the financing and, only if required by applicable law or stock exchange requirements, we
  would seek stockholder approval of such financing. There are no prohibitions on our ability to raise funds privately, or through loans in
  connection with our initial business combination. At this time, we are not a party to any arrangement or understanding with any third
  party with respect to raising any additional funds through the sale of securities or otherwise.

         We have not, nor has anyone on our behalf, initiated any substantive discussions, directly or indirectly, with any business
  combination target. From the period commencing with our formation through the date of this prospectus, there have been no
  communications or discussions between any of our officers, directors or our sponsor and any of their potential contacts or relationships
  regarding a potential initial business combination. Additionally, we have not engaged or retained any agent or other representative to
  identify or locate any suitable acquisition candidate, to conduct any research or take any measures, directly or indirectly, to locate or
  contact a target business. However, we may contact such targets subsequent to the closing of this offering if we become aware that such
  targets are interested in a potential initial business combination with us and such transaction would be attractive to our stockholders.
  Accordingly, there is no current basis for investors in this offering to evaluate the possible merits or risks of the target business with
  which we may ultimately complete our initial business combination. Although our management will assess the risks inherent in a
  particular target business with which we may combine, we cannot assure you that this assessment will result in our identifying all risks
  that a target business may encounter. Furthermore, some of those risks may be outside of our control, meaning that we can do nothing
  to control or reduce the chances that those risks will adversely impact a target business.

  Sources of Target Businesses

         We anticipate that target business candidates will be brought to our attention from various unaffiliated sources, including
  investment bankers and investment professionals, as a result of being solicited by us by calls or mailings. These sources may also
  introduce us to target businesses in which they think we may be interested on an unsolicited basis, since many of these sources will
  have read this prospectus and know what types of businesses we are targeting. Our officers and directors, as well as our sponsor and
  their affiliates, may also bring to our attention target business candidates that they become aware of through their business contacts as a
  result of formal or informal inquiries or discussions they may have, as well as attending trade shows or conventions. In addition, we
  expect to receive a number of deal flow opportunities that would not otherwise necessarily be available to us as a result of the business
  relationships of our officers and directors and our sponsor and their affiliates. While we do not presently anticipate engaging the
  services of professional firms or other individuals that specialize in business acquisitions on any formal basis, we may engage these
  firms or other individuals in the future, in which event we may pay a finder’s fee, consulting fee, advisory fee or other compensation to
  be determined in an arm’s length negotiation based on the terms of the transaction. We will engage a finder only to the extent our
  management determines that the use of a finder may bring opportunities to us that may not otherwise be available to us or if finders
  approach us on an unsolicited basis with a potential transaction that our management determines is in our best interest to pursue.
  Payment of finder’s fees is customarily tied to completion of a transaction, in which case any such fee will be paid out of the funds held
  in the trust account. In no event, however, will our sponsor or any of our existing officers or directors be paid any finder’s fee,

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  reimbursement, consulting fee, monies in respect of any payment232
                                                                 of a loan or other compensation by the company prior to, or in
  connection with any services rendered for any services they render in order to effectuate, the completion of our initial business
  combination (regardless of the type of transaction that it is). None of our sponsor, executive officers or directors, or any of their
  respective affiliates, will be allowed to receive any compensation, finder’s fees or consulting fees from a prospective business
  combination target in connection with a contemplated initial business combination except as set forth herein. We have agreed to pay
  Benessere Enterprises Inc., an affiliate of our sponsor, a total of $15,000 per month for office space, utilities and secretarial and
  administrative support and to reimburse our sponsor for any out-of-pocket expenses related to identifying, investigating and completing
  an initial business combination. Some of our officers and directors may enter into employment or consulting agreements with the post-
  transaction company following our initial business combination. The presence or absence of any such fees or arrangements will not be
  used as a criterion in our selection process of an initial business combination candidate.

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        We are not prohibited from pursuing an initial business combination with an initial business combination target that is affiliated
  with our sponsor, officers or directors or making the initial business combination through a joint venture or other form of shared
  ownership with our sponsor, officers or directors. In the event we seek to complete our initial business combination with an initial
  business combination target that is affiliated with our sponsor, officers or directors, we, or a committee of independent directors, would
  obtain an opinion from an independent investment banking firm or another independent entity that commonly renders valuation
  opinions that such an initial business combination is fair to our company from a financial point of view. We are not required to obtain
  such an opinion in any other context.

        As more fully discussed in the section of this prospectus entitled “Management — Conflicts of Interest,” if any of our officers or
  directors becomes aware of an initial business combination opportunity that falls within the line of business of any entity to which he
  or she has pre-existing fiduciary or contractual obligations, he or she may be required to present such business combination opportunity
  to such entity prior to presenting such business combination opportunity to us (including Benessere Capital Acquisition Corporation
  and Maquia Capital Acquisition Corporation). Our officers and directors currently have certain relevant fiduciary duties or contractual
  obligations that may take priority over their duties to us.

  Selection of a Target Business and Structuring of our Initial Business Combination

         Nasdaq rules require that we must complete one or more business combinations having an aggregate fair market value of at least
  80% of the value of the assets held in the trust account (excluding the deferred underwriting commissions and taxes payable on the
  interest earned on the trust account) at the time of our signing a definitive agreement in connection with our initial business
  combination. The fair market value of our initial business combination will be determined by our board of directors based upon one or
  more standards generally accepted by the financial community, such as discounted cash flow valuation, a valuation based on trading
  multiples of comparable public businesses or a valuation based on the financial metrics of M&A transactions of comparable
  businesses. If our board of directors is not able to independently determine the fair market value of our initial business combination, we
  will obtain an opinion from an independent investment banking firm or another independent entity that commonly renders valuation
  opinions with respect to the satisfaction of such criteria. While we consider it unlikely that our board of directors will not be able to
  make an independent determination of the fair market value of our initial business combination, it may be unable to do so if it is less
  familiar or experienced with the business of a particular target or if there is a significant amount of uncertainty as to the value of a
  target’s assets or prospects. We do not intend to purchase multiple businesses in unrelated industries in conjunction with our initial
  business combination. Subject to this requirement, our management will virtually have unrestricted flexibility in identifying and
  selecting one or more prospective target businesses, although we will not be permitted to effectuate our initial business combination
  with another blank check company or a similar company with nominal operations.

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         In any case, we will only complete an initial business combination in which we own or acquire 50% or more of the outstanding
  voting securities of the target or otherwise acquire a controlling interest in the target sufficient for it not to be required to register as an
  investment company under the Investment Company Act. If we own or acquire less than 100% of the equity interests or assets of a
  target business or businesses, the portion of such business or businesses that are owned or acquired by the post-transaction company is
  what will be taken into account for purposes of Nasdaq’s 80% fair market value test. There is no basis for investors in this offering to
  evaluate the possible merits or risks of any target business with which we may ultimately complete our initial business combination.

        To the extent we effect our initial business combination with a company or business that may be financially unstable or in its
  early stages of development or growth we may be affected by numerous risks inherent in such company or business. Although our
  management will endeavor to evaluate the risks inherent in a particular target business, we cannot assure you that we will properly
  ascertain or assess all significant risk factors.

        In evaluating a prospective business target, we expect to conduct a thorough due diligence review, which may encompass, among
  other things, meetings with incumbent management and employees, document reviews, interviews of customers and suppliers,
  inspection of facilities, as well as a review of financial and other information that will be made available to us.

         The time required to select and evaluate a target business and to structure and complete our initial business combination, and the
  costs associated with this process, are not currently ascertainable with any degree of certainty. Any costs incurred with respect to the
  identification and evaluation of a prospective target business with which our initial business combination is not ultimately completed
  will result in our incurring losses and will reduce the funds we can use to complete another business combination.

  Lack of Business Diversification

        For an indefinite period of time after the completion of our initial business combination, the prospects for our success may
  depend entirely on the future performance of a single business. Unlike other entities that have the resources to complete business
  combinations with multiple entities in one or several industries, it is probable that we will not have the resources to diversify our
  operations and mitigate the risks of being in a single line of business. In addition, we intend to focus our search for an initial business
  combination in a single industry. By completing our initial business combination with only a single entity, our lack of diversification
  may:

           •    subject us to negative economic, competitive and regulatory developments, any or all of which may have a substantial
                adverse impact on the particular industry in which we operate after our initial business combination, and

           •    cause us to depend on the marketing and sale of a single product or limited number of products or services.

  Limited Ability to Evaluate the Target’s Management Team

         Although we intend to closely scrutinize the management of a prospective target business when evaluating the desirability of
  effecting our initial business combination with that business, our assessment of the target business’ management may not prove to be
  correct. In addition, the future management may not have the necessary skills, qualifications or abilities to manage a public company.
  Furthermore, the future role of members of our management team, if any, in the target business cannot presently be stated with any
  certainty. The determination as to whether any of the members of our management team will remain with the combined company will
  be made at the time of our initial business combination. While it is possible that one or more of our directors will remain associated in
  some capacity with us following our initial business combination, it is unlikely that any of them will devote their full efforts to our
  affairs subsequent to our initial business combination. Moreover, we cannot assure you that members of our management team will
  have significant experience or knowledge relating to the operations of the particular target business.

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        The purpose of any such purchases of shares could be to vote such shares in favor of the initial business combination and thereby
  increase the likelihood of obtaining stockholder approval of the initial business combination or to satisfy a closing condition in an
  agreement with a target that requires us to have a minimum net worth or a certain amount of cash at the closing of our initial business
  combination, where it appears that such requirement would otherwise not be met. The purpose of any such purchases of public
  warrants could be to reduce the number of public warrants outstanding or to vote such warrants on any matters submitted to the warrant
  holders for approval in connection with our initial business combination. Any such purchases of our securities may result in the
  completion of our initial business combination that may not otherwise have been possible. In addition, if such purchases are made, the
  public “float” of our shares of Class A common stock or warrants may be reduced and the number of beneficial holders of our
  securities may be reduced, which may make it difficult to maintain or obtain the quotation, listing or trading of our securities on a
  national securities exchange.

         Our sponsor, officers, directors and/or their affiliates anticipate that they may identify the stockholders with whom our sponsor,
  officers, directors or their affiliates may pursue privately negotiated purchases by either the stockholders contacting us directly or by
  our receipt of redemption requests submitted by stockholders following our mailing of proxy materials in connection with our initial
  business combination. To the extent that our sponsor, officers, directors or their affiliates enter into a private purchase, they would
  identify and contact only potential selling stockholders who have expressed their election to redeem their shares for a pro rata share of
  the trust account or vote against our initial business combination, whether or not such stockholder has already submitted a proxy with
  respect to our initial business combination. Our sponsor, officers, directors or their affiliates will only purchase public shares if such
  purchases comply with Regulation M under the Exchange Act and the other federal securities laws.

        Any purchases by our sponsor, officers, directors and/or their affiliates who are affiliated purchasers under Rule 10b-18 under the
  Exchange Act will only be made to the extent such purchases are able to be made in compliance with Rule 10b-18, which is a safe
  harbor from liability for manipulation under Section 9(a)(2) and Rule 10b-5 of the Exchange Act. Rule 10b-18 has certain technical
  requirements that must be complied with in order for the safe harbor to be available to the purchaser. Our sponsor, officers, directors
  and/or their affiliates will not make purchases of common stock if the purchases would violate Section 9(a)(2) or Rule 10b-5 of the
  Exchange Act. We expect that any such purchases will be reported pursuant to Section 13 and Section 16 of the Exchange Act to the
  extent such purchases are subject to such reporting requirements.

  Redemption Rights for Public Stockholders upon Completion of our Initial Business Combination

         We will provide our public stockholders with the opportunity to redeem all or a portion of their shares of Class A common stock
  upon the completion of our initial business combination at a per-share price, payable in cash, equal to the aggregate amount then on
  deposit in the trust account as of two business days prior to the consummation of the initial business combination including interest
  earned on the funds held in the trust account and not previously released to us to pay our taxes, divided by the number of then
  outstanding public shares, subject to the limitations described herein. The amount in the trust account is initially anticipated to be
  approximately $10.20 per public share. The per-share amount we will distribute to investors who properly redeem their shares will not
  be reduced by the deferred underwriting commissions we will pay to the underwriters. Our sponsor, officers and directors have entered
  into a letter agreement with us, pursuant to which they have agreed to waive their redemption rights with respect to any founder shares
  and placement shares and any public shares held by them in connection with the completion of our initial business combination. Our
  anchor investors have entered into investment agreements with us and our sponsor, pursuant to which they have agreed to waive their
  redemption rights with respect to any founder shares held by them in connection with the completion of our initial business
  combination.


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  Manner of Conducting Redemptions

         We will provide our public stockholders with the opportunity to redeem all or a portion of their public shares of Class A common
  stock upon the completion of our initial business combination either (i) in connection with a stockholder meeting called to approve the
  initial business combination or (ii) by means of a tender offer. The decision as to whether we will seek stockholder approval of a
  proposed initial business combination or conduct a tender offer will be made by us, solely in our discretion, and will be based on a
  variety of factors such as the timing of the transaction and whether the terms of the transaction would require us to seek stockholder
  approval under the law or stock exchange listing requirement. Under Nasdaq rules, asset acquisitions and stock purchases would not
  typically require stockholder approval while direct mergers with our company where we do not survive and any transactions where we
  issue more than 20% of our outstanding common stock or seek to amend our amended and restated certificate of incorporation would
  require stockholder approval. If we structure an initial business combination with a target company in a manner that requires
  stockholder approval, we will not have discretion as to whether to seek a stockholder vote to approve the proposed initial business
  combination. We may conduct redemptions without a stockholder vote pursuant to the tender offer rules of the SEC unless stockholder
  approval is required by law or stock exchange listing requirements or we choose to seek stockholder approval for business or other
  legal reasons. So long as we obtain and maintain a listing for our securities on Nasdaq, we will be required to comply with such rules.

        If stockholder approval of the transaction is required by law or stock exchange listing requirement, or we decide to obtain
  stockholder approval for business or other legal reasons, we will, pursuant to our amended and restated certificate of incorporation:

           •   conduct the redemptions in conjunction with a proxy solicitation pursuant to Regulation 14A of the Exchange Act, which
               regulates the solicitation of proxies, and not pursuant to the tender offer rules, and

           •   file proxy materials with the SEC.

        In the event that we seek stockholder approval of our initial business combination, we will distribute proxy materials and, in
  connection therewith, provide our public stockholders with the redemption rights described above upon completion of the initial
  business combination.

         If we seek stockholder approval, unless otherwise required by applicable law, regulation or stock exchange rules, we will
  complete our initial business combination only if a majority of the outstanding shares of common stock present and entitled to vote at
  the meeting to approve the initial business combination when a quorum is present are voted in favor of the initial business combination.
  A quorum for such meeting will consist of the holders present in person or by proxy of shares of outstanding capital stock of the
  Company representing a majority of the voting power of all outstanding shares of capital stock of the Company entitled to vote at such
  meeting. Our initial stockholders will count toward this quorum and pursuant to the letter agreement, our sponsor, officers and directors
  have agreed to vote any founder shares and placement shares held by them and any public shares acquired during or after this offering
  (including in open market and privately negotiated transactions) in favor of our initial business combination. Our anchor investors have
  agreed to vote any founder shares held by them in favor of our initial business combination. For purposes of seeking approval of the
  majority of our outstanding shares of common stock voted, non-votes will have no effect on the approval of our initial business
  combination once a quorum is obtained. As a result, in addition to our initial stockholders’ founder shares and placement shares and
  our anchor investors’ founder shares (if any), we would need 844,420, or 2.8%, of the 30,000,000 public shares sold in this offering to
  be voted in favor of an initial business combination (assuming only the minimum number of shares representing a quorum are voted) in
  order to have our initial business combination approved (assuming the underwriters’ over-allotment option is not exercised, that the
  initial stockholders do not purchase any units in this offering or units or shares in the after-market and that the 150,000 representative
  shares are voted in favor of the transaction). In the event that our anchor investors purchase all of the units that they have collectively
  expressed an interest in purchasing in this offering and vote their public shares in favor of our initial business combination, no
  affirmative votes from other public stockholders would be required to approve our initial business combination. However, because our
  anchor investors are not obligated to continue owning any public shares following the closing and are not obligated to vote any public
  shares in favor of our initial business combination, we cannot assure you that any of these anchor investors will be stockholders at the
  time our stockholders vote on our initial business combination, and, if they are stockholders, we cannot assure you as to how such
  anchor investors will vote on any business combination. We intend to give approximately 30 days (but not less than 10 days nor more
  than 60 days) prior written notice of any such meeting, if required, at which a vote shall be taken to approve our initial business
  combination. These quorum and voting thresholds, and the voting agreements of our initial stockholders, may make it more likely that
  we will consummate our initial business combination. Each public stockholder may elect to redeem its public shares irrespective of
  whether they vote for or against the proposed transaction.


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       If a stockholder vote is not required and we do not decide to hold a stockholder vote for business or other legal reasons, we will,
  pursuant to our amended and restated certificate of incorporation:

           •   conduct the redemptions pursuant to Rule 13e-4 and Regulation 14E of the Exchange Act, which regulate issuer tender
               offers, and

           •   file tender offer documents with the SEC prior to completing our initial business combination which contain substantially
               the same financial and other information about the initial business combination and the redemption rights as is required
               under Regulation 14A of the Exchange Act, which regulates the solicitation of proxies.

        Upon the public announcement of our initial business combination, we or our sponsor will terminate any plan established in
  accordance with Rule 10b5-1 to purchase shares of our Class A common stock in the open market if we elect to redeem our public
  shares through a tender offer, to comply with Rule 14e-5 under the Exchange Act.

        In the event we conduct redemptions pursuant to the tender offer rules, our offer to redeem will remain open for at least 20
  business days, in accordance with Rule 14e-1(a) under the Exchange Act, and we will not be permitted to complete our initial business
  combination until the expiration of the tender offer period. In addition, we will not redeem any public shares unless our net tangible
  assets will be at least $5,000,001 either immediately prior to or upon consummation of our initial business combination and after
  payment of underwriters’ fees and commissions (so that we are not subject to the SEC’s “penny stock” rules) or any greater net
  tangible asset or cash requirement which may be contained in the agreement relating to our initial business combination. If public
  stockholders tender more shares than we have offered to purchase, we will withdraw the tender offer and not complete the initial
  business combination.

        Our amended and restated certificate of incorporation will provide that we may not redeem our public shares unless our net
  tangible assets are at least $5,000,001 either immediately prior to or upon consummation of our initial business combination and after
  payment of underwriters’ fees and commissions (so that we are not subject to the SEC’s “penny stock” rules) or any greater net
  tangible asset or cash requirement which may be contained in the agreement relating to our initial business combination. For example,
  the proposed initial business combination may require: (i) cash consideration to be paid to the target or its owners, (ii) cash to be
  transferred to the target for working capital or other general corporate purposes or (iii) the retention of cash to satisfy other conditions
  in accordance with the terms of the proposed initial business combination. In the event the aggregate cash consideration we would be
  required to pay for all shares of Class A common stock that are validly submitted for redemption plus any amount required to satisfy
  cash conditions pursuant to the terms of the proposed initial business combination exceed the aggregate amount of cash available to us,
  we will not complete the initial business combination or redeem any shares, and all shares of Class A common stock submitted for
  redemption will be returned to the holders thereof.

  Limitation on Redemption upon Completion of our Initial Business Combination if we Seek Stockholder Approval

         Notwithstanding the foregoing, if we seek stockholder approval of our initial business combination and we do not conduct
  redemptions in connection with our initial business combination pursuant to the tender offer rules, our amended and restated certificate
  of incorporation will provide that a public stockholder, together with any affiliate of such stockholder or any other person with whom
  such stockholder is acting in concert or as a “group” (as defined under Section 13 of the Exchange Act), will be restricted from seeking
  redemption rights with respect to more than an aggregate of 15% of the shares sold in this offering, which we refer to as the “Excess
  Shares.” Such restriction shall also be applicable to our affiliates. We believe this restriction will discourage stockholders from
  accumulating large blocks of shares, and subsequent attempts by such holders to use their ability to exercise their redemption rights
  against a proposed initial business combination as a means to force us or our management to purchase their shares at a significant
  premium to the then-current market price or on other undesirable terms. By limiting our stockholders’ ability to redeem no more than
  15% of the shares sold in this offering without our prior consent, we believe we will limit the ability of a small group of stockholders to
  unreasonably attempt to block our ability to complete our initial business combination, particularly in connection with an initial
  business combination with a target that requires as a closing condition that we have a minimum net worth or a certain amount of cash.
  However, we would not be restricting our stockholders’ ability to vote all of their shares (including Excess Shares) for or against our
  initial business combination.

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  Tendering Stock Certificates in Connection with Redemption Rights

         We may require our public stockholders seeking to exercise their redemption rights, whether they are record holders or hold their
  shares in “street name,” to either tender their certificates to our transfer agent up to two business days prior to the vote on the proposal
  to approve the initial business combination, or to deliver their shares to the transfer agent electronically using the Depository Trust
  Company’s DWAC (Deposit/Withdrawal At Custodian) System, at the holder’s option. The proxy materials that we will furnish to
  holders of our public shares in connection with our initial business combination will indicate whether we are requiring public
  stockholders to satisfy such delivery requirements. Accordingly, a public stockholder would have up to two days prior to the vote on
  the initial business combination to tender its shares if it wishes to seek to exercise its redemption rights. Given the relatively short
  exercise period, it is advisable for stockholders to use electronic delivery of their public shares.

        There is a nominal cost associated with the above-referenced tendering process and the act of certificating the shares or
  delivering them through the DWAC System. The transfer agent will typically charge the tendering broker $80.00 and it would be up to
  the broker whether or not to pass this cost on to the redeeming holder. However, this fee would be incurred regardless of whether or not
  we require holders seeking to exercise redemption rights to tender their shares. The need to deliver shares is a requirement of
  exercising redemption rights regardless of the timing of when such delivery must be effectuated.

         The foregoing is different from the procedures used by many special purpose acquisition companies. In order to perfect
  redemption rights in connection with their business combinations, many blank check companies would distribute proxy materials for
  the stockholders’ vote on an initial business combination, and a holder could simply vote against a proposed initial business
  combination and check a box on the proxy card indicating such holder was seeking to exercise his or her redemption rights. After the
  initial business combination was approved, the company would contact such stockholder to arrange for him or her to deliver his or her
  certificate to verify ownership. As a result, the stockholder then had an “option window” after the completion of the initial business
  combination during which he or she could monitor the price of the company’s stock in the market. If the price rose above the
  redemption price, he or she could sell his or her shares in the open market before actually delivering his or her shares to the company
  for cancellation. As a result, the redemption rights, to which stockholders were aware they needed to commit before the stockholder
  meeting, would become “option” rights surviving past the completion of the initial business combination until the redeeming holder
  delivered its certificate. The requirement for physical or electronic delivery prior to the meeting ensures that a redeeming holder’s
  election to redeem is irrevocable once the initial business combination is approved.

         Any request to redeem such shares, once made, may be withdrawn at any time up to the date of the stockholder meeting.
  Furthermore, if a holder of a public share delivered its certificate in connection with an election of redemption rights and subsequently
  decides prior to the applicable date not to elect to exercise such rights, such holder may simply request that the transfer agent return the
  certificate (physically or electronically). It is anticipated that the funds to be distributed to holders of our public shares electing to
  redeem their shares will be distributed promptly after the completion of our initial business combination.

        If our initial business combination is not approved or completed for any reason, then our public stockholders who elected to
  exercise their redemption rights would not be entitled to redeem their shares for the applicable pro rata share of the trust account. In
  such case, we will promptly return any certificates delivered by public holders who elected to redeem their shares.

       If our initial proposed initial business combination is not completed, we may continue to try to complete an initial business
  combination with a different target until 12 months (or up to 18 months if we have extended the period of time as described in this
  prospectus) from the closing of this offering.

  Ability to Extend Time to Complete Business Combination

         If we anticipate that we may not be able to consummate our initial business combination within 12 months, the sponsor may, but
  is not obligated to cause our Company to extend the period of time to consummate a business combination two times by an additional
  three months each time (for a total of up to 18 months to complete a business combination). Pursuant to the terms of our amended and
  restated memorandum and articles of association and the trust agreement to be entered into between us and Continental Stock
  Transfer & Trust Company on the date of this prospectus, in order to extend the time available for us to consummate our initial
  business combination, our sponsor, upon five days advance notice prior to the applicable deadline, must deposit into the trust account
  for each three-month extension $3,000,000, or $3,450,000 if the underwriters’ over-allotment option is exercised in full ($0.10 per
  share in either case), on or prior to the date of the applicable deadline. The insiders or their affiliates or designees will receive a non-
  interest bearing, unsecured promissory note equal to the amount of any such deposit that will not be repaid in the event that we are
  unable to close a business combination unless there are funds available outside the trust account to do so. Such notes would either be
  paid upon consummation of our initial business combination, or, at the lender’s discretion, converted upon consummation of our
  business combination into additional private units at a price of $10.00 per unit. In the event that we receive notice from our insiders

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  five days prior to the applicable deadline of their intent to effect an extension, we intend to issue a press release announcing such
  intention at least three days prior to the applicable deadline. In addition, we intend to issue a press release the day after the applicable
  deadline announcing whether or not the funds had been timely deposited. Our insiders and their affiliates or designees are not obligated
  to fund the trust account to extend the time for us to complete our initial business combination. To the extent that some, but not all, of
  our insiders, decide to extend the period of time to consummate our initial business combination, such insiders (or their affiliates or
  designees) may deposit the entire amount required. Any notes issued pursuant to these loans would be in addition to any notes issued
  pursuant to working capital loans made to us.

  Redemption of Public Shares and Liquidation if no Initial Business Combination

         Our amended and restated certificate of incorporation will provide that we will have only 12 months (or up to 18 months if we
  have extended the period of time as described in this prospectus) from the closing of this offering to complete our initial business
  combination. If we are unable to complete our initial business combination within such 12-month period (or up to 18 month period if
  we have extended the period of time as described in this prospectus), we will: (i) cease all operations except for the purpose of winding
  up, (ii) as promptly as reasonably possible but not more than ten business days thereafter, redeem the public shares, at a per-share price,
  payable in cash, equal to the aggregate amount then on deposit in the trust account including interest earned on the funds held in the
  trust account and not previously released to us to pay our taxes (less up to $100,000 of interest to pay dissolution expenses), divided by
  the number of then outstanding public shares, which redemption will completely extinguish public stockholders’ rights as stockholders
  (including the right to receive further liquidating distributions, if any), subject to applicable law, and (iii) as promptly as reasonably
  possible following such redemption, subject to the approval of our remaining stockholders and our board of directors, dissolve and
  liquidate, subject in the case of clauses (ii) and (iii) above to our obligations under Delaware law to provide for claims of creditors and
  the requirements of other applicable law. There will be no redemption rights or liquidating distributions with respect to our warrants,
  which will expire worthless if we fail to complete our initial business combination within the 12-month time period (or up to 18 month
  period if we have extended the period of time as described in this prospectus).

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        Our sponsor, officers, directors and director nominees will enter into a letter agreement with us, pursuant to which they will
  waive their rights to liquidating distributions from the trust account with respect to any founder shares and placement shares held by
  them if we fail to complete our initial business combination within 12 months (or up to 18 months if we have extended the period of
  time as described in this prospectus) from the closing of this offering. However, if our sponsor, officers or directors acquire public
  shares in or after this offering, they will be entitled to liquidating distributions from the trust account with respect to such public shares
  if we fail to complete our initial business combination within 12 months (or up to 18 months if we have extended the period of time as
  described in this prospectus) from the closing of this offering.

        Our sponsor, officers and directors have agreed, pursuant to a written agreement with us, that they will not propose any
  amendment to our amended and restated certificate of incorporation (i) to modify the substance or timing of our obligation to allow
  redemption in connection with our initial business combination or certain amendments to our charter prior thereto or to redeem 100%
  of our public shares if we do not complete our initial business combination within 12 months (or up to 18 months if we have extended
  the period of time as described in this prospectus) from the closing of this offering or (ii) with respect to any other provision relating to
  stockholders’ rights or pre-initial business combination activity, unless we provide our public stockholders with the opportunity to
  redeem their shares of Class A common stock upon approval of any such amendment at a per-share price, payable in cash, equal to the
  aggregate amount then on deposit in the trust account including interest earned on the funds held in the trust account and not previously
  released to us to pay our taxes divided by the number of then outstanding public shares. However, we may not redeem our public
  shares unless our net tangible assets are at least $5,000,001 either immediately prior to or upon consummation of our initial business
  combination and after payment of underwriters’ fees and commissions (so that we are not subject to the SEC’s “penny stock” rules). If
  this optional redemption right is exercised with respect to an excessive number of public shares such that we cannot satisfy the net
  tangible asset requirement (described above), we would not proceed with the amendment or the related redemption of our public shares
  at such time.

        We expect that all costs and expenses associated with implementing our plan of dissolution, as well as payments to any creditors,
  will be funded from amounts remaining out of the approximately $1,435,000 of proceeds held outside the trust account, although we
  cannot assure you that there will be sufficient funds for such purpose. We will depend on sufficient interest being earned on the
  proceeds held in the trust account to pay any tax obligations we may owe. However, if those funds are not sufficient to cover the costs
  and expenses associated with implementing our plan of dissolution, to the extent that there is any interest accrued in the trust account
  not required to pay taxes, we may request the trustee to release to us an additional amount of up to $70,000 of such accrued interest to
  pay those costs and expenses.

         If we were to expend all of the net proceeds of this offering and the sale of the placement units, other than the proceeds deposited
  in the trust account, and without taking into account interest, if any, earned on the trust account, the per-share redemption amount
  received by stockholders upon our dissolution would be approximately $10.20. The proceeds deposited in the trust account could,
  however, become subject to the claims of our creditors which would have higher priority than the claims of our public stockholders.
  We cannot assure you that the actual per-share redemption amount received by stockholders will not be substantially less than $10.20.
  Under Section 281(b) of the DGCL, our plan of dissolution must provide for all claims against us to be paid in full or make provision
  for payments to be made in full, as applicable, if there are sufficient assets. These claims must be paid or provided for before we make
  any distribution of our remaining assets to our stockholders. While we intend to pay such amounts, if any, we cannot assure you that we
  will have funds sufficient to pay or provide for all creditors’ claims.

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         Although we will seek to have all vendors, service providers, prospective target businesses or other entities with which we do
  business execute agreements with us waiving any right, title, interest or claim of any kind in or to any monies held in the trust account
  for the benefit of our public stockholders, there is no guarantee that they will execute such agreements or even if they execute such
  agreements that they would be prevented from bringing claims against the trust account including but not limited to fraudulent
  inducement, breach of fiduciary responsibility or other similar claims, as well as claims challenging the enforceability of the waiver, in
  each case in order to gain an advantage with respect to a claim against our assets, including the funds held in the trust account. If any
  third party refuses to execute an agreement waiving such claims to the monies held in the trust account, our management will perform
  an analysis of the alternatives available to it and will only enter into an agreement with a third party that has not executed a waiver if
  management believes that such third party’s engagement would be significantly more beneficial to us than any alternative. Examples of
  possible instances where we may engage a third party that refuses to execute a waiver include the engagement of a third party
  consultant whose particular expertise or skills are believed by management to be significantly superior to those of other consultants that
  would agree to execute a waiver or in cases where management is unable to find a service provider willing to execute a waiver.
  Marcum LLP, our independent registered public accounting firm, and the underwriters of the offering, will not execute agreements with
  us waiving such claims to the monies held in the trust account.

         In addition, there is no guarantee that such entities will agree to waive any claims they may have in the future as a result of, or
  arising out of, any negotiations, contracts or agreements with us and will not seek recourse against the trust account for any reason. Our
  sponsor has agreed that it will be liable to us if and to the extent any claims by a third party for services rendered or products sold to us,
  or a prospective target business with which we have entered into a written letter of intent, confidentiality or similar agreement or
  business combination agreement, reduce the amount of funds in the trust account to below the lesser of (i) $10.20 per public share and
  (ii) the actual amount per public share held in the trust account as of the date of the liquidation of the trust account, if less than $10.20
  per share due to reductions in the value of the trust assets, less taxes payable, provided that such liability will not apply to any claims
  by a third party or prospective target business who executed a waiver of any and all rights to the monies held in the trust account
  (whether or not such waiver is enforceable) nor will it apply to any claims under our indemnity of the underwriters of this offering
  against certain liabilities, including liabilities under the Securities Act. However, we have not asked our sponsor to reserve for such
  indemnification obligations, nor have we independently verified whether our sponsor has sufficient funds to satisfy its indemnity
  obligations and believe that our sponsor’s only assets are securities of our company. Therefore, we cannot assure you that our sponsor
  would be able to satisfy those obligations. None of our officers or directors will indemnify us for claims by third parties including,
  without limitation, claims by vendors and prospective target businesses.

        In the event that the proceeds in the trust account are reduced below (i) $10.20 per public share or (ii) such lesser amount per
  public share held in the trust account as of the date of the liquidation of the trust account, due to reductions in value of the trust assets,
  in each case net of the amount of interest which may be withdrawn to pay taxes, and our sponsor asserts that it is unable to satisfy its
  indemnification obligations or that it has no indemnification obligations related to a particular claim, our independent directors would
  determine whether to take legal action against our sponsor to enforce its indemnification obligations. While we currently expect that
  our independent directors would take legal action on our behalf against our sponsor to enforce its indemnification obligations to us, it is
  possible that our independent directors in exercising their business judgment may choose not to do so if, for example, the cost of such
  legal action is deemed by the independent directors to be too high relative to the amount recoverable or if the independent directors
  determine that a favorable outcome is not likely. We have not asked our sponsor to reserve for such indemnification obligations and we
  cannot assure you that our sponsor would be able to satisfy those obligations. Accordingly, we cannot assure you that due to claims of
  creditors the actual value of the per-share redemption price will not be less than $10.20 per public share.

        We will seek to reduce the possibility that our sponsor will have to indemnify the trust account due to claims of creditors by
  endeavoring to have all vendors, service providers, prospective target businesses or other entities with which we do business execute
  agreements with us waiving any right, title, interest or claim of any kind in or to monies held in the trust account. Our sponsor will also
  not be liable as to any claims under our indemnity of the underwriters of this offering against certain liabilities, including liabilities
  under the Securities Act. We will have access to up to approximately $1,435,000 from the proceeds of this offering and the sale of the
  placement units with which to pay any such potential claims (including costs and expenses incurred in connection with our liquidation,
  currently estimated to be no more than approximately $100,000). In the event that we liquidate and it is subsequently determined that
  the reserve for claims and liabilities is insufficient, stockholders who received funds from our trust account could be liable for claims
  made by creditors. In the event that our offering expenses exceed our estimate of $556,090, we may fund such excess with funds from
  the funds not to be held in the trust account. In such case, the amount of funds we intend to be held outside the trust account would
  decrease by a corresponding amount. Conversely, in the event that the offering expenses are less than our estimate of $556,090, the
  amount of funds we intend to be held outside the trust account would increase by a corresponding amount.

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         Under the DGCL, stockholders may be held liable for claims by third parties against a corporation to the extent of distributions
  received by them in a dissolution. The pro rata portion of our trust account distributed to our public stockholders upon the redemption
  of our public shares in the event we do not complete our initial business combination within 12 months (or up to 18 months, if we
  extend the time to complete a business combination as described in this prospectus) from the closing of this offering may be considered
  a liquidating distribution under Delaware law. If the corporation complies with certain procedures set forth in Section 280 of the DGCL
  intended to ensure that it makes reasonable provision for all claims against it, including a 60-day notice period during which any third-
  party claims can be brought against the corporation, a 90-day period during which the corporation may reject any claims brought, and
  an additional 150-day waiting period before any liquidating distributions are made to stockholders, any liability of stockholders with
  respect to a liquidating distribution is limited to the lesser of such stockholder’s pro rata share of the claim or the amount distributed to
  the stockholder, and any liability of the stockholder would be barred after the third anniversary of the dissolution.

         Furthermore, if the pro rata portion of our trust account distributed to our public stockholders upon the redemption of our public
  shares in the event we do not complete our initial business combination within 12 months (or up to 18 months, if we extend the time to
  complete a business combination as described in this prospectus) from the closing of this offering, is not considered a liquidating
  distribution under Delaware law and such redemption distribution is deemed to be unlawful (potentially due to the imposition of legal
  proceedings that a party may bring or due to other circumstances that are currently unknown), then pursuant to Section 174 of the
  DGCL, the statute of limitations for claims of creditors could then be six years after the unlawful redemption distribution, instead of
  three years, as in the case of a liquidating distribution. If we are unable to complete our initial business combination within 12 months
  (or up to 18 months if we have extended the period of time as described in this prospectus) from the closing of this offering, we will:
  (i) cease all operations except for the purpose of winding up, (ii) as promptly as reasonably possible but not more than ten business
  days thereafter, redeem the public shares, at a per-share price, payable in cash, equal to the aggregate amount then on deposit in the
  trust account including interest earned on the funds held in the trust account and not previously released to us to pay our taxes (less up
  to $100,000 of interest to pay dissolution expenses), divided by the number of then outstanding public shares, which redemption will
  completely extinguish public stockholders’ rights as stockholders (including the right to receive further liquidating distributions, if
  any), subject to applicable law, and (iii) as promptly as reasonably possible following such redemption, subject to the approval of our
  remaining stockholders and our board of directors, dissolve and liquidate, subject in the case of clauses (ii) and (iii) above to our
  obligations under Delaware law to provide for claims of creditors and the requirements of other applicable law. Accordingly, it is our
  intention to redeem our public shares as soon as reasonably possible following our 18th month and, therefore, we do not intend to
  comply with those procedures. As such, our stockholders could potentially be liable for any claims to the extent of distributions
  received by them (but no more) and any liability of our stockholders may extend well beyond the third anniversary of such date.

         Because we will not be complying with Section 280, Section 281(b) of the DGCL requires us to adopt a plan, based on facts
  known to us at such time that will provide for our payment of all existing and pending claims or claims that may be potentially brought
  against us within the subsequent 10 years. However, because we are a blank check company, rather than an operating company, and our
  operations will be limited to searching for prospective target businesses to acquire, the only likely claims to arise would be from our
  vendors (such as lawyers, investment bankers, etc.) or prospective target businesses. As described above, pursuant to the obligation
  contained in our underwriting agreement, we will seek to have all vendors, service providers, prospective target businesses or other
  entities with which we do business execute agreements with us waiving any right, title, interest or claim of any kind in or to any
  monies held in the trust account. As a result of this obligation, the claims that could be made against us are significantly limited and the
  likelihood that any claim that would result in any liability extending to the trust account is remote. Further, our sponsor may be liable
  only to the extent necessary to ensure that the amounts in the trust account are not reduced below (i) $10.20 per public share or
  (ii) such lesser amount per public share held in the trust account as of the date of the liquidation of the trust account, due to reductions
  in value of the trust assets, in each case net of the amount of interest withdrawn to pay taxes and will not be liable as to any claims
  under our indemnity of the underwriters of this offering against certain liabilities, including liabilities under the Securities Act. In the
  event that an executed waiver is deemed to be unenforceable against a third party, our sponsor will not be responsible to the extent of
  any liability for such third-party claims.

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         If we file a bankruptcy petition or an involuntary bankruptcy petition is filed against us that is not dismissed, the proceeds held in
  the trust account could be subject to applicable bankruptcy law, and may be included in our bankruptcy estate and subject to the claims
  of third parties with priority over the claims of our stockholders. To the extent any bankruptcy claims deplete the trust account, we
  cannot assure you we will be able to return $10.20 per share to our public stockholders. Additionally, if we file a bankruptcy petition or
  an involuntary bankruptcy petition is filed against us that is not dismissed, any distributions received by stockholders could be viewed
  under applicable debtor/creditor and/or bankruptcy laws as either a “preferential transfer” or a “fraudulent conveyance.” As a result, a
  bankruptcy court could seek to recover some or all amounts received by our stockholders. Furthermore, our board of directors may be
  viewed as having breached its fiduciary duty to our creditors and/or may have acted in bad faith, thereby exposing itself and our
  company to claims of punitive damages, by paying public stockholders from the trust account prior to addressing the claims of
  creditors. We cannot assure you that claims will not be brought against us for these reasons.

         Our public stockholders will be entitled to receive funds from the trust account only upon the earlier to occur of: (i) the
  completion of our initial business combination, (ii) the redemption of any public shares properly tendered in connection with a
  stockholder vote to amend any provisions of our amended and restated certificate of incorporation (A) to modify the substance or
  timing of our obligation to allow redemption in connection with our initial business combination or certain amendments to our charter
  prior thereto or to redeem 100% of our public shares if we do not complete our initial business combination within 12 months (or up to
  18 months if we have extended the period of time as described in this prospectus) from the closing of this offering or (B) with respect
  to any other provision relating to stockholders’ rights or pre-initial business combination activity, and (iii) the redemption of all of our
  public shares if we are unable to complete our business combination within 12 months (or up to 18 months if we have extended the
  period of time as described in this prospectus) from the closing of this offering, subject to applicable law. In no other circumstances
  will a stockholder have any right or interest of any kind to or in the trust account. In the event we seek stockholder approval in
  connection with our initial business combination, a stockholder’s voting in connection with the initial business combination alone will
  not result in a stockholder’s redeeming its shares to us for an applicable pro rata share of the trust account. Such stockholder must have
  also exercised its redemption rights as described above. These provisions of our amended and restated certificate of incorporation, like
  all provisions of our amended and restated certificate of incorporation, may be amended with a stockholder vote.

  Comparison of Redemption or Purchase Prices in Connection with Our Initial Business Combination and if We Fail to Complete
  Our Initial Business Combination

         The following table compares the redemptions and other permitted purchases of public shares that may take place in connection
  with the completion of our initial business combination and if we are unable to complete our initial business combination within 12
  months (or up to 18 months, if we extend the time to complete a business combination as described in this prospectus) from the closing
  of this offering.

                           Redemptions in Connection                  Other Permitted Purchases of               Redemptions if we fail to
                             with our Initial Business                          Public Shares                       Complete an Initial
                                   Combination                             by us or our Affiliates                 Business Combination
  Calculation of     Redemptions at the time of our initial          If we seek stockholder approval        If we are unable to complete our
    redemption price business combination may be made                of our initial business                initial business combination within
                     pursuant to a tender offer or in                combination, our sponsor,              12 months (or up to 18 months if
                     connection with a stockholder vote. The         directors, officers or their           we have extended the period of
                     redemption price will be the same               affiliates may purchase shares in      time as described in this
                     whether we conduct redemptions                  privately negotiated transactions      prospectus) from the closing of
                     pursuant to a tender offer or in                or in the open market prior to or      this offering, we will redeem all
                     connection with a stockholder vote. In          following completion of our            public shares at a per-share price,
                     either case, our public stockholders may        initial business combination.          payable in cash, equal to the
                     redeem their public shares for cash             There is no limit to the prices that   aggregate amount, then on deposit
                     equal to the aggregate amount then on           our sponsor, directors, officers or    in the trust account (which is
                     deposit in the trust account as of two          their affiliates may pay in these      initially anticipated to be $10.20
                     business days prior to the                      transactions.                          per public share) including interest
                     consummation of the initial business                                                   earned on the funds held in the
                     combination (which is initially                                                        trust account and not previously
                     anticipated to be $10.20 per public                                                    released to us to pay our taxes
                     share), including interest earned on the                                               (less up to $100,000 of interest to
                     funds held in the trust account and not                                                pay dissolution expenses), divided
                     previously released to us to pay our                                                   by the number of then outstanding
                     taxes divided by the number of then                                                    public shares.
                     outstanding public shares, subject to the

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                         limitation that no redemptions will take 232
                         place if all of the redemptions would
                         cause our net tangible assets to be less
                         than $5,000,001 as described elsewhere
                         in this prospectus and any limitations
                         (including but not limited to cash
                         requirements) agreed to in connection
                         with the negotiation of terms of a
                         proposed initial business combination.

  Impact to              The redemptions in connection with our     If the permitted purchases        The redemption of our public
    remaining            initial business combination will reduce   described above are made there    shares if we fail to complete our
    stockholders         the book value per share for our           would be no impact to our         initial business combination will
                         remaining stockholders, who will bear      remaining stockholders because    reduce the book value per share for
                         the burden of the deferred underwriting    the purchase price would not be   the shares held by our initial
                         commissions and taxes payable.             paid by us.                       stockholders, who will be our only
                                                                                                      remaining stockholders after such
                                                                                                      redemptions.

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                                                    Terms of Our Offering                          Terms Under a Rule 419 Offering
  Trading of securities issued         We expect the units will begin trading on or       No trading of the units or the underlying Class A
                                       promptly after the date of this prospectus.        common stock and warrants would be permitted
                                       The Class A common stock and warrants              until the completion of a business combination.
                                       comprising the units will begin separate           During this period, the securities would be held in
                                       trading on the 90th day following the date of      the escrow or trust account.
                                       this prospectus unless the representative
                                       informs us of its decision to allow earlier
                                       separate trading, subject to our having filed
                                       the Current Report on Form 8-K described
                                       below and having issued a press release
                                       announcing when such separate trading will
                                       begin. We will file the Current Report on
                                       Form 8-K promptly after the closing of this
                                       offering, which is anticipated to take place
                                       three business days from the date of this
                                       prospectus. If the underwriters’ over-
                                       allotment option is exercised following the
                                       initial filing of such Current Report on
                                       Form 8-K, an additional Current Report on
                                       Form 8-K will be filed to provide updated
                                       financial information to reflect the exercise of
                                       the underwriters’ over-allotment option.
  Exercise of the warrants             The warrants cannot be exercised until the         The warrants could be exercised prior to the
                                       later of 30 days after the completion of our       completion of a business combination, but
                                       initial business combination and 12 months         securities received and cash paid in connection
                                       from the closing of this offering.                 with the exercise would be deposited in the escrow
                                                                                          or trust account.
  Election to remain an investor       We will provide our public stockholders with       A prospectus containing information pertaining to
                                       the opportunity to redeem their public shares      the business combination required by the SEC
                                       for cash equal to their pro rata share of the      would be sent to each investor. Each investor
                                       aggregate amount then on deposit in the trust      would be given the opportunity to notify the
                                       account as of two business days prior to the       company in writing, within a period of no less than
                                       consummation of our initial business               20 business days and no more than 45 business
                                       combination, including interest earned on the      days from the effective date of a post-effective
                                       funds held in the trust account and not            amendment to the company’s registration
                                       previously released to us to pay our taxes,        statement, to decide if it elects to remain a
                                       upon the completion of our initial business        stockholder of the company or require the return of
                                       combination, subject to the limitations            its investment. If the company has not received the
                                       described herein. We may not be required by        notification by the end of the 45th business day,
                                       applicable law or stock exchange listing           funds and interest or dividends, if any, held in the
                                       requirements to hold a stockholder vote. We        trust or escrow account are automatically returned
                                       intend to give approximately 30 days (but not      to the stockholder. Unless a sufficient number of
                                       less than 10 days nor more than 60 days)           investors elect to remain investors, all funds on
                                       prior written notice of any such meeting, if       deposit in the escrow account must be returned to
                                       required, at which a vote shall be taken to        all of the investors and none of the securities are
                                       approve our initial business combination. If       issued.
                                       we are not required by applicable law or
                                       stock exchange listing requirements and do
                                       not otherwise decide to hold a stockholder
                                       vote, we will, pursuant to our amended and
                                       restated certificate of incorporation, conduct
                                       the redemptions pursuant to the tender offer
                                       rules of the SEC and file tender offer
                                       documents with the SEC which will contain
                                       substantially the same financial and other
                                       information about the initial business
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                                                                 232rights as is
                                       combination and the redemption
                                       required under the SEC’s proxy rules. In the
                                       event we conduct redemptions pursuant to the
                                       tender offer rules, our offer to redeem will
                                       remain open for at least 20 business days, in
                                       accordance with Rule 14e-1(a) under the
                                       Exchange Act, and we will not be permitted
                                       to complete our initial business combination
                                       until the expiration of the tender offer period.
                                       If, however, we hold a stockholder vote, we
                                       will, like many blank check companies, offer
                                       to redeem shares in conjunction with a proxy
                                       solicitation pursuant to the proxy rules.

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  Competition

        In identifying, evaluating and selecting a target business for our initial business combination, we may encounter intense
  competition from other entities having a business objective similar to ours, including other blank check companies (including
  Benessere Capital Acquisition Corporation and Maquia Capital Acquisition Corporation), private equity groups and leveraged buyout
  funds, and operating businesses seeking strategic business combinations. Many of these entities are well established and have extensive
  experience identifying and effecting business combinations directly or through affiliates. Moreover, many of these competitors possess
  greater financial, technical, human and other resources than we do. Our ability to acquire larger target businesses will be limited by our
  available financial resources. This inherent limitation gives others an advantage in pursuing the initial business combination of a target
  business. Furthermore, our obligation to pay cash in connection with our public stockholders who exercise their redemption rights may
  reduce the resources available to us for our initial business combination and our outstanding warrants, and the future dilution they
  potentially represent, may not be viewed favorably by certain target businesses. Either of these factors may place us at a competitive
  disadvantage in successfully negotiating an initial business combination.

  Facilities

       Our executive offices are located at 78 SW 7th Street, Miami, Florida 33130 and our telephone number is ‪(305) 735-1517. Our
  executive offices are provided to us by Benessere Enterprises Inc., an affiliate of our sponsor. Commencing on the date of this
  prospectus, we have agreed to pay Benessere Enterprises Inc. a total of $15,000 per month for office space, utilities and secretarial and
  administrative support. We consider our current office space adequate for our current operations.

  Employees

        We currently have two officers. These individuals are not obligated to devote any specific number of hours to our matters but
  they intend to devote as much of their time as they deem necessary, in the exercise of their respective business judgement, to our affairs
  until we have completed our initial business combination. The amount of time they will devote in any time period will vary based on
  whether a target business has been selected for our initial business combination and the stage of the initial business combination
  process we are in. We do not intend to have any full-time employees prior to the completion of our initial business combination. We do
  not have an employment agreement with any member of our management team.

  Periodic Reporting and Financial Information

        We will register our units, Class A common stock and warrants under the Exchange Act and have reporting obligations, including
  the requirement that we file annual, quarterly and current reports with the SEC. In accordance with the requirements of the Exchange
  Act, our annual reports will contain financial statements audited and reported on by our independent registered public accountants.

        We will provide stockholders with audited financial statements of the prospective target business as part of the tender offer
  materials or proxy solicitation materials sent to stockholders to assist them in assessing the target business. In all likelihood, these
  financial statements will need to be prepared in accordance with, or reconciled to, GAAP, or IFRS, depending on the circumstances,
  and the historical financial statements may be required to be audited in accordance with the standards of the PCAOB. These financial
  statement requirements may limit the pool of potential targets we may conduct an initial business combination with because some
  targets may be unable to provide such statements in time for us to disclose such statements in accordance with federal proxy rules and
  complete our initial business combination within the prescribed time frame. We cannot assure you that any particular target business
  identified by us as a potential business combination candidate will have financial statements prepared in accordance with GAAP or that
  the potential target business will be able to prepare its financial statements in accordance with the requirements outlined above. To the
  extent that these requirements cannot be met, we may not be able to acquire the proposed target business. While this may limit the pool
  of potential business combination candidates, we do not believe that this limitation will be material.

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                                                             MANAGEMENT

  Officers, Directors and Director Nominees

        Our officers, directors and director nominees are as follows:

  Name                                      Age                                             Position
  Patrick Orlando                           49     Chairman and Chief Executive Officer
  Luis Orleans-Braganza                     52     Chief Financial Officer
  Lee Jacobson                              55     Director
  Bruce J. Garelick                         51     Director Nominee
  Justin Shaner                             39     Director Nominee
  Eric Swider                               47     Director Nominee
  Rodrigo Veloso                            41     Director Nominee

        Patrick Orlando has served as our Chairman and Chief Executive Officer since May 2021. Mr. Orlando has been serving as
  Chief Executive Officer of Yunhong International, a publicly listed special acquisition purpose corporation since January 2020
  (Nasdaq: ZGYH) and as Chief Executive Officer of Benessere Capital Acquisition Corp. a publicly listed special acquisition purpose
  corporation since September 2020. He has also been serving as a director of Maquia Capital Acquisition Corp., a special purpose
  acquisition corporation, since February 2021. Mr. Orlando is Chief Executive Officer of Benessere Capital, LLC, an investment
  consulting and investment banking firm he founded in Miami in October 2012. At Benessere Capital, LLC, he has advised on
  fundraising, capital deployment, mergers and acquisitions, private placements, and products marketing. From March 2014 to August
  2018, Mr. Orlando also served as the Chief Financial Officer of Sucro Can Sourcing LLC, a sugar trading company he co-founded,
  where he managed all financial matters including insurance and banking relationships. From November 2014 to August 2018, Mr.
  Orlando served as the Vice President of Sucro Can International LLC, a sugar processing company, where he focused on compliance,
  finance, and processing technology. From March 2011 to March 2014, Mr. Orlando served as the Managing Director and the Head of
  Structuring and Derivatives of BT Capital Markets, LLC, a boutique investment bank in Miami, Florida, where he was involved in
  managing global derivatives and structuring activities. From September 2006 to March 2011, Mr. Orlando served in roles including
  Chief Technical Officer and Director of Pure Biofuels Corporation, a renewable fuel corporation headquartered in Houston, Texas with
  operations in Peru. From April 1998 to December 2003, Mr. Orlando served as the Director of Emerging Markets Fixed Income
  Derivatives of Deutsche Bank. Mr. Orlando earned degrees in Mechanical Engineering and Management Science from the
  Massachusetts Institute of Technology. We believe that Mr. Orlando is well-qualified to serve on our board of directors due to his
  extensive investing, science and engineering experience and in particular his experience as CEO and board member of other special
  purpose acquisition companies.

         Luis Orleans-Braganza has served as our Chief Financial Officer since May 2021. Mr. Orleans-Braganza is a businessman and
  currently a member of Brazil’s National Congress, originally elected in 2018, representing the state of São Paulo. He founded Zap Tech
  in February of 2012 and remained there until 2015, during which time Zap Tech developed a mobile payment platform. As the CEO he
  was responsible for all aspects of product design, geo localization and payment protocols. In August of 2005 he founded IKAT do
  Brasil, an automobile and motorcycle company which developed new automotive technology in ignitions. Mr. Braganza was
  responsible for all aspects of general management including team building, business development, research and development and
  capital allocation. Prior to his political and entrepreneurial days, his professional trajectory began in the United States, where he
  harnessed experiences in planning, finance and mergers and acquisitions. Mr. Braganza was part of the sales and operations planning
  effort of Companie de Saint-Gobain, a French multinational, between January of 1994 and December of 1996. Later he extended his
  financial experience at JP Morgan investment banking division in London and at Lazard Frères in New York City. From April 2000 to
  May 2005, he acted as a director at Time Warner’s, AOL Latin America division where he was responsible for managing strategic
  alliances with media and telecom players in multiple countries in the region. Mr. Braganza earned a degree in Business Administration
  from the Fundação Armando Álvares Penteado.

         Lee Jacobson has served as a director since December 2020. Since January 2018, he has been the co-founder and Chief
  Executive Officer of Robot Cache US, Inc., a PC games digital distribution company. From January 2017 to January 2018, Lee was the
  Managing Director of Converge Direct, LLC, a digital advertising agency, where he managed all of the analytics and software
  development operations for its clients. From September 2012 through 2016, Lee was the Chief Executive Officer of Apmetrix
  Analytics Inc., which liquidated its assets in 2019 in a Chapter 7 bankruptcy proceeding. From September 2009 to September 2012,
  Lee was a Senior Vice President, Licensing and Digital Publishing for Atari, where he was responsible for global licensing activities
  for all consumer products and interactive categories for the Atari brand and global publishing operations for the console and mobile
  business units. From August 1998 to August 2009, Lee was a Vice President, Business Development and Licensing, for Midway
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  Games Inc., during which time he managed the worldwide licensing and business development functions. Prior to 1998, Lee was a
  Director of Business Development for Virgin Interactive Entertainment beginning in January 1997. We believe Mr. Jacobson is well-
  qualified to serve as a member of our board of directors due to his experience in the video game and digital distribution sector, as well
  as for his extensive career in management positions.

        Bruce J. Garelick will serve as our director upon the effectiveness of the registration statement of which this prospectus forms a
  part. Mr. Garelick is a venture capitalist/entrepreneur/c-level executive and disruptive technology investing enthusiast. Since August
  2020, he has served as the chief-strategy-officer at Rocket One Capital. From May 2019 to August 2020, he served as Chief Financial
  Officer of Leaf Logix Technologies, Inc., a software company. From 2012 to May 2019, Mr. Garelick was the founder and Managing
  Partner of Garelick Capital Partners LP, a technology hedge fund. Prior thereto, from January 2005 to 2012, Mr. Garelick was a
  portfolio manager at Adge Capital LP. Mr. Garelick has dedicated his career to investing, molding, and guiding transformative growth
  technology companies. He has managed one of the largest technology hedge fund pools of capital in the world for a former Harvard
  University endowment investment manager to starting his own hedge fund, which grew into one of the top dedicated technology hedge
  funds in the world. He has since transitioned his investment focus and managerial skills to the private technology world, where he
  served as a lead investor and CFO of an industry defining software company to his current venture capital focus on early-stage
  technology companies at Rocket One Capital. Mr. Garelick received his MBA from The Wharton School at University of Pennsylvania
  and his bachelor’s degree at Vanderbilt University. He is a CFA (Chartered Financial Analyst) holder. We believe Mr. Garelick is well-
  qualified to serve as a member of our board of directors due to his experience as an investor and fund manager and growing businesses
  and his contacts and relationships.


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        Justin L. Shaner will serve as our director upon the effectiveness of the registration statement of which this prospectus forms a
  part. Mr. Shaner founded and has been serving as Chief Executive Officer of Shaner Properties LLC, a real estate investment and
  development company, since February 2011. Since February 2021, Mr. Shaner has also served as a director of Benessere Capital
  Acquisition Corp., a special purpose acquisition company. Mr. Shaner has been Vice President of Development for Shaner Hotels LP,
  one of the foremost award-winning hospitality owner-operators and management companies in the hospitality industry, since 2018. Mr.
  Shaner has been serving as the Chief Executive Officer of Sobe Brooke Studios LLC, an independent film production company, since
  October 2012. From August 2013 to June 2016, Mr. Shaner served as a Partner and Producer of Radar Pictures in Los Angeles,
  California. From September 2007 to September 2015, Mr. Shaner served as the President and Chief Creative Officer of The JLS
  Agency, an award winning digital marketing agency. Mr. Shaner also serves as a board member for Shaner Ciocco S.r.l. which
  developed and manages the Renaissance Tuscany hotel. Mr. Shaner holds a Bachelor’s degree from the Pennsylvania State University.
  We believe Mr. Shaner is well-qualified to serve as a member of our board of directors due to his experience in business strategy, board
  experience, and experience investing in the technology sector.

        Eric Swider will serve as our director upon the effectiveness of the registration statement of which this prospectus forms a part.
  Mr. Swider has been serving as the Chief Executive Officer of RUBIDEX since January 2020, a start-up company focusing on data
  security. Since February 2021, Mr. Swider has also served as a director of Benessere Capital Acquisition Corp., a special purpose
  acquisition company. Mr. Swider founded Renatus Advisors and has been serving as the Partner of Renatus LLC since June 2016,
  where he is responsible for FEMA grant management and government advisory services. From September 2016 to January 2018, Mr.
  Swider served as the Managing Director of Great Bay Global where he oversaw the launch of a new business division focused on
  investing in alternative strategies. From December 2014 to June 2016, Mr. Swider served as the Managing Director of OHorizons
  Global, where he oversaw expansion of a new investment team and was responsible for working on a global basis to expand its client
  base and investment portfolio. From February 2010 to December 2015, Mr. Swider served as the Managing Director of Oceano Beach
  Resorts, where he was responsible for growing its new property and resort management group. Mr. Swider received his education in
  Mechanics Engineering and Nuclear Science Studies at US Naval Engineering and Nuclear A Schools, an intensive two-year program
  studying nuclear physics, heat transfer and fluid flow, advanced mathematical practices and engineering principles. We believe Mr.
  Swider is well-qualified to serve as a member of our board of directors due to his experience in business strategy, international
  expertise, and his contacts and relationships.

        Rodrigo Veloso will serve as our director upon the effectiveness of the registration statement of which this prospectus forms a
  part. Mr. Veloso was the founder and served as Chief Executive Officer of O.N.E. Coconut Water from 2005 to 2012, one of the
  original three ready-to-drink coconut water beverage companies. Mr. Veloso led the growth of the O.N.E. brand into a multi-million
  dollar business with distribution in over 25,000 retail stores in the United States and Canada. Mr. Veloso secured strategic and private
  equity investors for the company – PepsiCo and Catterton Partners, respectively, which led to PepsiCo’s purchase of O.N.E. Coconut
  Water in 2012. Mr. Veloso has been serving as the principal of Unik Capital since 2013, a boutique investment firm with investments in
  technology, consumer goods and housing, which currently operates in the United States and Brazil. Mr. Veloso has been serving as the
  board member of Segurar.com since 2012, Brazil’s first online insurance company. Mr. Veloso has been also serving since 2010 as the
  Co-Founder of BRIC Chamber, an organization established to encourage people from around the world to meet and talk about the
  development and advancement of programs and services in the fields of investment, entrepreneurship and innovation in Brasil, Russia,
  India, China (“BRIC”) and other emerging countries. We believe that Mr. Veloso is well-qualified to serve on our board of directors
  due to his extensive investment experience and his experience in building businesses and securing investments in them.

  Family Relationships

       There are no family relationships among any of our directors, director nominees or executive officers that are required to be
  disclosed by Regulation S-K.

  Number and Terms of Office of Officers and Directors

         We have two directors and four director nominees. Our board of directors is divided into three classes with only one class of
  directors being elected in each year and each class (except for those directors appointed prior to our first annual meeting of
  stockholders) serving a three-year term. In accordance with Nasdaq corporate governance requirements, we are not required to hold an
  annual meeting until one year after our first fiscal year end following our listing on Nasdaq. The term of office of the first class of
  directors, which will consist of Justin L. Shaner and Rodrigo Veloso will expire at our first annual meeting of stockholders. The term of
  office of the second class of directors, which will consist of Eric Swider and Bruce J. Garelick, will expire at the second annual
  meeting of stockholders. The term of office of the third class of directors, consisting of Patrick Orlando, Lee Jacobson, will expire at
  the third annual meeting of stockholders.



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        Our officers are appointed by the board of directors and serve at the discretion of the board of directors, rather than for specific
  terms of office. Our board of directors is authorized to appoint persons to the offices set forth in our bylaws as it deems appropriate.
  Our bylaws provide that our officers may consist of a Chairman of the Board, Chief Executive Officer, Chief Financial Officer,
  President, Vice Presidents, Secretary, Treasurer, Assistant Secretaries and such other offices as may be determined by the board of
  directors.

  Director Independence

        Nasdaq listing standards require that a majority of our board of directors be independent. An “independent director” is defined
  generally as a person other than an officer or employee of the company or its subsidiaries or any other individual having a relationship
  which in the opinion of the company’s board of directors, would interfere with the director’s exercise of independent judgment in
  carrying out the responsibilities of a director. Our board of directors has determined that Lee Jacobson is, and Bruce J. Garelick, Justin
  L. Shaner, Eric Swider and Rodrigo Veloso will be, “independent directors” as defined in the Nasdaq listing standards and applicable
  SEC rules. Our independent directors will have regularly scheduled meetings at which only independent directors are present.


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  Officer and Director Compensation

         None of our officers has received any cash compensation for services rendered to us. Commencing on the date of this prospectus,
  we have agreed to pay Benessere Enterprises Inc., an affiliate of our sponsor, a total of $15,000 per month for office space, utilities and
  secretarial and administrative support. Upon completion of our initial business combination or our liquidation, we will cease paying
  these monthly fees. No compensation of any kind, including any finder’s fee, reimbursement, consulting fee or monies in respect of
  any payment of a loan, will be paid by us to our sponsor, officers or directors or any affiliate of our sponsor, officers or directors, prior
  to, or in connection with any services rendered in order to effectuate, the consummation of our initial business combination (regardless
  of the type of transaction that it is). However, these individuals will be reimbursed for any out-of-pocket expenses incurred in
  connection with activities on our behalf such as identifying potential target businesses and performing due diligence on suitable
  business combinations. Our audit committee will review on a quarterly basis all payments that were made to our sponsor, officers or
  directors or our or their affiliates. Any such payments prior to an initial business combination will be made using funds held outside the
  trust account. Other than quarterly audit committee review of such payments, we do not expect to have any additional controls in place
  governing our reimbursement payments to our directors and executive officers for their out-of-pocket expenses incurred in connection
  with identifying and consummating an initial business combination.

        After the completion of our initial business combination, directors or members of our management team who remain with us may
  be paid consulting or management fees from the combined company. All of these fees will be fully disclosed to stockholders, to the
  extent then known, in the tender offer materials or proxy solicitation materials furnished to our stockholders in connection with a
  proposed initial business combination. We have not established any limit on the amount of such fees that may be paid by the combined
  company to our directors or members of management. It is unlikely the amount of such compensation will be known at the time of the
  proposed initial business combination, because the directors of the post-combination business will be responsible for determining
  officer and director compensation. Any compensation to be paid to our officers will be determined, or recommended to the board of
  directors for determination, either by a compensation committee constituted solely by independent directors or by a majority of the
  independent directors on our board of directors.

         We do not intend to take any action to ensure that members of our management team maintain their positions with us after the
  consummation of our initial business combination, although it is possible that some or all of our officers and directors may negotiate
  employment or consulting arrangements to remain with us after our initial business combination. The existence or terms of any such
  employment or consulting arrangements to retain their positions with us may influence our management’s motivation in identifying or
  selecting a target business but we do not believe that the ability of our management to remain with us after the consummation of our
  initial business combination will be a determining factor in our decision to proceed with any potential business combination. We are
  not party to any agreements with our officers and directors that provide for benefits upon termination of employment.

  Committees of the Board of Directors

        Our board of directors has two standing committees: an audit committee and a compensation committee. Subject to phase-in
  rules and a limited exception, Nasdaq rules and Rule 10A-3 under the Exchange Act require that the audit committee of a listed
  company be comprised solely of independent directors, and Nasdaq rules require that the compensation committee of a listed company
  be comprised solely of independent directors.

  Audit Committee

        We will establish an audit committee of the board of directors upon effectiveness of the registration statement of this prospectus
  forms a part. Justin Shaner, Eric Swider and Lee Jacobson will serve as members of our audit committee, and Eric Swider will chair the
  audit committee. Under the Nasdaq listing standards and applicable SEC rules, we are required to have at least three members of the
  audit committee, all of whom must be independent. Each of Justin Shaner, Eric Swider and Lee Jacobson meet the independent director
  standard under Nasdaq listing standards and under Rule 10-A-3(b)(1) under the Exchange Act.


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        Each member of the audit committee is financially literate and our board of directors has determined that Eric Swider will qualify
  as an “audit committee financial expert” as defined in applicable SEC rules.

        We will adopt an audit committee charter, which details the principal functions of the audit committee, including:

        •     the appointment, compensation, retention, replacement, and oversight of the work of the independent registered public
              accounting firm engaged by us;

        •     pre-approving all audit and permitted non-audit services to be provided by the independent registered public accounting
              firm engaged by us, and establishing pre-approval policies and procedures;

        •     setting clear hiring policies for employees or former employees of the independent registered public accounting firm,
              including but not limited to, as required by applicable laws and regulations;

        •     setting clear policies for audit partner rotation in compliance with applicable laws and regulations;

        •     obtaining and reviewing a report, at least annually, from the independent registered public accounting firm describing
              (i) the independent registered public accounting firm’s internal quality-control procedures, (ii) any material issues raised
              by the most recent internal quality-control review, or peer review, of the audit firm, or by any inquiry or investigation by
              governmental or professional authorities within the preceding five years respecting one or more independent audits carried
              out by the firm and any steps taken to deal with such issues and (iii) all relationships between the independent registered
              public accounting firm and us to assess the independent registered public accounting firm’s independence;

        •     reviewing and approving any related party transaction required to be disclosed pursuant to Item 404 of Regulation S-K
              promulgated by the SEC prior to us entering into such transaction; and

        •     reviewing with management, the independent registered public accounting firm, and our legal advisors, as appropriate, any
              legal, regulatory or compliance matters, including any correspondence with regulators or government agencies and any
              employee complaints or published reports that raise material issues regarding our financial statements or accounting
              policies and any significant changes in accounting standards or rules promulgated by the Financial Accounting Standards
              Board, the SEC or other regulatory authorities.

  Compensation Committee

         We will establish a compensation committee of the board of directors upon effectiveness of the registration statement of this
  prospectus forms a part. Justin Shaner, Eric Swider and Lee Jacobson will serve as members of our compensation committee and Justin
  Shaner will chair the compensation committee. Under the Nasdaq listing standards and applicable SEC rules, we are required to have at
  least two members of the compensation committee, all of whom must be independent. Justin Shaner, Eric Swider and Lee Jacobson are
  independent.

        We will adopt a compensation committee charter, which details the principal functions of the compensation committee,
  including:

        •     reviewing and approving on an annual basis the corporate goals and objectives relevant to our Chief Executive Officer’s
              compensation, if any is paid by us, evaluating our Chief Executive Officer’s performance in light of such goals and
              objectives and determining and approving the remuneration (if any) of our Chief Executive Officer based on such
              evaluation;

        •     reviewing and approving on an annual basis the compensation, if any is paid by us, of all of our other officers;

        •     reviewing on an annual basis our executive compensation policies and plans;

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        •     implementing and administering our incentive compensation equity-based remuneration plans;

        •     assisting management in complying with our proxy statement and annual report disclosure requirements;

        •     approving all special perquisites, special cash payments and other special compensation and benefit arrangements for our
              officers and employees;

        •     if required, producing a report on executive compensation to be included in our annual proxy statement; and

        •     reviewing, evaluating and recommending changes, if appropriate, to the remuneration for directors.

        Notwithstanding the foregoing, as indicated above, other than the payment to Benessere Enterprises Inc., an affiliate of our
  sponsor, of $15,000 per month, for up to 12 months (or up to 18 months, if we extend the time to complete a business combination as
  described in this prospectus), for office space, utilities and secretarial and administrative support, no compensation of any kind,
  including finders, consulting or other similar fees, will be paid to any of our existing stockholders, officers, directors or any of their
  respective affiliates, prior to, or for any services they render in order to effectuate the consummation of an initial business combination.
  Accordingly, it is likely that prior to the consummation of an initial business combination, the compensation committee will only be
  responsible for the review and recommendation of any compensation arrangements to be entered into in connection with such initial
  business combination.

        The charter also provides that the compensation committee may, in its sole discretion, retain or obtain the advice of a
  compensation consultant, legal counsel or other adviser and will be directly responsible for the appointment, compensation and
  oversight of the work of any such adviser. However, before engaging or receiving advice from a compensation consultant, external
  legal counsel or any other adviser, the compensation committee will consider the independence of each such adviser, including the
  factors required by Nasdaq and the SEC.

  Director Nominations

        We do not have a standing nominating committee though we intend to form a corporate governance and nominating committee as
  and when required to do so by law or Nasdaq rules. In accordance with Rule 5605 of the Nasdaq rules, a majority of the independent
  directors may recommend a director nominee for selection by the board of directors. The board of directors believes that the
  independent directors can satisfactorily carry out the responsibility of properly selecting or approving director nominees without the
  formation of a standing nominating committee. The directors who will participate in the consideration and recommendation of director
  nominees will be Justin Shaner, Eric Swider and Lee Jacobson. In accordance with Rule 5605 of the Nasdaq rules, all such directors are
  independent. As there is no standing nominating committee, we do not have a nominating committee charter in place.

        The board of directors will also consider director candidates recommended for nomination by our stockholders during such times
  as they are seeking proposed nominees to stand for election at the next annual meeting of stockholders (or, if applicable, a special
  meeting of stockholders). Our stockholders that wish to nominate a director for election to our board of directors should follow the
  procedures set forth in our bylaws.

         We have not formally established any specific, minimum qualifications that must be met or skills that are necessary for directors
  to possess. In general, in identifying and evaluating nominees for director, the board of directors considers educational background,
  diversity of professional experience, knowledge of our business, integrity, professional reputation, independence, wisdom, and the
  ability to represent the best interests of our stockholders.

  Code of Ethics

        We will adopt a Code of Ethics applicable to our directors, officers and employees upon effectiveness of the registration
  statement of this prospectus forms a part. We will file a copy of our Code of Ethics and our audit and compensation committee charters
  as exhibits to the registration statement of which this prospectus is a part. You are able to review these documents by accessing our
  public filings at the SEC’s web site at www.sec.gov. In addition, a copy of the Code of Ethics will be provided without charge upon
  request from us. We intend to disclose any amendments to or waivers of certain provisions of our Code of Ethics in a Current Report
  on Form 8-K. See the section of this prospectus entitled “Where You Can Find Additional Information.”

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  Conflicts of Interest

        Subject to pre-existing fiduciary or contractual duties as described below, our officers and directors have agreed to present any
  business opportunities presented to them in their capacity as a director or officer of our company to us. Certain of our officers and
  directors presently have fiduciary or contractual obligations to other entities pursuant to which such officer or director is or will be
  required to present a business combination opportunity. Accordingly, if any of our officers or directors becomes aware of a business
  combination opportunity which is suitable for an entity to which he or she has then-current fiduciary or contractual obligations, he or
  she will honor his or her fiduciary or contractual obligations to present such opportunity to such entity. We believe, however, that the
  fiduciary duties or contractual obligations of our officers or directors will not materially affect our ability to complete our initial
  business combination. Our amended and restated certificate of incorporation provides that we renounce our interest in any corporate
  opportunity offered to any director or officer unless such opportunity is expressly offered to such person solely in his or her capacity as
  a director or officer of our company and such opportunity is one we are legally and contractually permitted to undertake and would
  otherwise be reasonable for us to pursue, and to the extent the director or officer is permitted to refer that opportunity to us without
  violating another legal obligation.

        Our officers and directors may become officers or directors of another special purpose acquisition company with a class of
  securities intended to be registered under the Exchange Act (including Yunhong International, Benessere Capital Acquisition
  Corporation, and Maquia Capital Acquisition Corporation), even prior to us entering into a definitive agreement for our initial business
  combination.

        The anchor investors have entered into investment agreements with our sponsor and us pursuant to which they each expressed an
  interest to purchase up to 8.3% of the units sold in this offering (excluding any units sold upon exercise of the underwriters’ over-
  allotment option), or 2,490,000 units (which would aggregate to 91.3% of the units subject to this offering if all such indications of
  interest become confirmed orders in full following effectiveness of the registration statement of which this prospectus forms a part).
  We do not expect that all of the anchor investors will be allocated the full 8.3% of the units to be sold, and such allocations will be
  determined by the underwriters, subject to satisfying Nasdaq initial listing requirements, including the minimum number of round lot
  holders. There can be no assurance that the anchor investors will acquire any units in this offering, or as to the amount of such units the
  anchor investors will retain, if any, prior to or upon the consummation of our initial business combination. In addition, none of the
  anchor investors has any obligation to vote any of their public shares in favor of our initial business combination. Subject to each
  anchor investor purchasing 100% of the units allocated to it, in connection with the closing of this offering, our sponsor will sell
  150,000 founder shares to each anchor investor, or an aggregate of 1,650,000 founder shares to all 11 anchor investors, at a purchase
  price of $0.0029 per share. For a discussion of the additional arrangements with our anchor investors, see “Summary — The Offering
  — Expressions of Interest.”

        Potential investors should also be aware of the following other potential conflicts of interest:

        •     None of our officers or directors is required to commit his or her full time to our affairs and, accordingly, may have
              conflicts of interest in allocating his or her time among various business activities.

        •     In the course of their other business activities, our officers and directors may become aware of investment and business
              opportunities which may be appropriate for presentation to us as well as the other entities with which they are affiliated.
              Our management may have conflicts of interest in determining to which entity a particular business opportunity should be
              presented.

        •     Our initial stockholders have agreed to waive their redemption rights with respect to any founder shares and placement
              shares and any public shares held by them in connection with the consummation of our initial business combination.
              Additionally, our initial stockholders have agreed to waive their redemption rights with respect to any founder shares and
              placement shares held by them if we fail to consummate our initial business combination within 12 months (or up to 18
              months, if we extend the time to complete a business combination as described in this prospectus) after the closing of this
              offering. If we do not complete our initial business combination within such applicable time period, the proceeds of the
              sale of the placement units held in the trust account will be used to fund the redemption of our public shares. With certain
              limited exceptions, the founder shares will not be transferable, assignable by our sponsor until the earlier to occur of:
              (A) six months after the completion of our initial business combination and (B) subsequent to our initial business
              combination, (x) if the reported last sale price of our Class A common stock equals or exceeds $12.00 per share (as
              adjusted for stock splits, stock dividends, reorganizations, recapitalizations and the like) for any 20 trading days within any
              30-trading day period commencing at least 150 days after our initial business combination, or (y) the date on which we
              complete a liquidation, merger, capital stock exchange or other similar transaction that results in all of our stockholders
              having the right to exchange their shares of common stock for cash, securities or other property. With certain limited

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              exceptions, the placement units, placement shares and placement warrants and the Class A common stock underlying such
              warrants, will not be transferable, assignable or saleable by our sponsor or its permitted transferees until 30 days after the
              completion of our initial business combination. Since our sponsor and officers and directors may directly or indirectly own
              common stock and warrants following this offering, our officers and directors may have a conflict of interest in
              determining whether a particular target business is an appropriate business with which to effectuate our initial business
              combination.

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        •     Our officers and directors may have a conflict of interest with respect to evaluating a particular business combination if the
              retention or resignation of any such officers and directors was included by a target business as a condition to any
              agreement with respect to our initial business combination.

        •     Our sponsor, officers or directors may have a conflict of interest with respect to evaluating a business combination and
              financing arrangements as we may obtain loans from our sponsor or an affiliate of our sponsor or any of our officers or
              directors to finance transaction costs in connection with an intended initial business combination. Up to $1,500,000 of such
              loans may be convertible into units, at a price of $10.00 per unit at the option of the lender, upon consummation of our
              initial business combination. The units would be identical to the placement units.

        The conflicts described above may not be resolved in our favor.

        In general, officers and directors of a corporation incorporated under the laws of the State of Delaware are required to present
  business opportunities to a corporation if:

        •     the corporation could financially undertake the opportunity;

        •     the opportunity is within the corporation’s line of business; and

        •     it would not be fair to our company and its stockholders for the opportunity not to be brought to the attention of the
              corporation.

         Accordingly, as a result of multiple business affiliations, our officers and directors may have similar legal obligations relating to
  presenting business opportunities meeting the above-listed criteria to multiple entities. Furthermore, our amended and restated
  certificate of incorporation provides that we renounce our interest in any corporate opportunity offered to any director or officer unless
  such opportunity is expressly offered to such person solely in his or her capacity as a director or officer of our company and such
  opportunity is one we are legally and contractually permitted to undertake and would otherwise be reasonable for us to pursue, and to
  the extent the director or officer is permitted to refer that opportunity to us without violating another legal obligation.

        Below is a table summarizing the entities to which our executive officers and directors currently have fiduciary duties or
  contractual obligations:

  Individual(1)                       Entity(2)                              Entity’s Business                           Affiliation
  Patrick Orlando                Yunhong International            Special Purpose Acquisition Corporation          Chief Executive Officer
                                                               Investment consulting and investment banking
                                Benessere Capital, LLC                                                             Chief Executive Officer
                                                                                 investing
                              Benessere Enterprises Inc.                   Investment consulting                   Chief Executive Officer
                             Benessere Capital Acquisition
                                                                  Special Purpose Acquisition Corporation          Chief Executive Officer
                                        Corp.
                              Maquia Capital Acquisition
                                                                  Special Purpose Acquisition Corporation                   Director
                                        Corp.
  Bruce J. Garelick              Rocket One Capital                          Fund Manager                          Chief Strategy Officer
  Lee Jacobson                   Robot Cache US Inc.               PC games digital distribution company           Chief Executive Officer
  Justin L. Shaner               Shaner Ciocco S.r.l.                             Hotels                                  Director
                             Benessere Capital Acquisition
                                                                  Special Purpose Acquisition Corporation                   Director
                                        Corp.
  Eric Swider                          Rubidex                                  Data security                      Chief Executive Officer
                                Shaner Properties LLC                             Real estate                      Chief Executive Officer
                              Sobe Brooks Studios LLC                          Film production                     Chief Executive Officer
                             Benessere Capital Acquisition
                                                                  Special Purpose Acquisition Corporation                   Director
                                        Corp.
  Rodrigo Veloso                     Unik Capital                             Investment Firm                              Principal
                                     Segurar.com                         Online Insurance Company                          Director
                                   BRIC Chamber                                 Organization                              Co-Founder
                                O.N.E. Natural Energy                      Recycling Technology                              CEO
                               O.N.E. Comprador Ltd.                             Consulting                                  CEO
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                                 L Catterton LATAN
                                                                   232       Fund Manager                     Director


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   (1)   Each person has a fiduciary duty with respect to the listed entities next to their respective names.

  (2)    Each of the entities listed in this table has priority and preference relative to our company with respect to the performance by
         each individual listed in this table of his obligations and the presentation by each such individual of business opportunities.

        Accordingly, if any of the above executive officers or directors becomes aware of a business combination opportunity which is
  suitable for any of the above entities to which he or she has current fiduciary or contractual obligations (including Yunhong
  International, Benessere Capital Acquisition Corporation, and Maquia Capital Acquisition Corporation), he or she will honor his or her
  fiduciary or contractual obligations to present such business combination opportunity to such entity, and only present it to us if such
  entity rejects the opportunity.

        We are not prohibited from pursuing an initial business combination with a company that is affiliated with our sponsor, officers
  or directors. In the event we seek to complete our initial business combination with such a company, we, or a committee of independent
  directors, would obtain an opinion from an independent investment banking firm or another independent entity that commonly renders
  valuation opinions, that such an initial business combination is fair to our company from a financial point of view.

        In the event that we submit our initial business combination to our public stockholders for a vote, pursuant to the letter
  agreement, our sponsor, officers and directors have agreed to vote any founder shares or placement shares held by them and any public
  shares purchased during or after the offering (including in open market and privately negotiated transactions) in favor of our initial
  business combination.

  Limitation on Liability and Indemnification of Officers and Directors

         Our amended and restated certificate of incorporation will provide that our officers and directors will be indemnified by us to the
  fullest extent authorized by Delaware law, as it now exists or may in the future be amended. In addition, our amended and restated
  certificate of incorporation will provide that our directors will not be personally liable for monetary damages to us or our stockholders
  for breaches of their fiduciary duty as directors, unless they violated their duty of loyalty to us or our stockholders, acted in bad faith,
  knowingly or intentionally violated the law, authorized unlawful payments of dividends, unlawful stock purchases or unlawful
  redemptions, or derived an improper personal benefit from their actions as directors.

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        We will enter into agreements with our officers and directors to provide contractual indemnification in addition to the
  indemnification provided for in our amended and restated certificate of incorporation. Our bylaws also permit us to secure insurance on
  behalf of any officer, director or employee for any liability arising out of his or her actions, regardless of whether Delaware law would
  permit such indemnification. We have purchased a policy of directors’ and officers’ liability insurance that insures our officers and
  directors against the cost of defense, settlement or payment of a judgment in some circumstances and insures us against our obligations
  to indemnify our officers and directors.

        These provisions may discourage stockholders from bringing a lawsuit against our directors for breach of their fiduciary duty.
  These provisions also may have the effect of reducing the likelihood of derivative litigation against officers and directors, even though
  such an action, if successful, might otherwise benefit us and our stockholders. Furthermore, a stockholder’s investment may be
  adversely affected to the extent we pay the costs of settlement and damage awards against officers and directors pursuant to these
  indemnification provisions.

         We believe that these provisions, the directors’ and officers’ liability insurance and the indemnity agreements are necessary to
  attract and retain talented and experienced officers and directors.

                                                     PRINCIPAL STOCKHOLDERS

       The following table sets forth information regarding the beneficial ownership of our common stock as of the date of this
  prospectus, and as adjusted to reflect the sale of our common stock included in the units offered by this prospectus, and assuming no
  purchase of units in this offering, by:

        •     each person known by us to be the beneficial owner of more than 5% of our outstanding shares of common stock;

        •     each of our executive officers, directors and director nominees that beneficially owns shares of our common stock; and

        •     all our executive officers, directors and director nominees as a group.

         Unless otherwise indicated, we believe that all persons named in the table have sole voting and investment power with respect to
  all shares of common stock beneficially owned by them. The following table does not reflect record or beneficial ownership of the
  placement warrants as these warrants are not exercisable within 60 days of the date of this prospectus.

          On January 20, 2021, our sponsor purchased 2,875,000 founder shares (which were subsequently subject to a three-for-one stock
  split, resulting in our sponsor holding 8,625,000 founder shares) for an aggregate purchase price of $25,000, or approximately $0.003
  per share. As of July 2, 2021, our sponsor transferred 10,000 founder shares to our chief financial officer and 7,500 founder shares to
  each of our independent director and director nominees. On August 18, 2021, 7,500 founder shares were returned to our sponsor from a
  former director nominee. In addition, our sponsor has committed, pursuant to a written agreement, to purchase an aggregate of
  1,174,109 placement units for a purchase price of $10.00 per unit in a private placement that will occur simultaneously with the closing
  of this offering (assuming the underwriters do not exercise their over-allotment option). The following table presents the number of
  shares and percentage of our common stock beneficially owned as of the filing date, before and after this offering, by each person, or
  group of persons, known to us who beneficially owns more than 5% of our capital stock, each named executive officer, each of our
  directors and director nominees and all directors, director nominees and executive officers as a group. The post-offering numbers and
  percentages presented assume that the underwriters do not exercise their over-allotment option, that our sponsor forfeits 1,125,000
  founder shares on a pro rata basis, and that there are 38,824,109 shares of our common stock issued and outstanding after this offering,
  consisting of (i) 31,174,109 shares of our Class A common stock (including 30,000,000 public shares, 1,174,109 placement shares and
  150,000 representative shares) and (ii) 7,500,000 shares of our Class B common stock, issued and outstanding after this offering.


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  Registration Rights

         The holders of the founder shares, representative shares, placement units (including securities contained therein) and units
  (including securities contained therein) that may be issued upon conversion of working capital loans, and any shares of Class A
  common stock issuable upon the exercise of the placement warrants and any shares of Class A common stock and warrants (and
  underlying Class A common stock) that may be issued upon conversion of the units issued as part of the working capital loans and
  Class A common stock issuable upon conversion of the founder shares, are entitled to registration rights pursuant to a registration rights
  agreement signed on the effective date of this offering, requiring us to register such securities for resale (in the case of the founder
  shares, only after conversion to our Class A common stock). The holders of the majority of these securities are entitled to make up to
  three demands, excluding short form demands, that we register such securities. In addition, the holders have certain “piggy-back”
  registration rights with respect to registration statements filed subsequent to our completion of our initial business combination and
  rights to require us to register for resale such securities pursuant to Rule 415 under the Securities Act. The registration rights agreement
  does not contain liquidated damages or other cash settlement provisions resulting from delays in registering our securities. We will bear
  the expenses incurred in connection with the filing of any such registration statements.

                              CERTAIN RELATIONSHIPS AND RELATED PARTY TRANSACTIONS

         On January 20, 2021, we issued an aggregate of 2,875,000 founder shares (which were subsequently subject to a three-for-one
  stock split, resulting in our sponsor holding 8,625,000 founder shares) to our sponsor for an aggregate purchase price of $25,000 in
  cash, or approximately $0.003 per share. As of July 2, 2021, our sponsor transferred 10,000 founder shares to our chief financial officer
  and 7,500 founder shares to each of our independent director and our director nominees. On August 18, 2021, 7,500 founder shares
  were returned to our sponsor from a former director nominee. The number of founder shares issued was determined based on the
  expectation that such founder shares would represent 20% of the outstanding shares upon completion of this offering (excluding the
  representative shares and the placement units and underlying securities). If we increase or decrease the size of the offering we will
  effect a stock dividend or a share contribution back to capital or other appropriate mechanism, as applicable, with respect to our
  Class B common stock immediately prior to the consummation of the offering in such amount as to maintain the ownership of our
  initial stockholders at 20.0% of the issued and outstanding shares of our common stock (excluding the placement units and the
  underlying securities and representative shares and assuming they do not purchase any units in this offering) upon the consummation of
  this offering. Up to 1,125,000 founder shares held by our sponsor are subject to forfeiture by our sponsor depending on the extent to
  which the underwriters’ over-allotment option is exercised. The founder shares (including the Class A common stock issuable upon
  exercise thereof) may not, subject to certain limited exceptions, be transferred, assigned or sold by the holder.


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         Our sponsor has agreed to purchase an aggregate of 1,174,109 placement units at a price of $10.00 per unit for an aggregate
  purchase price of $11,741,090. If the underwriters’ over-allotment option is exercised in full, the amount of placement units sold will
  be 1,320,359 for an aggregate purchase price of $13,203,590. There will be no redemption rights or liquidating distributions from the
  trust account with respect to the founder shares, placement shares or placement warrants, which will expire worthless if we do not
  consummate a business combination within 12 months (or up to 18 months if we have extended the period of time as described in this
  prospectus) from the closing of this offering.

        Commencing on the date of this prospectus, we have agreed to pay Benessere Enterprises Inc., an affiliate of our sponsor, a total
  of $15,000 per month for office space, utilities and secretarial and administrative support. Upon completion of our initial business
  combination or our liquidation, we will cease paying these monthly fees.

         No compensation of any kind, including any finder’s fee, reimbursement, consulting fee or monies in respect of any payment of a
  loan, will be paid by us to our sponsor, officers or directors or any affiliate of our sponsor, officers or directors prior to, or in
  connection with any services rendered in order to effectuate, the consummation of an initial business combination (regardless of the
  type of transaction that it is). However, these individuals will be reimbursed for any out-of-pocket expenses incurred in connection with
  activities on our behalf such as identifying potential target businesses and performing due diligence on suitable business combinations.
  Our audit committee will review on a quarterly basis all payments that were made to our sponsor, officers, directors or our or their
  affiliates and will determine which expenses and the amount of expenses that will be reimbursed. There is no cap or ceiling on the
  reimbursement of out-of-pocket expenses incurred by such persons in connection with activities on our behalf.

        Prior to the closing of this offering, our sponsor agreed to loan us up to $300,000 to be used for a portion of the expenses of this
  offering. These loans are non-interest bearing, unsecured and are due at the earlier of September 30, 2021 or the closing of this
  offering. The loan will be repaid upon the closing of this offering out of the estimated $556,090 of offering proceeds that has been
  allocated to the payment of offering expenses (other than underwriting commissions). The value of our sponsor’s interest in this
  transaction corresponds to the principal amount outstanding under any such loan.

         In addition, in order to finance transaction costs in connection with an intended initial business combination, our sponsor or an
  affiliate of our sponsor or certain of our officers and directors may, but are not obligated to, loan us funds on a non-interest bearing
  basis as may be required. If we complete an initial business combination, we would repay such loaned amounts. In the event that the
  initial business combination does not close, we may use a portion of the working capital held outside the trust account to repay such
  loaned amounts but no proceeds from our trust account would be used for such repayment. Up to $1,500,000 of such loans may be
  convertible into units, at a price of $10.00 per unit at the option of the lender, upon consummation of our initial business combination.
  The units would be identical to the placement units. Other than as described above, the terms of such loans by our officers and
  directors, if any, have not been determined and no written agreements exist with respect to such loans.

        We do not expect to seek loans from parties other than our sponsor or an affiliate of our sponsor as we do not believe third parties
  will be willing to loan such funds and provide a waiver against any and all rights to seek access to funds in our trust account.

        After our initial business combination, members of our management team who remain with us may be paid consulting,
  management or other fees from the combined company with any and all amounts being fully disclosed to our stockholders, to the
  extent then known, in the tender offer or proxy solicitation materials, as applicable, furnished to our stockholders. It is unlikely the
  amount of such compensation will be known at the time of distribution of such tender offer materials or at the time of a stockholder
  meeting held to consider our initial business combination, as applicable, as it will be up to the directors of the post-combination
  business to determine executive and director compensation.

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         The holders of the founder shares, representative shares, placement units, and units that may be issued upon conversion of
  working capital loans (and in each case holders of their component securities, as applicable) will have registration rights to require us
  to register a sale of any of our securities held by them pursuant to a registration rights agreement to be signed prior to or on the
  effective date of this offering. These holders will be entitled to make up to three demands, excluding short form registration demands,
  that we register such securities for sale under the Securities Act. In addition, these holders will have “piggy-back” registration rights to
  include their securities in other registration statements filed by us.

        We will enter into agreements with our officers and directors to provide contractual indemnification in addition to the
  indemnification provided for in our amended and restated certificate of incorporation. Our bylaws also permit us to secure insurance on
  behalf of any officer, director or employee for any liability arising out of his or her actions, regardless of whether Delaware law would
  permit such indemnification. We will purchase a policy of directors’ and officers’ liability insurance that insures our officers and
  directors against the cost of defense, settlement or payment of a judgment in some circumstances and insures us against our obligations
  to indemnify our officers and directors.

  Related Party Policy

        We have not yet adopted a formal policy for the review, approval or ratification of related party transactions. Accordingly, the
  transactions discussed above were not reviewed, approved or ratified in accordance with any such policy.

         We will adopt a code of ethics requiring us to avoid, wherever possible, all conflicts of interests, except under guidelines or
  resolutions approved by our board of directors (or the appropriate committee of our board) or as disclosed in our public filings with the
  SEC. Under our code of ethics, conflict of interest situations will include any financial transaction, arrangement or relationship
  (including any indebtedness or guarantee of indebtedness) involving the company. A form of the code of ethics that we plan to adopt
  prior to the consummation of this offering is filed as an exhibit to the registration statement of which this prospectus is a part.

        In addition, our audit committee, pursuant to a written charter to be adopted by us, will be responsible for reviewing and
  approving related party transactions to the extent that we enter into such transactions. An affirmative vote of a majority of the members
  of the audit committee present at a meeting at which a quorum is present will be required in order to approve a related party
  transaction. A majority of the members of the entire audit committee will constitute a quorum. Without a meeting, the unanimous
  written consent of all of the members of the audit committee will be required to approve a related party transaction. A form of the audit
  committee charter that we plan to adopt prior to the consummation of this offering will be filed as an exhibit to the registration
  statement of which this prospectus is a part. We also require each of our directors and executive officers to complete a directors’ and
  officers’ questionnaire that elicits information about related party transactions.

        These procedures are intended to determine whether any such related party transaction impairs the independence of a director or
  presents a conflict of interest on the part of a director, employee or officer.

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         To further minimize conflicts of interest, we have agreed not to consummate an initial business combination with an entity that is
  affiliated with any of our sponsor, officers or directors unless we, or a committee of independent directors, have obtained an opinion
  from an independent investment banking firm or another independent entity that commonly renders valuation opinions that our initial
  business combination is fair to our company from a financial point of view. Furthermore, no finder’s fees, reimbursements, consulting
  fee, monies in respect of any payment of a loan or other compensation will be paid by us to our sponsor, officers or directors or any
  affiliate of our sponsor, officers or directors prior to, for services rendered to us prior to, or in connection with any services rendered in
  order to effectuate, the consummation of our initial business combination (regardless of the type of transaction that it is). However, the
  following payments will be made to our sponsor, officers or directors, or our or their affiliates, none of which will be made from the
  proceeds of this offering held in the trust account prior to the completion of our initial business combination:

          •    Repayment of up to an aggregate of $300,000 in loans made to us by our sponsor to cover offering-related and
               organizational expenses;

          •    Payment to Benessere Enterprises Inc., an affiliate of our sponsor, of $15,000 per month, for up to 12 months (or up to 18
               months, if we extend the time to complete a business combination as described in this prospectus), for office space, utilities
               and secretarial and administrative support;

          •    Reimbursement for any out-of-pocket expenses related to identifying, investigating and completing an initial business
               combination; and

          •    Repayment of non-interest bearing loans which may be made by our sponsor or an affiliate of our sponsor or certain of our
               officers and directors to finance transaction costs in connection with an intended initial business combination, the terms of
               which (other than as described above) have not been determined nor have any written agreements been executed with
               respect thereto. Up to $1,500,000 of such loans may be convertible into units, at a price of $10.00 per unit at the option of
               the lender, upon consummation of our initial business combination. The units would be identical to the placement units.

         Our audit committee will review on a quarterly basis all payments that were made to our sponsor, officers, directors or our or
  their affiliates.

                                                     DESCRIPTION OF SECURITIES

        Pursuant to our amended and restated certificate of incorporation, our authorized capital stock consists of 100,000,000 shares of
  Class A common stock, $0.0001 par value, 10,000,000 shares of Class B common stock, $0.0001 par value, and 1,000,000 shares of
  undesignated preferred stock, $0.0001 par value. The following description summarizes the material terms of our capital stock.
  Because it is only a summary, it may not contain all the information that is important to you.

  Units

         Each unit has an offering price of $10.00 and consists of one share of Class A common stock and one-half of one redeemable
  warrant. Only whole warrants are exercisable. Each whole warrant entitles the holder to purchase one share of common stock. Pursuant
  to the warrant agreement, a warrant holder may exercise his, her or its warrants only for a whole number of shares of common stock.
  This means that only a whole warrant may be exercised at any given time by a warrant holder. No fractional warrants will be issued
  upon separation of the units and only whole warrants will trade. Accordingly, unless you purchase at least two units, you will not be
  able to receive or trade a whole warrant.

        We expect the Class A common stock and warrants comprising the units will begin separate trading on the 90th business day
  following the date of this prospectus unless the representative informs us of its decision to allow earlier separate trading, subject to our
  having filed the Current Report on Form 8-K described below and having issued a press release announcing when such separate trading
  will begin. Once the shares of Class A common stock and warrants commence separate trading, holders will have the option to
  continue to hold units or separate their units into the component securities. Holders will need to have their brokers contact our transfer
  agent in order to separate the units into shares of Class A common stock and warrants.

         In no event will the Class A common stock and warrants be traded separately until we have filed with the SEC a Current Report
  on Form 8-K which includes an audited balance sheet reflecting our receipt of the gross proceeds at the closing of this offering. We will
  file a Current Report on Form 8-K which includes this audited balance sheet upon the completion of this offering, which is anticipated
  to take place three business days after the date of this prospectus. If the underwriters’ over-allotment option is exercised following the
  initial filing of such Current Report on Form 8-K, a second or amended Current Report on Form 8-K will be filed to provide updated
  financial information to reflect the exercise of the underwriters’ over-allotment option.

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  Placement Units

         The placement units are identical to the units sold in this offering except that (a) the placement units and their component
  securities will not be transferable, assignable or salable until 30 days after the consummation of our initial business combination except
  to permitted transferees and (b) the placement warrants, so long as they are held by our sponsor or its permitted transferees, will be
  entitled to registration rights.

  Common Stock

       Upon the closing of this offering, 38,824,109 shares of our common stock will be outstanding (assuming no exercise of the
  underwriters’ over-allotment option and the corresponding forfeiture of 1,125,000 founder shares by our sponsor), consisting of:

        •     31,174,109 shares of our Class A common stock underlying the units being offered in this offering and the private
              placement;

        •     7,500,000 shares of Class B common stock held by our initial stockholders; and

        •     150,000 shares of Class A common stock held by the representative and its designees.


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         Our sponsor has agreed to purchase an aggregate of 1,174,109 placement units (or 1,320,359 placement units if the underwriters’
  over-allotment option is exercised in full) at a price of $10.00 per unit, for an aggregate purchase price of $11,741,090 (or $13,203,590
  if the underwriters’ over-allotment option is exercised in full). The initial stockholders will hold an aggregate of approximately 22.3%
  of the issued and outstanding common stock following the offering and the expiration of the underwriters’ over-allotment option
  (including the placement shares to be issued to the sponsor and assuming they and the anchor investors do not purchase any units in
  this offering or the public market). If we increase or decrease the size of the offering we will effect a stock dividend or a share
  contribution back to capital or other appropriate mechanism, as applicable, with respect to our Class B common stock immediately
  prior to the consummation of the offering in such amount as to maintain the ownership of our initial stockholders at 20.0% of the
  issued and outstanding shares of our common stock (excluding the placement units and the underlying securities and representative
  shares and assuming they do not purchase any units in this offering) upon the consummation of this offering.

        Common stockholders of record are entitled to one vote for each share held on all matters to be voted on by stockholders.
  Holders of the Class A common stock and holders of the Class B common stock will vote together as a single class on all matters
  submitted to a vote of our stockholders, except as required by law. Unless specified in our amended and restated certificate of
  incorporation or bylaws, or as required by applicable provisions of the DGCL or applicable stock exchange rules, the affirmative vote
  of a majority of our shares of common stock that are voted is required to approve any such matter voted on by our stockholders. Our
  board of directors will be divided into three classes, each of which will generally serve for a term of three years with only one class of
  directors being elected in each year. There is no cumulative voting with respect to the election of directors, with the result that the
  holders of more than 50% of the shares voted for the election of directors can elect all of the directors. Our stockholders are entitled to
  receive ratable dividends when, as and if declared by the board of directors out of funds legally available therefor.

        Because our amended and restated certificate of incorporation authorizes the issuance of up to 100,000,000 shares of Class A
  common stock, if we were to enter into an initial business combination, we may (depending on the terms of such an initial business
  combination) be required to increase the number of shares of Class A common stock which we are authorized to issue at the same time
  as our stockholders vote on the initial business combination to the extent we seek stockholder approval in connection with our initial
  business combination.

        In accordance with Nasdaq corporate governance requirements, we are not required to hold an annual meeting until no later than
  one year after our first fiscal year end following our listing on Nasdaq. Under Section 211(b) of the DGCL, we are, however, required
  to hold an annual meeting of stockholders for the purposes of electing directors in accordance with our bylaws, unless such election is
  made by written consent in lieu of such a meeting. We may not hold an annual meeting of stockholders to elect new directors prior to
  the consummation of our initial business combination, and thus we may not be in compliance with Section 211(b) of the DGCL, which
  requires an annual meeting. Therefore, if our stockholders want us to hold an annual meeting prior to the consummation of our initial
  business combination, they may attempt to force us to hold one by submitting an application to the Delaware Court of Chancery in
  accordance with Section 211(c) of the DGCL.

         We will provide our stockholders with the opportunity to redeem all or a portion of their public shares upon the completion of our
  initial business combination at a per-share price, payable in cash, equal to the aggregate amount then on deposit in the trust account as
  of two business days prior to the consummation of our initial business combination including interest earned on the funds held in the
  trust account and not previously released to us to pay our taxes, divided by the number of then outstanding public shares, subject to the
  limitations described herein. The amount in the trust account is initially anticipated to be approximately $10.20 per public share. The
  per-share amount we will distribute to investors who properly redeem their shares will not be reduced by the deferred underwriting
  commissions we will pay to the underwriters. Our sponsor, officers and directors have entered into, and we anticipate that our director
  nominees will enter into, a letter agreement with us, pursuant to which they have agreed to waive their redemption rights with respect
  to any founder shares and placement shares and any public shares held by them in connection with the completion of our initial
  business combination. Unlike many blank check companies that hold stockholder votes and conduct proxy solicitations in conjunction
  with their initial business combinations and provide for related redemptions of public shares for cash upon completion of such initial
  business combinations even when a vote is not required by applicable law or stock exchange requirements, if a stockholder vote is not
  required by law and we do not decide to hold a stockholder vote for business or other legal reasons, we will, pursuant to our amended
  and restated certificate of incorporation, conduct the redemptions pursuant to the tender offer rules of the SEC, and file tender offer
  documents with the SEC prior to completing our initial business combination. Our amended and restated certificate of incorporation
  will require these tender offer documents to contain substantially the same financial and other information about the initial business
  combination and the redemption rights as is required under the SEC’s proxy rules. If, however, a stockholder approval of the
  transaction is required by applicable law or stock exchange requirements, or we decide to obtain stockholder approval for business or
  other legal reasons, we will, like many blank check companies, offer to redeem shares in conjunction with a proxy solicitation pursuant
  to the proxy rules and not pursuant to the tender offer rules. If we seek stockholder approval, unless otherwise required by applicable
  law, regulation or stock exchange rules, we will complete our initial business combination only if a majority of the outstanding shares
  of common stock voted are voted in favor of the initial business combination. A quorum for such meeting will consist of the holders

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  present in person or by proxy of shares of outstanding capital stock of the company representing a majority of the voting power of all
  outstanding shares of capital stock of the company entitled to vote at such meeting. The underwriters will have the same redemption
  rights as a public stockholder with respect to any public shares it acquires. The representative has informed us that it has no current
  commitments, plans or intentions to acquire any public shares for its own account; however, if they do acquire public shares, it will do
  so in the ordinary course of business or in the types of transaction described in the first paragraph under “Proposed Business —
  Effecting our Initial Business Combination — Permitted purchases of our securities.” The underwriters will not make any such
  purchases when in possession of any material nonpublic information not disclosed to the seller, during a restricted period under
  Regulation M under the Exchange Act, in transactions that would violate Section 9(a)(2) or Rule 10(b)-5 under the Exchange Act, or if
  prohibited by applicable state securities laws or broker-dealer regulations. To the extent our initial stockholders or purchasers of
  placement units transfer any of these securities to certain permitted transferees, such permitted transferees will agree, as a condition to
  such transfer, to waive these same redemption rights. Also, our sponsor has committed to purchase 1,174,109 placement units (or up to
  1,320,359 placement units if the underwriters’ over-allotment option is exercised in full) at the price of $10.00 per unit in a private
  placement that will occur simultaneously with the completion of this offering. If we submit our initial business combination to our
  public stockholders for a vote, our sponsor, the other initial stockholders, our officers and our directors have agreed to vote their
  respective founder shares, placement shares and any public shares held by them in favor of our initial business combination.


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        The participation of our sponsor, officers, directors or their affiliates in privately-negotiated transactions (as described in this
  prospectus), if any, could result in the approval of our initial business combination even if a majority of our public stockholders vote, or
  indicate their intention to vote, against such business combination. For purposes of seeking approval of the majority of our outstanding
  shares of common stock voted, non-votes will have no effect on the approval of our initial business combination once a quorum is
  obtained. We intend to give approximately 30 days (but not less than 10 days nor more than 60 days) prior written notice of any such
  meeting, if required, at which a vote shall be taken to approve our initial business combination. These quorum and voting thresholds,
  and the voting agreements of our initial stockholders, may make it more likely that we will consummate our initial business
  combination.

         If we seek stockholder approval of our initial business combination and we do not conduct redemptions in connection with our
  initial business combination pursuant to the tender offer rules, our amended and restated certificate of incorporation will provide that a
  public stockholder, together with any affiliate of such stockholder or any other person with whom such stockholder is acting in concert
  or as a “group” (as defined under Section 13 of the Exchange Act), will be restricted from redeeming its shares with respect to more
  than an aggregate of 15% of the shares of common stock sold in this offering, which we refer to as the Excess Shares. However, we
  would not be restricting our stockholders’ ability to vote all of their shares (including Excess Shares) for or against our initial business
  combination. Our stockholders’ inability to redeem the Excess Shares will reduce their influence over our ability to complete our initial
  business combination, and such stockholders could suffer a material loss in their investment if they sell such Excess Shares on the open
  market. Additionally, such stockholders will not receive redemption distributions with respect to the Excess Shares if we complete the
  initial business combination. And, as a result, such stockholders will continue to hold that number of shares exceeding 15% and, in
  order to dispose such shares would be required to sell their stock in open market transactions, potentially at a loss.

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         If we seek stockholder approval in connection with our initial business combination, pursuant to the letter agreement our sponsor,
  officers and directors have agreed to vote any founder shares and placement shares held by them and any public shares they may
  acquire during or after this offering (including in open market and privately negotiated transactions) in favor of our initial business
  combination. As a result, in addition to our initial stockholders’ founder shares and placement shares and our anchor investors’ founder
  shares (if any), we would need 844,420, or 2.8%, of the 30,000,000 public shares sold in this offering to be voted in favor of an initial
  business combination (assuming only the minimum number of shares representing a quorum are voted) in order to have our initial
  business combination approved (assuming the underwriters’ over-allotment option is not exercised, that the initial stockholders do not
  purchase any units in this offering or units or shares in the after-market and that the 150,000 representative shares are voted in favor of
  the transaction). In the event that our anchor investors purchase all of the units that they have collectively expressed an interest in
  purchasing in this offering and vote their public shares in favor of our initial business combination, no affirmative votes from other
  public stockholders would be required to approve our initial business combination. However, because our anchor investors are not
  obligated to continue owning any public shares following the closing and are not obligated to vote any public shares in favor of our
  initial business combination, we cannot assure you that any of these anchor investors will be stockholders at the time our stockholders
  vote on our initial business combination, and, if they are stockholders, we cannot assure you as to how such anchor investors will vote
  on any business combination. Each public stockholder may elect to redeem its public shares irrespective of whether they vote for or
  against the proposed transaction (subject to the limitation described in the preceding paragraph).

         Pursuant to our amended and restated certificate of incorporation, if we are unable to complete our initial business combination
  within 12 months (or up to 18 months, if we extend the time to complete a business combination as described in this prospectus) from
  the closing of this offering, we will (i) cease all operations except for the purpose of winding up, (ii) as promptly as reasonably possible
  but no more than ten business days thereafter subject to lawfully available funds therefor, redeem the public shares, at a per-share price,
  payable in cash, equal to the aggregate amount then on deposit in the trust account including interest earned on the funds held in the
  trust account and not previously released to us to pay our taxes (less up to $100,000 of interest to pay dissolution expenses), divided by
  the number of then outstanding public shares, which redemption will completely extinguish public stockholders’ rights as stockholders
  (including the right to receive further liquidating distributions, if any), subject to applicable law, and (iii) as promptly as reasonably
  possible following such redemption, subject to the approval of our remaining stockholders and our board of directors, dissolve and
  liquidate, subject in the case of clauses (ii) and (iii) above to our obligations under Delaware law to provide for claims of creditors and
  the requirements of other applicable law. Our sponsor, officers, directors hand director nominees will enter into a letter agreement with
  us, pursuant to which they will agree to waive their rights to liquidating distributions from the trust account with respect to any founder
  shares and placement shares held by them if we fail to complete our initial business combination within 12 months (or up to 18 months,
  if we extend the time to complete a business combination as described in this prospectus) from the closing of this offering. However, if
  our initial stockholders acquire public shares in or after this offering, they will be entitled to liquidating distributions from the trust
  account with respect to such public shares if we fail to complete our initial business combination within the prescribed time period.

         In the event of a liquidation, dissolution or winding up of the company after an initial business combination, our stockholders are
  entitled to share ratably in all assets remaining available for distribution to them after payment of liabilities and after provision is made
  for each class of stock, if any, having preference over the common stock. Our stockholders have no preemptive or other subscription
  rights. There are no sinking fund provisions applicable to the common stock, except that we will provide our stockholders with the
  opportunity to redeem their public shares for cash equal to their pro rata share of the aggregate amount then on deposit in the trust
  account, upon the completion of our initial business combination, subject to the limitations described herein.

  Founder Shares and Placement Shares

         The founder shares and placement shares are identical to the shares of Class A common stock included in the units being sold in
  this offering, and holders of founder shares and placement shares have the same stockholder rights as public stockholders, except that
  (i) the founder shares and placement shares are subject to certain transfer restrictions, as described in more detail below, (ii) our
  sponsor, officers, directors and director nominees will enter into a letter agreement with us, pursuant to which they will agree (A) to
  waive their redemption rights with respect to any founder shares and placement shares and any public shares held by them in
  connection with the completion of our initial business combination, (B) to waive their redemption rights with respect to their founder
  shares and placement shares and any public shares in connection with a stockholder vote to approve an amendment to our amended and
  restated certificate of incorporation (x) to modify the substance or timing of our obligation to allow redemption in connection with our
  initial business combination or certain amendments to our charter prior thereto or to redeem 100% of our public shares if we do not
  complete our initial business combination within 12 months (or up to 18 months, if we extend the time to complete a business
  combination as described in this prospectus) from the closing of this offering or (y) with respect to any other provision relating to
  stockholders’ rights or pre-initial business combination activity and (C) to waive their rights to liquidating distributions from the trust
  account with respect to any founder shares held by them if we fail to complete our initial business combination within 12 months (or up
  to 18 months, if we extend the time to complete a business combination as described in this prospectus) from the closing of this

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  offering, although they will be entitled to liquidating distributions from the trust account with respect to any public shares they hold if
  we fail to complete our initial business combination within such time period, (iii) the founder shares are shares of our Class B common
  stock that will automatically convert into shares of our Class A common stock at the time of the consummation of our initial business
  combination, on a one-for-one basis, subject to adjustment as described herein, and (iv) are entitled to registration rights. If we submit
  our initial business combination to our public stockholders for a vote, our sponsor, officers, directors and director nominees will vote
  any founder shares and placement shares held by them and any public shares purchased during or after this offering (including in open
  market and privately negotiated transactions) in favor of our initial business combination. The placement shares will not be
  transferable, assignable or saleable until 30 days after the consummation of our initial business combination except to permitted
  transferees.


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         The shares of Class B common stock will automatically convert into shares of Class A common stock at the time of the
  consummation of our initial business combination on a one-for-one basis (subject to adjustment for stock splits, stock dividends,
  reorganizations, recapitalizations and the like), and subject to further adjustment as provided herein. In the case that additional shares
  of Class A common stock, or equity-linked securities, are issued or deemed issued in excess of the amounts offered in this prospectus
  and related to the closing of the initial business combination, the ratio at which shares of Class B common stock shall convert into
  shares of Class A common stock will be adjusted (unless the holders of a majority of the outstanding shares of Class B common stock
  agree to waive such adjustment with respect to any such issuance or deemed issuance) so that the number of shares of Class A common
  stock issuable upon conversion of all shares of Class B common stock will equal, in the aggregate, on an as-converted basis, 20% of
  the sum of the total number of all shares of common stock outstanding upon completion of this offering (excluding the representative
  shares and the placement units and underlying securities) plus all shares of Class A common stock and equity-linked securities issued
  or deemed issued in connection with the initial business combination (excluding any shares or equity-linked securities issued, or to be
  issued, to any seller in the initial business combination, any private placement-equivalent units and their underlying securities issued to
  our sponsor or its affiliates upon conversion of loans made to us). We cannot determine at this time whether a majority of the holders of
  our Class B common stock at the time of any future issuance would agree to waive such adjustment to the conversion ratio. They may
  waive such adjustment due to (but not limited to) the following: (i) closing conditions which are part of the agreement for our initial
  business combination; (ii) negotiation with Class A stockholders on structuring an initial business combination; or (iii) negotiation with
  parties providing financing which would trigger the anti-dilution provisions of the Class B common stock. If such adjustment is not
  waived, the issuance would not reduce the percentage ownership of holders of our Class B common stock, but would reduce the
  percentage ownership of holders of our Class A common stock. If such adjustment is waived, the issuance would reduce the percentage
  ownership of holders of both classes of our common stock. The term “equity-linked securities” refers to any debt or equity securities
  that are convertible, exercisable or exchangeable for shares of Class A common stock issues in a financing transaction in connection
  with our initial business combination, including but not limited to a private placement of equity or debt. Securities could be “deemed
  issued” for purposes of the conversion rate adjustment if such shares are issuable upon the conversion or exercise of convertible
  securities, warrants or similar securities.

         With certain limited exceptions, the founder shares are not transferable, assignable or saleable (except to our officers and
  directors and other persons or entities affiliated with our sponsor, each of whom will be subject to the same transfer restrictions) until
  the earlier to occur of: (A) six months after the completion of our initial business combination and (B) subsequent to our initial
  business combination, (x) if the reported last sale price of our Class A common stock equals or exceeds $12.00 per share (as adjusted
  for stock splits, stock dividends, reorganizations, recapitalizations and the like) for any 20 trading days within any 30-trading day
  period commencing at least 150 days after our initial business combination, or (y) the date on which we complete a liquidation, merger,
  capital stock exchange or other similar transaction that results in all of our stockholders having the right to exchange their shares of
  common stock for cash, securities or other property.

  Preferred Stock

         Our amended and restated certificate of incorporation provides that shares of preferred stock may be issued from time to time in
  one or more series. Our board of directors will be authorized to fix the voting rights, if any, designations, powers, preferences, the
  relative, participating, optional or other special rights and any qualifications, limitations and restrictions thereof, applicable to the
  shares of each series. Our board of directors will be able to, without stockholder approval, issue preferred stock with voting and other
  rights that could adversely affect the voting power and other rights of the holders of the common stock and could have anti-takeover
  effects. The ability of our board of directors to issue preferred stock without stockholder approval could have the effect of delaying,
  deferring or preventing a change of control of us or the removal of existing management. We have no preferred stock outstanding at the
  date hereof. Although we do not currently intend to issue any shares of preferred stock, we cannot assure you that we will not do so in
  the future. No shares of preferred stock are being issued or registered in this offering.

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  Redeemable Warrants

  Public Stockholders’ Warrants

        Each whole warrant entitles the registered holder to purchase one share of our Class A common stock at a price of $11.50 per
  share, subject to adjustment as discussed below, at any time commencing on the later of 12 months from the closing of this offering and
  30 days after the completion of our initial business combination. Pursuant to the warrant agreement, a warrant holder may exercise its
  warrants only for a whole number of shares of Class A common stock. This means that only a whole warrant may be exercised at any
  given time by a warrant holder. No fractional warrants will be issued upon separation of the units and only whole warrants will trade.
  Accordingly, unless you purchase at least two units, you will not be able to receive or trade a whole warrant.

         The warrants will expire five years after the completion of our initial business combination, at 5:00 p m., New York City time, or
  earlier upon redemption or liquidation.

        We will not be obligated to deliver any shares of Class A common stock pursuant to the exercise of a warrant and will have no
  obligation to settle such warrant exercise unless a registration statement under the Securities Act with respect to the shares of Class A
  common stock underlying the warrants is then effective and a prospectus relating thereto is current, subject to our satisfying our
  obligations described below with respect to registration. No warrant will be exercisable and we will not be obligated to issue shares of
  Class A common stock upon exercise of a warrant unless Class A common stock issuable upon such warrant exercise has been
  registered, qualified or deemed to be exempt under the securities laws of the state of residence of the registered holder of the warrants.
  In the event that the conditions in the two immediately preceding sentences are not satisfied with respect to a warrant, the holder of
  such warrant will not be entitled to exercise such warrant and such warrant may have no value and expire worthless. In no event will
  we be required to net cash settle any warrant. In the event that a registration statement is not effective for the exercised warrants, the
  purchaser of a unit containing such warrant will have paid the full purchase price for the unit solely for the share of Class A common
  stock underlying such unit.

         We are not registering the shares of Class A common stock issuable upon exercise of the warrants at this time. However, we have
  agreed that as soon as practicable, but in no event later than 15 business days after the closing of our initial business combination, we
  will use our best efforts to file with the SEC a registration statement covering the shares of Class A common stock issuable upon
  exercise of the warrants, to cause such registration statement to become effective and to maintain a current prospectus relating to those
  shares of Class A common stock until the warrants expire or are redeemed, as specified in the warrant agreement. If a registration
  statement covering the shares of Class A common stock issuable upon exercise of the warrants is not effective by the 60th business day
  after the closing of our initial business combination, warrant holders may, until such time as there is an effective registration statement
  and during any period when we will have failed to maintain an effective registration statement, exercise warrants on a “cashless basis”
  in accordance with Section 3(a)(9) of the Securities Act or another exemption. Notwithstanding the foregoing, if a registration
  statement covering the Class A common stock issuable upon exercise of the warrants is not effective within a specified period
  following the consummation of our initial business combination, warrant holders may, until such time as there is an effective
  registration statement and during any period when we shall have failed to maintain an effective registration statement, exercise
  warrants on a cashless basis pursuant to the exemption provided by Section 3(a)(9) of the Securities Act of 1933, as amended, or the
  Securities Act, provided that such exemption is available. If that exemption, or another exemption, is not available, holders will not be
  able to exercise their warrants on a cashless basis.

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        Once the warrants become exercisable, we may call the warrants for redemption:

        •     in whole and not in part;

        •     at a price of $0.01 per warrant;

        •     upon not less than 30 days’ prior written notice of redemption given after the warrants become exercisable (the “30-day
              redemption period”) to each warrant holder; and

        •     if, and only if, the reported last sale price of the Class A common stock equals or exceeds $18.00 per share (as adjusted for
              stock splits, stock dividends, reorganizations, recapitalizations and the like) for any 20 trading days within a 30-trading day
              period commencing once the warrants become exercisable and ending three business days before we send the notice of
              redemption to the warrant holders.

        If and when the warrants become redeemable by us, we may not exercise our redemption right if the issuance of shares of
  common stock upon exercise of the warrants is not exempt from registration or qualification under applicable state blue sky laws or we
  are unable to effect such registration or qualification. We will use our best efforts to register or qualify such shares of common stock
  under the blue sky laws of the state of residence in those states in which the warrants were offered by us in this offering.

        We have established the last of the redemption criterion discussed above to prevent a redemption call unless there is at the time of
  the call a significant premium to the warrant exercise price. If the foregoing conditions are satisfied and we issue a notice of
  redemption of the warrants, each warrant holder will be entitled to exercise its warrant prior to the scheduled redemption date.
  However, the price of the Class A common stock may fall below the $18.00 redemption trigger price (as adjusted for stock splits, stock
  dividends, reorganizations, recapitalizations and the like) as well as the $11.50 warrant exercise price after the redemption notice is
  issued.

         If we call the warrants for redemption as described above, our management will have the option to require any holder that wishes
  to exercise its warrant to do so on a “cashless basis.” In determining whether to require all holders to exercise their warrants on a
  “cashless basis,” our management will consider, among other factors, our cash position, the number of warrants that are outstanding
  and the dilutive effect on our stockholders of issuing the maximum number of shares of Class A common stock issuable upon the
  exercise of our warrants. If our management takes advantage of this option, all holders of warrants would pay the exercise price by
  surrendering their warrants for that number of shares of Class A common stock equal to the quotient obtained by dividing (x) the
  product of the number of shares of Class A common stock underlying the warrants, multiplied by the difference between the exercise
  price of the warrants and the “fair market value” (defined below) by (y) the fair market value. The “fair market value” for this purpose
  shall mean the average reported last sale price of the Class A common stock for the 10 trading days ending on the third trading day
  prior to the date on which the notice of redemption is sent to the holders of warrants. If our management takes advantage of this option,
  the notice of redemption will contain the information necessary to calculate the number of shares of Class A common stock to be
  received upon exercise of the warrants, including the “fair market value” in such case. Requiring a cashless exercise in this manner will
  reduce the number of shares to be issued and thereby lessen the dilutive effect of a warrant redemption. We believe this feature is an
  attractive option to us if we do not need the cash from the exercise of the warrants after our initial business combination. If we call our
  warrants for redemption and our management does not take advantage of this option, our sponsor and its permitted transferees would
  still be entitled to exercise their placement warrants for cash or on a cashless basis using the same formula described above that other
  warrant holders would have been required to use had all warrant holders been required to exercise their warrants on a cashless basis, as
  described in more detail below.

         A holder of a warrant may notify us in writing in the event it elects to be subject to a requirement that such holder will not have
  the right to exercise such warrant, to the extent that after giving effect to such exercise, such person (together with such person’s
  affiliates), to the warrant agent’s actual knowledge, would beneficially own in excess of 4.9% or 9.8% (or such other amount as a
  holder may specify) of the shares of Class A common stock outstanding immediately after giving effect to such exercise.

        If the number of outstanding shares of Class A common stock is increased by a stock dividend payable in shares of Class A
  common stock, or by a split-up of shares of Class A common stock or other similar event, then, on the effective date of such stock
  dividend, split-up or similar event, the number of shares of Class A common stock issuable on exercise of each whole warrant will be
  increased in proportion to such increase in the outstanding shares of Class A common stock. A rights offering to holders of Class A
  common stock entitling holders to purchase shares of Class A common stock at a price less than the fair market value will be deemed a
  stock dividend of a number of shares of Class A common stock equal to the product of (i) the number of shares of Class A common
  stock actually sold in such rights offering (or issuable under any other equity securities sold in such rights offering that are convertible
  into or exercisable for Class A common stock) and (ii) one (1) minus the quotient of (x) the price per share of Class A common stock

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  paid in such rights offering divided by (y) the fair market value. For these purposes (i) if the rights offering is for securities convertible
  into or exercisable for Class A common stock, in determining the price payable for Class A common stock, there will be taken into
  account any consideration received for such rights, as well as any additional amount payable upon exercise or conversion and (ii) fair
  market value means the volume weighted average price of Class A common stock as reported during the ten (10) trading day period
  ending on the trading day prior to the first date on which the shares of Class A common stock trade on the applicable exchange or in
  the applicable market, regular way, without the right to receive such rights.

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         In addition, if we, at any time while the warrants are outstanding and unexpired, pay a dividend or make a distribution in cash,
  securities or other assets to the holders of Class A common stock on account of such shares of Class A common stock (or other shares
  of our capital stock into which the warrants are convertible), other than (a) as described above, (b) certain ordinary cash dividends,
  (c) to satisfy the redemption rights of the holders of Class A common stock in connection with a proposed initial business combination,
  (d) to satisfy the redemption rights of the holders of Class A common stock in connection with a stockholder vote to amend our
  amended and restated certificate of incorporation (i) to modify the substance or timing of our obligation to allow redemption in
  connection with our initial business combination or certain amendments to our charter prior thereto or to redeem 100% of our Class A
  common stock if we do not complete our initial business combination within 12 months (or up to 18 months, if we extend the time to
  complete a business combination as described in this prospectus) from the closing of this offering or (ii) with respect to any other
  provision relating to stockholders’ rights or pre-initial business combination activity, or (e) in connection with the redemption of our
  public shares upon our failure to complete our initial business combination, then the warrant exercise price will be decreased, effective
  immediately after the effective date of such event, by the amount of cash and/or the fair market value of any securities or other assets
  paid on each share of Class A common stock in respect of such event.

         If the number of outstanding shares of our Class A common stock is decreased by a consolidation, combination, reverse stock
  split or reclassification of shares of Class A common stock or other similar event, then, on the effective date of such consolidation,
  combination, reverse stock split, reclassification or similar event, the number of shares of Class A common stock issuable on exercise
  of each warrant will be decreased in proportion to such decrease in outstanding shares of Class A common stock.

         Whenever the number of shares of Class A common stock purchasable upon the exercise of the warrants is adjusted, as described
  above, the warrant exercise price will be adjusted by multiplying the warrant exercise price immediately prior to such adjustment by a
  fraction (x) the numerator of which will be the number of shares of Class A common stock purchasable upon the exercise of the
  warrants immediately prior to such adjustment, and (y) the denominator of which will be the number of shares of Class A common
  stock so purchasable immediately thereafter.

         In case of any reclassification or reorganization of the outstanding shares of Class A common stock (other than those described
  above or that solely affects the par value of such shares of Class A common stock), or in the case of any merger or consolidation of us
  with or into another corporation (other than a consolidation or merger in which we are the continuing corporation and that does not
  result in any reclassification or reorganization of our outstanding shares of Class A common stock), or in the case of any sale or
  conveyance to another corporation or entity of the assets or other property of us as an entirety or substantially as an entirety in
  connection with which we are dissolved, the holders of the warrants will thereafter have the right to purchase and receive, upon the
  basis and upon the terms and conditions specified in the warrants, the kind and amount of shares of stock or other securities or property
  (including cash) receivable upon such reclassification, reorganization, merger or consolidation, or upon a dissolution following any
  such sale or transfer, that the holder of the warrants would have received if such holder had exercised their warrants immediately prior
  to such event.

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        The warrants will be issued in registered form under a warrant agreement between Continental Stock Transfer & Trust Company,
  as warrant agent, and us. You should review a copy of the warrant agreement, which has been filed as an exhibit to the registration
  statement of which this prospectus is a part, for a complete description of the terms and conditions applicable to the warrants. The
  warrant agreement provides that the terms of the warrants may be amended without the consent of any holder to cure any ambiguity or
  correct any mistake, including to conform the provisions of the warrant agreement to the description of the terms of the warrants and
  the warrant agreement set forth in this prospectus, or defective provision, but requires the approval by the holders of at least a majority
  of the then outstanding public warrants to make any change that adversely affects the interests of the registered holders of public
  warrants.

         In addition, if (x) we issue additional shares of Class A common stock or equity-linked securities for capital raising purposes in
  connection with the closing of our initial business combination at a Newly Issued Price of less than $9.20 per share of Class A common
  stock (with such issue price or effective issue price to be determined in good faith by our board of directors and, in the case of any such
  issuance to our sponsor or its affiliates, without taking into account any founder shares held by our sponsor or such affiliates, as
  applicable, prior to such issuance), (y) the aggregate gross proceeds from such issuances represent more than 60% of the total equity
  proceeds, and interest thereon, available for the funding of our initial business combination on the date of the consummation of our
  initial business combination (net of redemptions), and (z) the Market Value is below $9.20 per share, then the exercise price of the
  warrants will be adjusted (to the nearest cent) to be equal to 115% of the greater of the Market Value and the Newly Issued Price, and
  the $18.00 per share redemption trigger price described above will be adjusted (to the nearest cent) to be equal to 180% of the greater
  of the Market Value and the Newly Issued Price.

        The warrants may be exercised upon surrender of the warrant certificate on or prior to the expiration date at the offices of the
  warrant agent, with the exercise form on the reverse side of the warrant certificate completed and executed as indicated, accompanied
  by full payment of the exercise price (or on a cashless basis, if applicable), by certified or official bank check payable to us, for the
  number of warrants being exercised. The warrant holders do not have the rights or privileges of holders of Class A common stock and
  any voting rights until they exercise their warrants and receive shares of Class A common stock. After the issuance of shares of Class A
  common stock upon exercise of the warrants, each holder will be entitled to one (1) vote for each share held of record on all matters to
  be voted on by stockholders.

        No fractional shares will be issued upon exercise of the warrants. If, upon exercise of the warrants, a holder would be entitled to
  receive a fractional interest in a share, we will, upon exercise, round down to the nearest whole number of shares of Class A common
  stock to be issued to the warrant holder.

        We have agreed that, subject to applicable law, any action, proceeding or claim against us arising out of or relating in any way to
  the warrant agreement will be brought and enforced in the courts of the State of New York or the United States District Court for the
  Southern District of New York, and we irrevocably submit to such jurisdiction, which jurisdiction will be the exclusive forum for any
  such action, proceeding or claim. See “Risk Factors — Our warrant agreement designates the courts of the State of New York or the
  United States District Court for the Southern District of New York as the sole and exclusive forum for certain types of actions and
  proceedings that may be initiated by holders of our warrants, which could limit the ability of warrant holders to obtain a favorable
  judicial forum for disputes with our company.” This provision applies to claims under the Securities Act but does not apply to claims
  under the Exchange Act or any claim for which the federal district courts of the United States of America are the sole and exclusive
  forum.

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  Placement warrants

         Except as described below, the placement warrants have terms and provisions that are identical to those of the warrants being
  sold as part of the units in this offering, including as to exercise price, exercisability and exercise period. The placement warrants
  (including the Class A common stock issuable upon exercise of the placement warrants) will not be transferable, assignable or salable
  until 30 days after the completion of our initial business combination (except, among other limited exceptions as described under the
  section of this prospectus entitled “Principal Stockholders — Restrictions on Transfers of Founder Shares and Placement Units,” to our
  officers and directors and other persons or entities affiliated with our sponsor).

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        In addition, holders of our placement warrants are entitled to certain registration rights.

         In order to finance transaction costs in connection with an intended initial business combination, our sponsor or an affiliate of our
  sponsor or certain of our officers and directors may, but are not obligated to, loan us funds as may be required. Up to $1,500,000 of
  such loans may be convertible into units, at a price of $10.00 per unit at the option of the lender, upon consummation of our initial
  business combination. The units would be identical to the placement units. However, as the units would not be issued until
  consummation of our initial business combination, any warrants underlying such units would not be able to be voted on an amendment
  to the warrant agreement in connection with such business combination.

        Our sponsor has agreed not to transfer, assign or sell any of the placement warrants (including the Class A common stock
  issuable upon exercise of any of these warrants) until the date that is 30 days after the date we complete our initial business
  combination, except that, among other limited exceptions as described under the section of this prospectus entitled “Principal
  Stockholders — Restrictions on Transfers of Founder Shares and Placement Warrants” made to our officers and directors and other
  persons or entities affiliated with our sponsor.


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  Dividends

        We have not paid any cash dividends on our common stock to date and do not intend to pay cash dividends prior to the
  completion of an initial business combination. The payment of cash dividends in the future will be dependent upon our revenues and
  earnings, if any, capital requirements and general financial conditions subsequent to completion of an initial business combination. The
  payment of any cash dividends subsequent to an initial business combination will be within the discretion of our board of directors at
  such time. If we increase or decrease the size of the offering we will effect a stock dividend or a share contribution back to capital or
  other appropriate mechanism, as applicable, with respect to our Class B common stock immediately prior to the consummation of the
  offering in such amount as to maintain the ownership of our initial stockholders at 20.0% of the issued and outstanding shares of our
  common stock (excluding the placement units and the underlying securities and representative shares and assuming they do not
  purchase any units in this offering) upon the consummation of this offering. Further, if we incur any indebtedness, our ability to declare
  dividends may be limited by restrictive covenants we may agree to in connection therewith.

  Our Transfer Agent and Warrant Agent

         The transfer agent for our common stock and warrant agent for our warrants is Continental Stock Transfer & Trust Company. We
  have agreed to indemnify Continental Stock Transfer & Trust Company in its roles as transfer agent and warrant agent, its agents and
  each of its stockholders, directors, officers and employees against all claims and losses that may arise out of acts performed or omitted
  for its activities in that capacity, except for any liability due to any gross negligence, willful misconduct or bad faith of the indemnified
  person or entity.


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  Our Amended and Restated Certificate of Incorporation

         Our amended and restated certificate of incorporation will contain certain requirements and restrictions relating to this offering
  that will apply to us until the completion of our initial business combination. These provisions cannot be amended without the approval
  of the holders of at least 65% of our common stock. Our initial stockholders, who will collectively beneficially own approximately
  22.3% of our common stock upon the closing of this offering (including the placement shares to be issued to the sponsor and assuming
  they and the anchor investors do not purchase any units in this offering), will participate in any vote to amend our amended and
  restated certificate of incorporation and will have the discretion to vote in any manner they choose. Specifically, our amended and
  restated certificate of incorporation provides, among other things, that:

        •     If we are unable to complete our initial business combination within 12 months (or up to 18 months, if we extend the time
              to complete a business combination as described in this prospectus) from the closing of this offering, we will (i) cease all
              operations except for the purpose of winding up, (ii) as promptly as reasonably possible but not more than ten business
              days thereafter subject to lawfully available funds therefor, redeem 100% of the public shares, at a per-share price, payable
              in cash, equal to the aggregate amount then on deposit in the trust account including interest earned on the funds held in
              the trust account and not previously released to us to pay our taxes (less up to $100,000 of interest to pay dissolution
              expenses), divided by the number of then outstanding public shares, which redemption will completely extinguish public
              stockholders’ rights as stockholders (including the right to receive further liquidating distributions, if any), subject to
              applicable law, and (iii) as promptly as reasonably possible following such redemption, subject to the approval of our
              remaining stockholders and our board of directors, dissolve and liquidate, subject in the case of clauses (ii) and (iii) above
              to our obligations under Delaware law to provide for claims of creditors and the requirements of other applicable law;

        •     Prior to our initial business combination, we may not issue additional shares of capital stock that would entitle the holders
              thereof to (i) receive funds from the trust account or (ii) vote on any initial business combination;

        •     Although we do not intend to enter into an initial business combination with a target business that is affiliated with our
              sponsor, our directors or our officers, we are not prohibited from doing so. In the event we enter into such a transaction,
              we, or a committee of independent directors, will obtain an opinion from an independent investment banking firm or
              another independent entity that commonly renders valuation opinions that such an initial business combination is fair to
              our company from a financial point of view;

        •     If a stockholder vote on our initial business combination is not required by law and we do not decide to hold a stockholder
              vote for business or other legal reasons, we will offer to redeem our public shares pursuant to Rule 13e-4 and Regulation
              14E of the Exchange Act, and will file tender offer documents with the SEC prior to completing our initial business
              combination which contain substantially the same financial and other information about our initial business combination
              and the redemption rights as is required under Regulation 14A of the Exchange Act; whether or not we maintain our
              registration under the Exchange Act or our listing on Nasdaq, we will provide our public stockholders with the opportunity
              to redeem their public shares by one of the two methods listed above;

        •     So long as we obtain and maintain a listing for our securities on Nasdaq, Nasdaq rules require that we must complete one
              or more business combinations having an aggregate fair market value of at least 80% of the value of the assets held in the
              trust account (excluding the deferred underwriting commissions and taxes payable on the interest earned on the trust
              account) at the time of our signing a definitive agreement in connection with our initial business combination;

        •     If our stockholders approve an amendment to our amended and restated certificate of incorporation (i) to modify the
              substance or timing of our obligation to allow redemption in connection with our initial business combination or certain
              amendments to our charter prior thereto or to redeem 100% of our public shares if we do not complete our initial business
              combination within 12 month (or up to 18 months, if we extend the time to complete a business combination as described
              in this prospectus) from the closing of this offering or (ii) with respect to any other provision relating to stockholders’
              rights or pre-business combination activity, we will provide our public stockholders with the opportunity to redeem all or a
              portion of their shares of Class A common stock upon such approval at a per-share price, payable in cash, equal to the
              aggregate amount then on deposit in the trust account, including interest earned on the funds held in the trust account and
              not previously released to us to pay our taxes, divided by the number of then outstanding public shares; and

        •     We will not effectuate our initial business combination with another blank check company or a similar company with
              nominal operations.

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        In addition, our amended and restated certificate of incorporation provides that under no circumstances will we redeem our
  public shares unless our net tangible assets are at least $5,000,001 either immediately prior to or upon consummation of our initial
  business combination and after payment of underwriters’ fees and commissions.

  Certain Anti-Takeover Provisions of Delaware Law and our Amended and Restated Certificate of Incorporation and Bylaws

        We are subject to the provisions of Section 203 of the DGCL regulating corporate takeovers upon completion of this offering.
  This statute prevents certain Delaware corporations, under certain circumstances, from engaging in a “business combination” with:

        •     a stockholder who owns 15% or more of our outstanding voting stock (otherwise known as an “interested stockholder”);

        •     an affiliate of an interested stockholder; or

        •     an associate of an interested stockholder, for three years following the date that the stockholder became an interested
              stockholder.

        A “business combination” includes a merger or sale of more than 10% of our assets. However, the above provisions of
  Section 203 do not apply if:

        •     our board of directors approves the transaction that made the stockholder an “interested stockholder,” prior to the date of
              the transaction;

        •     after the completion of the transaction that resulted in the stockholder becoming an interested stockholder, that stockholder
              owned at least 85% of our voting stock outstanding at the time the transaction commenced, other than statutorily excluded
              shares of common stock; or

        •     on or subsequent to the date of the transaction, the initial business combination is approved by our board of directors and
              authorized at a meeting of our stockholders, and not by written consent, by an affirmative vote of at least two-thirds of the
              outstanding voting stock not owned by the interested stockholder.

        Our amended and restated certificate of incorporation will provide that our board of directors will be classified into three classes
  of directors. As a result, in most circumstances, a person can gain control of our board only by successfully engaging in a proxy contest
  at two or more annual meetings.

         Our authorized but unissued common stock and preferred stock are available for future issuances without stockholder approval
  and could be utilized for a variety of corporate purposes, including future offerings to raise additional capital, acquisitions and
  employee benefit plans. The existence of authorized but unissued and unreserved common stock and preferred stock could render more
  difficult or discourage an attempt to obtain control of us by means of a proxy contest, tender offer, merger or otherwise.

  Exclusive forum for certain lawsuits

         Our amended and restated certificate of incorporation will require, to the fullest extent permitted by law, that derivative actions
  brought in our name, actions against directors, officers and employees for breach of fiduciary duty and certain other actions may be
  brought only in the Court of Chancery in the State of Delaware, except any action (A) as to which the Court of Chancery in the State of
  Delaware determines that there is an indispensable party not subject to the jurisdiction of the Court of Chancery (and the indispensable
  party does not consent to the personal jurisdiction of the Court of Chancery within ten days following such determination), (B) which
  is vested in the exclusive jurisdiction of a court or forum other than the Court of Chancery or (C) for which the Court of Chancery does
  not have subject matter jurisdiction. If an action is brought outside of Delaware, the stockholder bringing the suit will be deemed to
  have consented to service of process on such stockholder’s counsel. Although we believe this provision benefits us by providing
  increased consistency in the application of law in the types of lawsuits to which it applies, a court may determine that this provision is
  unenforceable, and to the extent it is enforceable, the provision may have the effect of discouraging lawsuits against our directors and
  officers.

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         Our amended and restated certificate of incorporation will provide that the exclusive forum provision will be applicable to the
  fullest extent permitted by applicable law, subject to certain exceptions. Section 27 of the Exchange Act creates exclusive federal
  jurisdiction over all suits brought to enforce any duty or liability created by the Exchange Act or the rules and regulations thereunder.
  As a result, the exclusive forum provision will not apply to suits brought to enforce any duty or liability created by the Exchange Act or
  any other claim for which the federal courts have exclusive jurisdiction. In addition, our amended and restated certificate of
  incorporation provides that, unless we consent in writing to the selection of an alternative forum, the federal district courts of the
  United States of America shall, to the fullest extent permitted by law, be the exclusive forum for the resolution of any complaint
  asserting a cause of action arising under the Securities Act, or the rules and regulations promulgated thereunder. We note, however, that
  there is uncertainty as to whether a court would enforce this provision and that investors cannot waive compliance with the federal
  securities laws and the rules and regulations thereunder. Section 22 of the Securities Act creates concurrent jurisdiction for state and
  federal courts over all suits brought to enforce any duty or liability created by the Securities Act or the rules and regulations thereunder.

  Special meeting of stockholders

       Our bylaws provide that special meetings of our stockholders may be called only by a majority vote of our board of directors, by
  our Chief Executive Officer or by our Chairman.

  Advance notice requirements for stockholder proposals and director nominations

        Our bylaws provide that stockholders seeking to bring business before our annual meeting of stockholders, or to nominate
  candidates for election as directors at our annual meeting of stockholders, must provide timely notice of their intent in writing. To be
  timely, a stockholder’s notice will need to be received by the company secretary at our principal executive offices not later than the
  close of business on the 90th day nor earlier than the opening of business on the 120th day prior to the anniversary date of the
  immediately preceding annual meeting of stockholders. Pursuant to Rule 14a-8 of the Exchange Act, proposals seeking inclusion in our
  annual proxy statement must comply with the notice periods contained therein. Our bylaws also specify certain requirements as to the
  form and content of a stockholders’ meeting. These provisions may preclude our stockholders from bringing matters before our annual
  meeting of stockholders or from making nominations for directors at our annual meeting of stockholders.

  Action by written consent

        Subsequent to the consummation of the offering, any action required or permitted to be taken by our common stockholders must
  be effected by a duly called annual or special meeting of such stockholders and may not be effected by written consent of the
  stockholders other than with respect to our Class B common stock.

  Classified Board of Directors

        Our board of directors is divided into three classes, Class I, Class II and Class III, with members of each class serving staggered
  three-year terms. Our amended and restated certificate of incorporation will provide that the authorized number of directors may be
  changed only by resolution of the board of directors. Subject to the terms of any preferred stock, any or all of the directors may be
  removed from office at any time, but only for cause and only by the affirmative vote of holders of a majority of the voting power of all
  then outstanding shares of our capital stock entitled to vote generally in the election of directors, voting together as a single class. Any
  vacancy on our board of directors, including a vacancy resulting from an enlargement of our board of directors, may be filled only by
  vote of a majority of our directors then in office.

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  Class B Common Stock Consent Right

        For so long as any shares of Class B common stock remain outstanding, we may not, without the prior vote or written consent of
  the holders of a majority of the shares of Class B common stock then outstanding, voting separately as a single class, amend, alter or
  repeal any provision our certificate of incorporation, whether by merger, consolidation or otherwise, if such amendment, alteration or
  repeal would alter or change the powers, preferences or relative, participating, optional or other or special rights of the Class B
  common stock. Any action required or permitted to be taken at any meeting of the holders of Class B common stock may be taken
  without a meeting, without prior notice and without a vote, if a consent or consents in writing, setting forth the action so taken, shall be
  signed by the holders of the outstanding Class B common stock having not less than the minimum number of votes that would be
  necessary to authorize or take such action at a meeting at which all shares of Class B common stock were present and voted.

  Securities Eligible for Future Sale

         Immediately after the consummation of this offering (assuming no exercise of the underwriters’ over-allotment option) we will
  have 38,824,109 (or 44,617,859 if the underwriters’ over-allotment option is exercised in full) shares of common stock outstanding. Of
  these shares, the 30,000,000 shares (or 34,500,000 if the underwriters’ over-allotment option is exercised in full) sold in this offering
  will be freely tradable without restriction or further registration under the Securities Act, except for any shares purchased by one of our
  affiliates within the meaning of Rule 144 under the Securities Act. All of the remaining 7,500,000 (or 8,625,000 if the underwriters’
  over-allotment option is exercised in full) founder shares, all 1,174,109 placement units (or 1,320,359 if the underwriter’s over-
  allotment option is exercised in full, including component securities contained therein) and all 150,000 representative shares (or
  172,500 representative shares if the underwriters’ over-allotment option is exercised in full) are restricted securities under Rule 144, in
  that they were issued in private transactions not involving a public offering, and the shares of Class B common stock and placement
  units (including component securities contained therein) are subject to transfer restrictions as set forth elsewhere in this prospectus.
  These restricted securities will be entitled to registration rights as more fully described below under “— Registration Rights.”

  Rule 144

        Pursuant to Rule 144, a person who has beneficially owned restricted shares of our common stock or warrants for at least six
  months would be entitled to sell their securities provided that (i) such person is not deemed to have been one of our affiliates at the
  time of, or at any time during the three months preceding, a sale and (ii) we are subject to the Exchange Act periodic reporting
  requirements for at least three months before the sale and have filed all required reports under Section 13 or 15(d) of the Exchange Act
  during the 12 months (or such shorter period as we were required to file reports) preceding the sale.

         Persons who have beneficially owned restricted shares of our common stock or warrants for at least six months but who are our
  affiliates at the time of, or at any time during the three months preceding, a sale, would be subject to additional restrictions, by which
  such person would be entitled to sell within any three-month period only a number of securities that does not exceed the greater of:

        •     1% of the total number of shares of common stock then outstanding, which will equal 388,241 shares immediately after
              this offering (or 446,178 shares if the underwriters exercise their over-allotment option in full); or

        •     the average weekly reported trading volume of the common stock during the four calendar weeks preceding the filing of a
              notice on Form 144 with respect to the sale.

        Sales by our affiliates under Rule 144 are also limited by manner of sale provisions and notice requirements and to the
  availability of current public information about us.

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  Restrictions on the Use of Rule 144 by Shell Companies or Former Shell Companies

         Rule 144 is not available for the resale of securities initially issued by shell companies (other than business combination related
  shell companies) or issuers that have been at any time previously a shell company. However, Rule 144 also includes an important
  exception to this prohibition if the following conditions are met:

        •     the issuer of the securities that was formerly a shell company has ceased to be a shell company;

        •     the issuer of the securities is subject to the reporting requirements of Section 13 or 15(d) of the Exchange Act;

        •     the issuer of the securities has filed all Exchange Act reports and materials required to be filed, as applicable, during the
              preceding 12 months (or such shorter period that the issuer was required to file such reports and materials), other than
              Current Reports on Form 8-K; and

        •     at least one year has elapsed from the time that the issuer filed current Form 10 type information with the SEC reflecting
              its status as an entity that is not a shell company.

        As a result, our initial stockholders will be able to sell their founder shares and placement units (including component securities
  contained therein), as applicable, pursuant to Rule 144 without registration one year after we have completed our initial business
  combination.

  Registration Rights

         The holders of the founder shares, representative shares, placement units (including component securities contained therein) and
  units (including securities contained therein) that may be issued upon conversion of working capital loans, and any shares of Class A
  common stock issuable upon the exercise of the placement warrants and any shares of Class A common stock and warrants (and
  underlying Class A common stock) that may be issued upon conversion of the units issued as part of the working capital loans and
  Class A common stock issuable upon conversion of the founder shares, are entitled to registration rights pursuant to a registration rights
  agreement signed on the effective date of this offering, requiring us to register such securities for resale (in the case of the founder
  shares, only after conversion to our Class A common stock). The holders of the majority of these securities are entitled to make up to
  three demands, excluding short form demands, that we register such securities. In addition, the holders have certain “piggy-back”
  registration rights with respect to registration statements filed subsequent to our completion of our initial business combination and
  rights to require us to register for resale such securities pursuant to Rule 415 under the Securities Act. The registration rights agreement
  does not contain liquidated damages or other cash settlement provisions resulting from delays in registering our securities. We will bear
  the expenses incurred in connection with the filing of any such registration statements. We will bear the expenses incurred in
  connection with the filing of any such registration statements.

  Listing of Securities

        We have applied to list our units, Class A common stock and warrants on Nasdaq under the symbols “DWACU,” “DWAC” and
  “DWACW,” respectively. Our units will be listed on Nasdaq on or promptly after the effective date of the registration statement.
  Following the date the shares of our Class A common stock and warrants are eligible to trade separately, we anticipate that the shares of
  our Class A common stock and warrants will be listed separately and as a unit on Nasdaq.

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                                  UNITED STATES FEDERAL INCOME TAX CONSIDERATIONS

        The following discussion summarizes certain U.S. federal income tax considerations generally applicable to the acquisition,
  ownership and disposition of our units (each consisting of one share of our Class A common stock and one-half of one redeemable
  warrant to acquire one share of our Class A common stock, that are purchased in this offering by U.S. Holders (as defined below) and
  Non-U.S. Holders (as defined below). Because the components of a unit are generally separable at the option of the holder, the holder
  of a unit generally should be treated, for U.S. federal income tax purposes, as the owner of the underlying share of our Class A
  common stock and the one-half of one warrant. As a result, the discussion below with respect to holders of shares of our Class A
  common stock and warrants should also apply to holders of units (as the deemed owners of the underlying common stock and warrants
  that constitute the units).

        This discussion is limited to certain U.S. federal income tax considerations to beneficial owners of our securities who are initial
  purchasers of a unit pursuant to this offering and hold the unit and each component of the unit as capital assets within the meaning of
  Section 1221(a) of the U.S. Internal Revenue Code of 1986, as amended (the “Code”) (generally, property held for investment). This
  discussion assumes that the shares of our Class A common stock and warrants will trade separately and that any distributions made (or
  deemed made) by us on the shares of our Class A common stock and any consideration received (or deemed received) by a holder in
  consideration for the sale or other disposition of our securities will be in U.S. dollars. This discussion is a summary only and does not
  consider all aspects of U.S. federal income taxation that may be relevant to the acquisition, ownership and disposition of a unit by a
  prospective investor in light of its particular circumstances or that is subject to special rules under the U.S. federal income tax laws,
  including, but not limited to:

        •     our sponsor, officers, directors or other holders of our Class B common stock or placement warrants;

        •     banks and other financial institutions or financial services entities;

        •     broker-dealers;

        •     mutual funds;

        •     retirement plans, individual retirement accounts or other tax-deferred accounts;

        •     taxpayers that are subject to the mark-to-market tax accounting rules;

        •     tax-exempt entities;

        •     S-corporations, partnerships or other flow-through entities and investors therein;

        •     governments or agencies or instrumentalities thereof;

        •     insurance companies;

        •     regulated investment companies;

        •     real estate investment trusts;

        •     passive foreign investment companies;

        •     controlled foreign corporations;

        •     qualified foreign pension funds;

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        •     expatriates or former long-term residents of the United States;

        •     persons that actually or constructively own five percent or more of our voting shares;

        •     persons that acquired our securities pursuant to an exercise of employee share options, in connection with employee share
              incentive plans or otherwise as compensation or in connection with services;

        •     persons required for U.S. federal income tax purposes to conform the timing of income accruals to their financial
              statements under Section 451 of the Code;

        •     persons subject to the alternative minimum tax;

        •     persons that hold our securities as part of a straddle, constructive sale, hedging, conversion or other integrated or similar
              transaction; or

        •     U.S. Holders (as defined below) whose functional currency is not the U.S. dollar.

        The discussion below is based upon current provisions of the Code, applicable U.S. Treasury regulations promulgated under the
  Code (“Treasury Regulations”), judicial decisions and administrative rulings of the IRS, all as in effect on the date hereof, and all of
  which are subject to differing interpretations or change, possibly on a retroactive basis. Any such differing interpretations or change
  could alter the U.S. federal income tax consequences discussed below. Furthermore, this discussion does not address any aspect of U.S.
  federal non-income tax laws, such as gift, estate or Medicare contribution tax laws, or state, local or non-U.S. tax laws.

         We have not sought, and will not seek, a ruling from the IRS as to any U.S. federal income tax consequence described herein.
  The IRS may disagree with the discussion herein, and its determination may be upheld by a court. Moreover, there can be no assurance
  that future legislation, regulations, administrative rulings or court decisions will not adversely affect the accuracy of the statements in
  this discussion.

         As used herein, the term “U.S. Holder” means a beneficial owner of units, shares of our Class A common stock or warrants that
  is for U.S. federal income tax purposes: (i) an individual who is a citizen or resident of the United States, (ii) a corporation (or other
  entity treated as a corporation for U.S. federal income tax purposes) that is created or organized (or treated as created or organized) in
  or under the laws of the United States, any state thereof or the District of Columbia, (iii) an estate the income of which is subject to
  U.S. federal income taxation regardless of its source or (iv) a trust if (A) a court within the United States is able to exercise primary
  supervision over the administration of the trust and one or more United States persons have the authority to control all substantial
  decisions of the trust, or (B) it has in effect a valid election under Treasury Regulations to be treated as a United States person.

        This discussion does not consider the tax treatment of partnerships or other pass-through entities (including branches) or persons
  who hold our securities through such entities. If a partnership (or other entity or arrangement classified as a partnership for U.S. federal
  income tax purposes) is the beneficial owner of our securities, the U.S. federal income tax treatment of a partner in the partnership
  generally will depend on the status of the partner and the activities of the partner and the partnership. If you are a partner or a
  partnership holding our securities, we urge you to consult your own tax advisor.

      THIS DISCUSSION IS ONLY A SUMMARY OF CERTAIN U.S. FEDERAL INCOME TAX CONSIDERATIONS
  ASSOCIATED WITH THE ACQUISITION, OWNERSHIP AND DISPOSITION OF OUR UNITS. EACH PROSPECTIVE
  INVESTOR IN OUR UNITS IS URGED TO CONSULT ITS OWN TAX ADVISOR WITH RESPECT TO THE PARTICULAR TAX
  CONSEQUENCES TO SUCH INVESTOR OF THE ACQUISITION, OWNERSHIP AND DISPOSITION OF OUR UNITS,
  INCLUDING THE APPLICABILITY AND EFFECT OF ANY STATE, LOCAL, AND NON-UNITED STATES TAX LAWS

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  Personal Holding Company Status

        We could be subject to a second level of U.S. federal income tax on a portion of our income if we are determined to be a personal
  holding company (a “PHC”) for U.S. federal income tax purposes. A U.S. corporation generally will be classified as a PHC for U.S.
  federal income tax purposes in a given taxable year if (i) at any time during the last half of such taxable year, five or fewer individuals
  (without regard to their citizenship or residency and including as individuals for this purpose certain entities such as certain tax-exempt
  organizations, pension funds and charitable trusts) own or are deemed to own (pursuant to certain constructive ownership rules) more
  than 50% of the stock of the corporation by value and (ii) at least 60% of the corporation’s adjusted ordinary gross income, as
  determined for U.S. federal income tax purposes, for such taxable year consists of PHC income (which includes, among other things,
  dividends, interest, certain royalties, annuities and, under certain circumstances, rents).

        Depending on the date and size of our initial business combination, it is possible that at least 60% of our adjusted ordinary gross
  income may consist of PHC income as discussed above. In addition, depending on the concentration of our stock in the hands of
  individuals, including the members of our sponsor and certain tax-exempt organizations, pension funds and charitable trusts, it is
  possible that more than 50% of our stock may be owned or deemed owned (pursuant to the constructive ownership rules) by such
  persons during the last half of a taxable year. Thus, no assurance can be given that we will not be a PHC following this offering or in
  the future. If we are or were to become a PHC in a given taxable year, we would be subject to an additional PHC tax, currently 20%, on
  our undistributed PHC income, which generally includes our taxable income, subject to certain adjustments.

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  Allocation of Purchase Price and Characterization of a Unit

         No statutory, administrative or judicial authority directly addresses the treatment of a unit or instruments similar to a unit for U.S.
  federal income tax purposes, and therefore, that treatment is not entirely clear. The acquisition of a unit should be treated for U.S.
  federal income tax purposes as the acquisition of one share of our Class A common stock and one-half of one warrant, with each whole
  warrant exercisable to acquire one share of our Class A common stock, and we intend to treat the acquisition of a unit in this manner.
  For U.S. federal income tax purposes, each holder of a unit must allocate the purchase price paid by such holder for such unit among
  the one share of our Class A common stock and the one-half of one warrant based on the relative fair market value of each at the time
  of issuance. Under U.S. federal income tax law, each investor must make its own determination of such value based on all the relevant
  facts and circumstances. Therefore, we strongly urge each investor to consult its tax advisor regarding the determination of value for
  these purposes. The price allocated to each share of our Class A common stock and one-half of one warrant should constitute the
  holder’s initial tax basis in such share and one-half of one warrant, respectively. Any disposition of a unit should be treated for U.S.
  federal income tax purposes as a disposition of the share of our Class A common stock and one-half of one warrant comprising the
  unit, and the amount realized on the disposition should be allocated among the share of our Class A common stock, the one-half of one
  warrant based on their respective relative fair market values at the time of disposition. Neither the separation of the share of our
  Class A common stock and the one-half of one warrant constituting a unit nor the combination of halves of warrants into a single
  warrant should be a taxable event for U.S. federal income tax purposes.

        The foregoing treatment of the shares of our Class A common stock and warrants and a holder’s purchase price allocation are not
  binding on the IRS or the courts. Because there are no authorities that directly address instruments that are similar to the units, no
  assurance can be given that the IRS or the courts will agree with the characterization described above or the discussion below.
  Accordingly, each prospective investor is urged to consult its tax advisor regarding the tax consequences of an investment in a unit
  (including alternative characterizations of a unit). The balance of this discussion assumes that the characterization of the units
  described above is respected for U.S. federal income tax purposes.

  U.S. Holders

  Taxation of Distributions

        If we pay distributions in cash or other property (other than certain distributions of our stock or rights to acquire our stock) to
  U.S. Holders of our Class A common stock, such distributions will constitute dividends for U.S. federal income tax purposes to the
  extent paid from our current or accumulated earnings and profits, as determined under U.S. federal income tax principles. Distributions
  in excess of current and accumulated earnings and profits will constitute a return of capital that will be applied against and reduce (but
  not below zero) the U.S. Holder’s adjusted tax basis in our shares of our Class A common stock. Any remaining excess will be treated
  as gain realized on the sale or other disposition of the shares of our Class A common stock and will be treated as described under “U.S.
  Holders — Gain or Loss on Sale, Taxable Exchange or Other Taxable Disposition of Our Class A Common Stock and Warrants”
  below.

        Dividends we pay to a corporate U.S. Holder generally will qualify for the dividends received deduction if certain holding period
  requirements are met. With certain exceptions (including, but not limited to, dividends treated as investment income for purposes of
  investment interest deduction limitations), and provided certain holding period requirements are met, dividends we pay to a non-
  corporate U.S. Holder will generally be taxed as qualified dividend income at the preferential tax rate for long-term capital gains. It is
  unclear whether the redemption rights with respect to the shares of our Class A common stock described in this prospectus may prevent
  a U.S. Holder from satisfying the applicable holding period requirements with respect to the dividends received deduction or the
  preferential tax rate on qualified dividend income, as the case may be. If the holding period requirements are not met, then a
  corporation may not be able to qualify for the dividends received deduction and would have taxable income equal to the entire dividend
  amount, and non-corporate holders may be subject to tax on such dividend at regular ordinary income tax rates instead of the
  preferential rate that applies to qualified dividend income.

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  Gain or Loss on Sale, Taxable Exchange or Other Taxable Disposition of Our Securities

        A U.S. Holder generally will recognize capital gain or loss on a sale or other taxable disposition of our shares of Class A
  common stock or warrants (including on our dissolution and liquidation if we do not complete an initial business combination within
  the required time period). Any such capital gain or loss generally will be long-term capital gain or loss if the U.S. Holder’s holding
  period for such shares of our Class A common stock or warrants exceeds one year. Long-term capital gains recognized by a non-
  corporate U.S. Holder are currently eligible to be taxed preferential rates. It is unclear, however, whether certain redemption rights
  described in this prospectus may suspend the running of the applicable holding period for this purpose. If the running of the holding
  period for the Class A common stock is suspended, then non-corporate U.S. Holders may not be able to satisfy the one-year holding
  period requirement for long-term capital gain treatment, in which case any gain on a sale or taxable disposition of the shares would be
  subject to short-term capital gain treatment and would be taxed at regular ordinary income tax rates. The deductibility of capital losses
  is subject to limitations.

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         The amount of gain or loss recognized on a sale or other taxable disposition generally will be equal to the difference between
  (i) the sum of the amount of cash and the fair market value of any property received in such disposition (or, if the shares of our Class A
  common stock or warrants are held as part of units at the time of the disposition, the portion of the amount realized on such disposition
  that is allocated to the shares of our Class A common stock or warrants based upon the then relative fair market values of the shares of
  our Class A common stock and the warrants included in the units) and (ii) the U.S. Holder’s adjusted tax basis in its shares of our
  Class A common stock or warrants so disposed of. A U.S. Holder’s adjusted tax basis in its shares of our Class A common stock and
  warrants generally will equal the U.S. Holder’s acquisition cost (that is, the portion of the purchase price of a unit allocated to a share
  of our Class A common stock or one-half of one warrant, as described above under “— Allocation of Purchase Price and
  Characterization of a Unit”) reduced, in the case of a share of our Class A common stock, by any prior distributions treated as a return
  of capital. See “U.S. Holders — Exercise, Lapse or Redemption of a Warrant” below for a discussion regarding a U.S. Holder’s tax
  basis in a share of our Class A common stock acquired pursuant to the exercise of a warrant.

  Redemption of Our Class A Common Stock

         In the event that a U.S. Holder’s shares of our Class A common stock are redeemed pursuant to the redemption provisions
  described in this prospectus under “Description of Securities — Common Stock” or if we purchase a U.S. Holder’s shares of our
  Class A common stock in an open market transaction (each referred to herein as a “redemption”), the treatment of the redemption for
  U.S. federal income tax purposes will depend on whether it qualifies as a sale or exchange of the shares of our Class A common stock
  under Section 302 of the Code. If the redemption qualifies as a sale or exchange of the shares of our Class A common stock under the
  tests described below, the U.S. Holder will be treated as described under “U.S. Holders — Gain or Loss on Sale, Taxable Exchange or
  Other Taxable Disposition of Our Class A Common Stock and Warrants” above. If the redemption does not qualify as a sale or
  exchange of the shares of our Class A common stock, the U.S. Holder will be treated as receiving a corporate distribution with the tax
  consequences described above under “U.S. Holders — Taxation of Distributions.” Whether a redemption qualifies for sale or exchange
  treatment will depend largely on the total number of our shares treated as held by the U.S. Holder (including any shares constructively
  owned by the U.S. Holder as described in the following paragraph) relative to all of our shares outstanding both before and after such
  redemption. The redemption of our Class A common stock generally will be treated as a sale or exchange of the shares of our Class A
  common stock (rather than as a corporate distribution) if, within the meaning of Section 302 of the Code, such redemption (i) is
  “substantially disproportionate” with respect to the U.S. Holder, (ii) results in a “complete termination” of the U.S. Holder’s interest in
  us or (iii) is “not essentially equivalent to a dividend” with respect to the U.S. Holder.

         In determining whether any of the foregoing tests are satisfied, a U.S. Holder must take into account not only shares of our stock
  actually owned by the U.S. Holder, but also shares of our stock that are constructively owned by it. A U.S. Holder may constructively
  own, in addition to stock owned directly, stock owned by certain related individuals and entities in which the U.S. Holder has an
  interest or that have an interest in such U.S. Holder, as well as any stock the U.S. Holder has a right to acquire by exercise of an option,
  which would generally include shares of our Class A common stock which could be acquired pursuant to the exercise of the warrants.
  In order to meet the “substantially disproportionate” test, the percentage of our outstanding voting shares actually and constructively
  owned by the U.S. Holder immediately following the redemption of shares of our Class A common stock must, among other
  requirements, be less than 80% of the percentage of our outstanding voting stock actually and constructively owned by the U.S. Holder
  immediately before the redemption. Prior to our initial business combination, the shares of our Class A common stock may not be
  treated as voting shares for this purpose and, consequently, this substantially disproportionate test may not be applicable. There will be
  a complete termination of a U.S. Holder’s interest if either (i) all of our shares actually and constructively owned by the U.S. Holder
  are redeemed or (ii) all of our shares actually owned by the U.S. Holder are redeemed and the U.S. Holder is eligible to waive, and
  effectively waives in accordance with specific rules, the attribution of shares owned by certain family members and the U.S. Holder
  does not constructively own any other shares of our stock. The redemption of the shares of our Class A common stock will not be
  essentially equivalent to a dividend with respect to a U.S. Holder if it results in a “meaningful reduction” of the U.S. Holder’s
  proportionate interest in us. Whether the redemption will result in a meaningful reduction in a U.S. Holder’s proportionate interest in us
  will depend on the particular facts and circumstances. However, the IRS has indicated in a published ruling that even a small reduction
  in the proportionate interest of a small minority stockholder in a publicly-held corporation who exercises no control over corporate
  affairs may constitute such a “meaningful reduction.” A U.S. Holder should consult with its own tax advisors as to the tax
  consequences of a redemption.

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        If none of the foregoing tests are satisfied, then the redemption will be treated as a corporate distribution and the tax effects will
  be as described under “U.S. Holders — Taxation of Distributions” above. After the application of those rules, any remaining tax basis
  of the U.S. Holder in the redeemed shares of our Class A common stock will be added to the U.S. Holder’s adjusted tax basis in its
  remaining shares, or, if it has none, to the U.S. Holder’s adjusted tax basis in its warrants or possibly in other stock constructively
  owned by it.

  Exercise, Lapse or Redemption of a Warrant

         Except as discussed below with respect to the cashless exercise of a warrant, a U.S. Holder generally will not recognize gain or
  loss upon the acquisition of a share of our Class A common stock on the exercise of a warrant for cash. A U.S. Holder’s initial tax basis
  in a share of our Class A common stock received upon exercise of the warrant generally will equal the sum of the U.S. Holder’s initial
  investment in the warrant (that is, the portion of the U.S. Holder’s purchase price for the units that is allocated to the warrant, as
  described above under “— Allocation of Purchase Price and Characterization of a Unit”) and the exercise price of such warrant. It is
  unclear whether a U.S. Holder’s holding period for the share of our Class A common stock received upon exercise of the warrants will
  commence on the date of exercise of the warrant or the day following the date of exercise of the warrant; in either case, the holding
  period will not include the period during which the U.S. Holder held the warrant. If a warrant is allowed to lapse unexercised, a U.S.
  Holder generally will recognize a capital loss equal to such holder’s tax basis in the warrant.

        The tax consequences of a cashless exercise of a warrant are not clear under current law. A cashless exercise may not be taxable,
  either because the exercise is not a realization event or because the exercise is treated as a “recapitalization” for U.S. federal income tax
  purposes. In either situation, a U.S. Holder’s tax basis in the shares of our Class A common stock received generally would equal the
  U.S. Holder’s tax basis in the warrants exercised therefor. If the cashless exercise were not a realization event, it is unclear whether a
  U.S. Holder’s holding period for the shares of our Class A common stock will commence on the date of exercise of the warrant or the
  day following the date of exercise of the warrant. If the cashless exercise were treated as a recapitalization, the holding period of the
  shares of our Class A common stock would include the holding period of the warrants exercised therefor.

         It is also possible that a cashless exercise could be treated in whole or in part as a taxable exchange in which gain or loss would
  be recognized. In such event, a U.S. Holder could be deemed to have surrendered a number of warrants having an aggregate value (as
  measured by the excess of the fair market value of our Class A common stock over the exercise price of the warrants) equal to the
  exercise price for the total number of warrants to be exercised (i.e., the warrants underlying the number of shares of our Class A
  common stock actually received by the U.S. Holder pursuant to the cashless exercise). The U.S. Holder would recognize capital gain or
  loss in an amount equal to the difference between the value of the warrants deemed surrendered and the U.S. Holder’s tax basis in such
  warrants. Such gain or loss would be long-term or short-term, depending on the U.S. Holder’s holding period in the warrants deemed
  surrendered. In this case, a U.S. Holder’s tax basis in the Class A common stock received would equal the sum of the U.S. Holder’s tax
  basis in the warrants exercised and the exercise price of such warrants. It is unclear whether a U.S. Holder’s holding period for the
  Class A common stock would commence on the date following the date of exercise or on the date of exercise of the warrant; in either
  case, the holding period would not include the period during which the U.S. Holder held the warrant.

        Alternative characterizations are also possible (including as a taxable exchange of all of the warrants surrendered by the U.S.
  Holder for shares of our Class A common stock received upon exercise). Due to the absence of authority on the U.S. federal income tax
  treatment of a cashless exercise, including when a U.S. Holder’s holding period would commence with respect to the Class A common
  stock received, there can be no assurance which, if any, of the alternative tax consequences and holding periods described above would
  be adopted by the IRS or a court of law. Accordingly, U.S. Holders should consult their tax advisors regarding the tax consequences of
  a cashless exercise.

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        If we redeem warrants for cash pursuant to the redemption provisions described in the section of this prospectus entitled
  “Description of Securities — Warrants — Public Stockholders’ Warrants” or if we purchase warrants in an open market transaction,
  such redemption or purchase generally will be treated as a taxable disposition to the U.S. Holder, taxed as described above under “U.S.
  Holders — Gain or Loss on Sale, Taxable Exchange or Other Taxable Disposition of Our Class A Common Stock and Warrants.”

  Possible Constructive Distributions

         The terms of each warrant provide for an adjustment to the number of shares of our Class A common stock for which the warrant
  may be exercised or to the exercise price of the warrant in certain events, as discussed in the section of this prospectus entitled
  “Description of Securities — Warrants — Public Stockholders’ Warrants.” Depending on the circumstances, such adjustments may be
  treated as constructive distributions. An adjustment which has the effect of preventing dilution pursuant to a bona fide reasonable
  adjustment formula generally is not taxable. The U.S. Holders of the warrants would, however, be treated as receiving a constructive
  distribution from us if, for example, the adjustment increases the warrant holders’ proportionate interest in our assets or earnings and
  profits (e.g., through an increase in the number of shares of our Class A common stock that would be obtained upon exercise or
  through a decrease to the exercise price) as a result of a taxable distribution of cash or other property to the holders of shares of our
  Class A common stock. Any such constructive distribution would generally be subject to tax as described under “U.S. Holders —
  Taxation of Distributions” above in the same manner as if the U.S. Holders of the warrants received a cash distribution from us equal to
  the fair market value of such increased interest resulting from the adjustment.

  Non-U.S. Holders

        This section applies to “Non-U.S. Holders.” As used herein, the term “Non-U.S. Holder” means a beneficial owner of our units,
  Class A common stock or warrants that is not a U.S. Holder and is not a partnership or other entity classified as a partnership for U.S.
  federal income tax purposes, but such term generally does not include an individual who is present in the United States for 183 days or
  more in the taxable year of disposition. If you are such an individual, you should consult your tax advisor regarding the U.S. federal
  income tax consequences of the acquisition, ownership or sale or other disposition of our securities.

  Taxation of Distributions

         In general, any distributions (including constructive distributions) we make to a Non-U.S. Holder of shares of our Class A
  common stock, to the extent paid out of our current or accumulated earnings and profits (as determined under U.S. federal income tax
  principles), will constitute dividends for U.S. federal income tax purposes. Provided such dividends are not effectively connected with
  the Non-U.S. Holder’s conduct of a trade or business within the United States (or, if required pursuant to an applicable income tax
  treaty, are not attributable to a permanent establishment of fixed base maintained by the Non-U.S. Holder in the United States), we will
  be required to withhold tax from the gross amount of the dividend at a rate of 30%, unless such Non-U.S. Holder is eligible for a
  reduced rate of withholding tax under an applicable income tax treaty and provides proper certification of its eligibility for such
  reduced rate (usually on an IRS Form W-8BEN or W-8BEN-E, as applicable). In the case of any constructive dividend, it is possible
  that this tax would be withheld from any amount owed to a Non-U.S. Holder by the applicable withholding agent, including cash
  distributions on other property or sale proceeds from warrants or other property subsequently paid or credited to such holder. Any
  distribution not constituting a dividend will be treated first as reducing (but not below zero) the Non-U.S. Holder’s adjusted tax basis in
  its shares of our Class A common stock and, to the extent such distribution exceeds the Non-U.S. Holder’s adjusted tax basis, as gain
  realized from the sale or other disposition of the shares of our Class A common stock, which will be treated as described under “Non-
  U.S. Holders — Gain on Sale, Taxable Exchange or Other Taxable Disposition of Our Securities” below. In addition, if we determine
  that we are or are likely to be classified as a “United States real property holding corporation” (see “Non-U.S. Holders — Gain on Sale,
  Taxable Exchange or Other Taxable Disposition of Our Securities” below), we will withhold 15% of any distribution that exceeds our
  current and accumulated earnings and profits, including a distribution in redemption of shares of our Class A common stock. See also
  “Non-U.S. Holders — Possible Constructive Distributions” for potential U.S. federal tax consequences with respect to constructive
  distributions.

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        Dividends that we pay to a Non-U.S. Holder that are effectively connected with such Non-U.S. Holder’s conduct of a trade or
  business within the United States (and, if a tax treaty applies, are attributable to a permanent establishment or fixed base maintained by
  the Non-U.S. Holder in the United States) will not be subject to U.S. withholding tax, provided such Non-U.S. Holder complies with
  certain certification and disclosure requirements (usually by providing an IRS Form W-8ECI). Instead, the effectively connected
  dividends will be subject to regular U.S. federal income tax as if the Non-U.S. Holder were a U.S. resident, unless an applicable
  income tax treaty provides otherwise. A Non-U.S. Holder that is a foreign corporation receiving effectively connected dividends may
  also be subject to an additional “branch profits tax” imposed at a rate of 30% (or a lower treaty rate).

  Gain on Sale, Taxable Exchange or Other Taxable Disposition of Our Securities

        Subject to the discussion of FATCA and backup withholding below, a Non-U.S. Holder generally will not be subject to U.S.
  federal income or withholding tax in respect of gain recognized on a sale, taxable exchange or other taxable disposition of shares of our
  Class A common stock (including upon a dissolution and liquidation if we do not complete an initial business combination within the
  required time period) or warrants (including an expiration or redemption of our warrants), in each case without regard to whether such
  securities were held as part of a unit, unless:

        •     the gain is effectively connected with the conduct of a trade or business by the Non-U.S. Holder within the United States
              (and, under certain income tax treaties, is attributable to a permanent establishment or fixed base maintained by the Non-
              U.S. Holder in the United States); or

        •     we are or have been a “United States real property holding corporation” for U.S. federal income tax purposes at any time
              during the shorter of the five-year period ending on the date of disposition or the period that the Non-U.S. Holder held our
              Class A common stock, and, in the case where shares of our Class A common stock are regularly traded on an established
              securities market, the Non-U.S. Holder has owned, directly or constructively, more than 5% of our Class A common stock
              at any time within the shorter of the five-year period preceding the disposition or such Non-U.S. Holder’s holding period
              for the shares of our Class A common stock. There can be no assurance that our Class A common stock will be treated as
              regularly traded on an established securities market for this purpose. These rules may be modified for Non-U.S. Holders of
              warrants. If we are or have been a “United States real property holding corporation” and you own warrants, you are urged
              to consult your own tax advisor regarding the application of these rules.

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        Unless an applicable treaty provides otherwise, gain described in the first bullet point above will generally be subject to tax at the
  applicable U.S. federal income tax rates as if the Non-U.S. Holder were a U.S. resident. Any gains described in the first bullet point
  above of a Non-U.S. Holder that is a foreign corporation may also be subject to an additional “branch profits tax” at a 30% rate (or
  lower treaty rate).

        If the second bullet point above applies to a Non-U.S. Holder, gain recognized by such holder on the sale, exchange or other
  disposition of our Class A common stock or warrants will generally be subject to tax at applicable U.S. federal income tax rates as if
  the Non-U.S. Holder were a U.S. resident. In addition, a buyer of our Class A common stock or warrants from such holder may be
  required to withhold U.S. federal income tax at a rate of 15% of the amount realized upon such disposition. We cannot determine
  whether we will be a United States real property holding corporation in the future until we complete an initial business combination. In
  general, we would be classified as a United States real property holding corporation if the fair market value of our “United States real
  property interests” equals or exceeds 50% of the sum of the fair market value of our worldwide real property interests plus our other
  assets used or held for use in a trade or business, as determined for U.S. federal income tax purposes.

  Redemption of Our Class A Common Stock

        The characterization for U.S. federal income tax purposes of the redemption of a Non-U.S. Holder’s shares of our Class A
  common stock pursuant to the redemption provisions described in the section of this prospectus entitled “Description of Securities —
  Common Stock” will generally correspond to the U.S. federal income tax characterization of such a redemption of a U.S. Holder’s
  shares of our Class A common stock, as described under “U.S. Holders — Redemption of Our Class A Common Stock” above, and the
  consequences of the redemption to the Non-U.S. Holder will be as described above under “Non-U.S. Holders — Taxation of
  Distributions” and “Non-U.S. Holders — Gain on Sale, Taxable Exchange or Other Taxable Disposition of Our Securities,” as
  applicable.

  Possible Constructive Distributions

         The terms of each warrant provide for an adjustment to the number of shares of our Class A common stock for which the warrant
  may be exercised or to the exercise price of the warrant in certain events, as discussed in the section of this prospectus entitled
  “Description of Securities — Warrants — Public Stockholders’ Warrants.” Depending on the circumstances, such adjustments may be
  treated as constructive distributions. An adjustment which has the effect of preventing dilution pursuant to a bona fide reasonable
  adjustment formula generally is not taxable. The Non-U.S. Holders of the warrants would, however, be treated as receiving a
  constructive distribution from us if, for example, the adjustment increases the warrant holders’ proportionate interest in our assets or
  earnings and profits (e.g., through an increase in the number of shares of our Class A common stock that would be obtained upon
  exercise or through a decrease to the exercise price) as a result of a taxable distribution of cash or other property to the holders of
  shares of our Class A common stock. Any such constructive distribution would generally be taxed as described under “Non-U.S.
  Holders — Taxation of Distributions” above, in the same manner as if the Non-U.S. Holders of the warrants received a cash
  distribution from us equal to the fair market value of such increased interest resulting from the adjustment.

  Information Reporting and Backup Withholding

        Dividend payments (including constructive dividends) with respect to our Class A common stock and proceeds from the sale,
  exchange or redemption of shares of our Class A common stock or warrants may be subject to information reporting to the IRS and
  possible United States backup withholding. Backup withholding will not apply, however, to payments made to a U.S. Holder who
  furnishes a correct taxpayer identification number and makes other required certifications, or who is otherwise exempt from backup
  withholding and establishes such exempt status. Payments made to a Non-U.S. Holder generally will not be subject to backup
  withholding if the Non-U.S. Holder provides certification of its foreign status, under penalties of perjury, on a duly executed applicable
  IRS Form W-8 or by otherwise establishing an exemption.

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        The underwriting agreement provides that the obligations of the underwriters to purchase the units included in this offering are
  subject to approval of legal matters by counsel and to other conditions. The underwriters are obligated to purchase all of the units
  (other than those covered by the underwriters’ over-allotment option described below) if they purchase any of the units.

        Units sold by the underwriters to the public will initially be offered at the initial public offering price set forth on the cover of this
  prospectus. Any units sold by the underwriters to securities dealers may be sold at a discount from the initial public offering price not
  to exceed $ per unit. If all of the units are not sold at the initial offering price, the underwriters may change the offering price and the
  other selling terms. The underwriters have advised us that they do not intend to make sales to discretionary accounts.

         If the underwriters sell more units than the total number set forth in the table above, we have granted to the underwriters an
  option, exercisable for 45 days from the date of this prospectus, to purchase up to 450,000 additional units at the public offering price
  less the underwriting discount. The underwriters may exercise this option solely for the purpose of covering over-allotments, if any, in
  connection with this offering. Any units issued or sold under the option will be issued and sold on the same terms and conditions as the
  other units that are the subject of this offering.

        We, our sponsor and our officers and directors have agreed, and our director nominees will agree, that, for a period of 180 days
  from the date of this prospectus, we and they will not, without the prior written consent of the representative, sell, offer to sell, contract
  or agree to sell, hypothecate, pledge, grant any option to purchase or otherwise dispose of or agree to dispose of, directly or indirectly,
  or establish or increase a put equivalent position or liquidate or decrease a call equivalent position within the meaning of Section 16 of
  the Exchange Act with respect to any units, shares of common stock or warrants or any securities convertible into, or exercisable, or
  exchangeable for, shares of common stock, (ii) enter into any swap or other arrangement that transfers to another, in whole or in part,
  any of the economic consequences of ownership of any units, shares of common stock or warrants or any securities convertible into, or
  exercisable, or exchangeable for, shares of common stock, whether any such transaction is to be settled by delivery of such securities,
  in cash or otherwise, or (iii) publicly announce any intention to effect any transaction specified in clause (i) or (ii), subject to certain
  exceptions. The representative in its sole discretion may release any of the securities subject to the lock-up agreement at any time
  without notice, other than in the case of the officers and directors, which shall be with notice. Our sponsor, officers and directors will
  also be subject to separate transfer restrictions on their founder shares and placement units pursuant to the letter agreement as described
  herein.

        Our initial stockholders have agreed not to transfer, assign or sell any of their founder shares (or shares of common stock issuable
  upon conversion thereof) until the earlier to occur of: (A) six months after the completion of our initial business combination and
  (B) subsequent to our initial business combination, (x) if the reported last sale price of our Class A common stock equals or exceeds
  $12.00 per share (as adjusted for stock splits, stock dividends, reorganizations, recapitalizations and the like) for any 20 trading days
  within any 30-trading day period commencing at least 150 days after our initial business combination, or (y) the date on which we
  complete a liquidation, merger, capital stock exchange or other similar transaction that results in all of our stockholders having the right
  to exchange their shares of common stock for cash, securities or other property (except with respect to permitted transferees as
  described herein under the section of this prospectus entitled “Principal Stockholders — Restrictions on Transfers of Founder Shares
  and Placement Units”). The placement units, placement shares and placement warrants (including the Class A common stock issuable
  upon exercise of the placement warrants) will not be transferable, assignable or salable until 30 days after the completion of our initial
  business combination (except with respect to permitted transferees as described herein under the section of this prospectus entitled
  “Principal Stockholders — Restrictions on Transfers of Founder Shares and Placement Units”).

        Prior to this offering, there was no public market for our securities. Consequently, the initial public offering price for the units
  was determined by negotiations between us and the underwriters. Among the factors considered in determining the initial public
  offering price were the history and prospects of companies whose principal business is the acquisition of other companies, prior
  offerings of those companies, our management, our capital structure, and currently prevailing general conditions in the equity securities
  markets, including current market valuations of publicly traded companies considered comparable to our company. We cannot assure
  you, however, that the price at which the units, Class A common stock or warrants will sell in the public market after this offering will
  not be lower than the initial public offering price or that an active trading market in our units, Class A common stock or warrants will
  develop and continue after this offering.

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         We have granted the holders of these shares the registration rights as described under the section “Shares Eligible for Future Sale
  — Registration Rights.” Notwithstanding anything to the contrary, under FINRA Rule 5110(g)(8), the underwriters and/or their
  designees may only make a demand registration on one occasion during the five-year period beginning on the effective date of the
  registration statement of which this prospectus is a part, and the underwriters and/or their designees may participate in a “piggy-back”
  registration only during the seven-year period beginning on the effective date of the registration statement of which this prospectus is a
  part.

  Right of First Refusal

        Subject to certain conditions, we granted the representative, for a period of 24 months after the date of the consummation of our
  business combination, a right of first refusal to act as sole book runner, and/or sole placement agent, at the representative’s sole
  discretion, for each and every future public and private equity and debt offering, including all equity linked financings for us or any of
  our successors or subsidiaries. In accordance with FINRA Rule 5110(g)(6)(A), such right of first refusal shall not have a duration of
  more than three years from the effective date of the registration statement of which this prospectus forms a part.

  Stabilization

        In connection with the offering, the underwriters may purchase and sell units in the open market. Purchases and sales in the open
  market may include short sales, purchases to cover short positions, which may include purchases pursuant to the over-allotment option
  and stabilizing purchases, in accordance with Regulation M under the Exchange Act.

        •     Short sales involve secondary market sales by the underwriters of a greater number of units than it is required to purchase
              in the offering.

        •     “Covered” short sales are sales of units in an amount up to the number of units represented by the underwriters’ over-
              allotment option.

        •     “Naked” short sales are sales of units in an amount in excess of the number of units represented by the underwriters’ over-
              allotment option.

        •     Covering transactions involve purchases of units either pursuant to the over-allotment option or in the open market after
              the distribution has been completed in order to cover short positions.

        •     To close a naked short position, the underwriters must purchase units in the open market after the distribution has been
              completed. A naked short position is more likely to be created if the underwriters are concerned that there may be
              downward pressure on the price of the units in the open market after pricing that could adversely affect investors who
              purchase in the offering.

        •     To close a covered short position, the underwriters must purchase units in the open market after the distribution has been
              completed or must exercise the over-allotment option. In determining the source of units to close the covered short
              position, the underwriters will consider, among other things, the price of units available for purchase in the open market as
              compared to the price at which they may purchase units through the over-allotment option.

        •     Stabilizing transactions involve bids to purchase units so long as the stabilizing bids do not exceed a specified maximum.

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        Purchases to cover short positions and stabilizing purchases, as well as other purchases by the underwriters for their own account,
  may have the effect of preventing or retarding a decline in the market price of the units. They may also cause the price of the units to be
  higher than the price that would otherwise exist in the open market in the absence of these transactions. The underwriters may conduct
  these transactions in the over-the-counter market or otherwise. If the underwriters commence any of these transactions, it may
  discontinue them at any time.

        We estimate that our portion of the total expenses of this offering payable by us will be $556,090, excluding underwriting
  discounts and commissions.

        We have agreed to indemnify the underwriters against certain liabilities, including liabilities under the Securities Act, or to
  contribute to payments the underwriters may be required to make because of any of those liabilities.

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        We are not under any contractual obligation to engage the underwriters to provide any services for us after this offering, and have
  no present intent to do so. However, the underwriters may introduce us to potential target businesses or assist us in raising additional
  capital in the future. If the underwriters provide services to us after this offering, we may pay the underwriters fair and reasonable fees
  that would be determined at that time in an arm’s length negotiation; provided that no agreement will be entered into with the
  underwriters and no fees for such services will be paid to the underwriters prior to the date that is 90 days from the date of this
  prospectus, unless FINRA determines that such payment would not be deemed underwriters’ compensation in connection with this
  offering and we may pay the underwriters of this offering or any entity with which it is affiliated a finder’s fee or other compensation
  for services rendered to us in connection with the completion of an initial business combination.

        The underwriters and their affiliates may in the future engage in, investment banking and other commercial dealings in the
  ordinary course of business with us or our affiliates, for which it may in the future receive, customary fees and commissions for any
  such transactions.

         The underwriters and their respective affiliates are financial institutions engaged in various activities, which may include, among
  other things, securities trading, commercial and investment banking, financial advisory, investment management, financing and
  brokerage activities. Such underwriters and their affiliates have in the past, in the ordinary course of business, provided certain of these
  services to affiliates of the sponsor, and have arrangements in place whereby they may currently or in the future provide such services
  to affiliates of the sponsor, for which they have received and may receive customary fees, interest, commissions and other
  compensation.

        In addition, in the ordinary course of their business activities, the underwriters and their affiliates may make or hold a broad array
  of investments and actively trade debt and equity securities (or related derivative securities) and financial instruments (including bank
  loans) for their own account and for the accounts of their customers. Such investments and securities activities may involve securities
  and/or instruments of ours or our affiliates. The underwriters and their affiliates may also make investment recommendations and/or
  publish or express independent research views in respect of such securities or financial instruments and may hold, or recommend to
  clients that they acquire, long and/or short positions in such securities and instruments.

        A prospectus in electronic format may be made available by e-mail or on the web sites or through online services maintained by
  one or more of the underwriters or their affiliates. In those cases, prospective investors may view offering terms online and may be
  allowed to place orders online. The underwriters may agree with us to allocate a specific number of common shares for sale to online
  brokerage account holders. Any such allocation for online distributions will be made by the underwriters on the same basis as other
  allocations. Other than the prospectus in electronic format, the information on the underwriters’ web sites and any information
  contained in any other web site maintained by any of the underwriters is not part of this prospectus, has not been approved and/or
  endorsed by us or the underwriters and should not be relied upon by investors.

  Selling Restrictions

  Notice to Prospective Investors in the European Economic Area and the United Kingdom

         In relation to each member state of the European Economic Area and the United Kingdom (each, a “relevant state”), no units
  have been offered or will be offered pursuant to the offering to the public in that relevant state prior to the publication of a prospectus
  in relation to the units that has been approved by the competent authority in that relevant state or, where appropriate, approved in
  another relevant state and notified to the competent authority in that relevant state, all in accordance with the Prospectus Regulation,
  except that offers of our units may be made to the public in that relevant state at any time under the following exemptions under the
  Prospectus Regulation:

        •     to any legal entity which is a qualified investor as defined under the Prospectus Regulation;

        •     to fewer than 150 natural or legal persons (other than qualified investors as defined under the Prospectus Regulation),
              subject to obtaining the prior consent of the representative for any such offer; or

        •     in any other circumstances falling within Article 1(4) of the Prospectus Regulation.

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  provided that no such offer of units shall require the issuer or the representative to publish a prospectus pursuant to Article 3 of the
  Prospectus Regulation or supplement a prospectus pursuant to Article 23 of the Prospectus Regulation.

       Each person in a relevant state who initially acquires any units or to whom any offer is made will be deemed to have represented,
  acknowledged and agreed to and with the Company and the representative that it is a qualified investor within the meaning of the
  Prospectus Regulation.

        In the case of any units being offered to a financial intermediary as that term is used in Article 5(1) of the Prospectus Regulation,
  each such financial intermediary will be deemed to have represented, acknowledged and agreed that the units acquired by it in the offer
  have not been acquired on a non-discretionary basis on behalf of, nor have they been acquired with a view to their offer or resale to,
  persons in circumstances which may give rise to an offer to the public other than their offer or resale in a relevant state to qualified
  investors, in circumstances in which the prior consent of the representative has been obtained to each such proposed offer or resale.

        We, the representative and each of our and the representative’s respective affiliates will rely upon the truth and accuracy of the
  foregoing representations, acknowledgements and agreements.

        For the purposes of this provision, the expression an “offer to the public” in relation to any units in any relevant state means the
  communication in any form and by any means of sufficient information on the terms of the offer and any units to be offered so as to
  enable an investor to decide to purchase or subscribe for any units, and the expression “Prospectus Regulation” means Regulation (EU)
  2017/1129.

       References to the Prospectus Regulation include, in relation to the United Kingdom, the Prospectus Regulation as it forms part of
  United Kingdom domestic law by virtue of the European Union (Withdrawal) Act 2018.

        The above selling restriction is in addition to any other selling restrictions set out below.

       In connection with the offering, the representative is not acting for anyone other than the issuer and will not be responsible to
  anyone other than the issuer for providing the protections afforded to its clients nor for providing advice in relation to the offering.

  Notice to Prospective Investors in the United Kingdom

        This prospectus is for distribution only to persons who (i) have professional experience in matters relating to investments and
  who qualify as investment professionals within the meaning of Article 19(5) of the Financial Services and Markets Act 2000 (Financial
  Promotion) Order 2005 (as amended, the “Financial Promotion Order”), (ii) are persons falling within Article 49(2)(a) to (d) (“high net
  worth companies, unincorporated associations etc.”) of the Financial Promotion Order, (iii) are outside the United Kingdom, or (iv) are
  persons to whom an invitation or inducement to engage in investment activity (within the meaning of Section 21 of the Financial
  Services and Markets Act 2000, as amended (“FSMA”)) in connection with the issue or sale of any securities may otherwise lawfully
  be communicated or caused to be communicated (all such persons together being referred to as “relevant persons”). This document is
  directed only at relevant persons and must not be acted on or relied on by persons who are not relevant persons. Any investment or
  investment activity to which this document relates is available only to relevant persons and will be engaged in only with relevant
  persons.

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  Notice to Prospective Investors in France

        Neither this prospectus nor any other offering material relating to the units described in this prospectus has been submitted to the
  clearance procedures of the Autorité des Marchés Financiers or of the competent authority of another member state of the European
  Economic Area and notified to the Autorité des Marchés Financiers. The units have not been offered or sold and will not be offered or
  sold, directly or indirectly, to the public in France. Neither this prospectus nor any other offering material relating to the units has been
  or will be:

        •     released, issued, distributed or caused to be released, issued or distributed to the public in France; or

        •     used in connection with any offer for subscription or sale of the units to the public in France.

        Such offers, sales and distributions will be made in France only:

        •     To qualified investors (investisseurs qualifiés) and/or to a restricted circle of investors (cercle restreint d’investisseurs), in
              each case investing for their own account, all as defined in, and in accordance with, articles L.411-2, D.411-1, D.411-2,
              D.734-1, D.744-1, D.754-1 and D.764-1 of the French Code monétaire et financier;

        •     to investment services providers authorized to engage in portfolio management on behalf of third parties; or

        •     in a transaction that, in accordance with article L.411-2-II-1° -or-2° -or 3° of the French Code monétaire et financier and
              article 211-2 of the General Regulations (Règlement Général) of the Autorité des Marchés Financiers, does not constitute a
              public offer (appel public à l’épargne).

       The units may be resold directly or indirectly, only in compliance with articles L.411-1, L.411-2, L.412-1 and L.621-8 through
  L.621-8-3 of the French Code monétaire et financier.

  Notice to Prospective Investors in Hong Kong

        The units have not been offered or sold and will not be offered or sold in Hong Kong, by means of any document, other than (a)
  to “professional investors” as defined in the Securities and Futures Ordinance (Cap. 571) of Hong Kong and any rules made under that
  Ordinance; or (b) in other circumstances which do not result in the document being a “prospectus” as defined in the Companies
  Ordinance (Cap. 32) of Hong Kong or which do not constitute an offer to the public within the meaning of that Ordinance. No
  advertisement, invitation or document relating to the units has been or may be issued or has been or may be in the possession of any
  person for the purposes of issue, whether in Hong Kong or elsewhere, which is directed at, or the contents of which are likely to be
  accessed or read by, the public of Hong Kong (except if permitted to do so under the securities laws of Hong Kong) other than with
  respect to units which are or are intended to be disposed of only to persons outside Hong Kong or only to “professional investors” as
  defined in the Securities and Futures Ordinance and any rules made under that Ordinance.

  Notice to Prospective Investors in Japan

         The units have not been and will not be registered under the Financial Instruments and Exchange Law of Japan (Law No. 25 of
  1948, as amended) and, accordingly, will not be offered or sold, directly or indirectly, in Japan, or for the benefit of any Japanese
  Person or to others for re-offering or resale, directly or indirectly, in Japan or to any Japanese Person, except in compliance with all
  applicable laws, regulations and ministerial guidelines promulgated by relevant Japanese governmental or regulatory authorities in
  effect at the relevant time. For the purposes of this paragraph, “Japanese Person” shall mean any person resident in Japan, including
  any corporation or other entity organized under the laws of Japan.

  Notice to Prospective Investors in Singapore

         This prospectus has not been registered as a prospectus with the Monetary Authority of Singapore. Accordingly, the units were
  not offered or sold or caused to be made the subject of an invitation for subscription or purchase and will not be offered or sold or
  caused to be made the subject of an invitation for subscription or purchase, and this prospectus or any other document or material in
  connection with the offer or sale, or invitation for subscription or purchase, of the units, has not been circulated or distributed, nor will
  it be circulated or distributed, whether directly or indirectly, to any person in Singapore other than (i) to an institutional investor (as
  defined in Section 4A of the Securities and Futures Act (Chapter 289) of Singapore, as modified or amended from time to time (the
  “SFA”)) pursuant to Section 274 of the SFA, (ii) to a relevant person (as defined in Section 275(2) of the SFA) pursuant to Section


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  275(1) of the SFA, or any person pursuant to Section 275(1A) of the SFA, and in accordance with the conditions specified in Section
  275 of the SFA, or (iii) otherwise pursuant to, and in accordance with the conditions of, any other applicable provision of the SFA.

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        Where the units are subscribed or purchased under Section 275 of the SFA by a relevant person which is:

        (a)   a corporation (which is not an accredited investor (as defined in Section 4A of the SFA)) the sole business of which is to
              hold investments and the entire share capital of which is owned by one or more individuals, each of whom is an accredited
              investor; or

        (b)   a trust (where the trustee is not an accredited investor) whose sole purpose is to hold investments and each beneficiary of
              the trust is an individual who is an accredited investor,

  securities or securities-based derivatives contracts (each term as defined in Section 2(1) of the SFA) of that corporation or the
  beneficiaries’ rights and interest (howsoever described) in that trust shall not be transferred within six months after that corporation or
  that trust has acquired the units pursuant to an offer made under Section 275 of the SFA except:

        (a)   to an institutional investor or to a relevant person, or to any person arising from an offer referred to in Section 275(1A) or
              Section 276(4)(i)(B) of the SFA;

        (b)   where no consideration is or will be given for the transfer;

        (c)   where the transfer is by operation of law; or

        (d)   as specified in Section 276(7) of the SFA.

  Notice to Prospective Investors in Canada

        The units may be sold in Canada only to purchasers purchasing, or deemed to be purchasing, as principal that are accredited
  investors, as defined in National Instrument 45-106 Prospectus Exemptions or subsection 73.3(1) of the Securities Act (Ontario), and
  are permitted clients, as defined in National Instrument 31-103 Registration Requirements, Exemptions and Ongoing Registrant
  Obligations. Any resale of the units must be made in accordance with an exemption from, or in a transaction not subject to, the
  prospectus requirements of applicable securities laws.

         Securities legislation in certain provinces or territories of Canada may provide a purchaser with remedies for rescission or
  damages if this prospectus (including any amendment thereto) contains a misrepresentation, provided that the remedies for rescission
  or damages are exercised by the purchaser within the time limit prescribed by the securities legislation of the purchaser’s province or
  territory. The purchaser should refer to any applicable provisions of the securities legislation of the purchaser’s province or territory for
  particulars of these rights or consult with a legal advisor.

        Pursuant to section 3A.3 (or, in the case of securities issued or guaranteed by the government of a non-Canadian jurisdiction,
  section 3A.4) of National Instrument 33-105 Underwriting Conflicts (NI 33-105), the underwriters are not required to comply with the
  disclosure requirements of NI 33-105 regarding underwriter conflicts of interest in connection with this offering.

  Notice to Prospective Investors in the Dubai International Financial Centre

         This prospectus relates to an Exempt Offer in accordance with the Offered Securities Rules of the Dubai Financial Services
  Authority (“DFSA”). This prospectus is intended for distribution only to persons of a type specified in the Offered Securities Rules of
  the DFSA. It must not be delivered to, or relied on by, any other person. The DFSA has no responsibility for reviewing or verifying any
  documents in connection with Exempt Offers. The DFSA has not approved this prospectus nor taken steps to verify the information set
  forth herein and has no responsibility for the prospectus. The securities to which this prospectus relates may be illiquid and/or subject
  to restrictions on their resale.

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       Prospective purchasers of the securities offered should conduct their own due diligence on the securities. If you do not
  understand the contents of this prospectus you should consult an authorized financial advisor.

  Notice to Prospective Investors in Australia

        No placement document, prospectus, product disclosure statement or other disclosure document has been lodged with the
  Australian Securities and Investments Commission (“ASIC”), in relation to the offering. This prospectus does not constitute a
  prospectus, product disclosure statement or other disclosure document under the Corporations Act 2001 (the “Corporations Act”), and
  does not purport to include the information required for a prospectus, product disclosure statement or other disclosure document under
  the Corporations Act. Any offer in Australia of the securities may only be made to persons (the “Exempt Investors”) who are
  “sophisticated investors” (within the meaning of section 708(8) of the Corporations Act), “professional investors” (within the meaning
  of section 708(11) of the Corporations Act) or otherwise pursuant to one or more exemptions contained in section 708 of the
  Corporations Act so that it is lawful to offer the securities without disclosure to investors under Chapter 6D of the Corporations Act.

         The securities applied for by Exempt Investors in Australia must not be offered for sale in Australia in the period of 12 months
  after the date of allotment under the offering, except in circumstances where disclosure to investors under Chapter 6D of the
  Corporations Act would not be required pursuant to an exemption under section 708 of the Corporations Act or otherwise or where the
  offer is pursuant to a disclosure document which complies with Chapter 6D of the Corporations Act. Any person acquiring securities
  must observe such Australian on-sale restrictions. This prospectus contains general information only and does not take account of the
  investment objectives, financial situation or particular needs of any particular person. It does not contain any securities
  recommendations or financial product advice. Before making an investment decision, investors need to consider whether the
  information in this prospectus is appropriate to their needs, objectives and circumstances, and, if necessary, seek expert advice on those
  matters.

  Notice to Prospective Investors in Switzerland

        The securities may not be publicly offered in Switzerland and will not be listed on the SIX Swiss Exchange (“SIX”) or on any
  other stock exchange or regulated trading facility in Switzerland. This document has been prepared without regard to the disclosure
  standards for issuance prospectuses under art. 652a or art. 1156 of the Swiss Code of Obligations or the disclosure standards for listing
  prospectuses under art. 27 ff. of the SIX Listing Rules or the listing rules of any other stock exchange or regulated trading facility in
  Switzerland. Neither this document nor any other offering or marketing material relating to the securities or the offering may be
  publicly distributed or otherwise made publicly available in Switzerland.

        Neither this document nor any other offering or marketing material relating to the offering, the company, the shares have been or
  will be filed with or approved by any Swiss regulatory authority. In particular, this document will not be filed with, and the offer of
  securities will not be supervised by, the Swiss Financial Market Supervisory Authority FINMA (FINMA), and the offer of securities
  has not been and will not be authorized under the Swiss Federal Act on Collective Investment Schemes (“CISA”). The investor
  protection afforded to acquirers of interests in collective investment schemes under the CISA does not extend to acquirers of securities.

  Notice to Prospective Investors in Israel

         In the State of Israel, this prospectus shall not be regarded as an offer to the public to purchase securities under the Israeli
  Securities Law, 5728 – 1968, which requires a prospectus to be published and authorized by the Israel Securities Authority, if it
  complies with certain provisions of Section 15 of the Israeli Securities Law, 5728 – 1968, including, inter alia, if: (i) the offer is made,
  distributed or directed to not more than 35 investors, subject to certain conditions (the “Addressed Investors”); or (ii) the offer is made,
  distributed or directed to certain qualified investors defined in the First Addendum of the Israeli Securities Law, 5728 –1968, subject to
  certain conditions (the “Qualified Investors”). The Qualified Investors shall not be taken into account in the count of the Addressed
  Investors and may be offered to purchase securities in addition to the 35 Addressed Investors. The Company has not and will not take
  any action that would require it to publish a prospectus in accordance with and subject to the Israeli Securities Law, 5728 – 1968. We
  have not and will not distribute this prospectus or make, distribute or direct an offer to subscribe for our securities to any person within
  the State of Israel, other than to Qualified Investors and up to 35 Addressed Investors.

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         Qualified Investors may have to submit written evidence that they meet the definitions set out in of the First Addendum to the
  Israeli Securities Law, 5728 – 1968. In particular, we may request, as a condition to be offered securities, that Qualified Investors will
  each represent, warrant and certify to us and/or to anyone acting on our behalf: (i) that it is an investor falling within one of the
  categories listed in the First Addendum to the Israeli Securities Law, 5728 – 1968; (ii) which of the categories listed in the First
  Addendum to the Israeli Securities Law, 5728 – 1968 regarding Qualified Investors is applicable to it; (iii) that it will abide by all
  provisions set forth in the Israeli Securities Law, 5728 – 1968 and the regulations promulgated thereunder in connection with the offer
  to be issued securities; (iv) that the securities that it will be issued are, subject to exemptions available under the Israeli Securities Law,
  5728 – 1968: (a) for its own account; (b) for investment purposes only; and (c) not issued with a view to resale within the State of
  Israel, other than in accordance with the provisions of the Israeli Securities Law, 5728 – 1968; and (v) that it is willing to provide
  further evidence of its Qualified Investor status. Addressed Investors may have to submit written evidence in respect of their identity
  and may have to sign and submit a declaration containing, inter alia, the Addressed Investor’s name, address and passport number or
  Israeli identification number.

        We have not authorized and do not authorize the making of any offer of securities through any financial intermediary on our
  behalf, other than offers made by the underwriters and their respective affiliates, with a view to the final placement of the securities as
  contemplated in this document. Accordingly, no purchaser of the shares, other than the underwriters, is authorized to make any further
  offer of shares on our behalf or on behalf of the underwriters.

                                                              LEGAL MATTERS

        Ellenoff Grossman & Schole LLP, New York, New York, is acting as counsel in connection with the registration of our securities
  under the Securities Act, and as such, will pass upon the validity of the securities offered in this prospectus. Certain legal matters will
  be passed upon on behalf of the underwriters by Loeb & Loeb LLP, New York, New York.

                                                                   EXPERTS

         The financial statements of Digital World Acquisition Corp. as of March 31, 2021, and for the periods from December 11, 2020
  (inception) through December 31, 2020 and January 1, 2021 through March 31, 2021 appearing in this prospectus have been audited by
  Marcum LLP, independent registered public accounting firm, as stated in their report herein (which contains an explanatory paragraph
  relating to substantial doubt about the ability of Digital World Acquisition Corp. to continue as a going concern as described in Note 1
  to the financial statements), appearing elsewhere in this prospectus, and are included in reliance upon such report given on the authority
  of such firm as experts in accounting and auditing.

                                       WHERE YOU CAN FIND ADDITIONAL INFORMATION

         We have filed with the SEC a registration statement on Form S-1 under the Securities Act with respect to the securities we are
  offering by this prospectus. This prospectus does not contain all of the information included in the registration statement. For further
  information about us and our securities, you should refer to the registration statement and the exhibits and schedules filed with the
  registration statement. Whenever we make reference in this prospectus to any of our contracts, agreements or other documents, the
  references are materially complete but may not include a description of all aspects of such contracts, agreements or other documents,
  and you should refer to the exhibits attached to the registration statement for copies of the actual contract, agreement or other
  document.

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         Upon completion of this offering, we will be subject to the information requirements of the Exchange Act and will file annual,
  quarterly and current event reports, proxy statements and other information with the SEC. You can read our SEC filings, including the
  registration statement, over the Internet at the SEC’s website at www.sec.gov.

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                                                           30,000,000 Units

                                               Digital World Acquisition Corp.




                                                                PROSPECTUS




                                                                              , 2021

                                                         Sole Book-Running Manager
                                                           EF HUTTON
                                                   division of Benchmark Investments, LLC


         Until                  , 2021 (25 days after the date of this prospectus), all dealers that buy, sell or trade our Class A common
  stock, whether or not participating in this offering, may be required to deliver a prospectus. This is in addition to the dealers’ obligation
  to deliver a prospectus when acting as underwriters and with respect to its unsold allotments or subscriptions.

        You should rely only on the information contained in this prospectus. We have not, and the underwriters have not,
  authorized anyone to provide you with different information. If anyone provides you with different or inconsistent information,
  you should not rely on it. We are not, and the underwriters are not, making an offer to sell securities in any jurisdiction where
  the offer or sale is not permitted. You should not assume that the information contained in this prospectus is accurate as of any
  date other than the date on the front of this prospectus.

         No dealer, salesperson or any other person is authorized to give any information or make any representations in
  connection with this offering other than those contained in this prospectus and, if given or made, the information or
  representations must not be relied upon as having been authorized by us. This prospectus does not constitute an offer to sell or
  a solicitation of an offer to buy any security other than the securities offered by this prospectus, or an offer to sell or a
  solicitation of an offer to buy any securities by anyone in any jurisdiction in which the offer or solicitation is not authorized or
  is unlawful.




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                                        Report of Independent Registered Public Accounting Firm

  To the Shareholders and Board of Directors of
  Digital World Acquisition Corp.

  Opinion on the Financial Statements

  We have audited the accompanying balance sheets of Digital World Acquisition Corp. (the “Company”) as of December 31, 2020 and
  March 31, 2021, the related statements of operations, shareholder’s equity and cash flows for the periods from December 11, 2020
  (inception) through December 31, 2020 and January 1, 2021 through March 31, 2021, and the related notes (collectively referred to as
  the “financial statements”). In our opinion, the financial statements present fairly, in all material respects, the financial position of the
  Company as of December 31, 2020 and March 31, 2021, and the results of its operations and its cash flows for the period from
  December 11, 2020 (inception) through December 31, 2020 and for the period ended March 31, 2021, in conformity with accounting
  principles generally accepted in the United States of America.

  Explanatory Paragraph – Going Concern

  The accompanying financial statements have been prepared assuming that the Company will continue as a going concern. As more
  fully described in Note 1 to the financial statements, the Company’s ability to execute its business plan is dependent upon its
  completion of the proposed initial public offering described in Note 3 to the financial statements. The Company has a working capital
  deficit as of March 31, 2021 and lacks the financial resources it needs to sustain operations for a reasonable period of time, which is
  considered to be one year from the issuance date of the financial statements. These conditions raise substantial doubt about the
  Company's ability to continue as a going concern. Management's plans in regard to these matters are also described in Notes 1 and 3.
  The financial statements do not include any adjustments that might result from the outcome of this uncertainty.

  Basis for Opinion

  These financial statements are the responsibility of the Company's management. Our responsibility is to express an opinion on the
  Company's financial statements based on our audit. We are a public accounting firm registered with the Public Company Accounting
  Oversight Board (United States) ("PCAOB") and are required to be independent with respect to the Company in accordance with the
  U.S. federal securities laws and the applicable rules and regulations of the Securities and Exchange Commission and the PCAOB.

  We conducted our audit in accordance with the standards of the PCAOB. Those standards require that we plan and perform the audit to
  obtain reasonable assurance about whether the financial statements are free of material misstatement, whether due to error or fraud.
  The Company is not required to have, nor were we engaged to perform, an audit of its internal control over financial reporting. As part
  of our audit we are required to obtain an understanding of internal control over financial reporting but not for the purpose of expressing
  an opinion on the effectiveness of the Company's internal control over financial reporting. Accordingly, we express no such opinion.

  Our audit included performing procedures to assess the risks of material misstatement of the financial statements, whether due to error
  or fraud, and performing procedures that respond to those risks. Such procedures included examining, on a test basis, evidence
  regarding the amounts and disclosures in the financial statements. Our audit also included evaluating the accounting principles used
  and significant estimates made by management, as well as evaluating the overall presentation of the financial statements. We believe
  that our audit provides a reasonable basis for our opinion.

  /s/ Marcum llp

  Marcum llp

  We have served as the Company’s auditor since 2021.

  New York, NY
  May 25, 2021, except for Notes 5 and 8, to which the date is July 8, 2021.
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                                               DIGITAL WORLD ACQUISITION CORP.

                                                NOTES TO FINANCIAL STATEMENTS

  NOTE 1. DESCRIPTION OF ORGANIZATION AND BUSINESS OPERATIONS

      Digital World Acquisition Corp. (the “Company”) is a blank check company incorporated in the State of Delaware on December
  11, 2020. The Company was formed for the purpose of acquiring, engaging in a share exchange, share reconstruction and
  amalgamation with, purchasing all or substantially all of the assets of, entering into contractual arrangements with, or engaging in any
  other similar business combination with one or more businesses or entities (“Business Combination”). Although the Company is not
  limited to a particular industry or geographic region for purposes of consummating a Business Combination, the Company intends to
  focus on companies in the healthcare industry in the United States.

      At June 30, 2021, the Company had not yet commenced any operations. All activity through June 30, 2021 relates to the
  Company’s formation and the Proposed Offering (as defined below). The Company will not generate any operating revenues until after
  the completion of its initial Business Combination, at the earliest. The Company will generate non-operating income in the form of
  interest income on cash and cash equivalents from the proceeds derived from the Proposed Offering. The Company has selected
  December 31 as its fiscal year end. The Company is an early stage and emerging growth company and, as such, the Company is subject
  to all of the risks associated with early stage and emerging growth companies.

       The Company’s ability to commence operations is contingent upon obtaining adequate financial resources through a proposed
  initial public offering of 30,000,000 units at $10.00 per unit (or 34,500,000 units if the underwriters’ over-allotment option is exercised
  in full) (the “Units” and, with respect to the common stock included in the Units being offered, the “Public Shares”) which is discussed
  in Note 3 (the “Proposed Offering”) and the sale of 1,174,109 Units (or 1,320,359 Units if the underwriters’ over-allotment option is
  exercised in full) (the “Private Units”) at a price of $10.00 per Unit in a private placement to the Company’s sponsor, ARC Global
  Investments LLC (the “sponsor”), that will close simultaneously with the Proposed Offering. The Company intends to list the Units on
  the Nasdaq Capital Market (“NASDAQ”). The Company’s management has broad discretion with respect to the specific application of
  the net proceeds of the Proposed Offering and sale of the Private Units, although substantially all of the net proceeds are intended to be
  applied generally toward consummating a Business Combination. NASDAQ rules provide that the Business Combination must be with
  one or more target businesses that together have a fair market value equal to at least 80% of the balance in the Trust Account (as
  defined below) (less any deferred underwriting commissions and taxes payable on interest earned and less any interest earned thereon
  that is released for taxes) at the time of the signing of an agreement to enter into a Business Combination. The Company will only
  complete a Business Combination if the post-Business Combination company owns or acquires 50% or more of the outstanding voting
  securities of the target or otherwise acquires a controlling interest in the target sufficient for it not to be required to register as an
  investment company under the Investment Company Act of 1940, as amended (the “Investment Company Act”). There is no assurance
  that the Company will be able to successfully effect a Business Combination. Upon the closing of the Proposed Offering, management
  has agreed that $10.20 per Unit sold in the Proposed Offering, including the proceeds of the sale of the Private Units, will be held in a
  trust account (“Trust Account”) and invested in U.S. government securities, within the meaning set forth in Section 2(a)(16) of the
  Investment Company Act, with a maturity of 180 days or less, or in any open-ended investment company that holds itself out as a
  money market fund meeting the conditions of Rule 2a-7 of the Investment Company Act, as determined by the Company, until the
  earlier of: (i) the consummation of a Business Combination or (ii) the distribution of the funds in the Trust Account to the Company’s
  shareholders, as described below.

      The Company will provide its shareholders with the opportunity to redeem all or a portion of their Public Shares upon the
  completion of a Business Combination either (i) in connection with a shareholder meeting called to approve the Business Combination
  or (ii) by means of a tender offer. In connection with a proposed Business Combination, the Company may seek shareholder approval
  of a Business Combination at a meeting called for such purpose at which shareholders may seek to redeem their shares, regardless of
  whether they vote for or against a Business Combination. The Company will proceed with a Business Combination only if the
  Company has net tangible assets of at least $5,000,001 upon such consummation of a Business Combination and, if the Company seeks
  shareholder approval, a majority of the outstanding shares voted are voted in favor of the Business Combination.

      If the Company seeks shareholder approval of a Business Combination and it does not conduct redemptions pursuant to the tender
  offer rules, the Company’s Amended and Restated Memorandum and Articles of Association provides that a public shareholder,
  together with any affiliate of such shareholder or any other person with whom such shareholder is acting in concert or as a “group” (as
  defined under Section 13 of the Securities Exchange Act of 1934, as amended (the “Exchange Act”)), will be restricted from seeking
  redemption rights with respect to 15% or more of the Public Shares without the Company’s prior written consent.

      The shareholders will be entitled to redeem their Public Shares for a pro rata portion of the amount then in the Trust Account
  (initially $10.20 per share, plus any pro rata interest earned on the funds held in the Trust Account and not previously released to the
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  Company to pay its tax obligations). The per-share amount to be distributed to shareholders who redeem their Public Shares will not be
  reduced by the deferred underwriting commissions the Company will pay to the underwriter. There will be no redemption rights upon
  the completion of a Business Combination with respect to the Company’s warrants. These common stock will be recorded at a
  redemption value and classified as temporary equity upon the completion of the Proposed Offering, in accordance with Accounting
  Standards Codification (“ASC”) Topic 480 “Distinguishing Liabilities from Equity.”
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                                               DIGITAL WORLD ACQUISITION CORP.

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      If a shareholder vote is not required and the Company does not decide to hold a shareholder vote for business or other legal
  reasons, the Company will, pursuant to its Amended and Restated Memorandum and Articles of Association, offer such redemption
  pursuant to the tender offer rules of the Securities and Exchange Commission (“SEC”), and file tender offer documents containing
  substantially the same information as would be included in a proxy statement with the SEC prior to completing a Business
  Combination.

      The sponsor has agreed (a) to vote its Class B common stock, the common stock included in the Private Units (the “Private
  Shares”) and any Public Shares purchased during or after the Proposed Offering in favor of a Business Combination, (b) not to propose
  an amendment to the Company’s Amended and Restated Memorandum and Articles of Association with respect to the Company’s pre-
  Business Combination activities prior to the consummation of a Business Combination unless the Company provides dissenting public
  shareholders with the opportunity to redeem their Public Shares in conjunction with any such amendment; (c) not to redeem any shares
  (including the Class B common stock) and Private Units (including underlying securities) into the right to receive cash from the Trust
  Account in connection with a shareholder vote to approve a Business Combination (or to sell any shares in a tender offer in connection
  with a Business Combination if the Company does not seek shareholder approval in connection therewith) or a vote to amend the
  provisions of the Amended and Restated Memorandum and Articles of Association relating to shareholders’ rights of pre-Business
  Combination activity and (d) that the Class B common stock and Private Units (including underlying securities) shall not participate in
  any liquidating distributions upon winding up if a Business Combination is not consummated. However, the sponsor will be entitled to
  liquidating distributions from the Trust Account with respect to any Public Shares purchased during or after the Proposed Offering if
  the Company fails to complete its Business Combination.

      The Company will have until 18 months from the closing of the Proposed Offering to consummate a Business Combination (the
  “Combination Period”). If the Company is unable to complete a Business Combination within the Combination Period, the Company
  will (i) cease all operations except for the purpose of winding up, (ii) as promptly as reasonably possible but no more than five business
  days thereafter, redeem 100% of the outstanding Public Shares, at a per-share price, payable in cash, equal to the aggregate amount
  then on deposit in the Trust Account, including interest earned (net of taxes payable and less interest to pay dissolution expenses up to
  $100,000), divided by the number of then outstanding Public Shares, which redemption will completely extinguish public
  shareholders’ rights as shareholders (including the right to receive further liquidation distributions, if any), subject to applicable law,
  and (iii) as promptly as reasonably possible following such redemption, subject to the approval of the remaining shareholders and the
  Company’s board of directors, proceed to commence a voluntary liquidation and thereby a formal dissolution of the Company, subject
  in each case to its obligations to provide for claims of creditors and the requirements of applicable law. The underwriter has agreed to
  waive its rights to the deferred underwriting commission held in the Trust Account in the event the Company does not complete a
  Business Combination within the Combination Period and, in such event, such amounts will be included with the funds held in the
  Trust Account that will be available to fund the redemption of the Public Shares. In the event of such distribution, it is possible that the
  per share value of the assets remaining available for distribution will be less than the Proposed Offering price per Unit ($10.00).


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      The sponsor has agreed that it will be liable to the Company, if and to the extent any claims by a vendor for services rendered or
  products sold to the Company, or a prospective target business with which the Company has discussed entering into a transaction
  agreement, reduce the amounts in the Trust Account to below $10.20 per share (whether or not the underwriters’ over-allotment option
  is exercised in full), except as to any claims by a third party who executed a waiver of any and all rights to seek access to the Trust
  Account and except as to any claims under the Company’s indemnity of the underwriters of the Proposed Offering against certain
  liabilities, including liabilities under the Securities Act of 1933, as amended (the “Securities Act”). In the event that an executed waiver
  is deemed to be unenforceable against a third party, the sponsor will not be responsible to the extent of any liability for such third party
  claims. The Company will seek to reduce the possibility that the sponsor will have to indemnify the Trust Account due to claims of
  creditors by endeavoring to have all vendors, service providers (except for the company’s independent registered accounting firm),
  prospective target businesses or other entities with which the Company does business, execute agreements with the Company waiving
  any right, title, interest or claim of any kind in or to monies held in the Trust Account.

  Going Concern Consideration

      The Company does not have sufficient liquidity to meet its anticipated obligations over the next year from the issuance of these
  financial statements. In connection with the Company’s assessment of going concern considerations in accordance with FASB’s
  Accounting Standards Update (“ASU”) 2014-15, “Disclosures of Uncertainties about an Entity’s Ability to Continue as a Going
  Concern,” management has determined that the Company has access to funds from the sponsor that are sufficient to fund the working
  capital needs of the Company until the earlier of the consummation of the Proposed Public Offering or one year from the issuance of
  these financial statements.

  NOTE 2. SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES

  Basis of presentation

      The accompanying financial statements are presented in U.S. Dollars and conformity with accounting principles generally accepted
  in the United States of America (“GAAP”) and pursuant to the rules and regulations of the SEC.

  Emerging growth company

      The Company is an “emerging growth company,” as defined in Section 2(a) of the Securities Act, as modified by the Jumpstart Our
  Business Startups Act of 2012 (the “JOBS Act”), and it may take advantage of certain exemptions from various reporting requirements
  that are applicable to other public companies that are not emerging growth companies including, but not limited to, not being required
  to comply with the auditor attestation requirements of Section 404 of the Sarbanes-Oxley Act, reduced disclosure obligations regarding
  executive compensation in its periodic reports and proxy statements, and exemptions from the requirements of holding a nonbinding
  advisory vote on executive compensation and shareholder approval of any golden parachute payments not previously approved.

      Further, Section 102(b)(1) of the JOBS Act exempts emerging growth companies from being required to comply with new or
  revised financial accounting standards until private companies (that is, those that have not had a Securities Act registration statement
  declared effective or do not have a class of securities registered under the Exchange Act) are required to comply with the new or
  revised financial accounting standards. The JOBS Act provides that a company can elect to opt out of the extended transition period
  and comply with the requirements that apply to non-emerging growth companies but any such election to opt out is irrevocable. The
  Company has elected not to opt out of such extended transition period which means that when a standard is issued or revised and it has
  different application dates for public or private companies, the Company, as an emerging growth company, can adopt the new or
  revised standard at the time private companies adopt the new or revised standard. This may make comparison of the Company’s
  financial statements with another public company which is neither an emerging growth company nor an emerging growth company
  which has opted out of using the extended transition period difficult or impossible because of the potential differences in accounting
  standards used.
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  Use of estimates

      The preparation of financial statements in conformity with GAAP requires management to make estimates and assumptions that
  affect the reported amounts of assets and liabilities and disclosure of contingent assets and liabilities at the date of the financial
  statements and the reported amounts of revenues and expenses during the reporting period.

      Making estimates requires management to exercise significant judgment. It is at least reasonably possible that the estimate of the
  effect of a condition, situation or set of circumstances that existed at the date of the financial statements, which management considered
  in formulating its estimate, could change in the near term due to one or more future confirming events. Accordingly, the actual results
  could differ significantly from those estimates.

  Deferred offering costs

      Deferred offering costs consist of underwriting, legal, accounting and other expenses incurred through the balance sheet date that
  are directly related to the Proposed Offering and that will be charged to stockholders’ equity upon the completion of the Proposed
  Offering. Should the Proposed Offering prove to be unsuccessful, these deferred costs, as well as additional expenses incurred, will be
  charged to operations.

  Income taxes

      The Company complies with the accounting and reporting requirements of ASC Topic 740, “Income Taxes,” which requires an
  asset and liability approach to financial accounting and reporting for income taxes. Deferred income tax assets and liabilities are
  computed for differences between the financial statement and tax bases of assets and liabilities that will result in future taxable or
  deductible amounts, based on enacted tax laws and rates applicable to the periods in which the differences are expected to affect
  taxable income. Valuation allowances are established, when necessary, to reduce deferred tax assets to the amount expected to be
  realized.

      ASC Topic 740 prescribes a recognition threshold and a measurement attribute for the financial statement recognition and
  measurement of tax positions taken or expected to be taken in a tax return. For those benefits to be recognized, a tax position must be
  more-likely-than-not to be sustained upon examination by taxing authorities. The Company’s management determined United States is
  the Company’s only major tax jurisdiction. The Company recognizes accrued interest and penalties related to unrecognized tax
  benefits, if any, as income tax expense. There were no unrecognized tax benefits as of March 31, 2021 and no amounts accrued for
  interest and penalties. The Company is currently not aware of any issues under review that could result in significant payments,
  accruals or material deviation from its position.

     The Company may be subject to potential examination by foreign taxing authorities in the area of income taxes. These potential
  examinations may include questioning the timing and amount of deductions, the nexus of income among various tax jurisdictions and
  compliance with foreign tax laws. The Company’s management does not expect that the total amount of unrecognized tax benefits will
  materially change over the next twelve months.
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       The Company is considered an exempted State of Delaware company and is presently not subject to income taxes or income tax
  filing requirements in the State of Delaware or the United States. As such, the Company’s tax provision is zero for the period
  presented.

  Net loss per share

      The Company complies with accounting and disclosure requirements of ASC Topic 260, “Earnings Per Share.” Net loss per share
  is computed by dividing net loss by the weighted average number of common stock outstanding during the period, excluding common
  stock subject to forfeiture. Weighted average shares were reduced for the effect of an aggregate of 1,125,000 common stock that are
  subject to forfeiture if the over-allotment option is not exercised by the underwriters (see Note 6). At June 30, 2021, March 31, 2021
  and December 31, 2020, the Company did not have any dilutive securities and other contracts that could, potentially, be exercised or
  converted into common stock and then share in the earnings of the Company. As a result, diluted loss per share is the same as basic loss
  per share for the periods presented.

  Concentration of credit risk

      Financial instruments that potentially subject the Company to concentration of credit risk consist of a cash account in a financial
  institution which, at times may exceed the Federal depository insurance coverage of $250,000. At June 30, 2021, March 31, 2021 and
  December 31, 2020, the Company had not experienced losses on this account and management believes the Company is not exposed to
  significant risks on such account.

  Fair value of financial instruments

      The fair value of the Company’s assets and liabilities, which qualify as financial instruments under ASC Topic 820, “Fair Value
  Measurements and Disclosures,” approximates the carrying amounts represented in the accompanying balance sheet, primarily due to
  their short-term nature.

  Derivative financial instruments

       The Company evaluates its financial instruments to determine if such instruments are derivatives or contain features that qualify as
  embedded derivatives in accordance with ASC Topic 815, “Derivatives and Hedging”. Derivative instruments are initially recorded at
  fair value on the grant date and re-valued at each reporting date, with changes in the fair value reported in the statements of operations.
  Derivative assets and liabilities are classified in the balance sheet as current or non-current based on whether or not net-cash settlement
  or conversion of the instrument could be required within 12 months of the balance sheet date.

  Recently issued accounting standards

     Management does not believe that any recently issued, but not yet effective, accounting pronouncements, if currently adopted,
  would have a material effect on the Company’s financial statements.

  Risks and Uncertainties

       Management is currently evaluating the impact of the COVID-19 pandemic on the industry and has concluded that while it is
  reasonably possible that the virus could have a negative effect on the Company’s financial position, results of its operations, close of
  the Proposed Offering, and/or search for a target company, the specific impact is not readily determinable as of the date of these
  financial statements. The financial statements do not include any adjustments that might result from the outcome of this uncertainty.

  NOTE 3. PROPOSED OFFERING

      Pursuant to the Proposed Offering, the Company will offer for sale up to 30,000,000 Units (or 34,500,000 Units if the underwriters’
  overallotment option is exercised in full) at a purchase price of $10.00 per Unit. Each Unit will consist of one common stock and one-
  half of one redeemable warrant (“Public Warrant”) . Each Public Warrant will entitle the holder to purchase one-half of one common
  stock at an exercise price of $11.50 per whole share (see Note 7).

  NOTE 4. PRIVATE PLACEMENT
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       The sponsor (and/or its designees) has committed to purchase an aggregate of 1,174,109 Private Units (or 1,320,359 Private Units
  if the underwriters’ over-allotment is exercised in full) at a price of $10.00 per Private Unit, ($11,741,090 in the aggregate, or
  $13,203,590 in the aggregate if the underwriters’ over-allotment is exercised in full), from the Company in a private placement that
  will occur simultaneously with the closing of the Proposed Offering. The proceeds from the sale of the Private Units will be added to
  the net proceeds from the Proposed Offering held in the Trust Account. The Private Units are identical to the Units sold in the Proposed
  Offering, except for the private warrants (“Private Warrants”), as described in Note 7. If the Company does not complete a Business
  Combination within the Combination Period, the proceeds from the sale of the Private Units will be used to fund the redemption of the
  Public Shares (subject to the requirements of applicable law) and the Private Warrants will expire worthless.
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  NOTE 5. RELATED PARTY TRANSACTIONS

  Class B Common stock

      During the period ended June 30, 2021, the Company issued an aggregate of 8,625,000 Class B common stock to the sponsor for an
  aggregate purchase price of $25,000 in cash. The Class B common stock include an aggregate of up to 1,125,000 shares subject to
  forfeiture by the sponsor to the extent that the underwriters’ over-allotment is not exercised in full or in part, so that the sponsor will
  collectively own 20% of the Company’s issued and outstanding shares after the Proposed Offering (assuming the initial shareholders
  do not purchase any Public Shares in the Proposed Offering and excluding the Private Units and underlying securities).

       The initial shareholder has agreed not to transfer, assign or sell any of the Class B common stock (except to certain permitted
  transferees) until, with respect to 50% of the Class B common stock, the earlier of (i) six months after the date of the consummation of
  a Business Combination, or (ii) the date on which the closing price of the Company’s common stock equals or exceeds $12.00 per
  share (as adjusted for stock splits, stock dividends, reorganizations and recapitalizations) for any 20 trading days within any 30-trading
  day period commencing after a Business Combination, with respect to the remaining 50% of the Class B common stock, upon six
  months after the date of the consummation of a Business Combination, or earlier, in each case, if, subsequent to a Business
  Combination, the Company consummates a subsequent liquidation, merger, stock exchange or other similar transaction which results in
  all of the Company’s shareholders having the right to exchange their common stock for cash, securities or other property.

  Promissory Note – Related Party

      On December 11, 2020, the sponsor issued an unsecured promissory note to the Company, pursuant to which the Company may
  borrow up to an aggregate principal amount of $300,000, of which $82,460 and $62,985 was outstanding under the Promissory Note as
  of June 30, 2021 and March 31, 2021, respectively. The note is non-interest bearing and payable on the earlier of (i) September 30,
  2021 or (ii) the consummation of the Proposed Offering.

  Administrative Services Arrangement

      An affiliate of the Company’s sponsor has agreed, commencing from the date that the Company’s securities are first listed on
  NASDAQ through the earlier of the Company’s consummation of a Business Combination and its liquidation, to make available to the
  Company certain general and administrative services, including office space, utilities and administrative services, as the Company may
  require from time to time. The Company has agreed to pay the affiliate of the Company’s sponsor $15,000 per month for these
  services.

  Related Party Loans

     In order to finance transaction costs in connection with a Business Combination, the Company’s sponsor or an affiliate of the
  sponsor, or the Company’s officers and directors may, but are not obligated to, loan the Company funds as may be required (“Working
  Capital Loans”). Such Working Capital Loans would be evidenced by promissory notes. The notes would either be repaid upon
  consummation of a Business Combination, without interest, or, at the lender’s discretion, up to $1,500,000 of notes may be converted
  upon consummation of a Business Combination into additional Private Units at a price of $10.00 per Unit. In the event that a Business
  Combination does not close, the Company may use a portion of proceeds held outside the Trust Account to repay the Working Capital
  Loans, but no proceeds held in the Trust Account would be used to repay the Working Capital Loans.


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  NOTE 6. COMMITMENTS AND CONTINGENCIES

  Registration Rights

      The holders of the insider shares, as well as the holders of the Private Units (and underlying securities) and any securities issued in
  payment of working capital loans made to the Company, will be entitled to registration rights pursuant to an agreement to be signed
  prior to or on the effective date of Proposed Public Offering. The holders of a majority of these securities are entitled to make up to two
  demands that the Company register such securities. Notwithstanding anything to the contrary, the underwriters (and/or their designees)
  may only make a demand registration (i) on one occasion and (ii) during the five year period beginning on the effective date of the
  Proposed Public Offering. The holders of the majority of the insider shares can elect to exercise these registration rights at any time
  commencing three months prior to the date on which these common stock are to be released from escrow. The holders of a majority of
  the Private Units (and underlying securities) and securities issued in payment of working capital loans (or underlying securities) can
  elect to exercise these registration rights at any time after the Company consummates a Business Combination. In addition, the holders
  have certain “piggy-back” registration rights with respect to registration statements filed subsequent to the consummation of a Business
  Combination. Notwithstanding anything to the contrary, the underwriters (and/or their designees) may participate in a “piggy-back”
  registration only during the seven year period beginning on the effective date of the Proposed Public Offering. The Company will bear
  the expenses incurred in connection with the filing of any such registration statements. Notwithstanding anything to the contrary, under
  FINRA Rule 5110, the underwriters and/or their designees may only make a demand registration (i) on one occasion and (ii) during the
  five-year period beginning on the effective date of the registration statement relating to the Proposed Public Offering, and the
  underwriters and/or their designees may participate in a “piggy-back” registration only during the seven-year period beginning on the
  effective date of the registration statement relating to the Proposed Public Offering.

  Underwriting Agreement

      The Company will grant the underwriters a 45-day option to purchase up to 4,500,000 additional Units to cover over-allotments at
  the Proposed Offering price, less the underwriting discounts and commissions.

      The underwriters will be entitled to a cash underwriting discount of: (i) one point twenty-five percent (1.25%) of the gross proceeds
  of the Proposed Offering, or $3,750,000 (or up to $4,312,500 if the underwriters’ over-allotment is exercised in full); (ii) zero point
  five percent (0.50%) of the total number of Class A common stock issued in the Proposed Offering, or 150,000 Class A common stock.
  In addition, the underwriters are entitled to a deferred fee of three points five percent (3.50%) of the gross proceeds of the Proposed
  Offering, or $10,500,000 (or up to $12,075,000 if the underwriters’ over- allotment is exercised in full) upon closing of the Business
  Combination. The deferred fee will be paid in cash upon the closing of a Business Combination from the amounts held in the Trust
  Account, subject to the terms of the underwriting agreement.

  Right of First Refusal

      For a period beginning on the closing of this offering and ending 24 months from the closing of a business combination, we have
  granted Maxim a right of first refusal to act as lead-left book running manager and lead left manager for any and all future private or
  public equity, convertible and debt offerings during such period. In accordance with FINRA Rule 5110(f)(2)(E)(i), such right of first
  refusal shall not have a duration of more than three years from the effective date of the registration statement of which this prospectus
  forms a part.

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  NOTE 7. STOCKHOLDERS’ EQUITY

      Class A Common stock — The Company is authorized to issue 200,000,000 shares of Class A common stock with a par value of
  $0.0001 per share. Holders of the Company’s Class A common stock are entitled to one vote for each share. At June 30, 2021, March
  31, 2021 and December 31, 2020, there were no Class A common stock issued and outstanding.

      Class B Common stock — The Company is authorized to issue 10,000,000 shares of Class B common stock with a par value of
  $0.0001 per share. Holders of the Company’s Class B common stock are entitled to one vote for each share. At June 30, 2021, there
  were 8,625,000 shares of Class B common stock issued and outstanding, of which 1,125,000 shares are subject to forfeiture to the
  extent that the underwriter’s over-allotment option is not exercised in full so that the Initial Shareholders will own 20% of the issued
  and outstanding shares after the Proposed Offering (assuming the Initial Shareholders do not purchase any Public Shares in the
  Proposed Offering and excluding the Founder Units). At June 30, 2021, March 31, 2021 and December 31, 2020, there were 8,625,000
  shares, 8,625,000 shares and no shares of Class B common stock outstanding, respectively.

     Preferred Shares — The Company is authorized to issue 1,000,000 preferred shares with a par value of $0.0001 per share with
  such designation, rights and preferences as may be determined from time to time by the Company’s Board of Directors. At June 30,
  2021, March 31, 2021 and December 31, 2020, there were no preferred shares issued or outstanding.


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      Warrants —The Warrants will become exercisable 30 days after the consummation of a Business Combination. The Warrants will
  expire five years from the consummation of a Business Combination or earlier upon redemption or liquidation.

       The Company will not be obligated to deliver any Class A common stock pursuant to the exercise of a Warrant and will have no
  obligation to settle such Warrant exercise unless a registration statement under the Securities Act covering the issuance of the Class A
  common stock issuable upon exercise of the Warrants is then effective and a prospectus relating thereto is current, subject to the
  Company satisfying its obligations with respect to registration. No warrant will be exercisable and the Company will not be obligated
  to issue shares of Class A common stock upon exercise of a warrant unless Class A common stock issuable upon such warrant exercise
  has been registered, qualified or deemed to be exempt under the securities laws of the state of residence of the registered holder of the
  warrants.

      Once the warrants become exercisable, the Company may redeem the Warrants:

      •    in whole and not in part;

      •    at a price of $0.01 per warrant;

      •    at any time after the warrants become exercisable,

      •   upon not less than 30 days’ prior written notice of redemption to each warrant holder;

      •   if, and only if, the reported last sale price of the Class A common stock equals or exceeds $18.00 per share (as adjusted for
          stock splits, stock dividends, reorganizations, and recapitalizations) for any 20 trading days within a 30-trading day period
          commencing at any time after the warrants become exercisable and ending on the third business day prior to the notice of
          redemption to warrant holders; and

      •    if , and only if, there is a current registration statement in effect with respect to the shares of Class A common stock
           underlying such warrants.

       If the Company calls the Warrants for redemption, management will have the option to require all holders that wish to exercise the
  Warrants to do so on a “cashless basis,” as described in the warrant agreement. The exercise price and number of shares of Class A
  common stock issuable upon exercise of the warrants may be adjusted in certain circumstances including in the event of a stock
  dividend, or recapitalization, reorganization, merger or consolidation. However, except as described below, the warrants will not be
  adjusted for issuance of Class A common stock at a price below its exercise price. Additionally, in no event will the Company be
  required to net cash settle the warrants. If the Company is unable to complete a Business Combination within the Combination Period
  and the Company liquidates the funds held in the Trust Account, holders of warrants will not receive any of such funds with respect to
  their warrants, nor will they receive any distribution from the Company’s assets held outside of the Trust Account with the respect to
  such warrants. Accordingly, the warrants may expire worthless.

       In addition, if (x) the Company issues additional shares of Class A common stock or equity-linked securities, for capital raising
  purposes in connection with the closing of a Business Combination at an issue price or effective issue price of less than $9.20 per share
  of Class A common stock (with such issue price or effective issue price to be determined in good faith by the Company’s board of
  directors, and, in the case of any such issuance to the sponsor or its affiliates, without taking into account any Founder Shares held by
  the sponsor or its affiliates, as applicable, prior to such issuance) (the “Newly Issued Price”), (y) the aggregate gross proceeds from
  such issuances represent more than 60% of the total equity proceeds, and interest thereon, available for the funding of a Business
  Combination on the date of the completion of a Business Combination (net of redemptions), and (z) the volume weighted average
  trading price of the Company’s Class A common stock during the 20 trading day period starting on the trading day after the day on
  which the Company completes a Business Combination (such price, the “Market Value”) is below $9.20 per share, the exercise price of
  the warrants will be adjusted (to the nearest cent) to be equal to 115% of the greater of the Market Value and the Newly Issued Price,
  and the $18.00 per share redemption trigger price will be adjusted (to the nearest cent) to be equal to 180% of the greater of the Market
  Value and the Newly Issued Price.

  The Private Warrants, as well as any warrants underlying additional units the Company issues to the sponsor, officers, directors, initial
  stockholders or their affiliates in payment of Working Capital Loans made to the Company, will be identical to the warrants underlying
  the Units being offered in the Initial Public Offering.



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        (c) To the extent that a present or former director or officer of a corporation has been successful on the merits or otherwise in
            defense of any action, suit or proceeding referred to in subsections (a) and (b) of this section, or in defense of any claim,
            issue or matter therein, such person shall be indemnified against expenses (including attorneys’ fees) actually and
            reasonably incurred by such person in connection therewith.

        (d) Any indemnification under subsections (a) and (b) of this section (unless ordered by a court) shall be made by the
            corporation only as authorized in the specific case upon a determination that indemnification of the present or former
            director, officer, employee or agent is proper in the circumstances because the person has met the applicable standard of
            conduct set forth in subsections (a) and (b) of this section. Such determination shall be made, with respect to a person who is
            a director or officer at the time of such determination, (1) by a majority vote of the directors who are not parties to such
            action, suit or proceeding, even though less than a quorum, or (2) by a committee of such directors designated by majority
            vote of such directors, even though less than a quorum, or (3) if there are no such directors, or if such directors so direct, by
            independent legal counsel in a written opinion, or (4) by the stockholders.

        (e) Expenses (including attorneys’ fees) incurred by an officer or director in defending any civil, criminal, administrative or
            investigative action, suit or proceeding may be paid by the corporation in advance of the final disposition of such action, suit
            or proceeding upon receipt of an undertaking by or on behalf of such director or officer to repay such amount if it shall
            ultimately be determined that such person is not entitled to be indemnified by the corporation as authorized in this section.
            Such expenses (including attorneys’ fees) incurred by former officers and directors or other employees and agents may be so
            paid upon such terms and conditions, if any, as the corporation deems appropriate.

        (f) The indemnification and advancement of expenses provided by, or granted pursuant to, the other subsections of this section
            shall not be deemed exclusive of any other rights to which those seeking indemnification or advancement of expenses may
            be entitled under any bylaw, agreement, vote of stockholders or disinterested directors or otherwise, both as to action in such
            person’s official capacity and as to action in another capacity while holding such office. A right to indemnification or to
            advancement of expenses arising under a provision of the certificate of incorporation or a bylaw shall not be eliminated or
            impaired by an amendment to such provision after the occurrence of the act or omission that is the subject of the civil,
            criminal, administrative or investigative action, suit or proceeding for which indemnification or advancement of expenses is
            sought, unless the provision in effect at the time of such act or omission explicitly authorizes such elimination or impairment
            after such action or omission has occurred.

        (g) A corporation shall have power to purchase and maintain insurance on behalf of any person who is or was a director, officer,
            employee or agent of the corporation, or is or was serving at the request of the corporation as a director, officer, employee or
            agent of another corporation, partnership, joint venture, trust or other enterprise against any liability asserted against such
            person and incurred by such person in any such capacity, or arising out of such person’s status as such, whether or not the
            corporation would have the power to indemnify such person against such liability under this section.

        (h) For purposes of this section, references to “the corporation” shall include, in addition to the resulting corporation, any
            constituent corporation (including any constituent of a constituent) absorbed in a consolidation or merger which, if its
            separate existence had continued, would have had power and authority to indemnify its directors, officers, and employees or
            agents, so that any person who is or was a director, officer, employee or agent of such constituent corporation, or is or was
            serving at the request of such constituent corporation as a director, officer, employee or agent of another corporation,
            partnership, joint venture, trust or other enterprise, shall stand in the same position under this section with respect to the
            resulting or surviving corporation as such person would have with respect to such constituent corporation if its separate
            existence had continued.
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        (i) For purposes of this section, references to “other enterprises” shall include employee benefit plans; references to “fines”
            shall include any excise taxes assessed on a person with respect to any employee benefit plan; and references to “serving at
            the request of the corporation” shall include any service as a director, officer, employee or agent of the corporation which
            imposes duties on, or involves services by, such director, officer, employee or agent with respect to an employee benefit
            plan, its participants or beneficiaries; and a person who acted in good faith and in a manner such person reasonably believed
            to be in the interest of the participants and beneficiaries of an employee benefit plan shall be deemed to have acted in a
            manner “not opposed to the best interests of the corporation” as referred to in this section.

        (j) The indemnification and advancement of expenses provided by, or granted pursuant to, this section shall, unless otherwise
            provided when authorized or ratified, continue as to a person who has ceased to be a director, officer, employee or agent and
            shall inure to the benefit of the heirs, executors and administrators of such a person.

        (k) The Court of Chancery is hereby vested with exclusive jurisdiction to hear and determine all actions for advancement of
            expenses or indemnification brought under this section or under any by law, agreement, vote of stockholders or disinterested
            directors, or otherwise. The Court of Chancery may summarily determine a corporation’s obligation to advance expenses
            (including attorneys’ fees).

         Insofar as indemnification for liabilities arising under the Securities Act may be permitted to our directors, officers, and
  controlling persons pursuant to the foregoing provisions, or otherwise, we have been advised that, in the opinion of the SEC, such
  indemnification is against public policy as expressed in the Securities Act and is, therefore, unenforceable. In the event that a claim for
  indemnification against such liabilities (other than the payment of expenses incurred or paid by a director, officer or controlling person
  in a successful defense of any action, suit or proceeding) is asserted by such director, officer or controlling person in connection with
  the securities being registered, we will, unless in the opinion of its counsel the matter has been settled by controlling precedent, submit
  to the court of appropriate jurisdiction the question whether such indemnification by it is against public policy as expressed in the
  Securities Act and will be governed by the final adjudication of such issue.

        In accordance with Section 102(b)(7) of the DGCL, our amended and restated certificate of incorporation, will provide that no
  director shall be personally liable to us or any of our stockholders for monetary damages resulting from breaches of their fiduciary duty
  as directors, except to the extent such limitation on or exemption from liability is not permitted under the DGCL. The effect of this
  provision of our amended and restated certificate of incorporation is to eliminate our rights and those of our stockholders (through
  stockholders’ derivative suits on our behalf) to recover monetary damages against a director for breach of the fiduciary duty of care as
  a director, including breaches resulting from negligent or grossly negligent behavior, except, as restricted by Section 102(b)(7) of the
  DGCL. However, this provision does not limit or eliminate our rights or the rights of any stockholder to seek non-monetary relief, such
  as an injunction or rescission, in the event of a breach of a director’s duty of care.

         If the DGCL is amended to authorize corporate action further eliminating or limiting the liability of directors, then, in accordance
  with our amended and restated certificate of incorporation, the liability of our directors to us or our stockholders will be eliminated or
  limited to the fullest extent authorized by the DGCL, as so amended. Any repeal or amendment of provisions of our amended and
  restated certificate of incorporation limiting or eliminating the liability of directors, whether by our stockholders or by changes in law,
  or the adoption of any other provisions inconsistent therewith, will (unless otherwise required by law) be prospective only, except to
  the extent such amendment or change in law permits us to further limit or eliminate the liability of directors on a retroactive basis.

        Our amended and restated certificate of incorporation will also provide that we will, to the fullest extent authorized or permitted
  by applicable law, indemnify our current and former officers and directors, as well as those persons who, while directors or officers of
  our corporation, are or were serving as directors, officers, employees or agents of another entity, trust or other enterprise, including
  service with respect to an employee benefit plan, in connection with any threatened, pending or completed proceeding, whether civil,
  criminal, administrative or investigative, against all expense, liability and loss (including, without limitation, attorney’s fees,
  judgments, fines, ERISA excise taxes and penalties and amounts paid in settlement) reasonably incurred or suffered by any such person
  in connection with any such proceeding.
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        Notwithstanding the foregoing, a person eligible for indemnification pursuant to our amended and restated certificate of
  incorporation will be indemnified by us in connection with a proceeding initiated by such person only if such proceeding was
  authorized by our board of directors, except for proceedings to enforce rights to indemnification.

         The right to indemnification which will be conferred by our amended and restated certificate of incorporation is a contract right
  that includes the right to be paid by us the expenses incurred in defending or otherwise participating in any proceeding referenced
  above in advance of its final disposition, provided, however, that if the DGCL requires, an advancement of expenses incurred by our
  officer or director (solely in the capacity as an officer or director of our corporation) will be made only upon delivery to us of an
  undertaking, by or on behalf of such officer or director, to repay all amounts so advanced if it is ultimately determined that such person
  is not entitled to be indemnified for such expenses under our amended and restated certificate of incorporation or otherwise.

         The rights to indemnification and advancement of expenses will not be deemed exclusive of any other rights which any person
  covered by our amended and restated certificate of incorporation may have or hereafter acquire under law, our amended and restated
  certificate of incorporation, our bylaws, an agreement, vote of stockholders or disinterested directors, or otherwise.

         Any repeal or amendment of provisions of our amended and restated certificate of incorporation affecting indemnification rights,
  whether by our stockholders or by changes in law, or the adoption of any other provisions inconsistent therewith, will (unless otherwise
  required by law) be prospective only, except to the extent such amendment or change in law permits us to provide broader
  indemnification rights on a retroactive basis, and will not in any way diminish or adversely affect any right or protection existing at the
  time of such repeal or amendment or adoption of such inconsistent provision with respect to any act or omission occurring prior to such
  repeal or amendment or adoption of such inconsistent provision. Our amended and restated certificate of incorporation will also permit
  us, to the extent and in the manner authorized or permitted by law, to indemnify and to advance expenses to persons other that those
  specifically covered by our amended and restated certificate of incorporation.

         Our bylaws, which we intend to adopt immediately prior to the closing of this offering, include the provisions relating to
  advancement of expenses and indemnification rights consistent with those which will be set forth in our amended and restated
  certificate of incorporation. In addition, our bylaws provide for a right of indemnity to bring a suit in the event a claim for
  indemnification or advancement of expenses is not paid in full by us within a specified period of time. Our bylaws also permit us to
  purchase and maintain insurance, at our expense, to protect us and/or any director, officer, employee or agent of our corporation or
  another entity, trust or other enterprise against any expense, liability or loss, whether or not we would have the power to indemnify
  such person against such expense, liability or loss under the DGCL.

        Any repeal or amendment of provisions of our bylaws affecting indemnification rights, whether by our board of directors,
  stockholders or by changes in applicable law, or the adoption of any other provisions inconsistent therewith, will (unless otherwise
  required by law) be prospective only, except to the extent such amendment or change in law permits us to provide broader
  indemnification rights on a retroactive basis, and will not in any way diminish or adversely affect any right or protection existing
  thereunder with respect to any act or omission occurring prior to such repeal or amendment or adoption of such inconsistent provision.

         We will enter into indemnification agreements with each of our officers and directors a form of which is to be filed as an exhibit
  to this Registration Statement. These agreements will require us to indemnify these individuals to the fullest extent permitted under
  Delaware law against liabilities that may arise by reason of their service to us, and to advance expenses incurred as a result of any
  proceeding against them as to which they could be indemnified.

        Pursuant to the Underwriting Agreement to be filed as Exhibit 1.1 to this Registration Statement, we have agreed to indemnify
  the underwriters and the underwriters have agreed to indemnify us against certain civil liabilities that may be incurred in connection
  with this offering, including certain liabilities under the Securities Act.
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  Item 15.     Recent Sales of Unregistered Securities.

        On January 20, 2021, ARC Global Investments II LLC, our sponsor, purchased an aggregate of 8,625,000 founder shares, for an
  aggregate offering price of $25,000 at an average purchase price of approximately $0.003 per share. The number of founder shares
  issued was determined based on the expectation that the founder shares would represent 20% of the outstanding shares of common
  stock upon completion of this offering (excluding the representative shares and the placement units and underlying securities). Such
  securities were issued in connection with our organization pursuant to the exemption from registration contained in Section 4(a)(2) of
  the Securities Act. Our sponsor is an accredited investor for purposes of Rule 501 of Regulation D.

         On or before the date of the prospectus accompanying this registration statement, our sponsor has agreed to purchase an
  aggregate of 1,174,109 placement units (or 13,203,590 placement units if the underwriters’ over-allotment option is exercised in full),
  at a price of $10.00 per unit, for an aggregate purchase price of $11,741,090 ($13,203,590 if the underwriters’ over-allotment option is
  exercised in full). These placement units will be issued pursuant to the exemption from registration contained in Section 4(2) of the
  Securities Act as they will be sold to “accredited investors” as defined in Rule 501(a) of the Securities Act. No underwriting discounts
  or commissions will be paid with respect to such sales. Subscription agreements will be entered into with our sponsor in connection
  with these placement units and copies of such agreements will be attached as exhibits to this registration statement.

  Item 16.     Exhibits and Financial Statement Schedules.

      (a) Exhibits. The list of exhibits following the signature page of this registration statement is incorporated herein by reference.

      (b) Financial Statements. See page F-1 for an index to the financial statements and schedules included in the registration
          statement.

  Item 17.     Undertakings.

      (a) The undersigned registrant hereby undertakes to provide to the underwriters at the closing specified in the underwriting
          agreements, certificates in such denominations and registered in such names as required by the underwriters to permit prompt
          delivery to each purchaser.

      (b) Insofar as indemnification for liabilities arising under the Securities Act of 1933 may be permitted to directors, officers and
          controlling persons of the registrant pursuant to the foregoing provisions, or otherwise, the registrant has been advised that in
          the opinion of the Securities and Exchange Commission such indemnification is against public policy as expressed in the Act
          and is, therefore, unenforceable. In the event that a claim for indemnification against such liabilities (other than the payment
          by the registrant of expenses incurred or paid by a director, officer or controlling person of the registrant in the successful
          defense of any action, suit or proceeding) is asserted by such director, officer or controlling person in connection with the
          securities being registered, the registrant will, unless in the opinion of its counsel the matter has been settled by controlling
          precedent, submit to a court of appropriate jurisdiction the question whether such indemnification by it is against public policy
          as expressed in the Act and will be governed by the final adjudication of such issue.

      (c) The undersigned registrant hereby undertakes that:

             (1) For purposes of determining any liability under the Securities Act of 1933, the information omitted from the form of
                 prospectus filed as part of this registration statement in reliance upon Rule 430A and contained in a form of prospectus
                 filed by the registrant pursuant to Rule 424(b)(1) or (4) or 497(h) under the Securities Act shall be deemed to be part of
                 this registration statement as of the time it was declared effective.
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           (2) For the purpose of determining any liability under the Securities Act of 1933, each post-effective amendment that
               contains a form of prospectus shall be deemed to be a new registration statement relating to the securities offered therein,
               and the offering of such securities at that time shall be deemed to be the initial bona fide offering thereof.

           (3) For the purpose of determining liability under the Securities Act of 1933 to any purchaser, if the registrant is subject to
               Rule 430C, each prospectus filed pursuant to Rule 424(b) as part of a registration statement relating to an offering, other
               than registration statements relying on Rule 430B or other than prospectuses filed in reliance on Rule 430A, shall be
               deemed to be part of and included in the registration statement as of the date it is first used after effectiveness. Provided,
               however, that no statement made in a registration statement or prospectus that is part of the registration statement or made
               in a document incorporated or deemed incorporated by reference into the registration statement or prospectus that is part
               of the registration statement will, as to a purchaser with a time of contract of sale prior to such first use, supersede or
               modify any statement that was made in the registration statement or prospectus that was part of the registration statement
               or made in any such document immediately prior to such date of first use.

           (4) For the purpose of determining liability of a registrant under the Securities Act of 1933 to any purchaser in the initial
               distribution of the securities, the undersigned registrant undertakes that in a primary offering of securities of an
               undersigned registrant pursuant to this registration statement, regardless of the underwriting method used to sell the
               securities to the purchaser, if the securities are offered or sold to such purchaser by means of any of the following
               communications, the undersigned registrant will be a seller to the purchaser and will be considered to offer or sell such
               securities to such purchaser:

               (i) Any preliminary prospectus or prospectus of the undersigned registrant relating to the offering required to be filed
                   pursuant to Rule 424;

               (ii) Any free writing prospectus relating to the offering prepared by or on behalf of the undersigned registrant or used or
                    referred to by an undersigned registrant;

               (iii) The portion of any other free writing prospectus relating to the offering containing material information about the
                     undersigned registrant or its securities provided by or on behalf of the undersigned registrant; and

               (iv) Any other communication that is an offer in the offering made by the undersigned registrant to the purchaser.
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